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                                                                             Review

      1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
      2                      EASTERN DIVISION
      3
             IN RE: NATIONAL              )
      4      PRESCRIPTION                 )   MDL No. 2804
             OPIATE LITIGATION            )
      5      _____________________        )   Case No.
                                          )   1:17-MD-2804
      6                                   )
             THIS DOCUMENT RELATES        )   Hon. Dan A.
      7      TO ALL CASES                 )   Polster
      8
                        TUESDAY, JANUARY 15, 2019
      9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
     10                  CONFIDENTIALITY REVIEW
     11                              – – –
     12                 Videotaped deposition of Karen
     13     Harper, held at the offices of STINSON
     14     LEONARD STREET LLP, 7700 Forsyth Boulevard,
     15     Suite 1000, St. Louis, Missouri, commencing
     16     at 9:09 a.m., on the above date, before
     17     Carrie A. Campbell, Registered Diplomate
     18     Reporter and Certified Realtime Reporter.
     19
     20
     21
     22                            – – –
                       GOLKOW LITIGATION SERVICES
     23          877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
     24
     25

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     1       APPEARANCES:                                1      FOX ROTHSCHILD LLP
     2
     3   KELLER ROHRBACK LLP
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     4      dko@kellerrohrback.com                                 (VIA TELECONFERENCE)
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     7   Counsel for Plaintiffs                          5
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         223 Rosa L. Parks Avenue, Suite 200                    Golkow Litigation Services
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    13
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    18                                                  17
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         850 Tenth Street, NW
    21   Washington, DC 20001-4956                      21
         (202) 662-6000                                 22
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    23
    24                                                  24
    25                                                  25

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     2      sylvia.winston@jacksonkelly.com              3   APPEARANCES.................................. 2
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         Morgantown, West Virginia 26501                 5    BY MR. KO.................................. 14
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     7   BY: NICHOLAS HODGES                            10
            nhodges@jonesday.com                        11              EXHIBITS
     8   4655 Executive Drive, Suite 1500               12     No.     Description          Page
         San Diego, California 92121                    13   Mallinckrodt Karen Harper LinkedIn                 40
     9   (858) 314-1200                                      Harper 1    Profile printout
         Counsel for Walmart                            14
    10
    11                                                       Mallinckrodt E-mail(s),         109
         ROPES & GRAY, LLP                              15   Harper 2    MNK-T1_0000275504 -
    12   BY: WILLIAM DAVISON                                          MNK-T1_0000275524
            william.davison@ropesgray.com               16
    13      ANDREW O'CONNOR
            Andrew.O'Connor@ropesgray.com                    Mallinckrodt E-mail(s),         130
    14   800 Boylston Street                            17   Harper 3    MNK-T1_0000283074 -
         Boston, Massachusetts 02199-3600                             MNK-T1_0000283098
    15   (617) 951-7000                                 18
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    18   BY: DAVID HIBEY                                20
            david.hibey@arnoldporter.com                     Mallinckrodt E-mail(s),         158
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         601 Massachusetts Avenue, NW                                 MNK-T1_0000273909
    20   Washington, DC 20001-3743                      22
         (202) 942-5000
    21   Counsel for Endo Pharmaceuticals                  Mallinckrodt DEA Compliance All Site                 211
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     9          MNK-T1_0000280609                                    MNK_TNSTA02527616
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     2         MNK_TNSTA00612651
     3 Mallinckrodt Pharmacy Information Sheet,   574                   3      Covington & Burling, for McKesson.         09:09:40
       Harper 54    Cardinal Health,
     4         MNK_TNSTA00607869                                        4           MR. HODGES: Nick Hodges, Jones 09:09:41
     5 Mallinckrodt Riggs Pharmacies all sales  578                     5      Day, for Walmart.                 09:09:42
       Harper 55    run 11-30-12,
     6         MNK_TNSTA00612647                                        6           MR. DAVISON: William Davison, 09:09:44
     7 Mallinckrodt Oxy 15 and 30 Ship to and    590
       Harper 56    Sold via by month Jan-Dec                           7      Ropes & Gray, for Mallinckrodt, LLC, 09:09:44
     8         2011 run 2-15-12 non-merged                              8      SpecGx, LLC, and the witness.           09:09:45
               cells,
     9         MNK_TNSTA02527616                                        9           MR. O'CONNOR: Andrew O'Connor 09:09:45
    10 Mallinckrodt HydroApap 10s Shp to Sold     593
       Harper 57    via by mo Jan2015-Dec2015                          10      from Ropes & Gray for Mallinckrodt,        09:09:49
    11         325 APAP run 1-15-16,                                   11      LLC, SpecGx and Ms. Harper.              09:09:52
               MNK-T1_0007717730
    12                                                                 12           VIDEOGRAPHER: Will counsel             09:09:53
       Mallinckrodt "DEA investigators seeking               602       13      present by phone please identify       09:09:53
    13 Harper 58   answers in small Tennessee
               town"                                                   14      themselves.                    09:09:56
    14
         Mallinckrodt E-mail(s),         603                           15           MR. HIBEY: David Hibey of           09:09:58
    15   Harper 59   MNK-T1_0006462195 -                               16      Arnold & Porter for the Endo and Par 09:10:01
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    16                                                                 17      defendants.                    09:10:03
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    18
       Mallinckrodt E-mail(s),       608                               20           MS. WINSTON: Sylvian Winston 09:10:11
    19 Harper 61   MNK-T1_0007259043
    20 Mallinckrodt E-mail(s),       615                               21      of Jackson Kelly for the           09:10:12
       Harper 62   MNK-T1_0000387492                                   22      AmerisourceBergen Drug Corporation.         09:10:15
    21
           (Exhibits attached to the deposition.)                      23           VIDEOGRAPHER: The court               09:10:19
    22
    23                                                                 24      reporter is Carrie Campbell, and she     09:10:20
    24                                                                 25      will now swear in the witness.        09:10:21
    25

                                                          Page 11                                                         Page 13
     1           VIDEOGRAPHER: We are now on                08:49:49    1               KAREN HARPER,
     2      the record. My name is James Arndt.        09:08:57         2   of lawful age, having been first duly sworn
     3      I'm a videographer for Golkow            09:09:00           3   to tell the truth, the whole truth and
     4      Litigation Services.               09:09:01                 4   nothing but the truth, deposes and says on
     5           Today's date is January 15th of 09:09:01               5   behalf of the Plaintiffs, as follows:
     6      2019, and the time is 9:09 a.m.        09:09:05             6
     7           This video deposition is being 09:09:07                7           MR. KO: Before we get started, 09:10:30
     8      held in St. Louis, Missouri, in the     09:09:09            8      I just wanted to note for the record 09:10:32
     9      matter of the National Prescription      09:09:11           9      that yesterday evening Mallinckrodt's 09:10:33
    10      Opiate Litigation for the United        09:09:14           10      counsel had provided some documents, 09:10:35
    11      States District Court for the Northern 09:09:15            11      another production of documents,          09:10:38
    12      District of Ohio, Eastern Division.      09:09:17          12      including some documents apparently         09:10:39
    13           The deponent is Karen Harper.       09:09:18          13      from Ms. Harper's custodial file. It 09:10:40
    14           Will counsel please identify     09:09:20             14      appears to be a fairly substantial     09:10:44
    15      themselves.                      09:09:22                  15      production.                      09:10:46
    16           MR. KO: Good morning. David            09:09:23       16           We didn't get a chance to        09:10:47
    17      Ko, Keller Rohrback, on behalf of         09:09:25         17      review those, so I just wanted to note 09:10:48
    18      plaintiffs.                   09:09:27                     18      for the record that we reserve the      09:10:49
    19           MR. LOESER: Derek Loeser from 09:09:28                19      right to reopen this deposition based 09:10:50
    20      Keller Rohrback for the plaintiffs.     09:09:28           20      on that review.                   09:10:52
    21           MS. HERZFELD: Tricia Herzfeld, 09:09:30               21           MR. O'CONNOR: And we believe 09:10:52
    22      Branstetter, Branch & Jennings, for       09:09:31         22      the documents we produced don't           09:10:53
    23      the Tennessee plaintiffs.            09:09:31              23      prejudice the plaintiffs in any way, 09:10:55
    24           MS. FIX MEYER: Julie Fix             09:09:34         24      and I'm happy to discuss that further, 09:10:59
    25      Meyer, Armstrong Teasdale, for            09:09:34         25      but do disagree with your             09:11:00

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     1       characterization.                09:11:01                  1           Okay?                     09:12:23
     2           DIRECT EXAMINATION                     09:11:03        2       A. Yes.                       09:12:24
     3   QUESTIONS BY MR. KO:                           09:11:04        3       Q. I think we're here for a fairly 09:12:25
     4       Q. Good morning. We met earlier, 09:11:05                  4   long time today, so to the extent you need     09:12:27
     5   just a moment ago.                     09:11:06                5   breaks throughout the day, please feel free 09:12:30
     6           Could you please state and        09:11:07             6   to ask and I'll do my best to accommodate.      09:12:33
     7   spell your name for the record?            09:11:09            7           Okay?                     09:12:35
     8       A. Yes. Karen Harper, K-a-r-e-n, 09:11:09                  8       A. Thank you.                     09:12:36
     9   H-a-r-p-e-r.                       09:11:12                    9       Q. Ms. Harper, is there anything        09:12:36
    10       Q. Ms. Harper, where do you             09:11:14          10   that you can think of today that will prevent 09:12:41
    11   currently reside?                    09:11:16                 11   you from testifying truthfully and honestly? 09:12:43
    12       A. St. Louis County, Missouri.         09:11:17           12       A. No.                        09:12:46
    13       Q. Okay. And I know that you have 09:11:19                13       Q. Great.                      09:12:46
    14   had your deposition taken at least once       09:11:21        14           Ms. Harper, what did you do to 09:12:47
    15   before in connection with a matter involving 09:11:23         15   prepare for this deposition today?          09:12:51
    16   Island Drug Pharmacy.                    09:11:28             16       A. I met with my attorneys.           09:12:52
    17           Have you had your deposition        09:11:29          17       Q. Okay. And who are they?              09:12:54
    18   taken at any other time other than that      09:11:30         18       A. Ropes & Gray.                    09:12:55
    19   instance?                         09:11:32                    19       Q. Okay. And Mr. O'Connor and             09:12:58
    20       A. Earlier in my life, before I      09:11:32             20   Mr. Davison sitting here today, are those the 09:13:00
    21   was an employee of Mallinckrodt.             09:11:35         21   two individuals that you met with?           09:13:02
    22       Q. Okay. So how many times have 09:11:37                  22       A. Yes, among others.                09:13:03
    23   you been deposed?                       09:11:38              23       Q. Okay. And how many attorneys            09:13:04
    24       A. Two -- twice.                  09:11:38                24   did you meet with?                     09:13:06
    25       Q. Okay. So you understand             09:11:40           25       A. At least one other.             09:13:06

                                                          Page 15                                                             Page 17
     1 probably some of the ground rules, but I just 09:11:42           1       Q. Okay. And how many times did 09:13:08
     2 want to remind you of a few that are             09:11:44        2   you meet?                            09:13:09
     3   important to me today.                    09:11:47             3       A. Five times.                    09:13:09
     4            The court reporters have the       09:11:48           4       Q. Okay. So you met for five            09:13:10
     5   most important job here in transcribing          09:11:49      5   different days or five different sessions? 09:13:13
     6   everything that we're saying, so it's        09:11:52          6       A. Five different sessions.           09:13:14
     7   important that we don't talk over one          09:11:53        7       Q. Okay. And how many hours total 09:13:16
     8   another. So please wait until I finish my       09:11:54       8   would you say that would be?                 09:13:17
     9   question before you move on to your response, 09:11:56         9       A. The first two sessions were          09:13:18
    10   and likewise, I'll wait until you finish your 09:11:58        10   eight -- two eight-hour days, so 16 and 16, 09:13:21
    11   question {sic} before I move on to my next         09:12:00   11   32. Then we had an eight-hour day, 40, and 09:13:26
    12   question.                           09:12:03                  12   another two eight-hour days. So 56 hours. 09:13:30
    13            Does that sound good?             09:12:03           13       Q. Sounds like a lot of             09:13:34
    14       A. Yes.                         09:12:04                  14   preparation.                         09:13:36
    15       Q. And to the extent I ask a yes         09:12:05         15            Other than your outside          09:13:37
    16   or no question, I would ask that you actually 09:12:07        16   counsel, or other than Ropes & Gray, were         09:13:42
    17   in fact answer yes or no, if that's your      09:12:11        17   there any other people present during your 09:13:44
    18   response, rather than shaking your head or        09:12:11    18   meetings?                            09:13:49
    19   nodding your head.                       09:12:15             19       A. No.                         09:13:50
    20       A. Understood.                     09:12:16               20       Q. Okay. And in those meetings, 09:13:50
    21       Q. Okay. And from time to time             09:12:16       21   did you review any documents?                 09:13:53
    22   counsel at this table may object to my          09:12:17      22       A. Yes.                        09:13:54
    23   questioning, but unless you get a clear        09:12:19       23       Q. Okay. And did -- were those           09:13:55
    24   instruction not to respond, I would ask that 09:12:21         24   documents selected by counsel?                09:13:58
    25   you respond to my question.                  09:12:23         25       A. Yes.                        09:14:01

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     1       Q. Okay. And did you provide any 09:14:02               1 specialty advertising company.                   09:15:44
     2   documents in any of these meetings?         09:14:04        2       Q.    Okay. And what did you do             09:15:45
     3       A. Not in those meetings.          09:14:06             3 there?                             09:15:46
     4       Q. Okay. In preparation for this 09:14:09               4       A.    Clerical.                 09:15:46
     5   deposition today, have you spoken with any     09:14:15     5       Q.    Okay. When did you first start       09:15:47
     6   current or former employees of Mallinckrodt? 09:14:18       6 working at Mallinckrodt?                     09:15:49
     7       A. Only to the extent that I       09:14:20             7       A.    In March of 1975.             09:15:50
     8   needed to be absent from work.            09:14:23          8       Q.    Okay. So there was a brief        09:15:53
     9       Q. Okay. Are you aware that other 09:14:26              9 period of about approximately one year              09:15:54
    10   former and current employees of Mallinckrodt 09:14:31      10 between when you ceased going to community               09:15:56
    11   have been deposed?                    09:14:32             11 college and when you started working at             09:15:58
    12       A. Yes.                      09:14:33                  12 Mallinckrodt?                           09:16:00
    13       Q. Okay. Have you spoken with any 09:14:34             13       A.    Yes.                      09:16:00
    14   of those deponents?                  09:14:36              14       Q.    Okay. And what was your first         09:16:00
    15       A. No, sir.                  09:14:37                  15 job at Mallinckrodt?                      09:16:02
    16       Q. Okay. You know who Bill             09:14:38        16       A.    Clerk typist.               09:16:02
    17   Ratliff is, right?                09:14:41                 17       Q.    Okay. And clerk typist for        09:16:05
    18       A. Yes.                      09:14:42                  18 what division or department?                  09:16:08
    19       Q. Have you spoken with him about 09:14:42             19       A.    Purchasing group in the          09:16:09
    20   this deposition at all?             09:14:44               20 corporate area.                         09:16:12
    21       A. No.                      09:14:44                   21       Q.    Okay. And how long did you do          09:16:12
    22       Q. Okay. Do you know who John            09:14:45      22 that?                              09:16:15
    23   Gillies is?                      09:14:48                  23       A.    Approximately one year.           09:16:15
    24       A. Yes.                      09:14:48                  24       Q.    Okay. I may want to walk             09:16:18
    25       Q. Have you spoken with him?           09:14:48        25 through each position you had at                 09:16:24

                                                           Page 19                                                              Page 21
     1        A. No.                        09:14:50                  1   Mallinckrodt, but why don't we try this way. 09:16:25
     2        Q. Okay. Ms. Harper, where did           09:14:53       2           When did you first become           09:16:28
     3   you go to school? I mean, college, excuse 09:14:55           3   senior manager of controlled substance          09:16:30
     4   me.                               09:14:58                   4   compliance?                           09:16:32
     5        A. I only have a couple of years 09:14:58               5       A. I don't remember the year.           09:16:33
     6   partial college credits, and so that was at 09:15:00         6       Q. Okay. Do you remember if it            09:16:35
     7   community college district, St. Louis,         09:15:03      7   was the late '70s or the early '80s?        09:16:36
     8   Missouri.                            09:15:06                8       A. I'm sorry, I don't remember the 09:16:41
     9        Q. Okay. And what was the name of 09:15:06              9   year.                             09:16:42
    10   that school?                         09:15:07               10       Q. Okay. And when I say                09:16:42
    11        A. Meramec Community College.               09:15:07 11     "controlled substance compliance," it's my 09:16:43
    12        Q. Okay. And did you actually           09:15:09       12   understanding that the group was actually        09:16:44
    13   obtain a degree?                       09:15:11             13   called DEA compliance at the time.             09:16:46
    14        A. I did not.                   09:15:11               14       A. Correct.                      09:16:48
    15        Q. Okay. And where did you -- by 09:15:12              15       Q. Does that comport with your           09:16:49
    16   the way, what year did you stop going to        09:15:18    16   understanding?                         09:16:50
    17   school?                             09:15:20                17       A. Yes. Yes.                      09:16:50
    18        A. So I graduated from high school 09:15:20            18       Q. And so you have no recollection 09:16:51
    19   and took intermittent college classes but      09:15:22     19   of when you became senior manager of DEA             09:16:54
    20   never achieved a degree. So I graduated from 09:15:26 20         compliance?                           09:16:56
    21   high school in 1974.                     09:15:28           21       A. I have recollection, but I         09:16:56
    22        Q. Okay. And after you stopped           09:15:30      22   can't remember the year. I'm sorry.          09:17:00
    23   going to community college, where did you          09:15:34 23       Q. Okay. And what is your               09:17:02
    24   first work?                          09:15:35               24   recollection? Is it approximately -- I mean, 09:17:03
    25        A. Goldman and Gibson. It was a 09:15:36               25   are we talking the 1990s that you became the 09:17:05

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     1 senior manager or is it the '80s?            09:17:08             1       A. Yes.                       09:18:52
     2       A. It would have been in the -- in 09:17:10                 2       Q. Okay. And by the way, have you 09:18:55
     3   the -- after 2000.                   09:17:13                   3   ever worked for the DEA?                   09:18:59
     4       Q. After 2000?                    09:17:14                  4       A. No.                        09:19:00
     5       A. Yes.                        09:17:15                     5       Q. Have you ever worked for the          09:19:01
     6       Q. Okay. So from the period            09:17:16             6   government?                          09:19:02
     7   between when you became senior manager of           09:17:17    7       A. No.                        09:19:02
     8   controlled substance compliance, or DEA           09:17:21      8       Q. Have you worked in any -- for         09:19:03
     9   compliance, and when you were first started 09:17:23            9   any employer that -- whose responsibility it 09:19:07
    10   at Mallinckrodt, there was approximately        09:17:26       10   was to perform diversion-type activities on 09:19:11
    11   25 years that had passed?                09:17:28              11   controlled substances?                  09:19:16
    12       A. Yes.                        09:17:29                    12       A. No.                        09:19:16
    13       Q. Okay. And how was it that you 09:17:29                  13       Q. Okay. Other than the one year 09:19:17
    14   became senior manager of that group after        09:17:38      14   between finishing your -- or other than the 09:19:19
    15   starting as a clerical typist?          09:17:42               15   one year between when you stopped going to        09:19:23
    16       A. I moved into senior manager           09:17:45          16   community college and when you started           09:19:26
    17   after I went to the controlled substances     09:17:48         17   working at Mallinckrodt, fair to say that you 09:19:28
    18   compliance group. I was a coordinator in        09:17:52       18   had no other employment?                   09:19:30
    19   that department, then became manager and then 09:17:55         19           In other words, from 1975 to       09:19:33
    20   became senior manager.                    09:17:58             20   present, you have always worked at            09:19:34
    21       Q. Okay. And when did you become 09:17:59                  21   Mallinckrodt, correct?                 09:19:35
    22   coordinator of the DEA compliance/CSC?             09:18:04    22       A. That is correct.              09:19:36
    23       A. I'm not certain of the year.       09:18:07             23       Q. Okay. At the time you joined         09:19:37
    24   2001, approximate.                     09:18:11                24   in 2001, the approximate 2001 time period,      09:19:43
    25       Q. Okay. That's -- I believe         09:18:13              25   when you joined the DEA compliance team,           09:19:46

                                                           Page 23                                                         Page 25
     1 that's when you said you became senior          09:18:15          1   approximately how large was that team?        09:19:49
     2 manager.                            09:18:17                      2       A. Three or four people.          09:19:51
     3            I was asking when you first     09:18:18               3       Q. Okay. And who were those three 09:19:53
     4   became a coordinator, as you described        09:18:19          4   or four people?                    09:19:54
     5   earlier. Approximately when was that?         09:18:21          5       A. My manager and two other           09:19:54
     6       A. No, sir, I'm sorry. I think I 09:18:22                   6   compliance coordinators.               09:20:00
     7   said I became senior manager after year 2000, 09:18:24          7       Q. Okay. Who was your manager at 09:20:01
     8   but I couldn't remember the year. I        09:18:27             8   that time?                      09:20:03
     9   apologize.                        09:18:30                      9       A. The gentleman's name is Jay        09:20:03
    10       Q. I got it.                 09:18:30                      10   Foushee.                        09:20:07
    11            So around 2001 is when you        09:18:30            11       Q. Okay.                    09:20:07
    12   became a coordinator --                 09:18:32               12       A. Would you like for me to spell 09:20:07
    13       A. Yes.                      09:18:35                      13   that?                         09:20:09
    14       Q. -- at the control --          09:18:35                  14       Q. That's okay. We can get it       09:20:09
    15       A. Yes.                      09:18:36                      15   later.                       09:20:11
    16       Q. -- for the DEA compliance           09:18:37            16       A. All right.               09:20:11
    17   group?                           09:18:38                      17       Q. And so you reported to him?        09:20:12
    18       A. Yes. Yes.                   09:18:38                    18       A. Yes.                    09:20:14
    19       Q. That's helpful. Thank you.        09:18:39              19       Q. Okay. And you said two other        09:20:15
    20            And at the time you became       09:18:40             20   compliance managers. Who --               09:20:16
    21   involved in the DEA compliance group, were       09:18:45      21       A. Compliance coordinators.          09:20:19
    22   you aware that Mallinckrodt was manufacturing 09:18:48         22       Q. Coordinators, excuse me.          09:20:20
    23   controlled substances?                 09:18:50                23       A. Yes, sir.                09:20:20
    24       A. Yes.                      09:18:50                      24       Q. Thank you.                  09:20:21
    25       Q. Including prescription opioids? 09:18:51                25            Who were they?             09:20:23

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     1       A. Mary Lewis and a gentleman             09:20:23       1 to guard against diversion, but, yes.          09:22:13
     2   named Lee Nelson.                       09:20:25             2       Q. Okay. And are you familiar            09:22:16
     3       Q. And did the composition or the 09:20:27               3   that under the -- do you mind if I call the 09:22:20
     4   size of this team change over time?          09:20:34        4   Controlled Substances Act the CSA?              09:22:24
     5       A. Yes.                       09:20:37                   5       A. I don't mind.                  09:22:25
     6       Q. Okay. Did it expand, I assume? 09:20:39               6       Q. Okay. Are you familiar that          09:22:26
     7       A. Yes.                       09:20:41                   7   pursuant to the CSA that registrants have a 09:22:27
     8       Q. And when did you -- when do you 09:20:41              8   duty to monitor and implement a system to         09:22:30
     9   recall when it first expanded beyond the       09:20:46      9   identify suspicious orders?               09:22:32
    10   four -- three or four people you've         09:20:48        10            MR. O'CONNOR: Object to form. 09:22:33
    11   mentioned?                          09:20:52                11            THE WITNESS: Yes, I'm aware. 09:22:35
    12       A. After a few years went by --        09:20:52         12   QUESTIONS BY MR. KO:                            09:22:36
    13   and I'm sorry, I don't know the year -- the 09:20:55        13       Q. Okay. And these obligations           09:22:37
    14   company purchased another -- an additional       09:20:56   14   have existed since the time that CSA was         09:22:39
    15   controlled substances facility in Hobart,     09:21:00      15   enacted, correct?                      09:22:41
    16   New York, and the department grew after that. 09:21:04      16            MR. O'CONNOR: Object to form. 09:22:42
    17       Q. Okay. Did it -- and how -- to 09:21:07               17            THE WITNESS: I don't know the 09:22:44
    18   what extent did it grow?                 09:21:10           18       date of the CSA versus the creation of 09:22:47
    19       A. There are two persons who were 09:21:12              19       CFR 21.                          09:22:53
    20   in the DEA compliance group at Hobart,          09:21:14    20   QUESTIONS BY MR. KO:                            09:22:55
    21   New York, as an isolated department, and we 09:21:17        21       Q. Okay. And by CFR 21, are you 09:22:55
    22   became one group. And there was another          09:21:21   22   referring to the -- what's commonly referred 09:22:57
    23   person who was in the group at our Webster       09:21:24   23   to the regs that are interpreting the CSA? 09:22:59
    24   Groves narcotics manufacturing facility, so 09:21:28        24       A. Yes.                         09:23:04
    25   our group became united as one corporate        09:21:29    25       Q. Okay. Regardless of when they 09:23:04

                                                         Page 27                                                                    Page 29
     1 department, if you will.                 09:21:33             1    were enacted, you understood at the time that 09:23:06
     2       Q. Okay. So fair to say it          09:21:34            2    you joined the DEA compliance group in 2001               09:23:07
     3   doubled in size? Your group --             09:21:37         3    that the CSA required registrants to design          09:23:10
     4       A. Yes.                      09:21:39                   4    and implement a system to identify suspicious 09:23:15
     5       Q. -- became seven or eight           09:21:39          5    orders; is that correct?                   09:23:19
     6   people?                           09:21:41                  6        A.     Yes.                         09:23:19
     7       A. Yes.                      09:21:41                   7        Q.     Okay. What was your                 09:23:21
     8       Q. Okay. At any time that you          09:21:42         8    compensation when you first became a                  09:23:24
     9   were involved in the DEA compliance group,        09:21:44 9     coordinator at -- in the DEA compliance group 09:23:27
    10   was the group ever comprised of more than ten 09:21:47 10        in 2001?                                09:23:30
    11   individuals?                        09:21:51               11        A.     I don't know.                  09:23:30
    12       A. No.                       09:21:51                  12        Q.     Okay. Can you give us an            09:23:32
    13       Q. Okay. It was always               09:21:52          13    approximation?                             09:23:34
    14   approximately anywhere from three to eight       09:21:53 14         A.     I'm sorry, I really can't.       09:23:35
    15   people?                           09:21:55                 15        Q.     Was it less than $50,000?           09:23:36
    16       A. Yes.                      09:21:55                  16        A.     I honestly don't know. I can't      09:23:37
    17       Q. Okay. Ms. Harper, are you           09:21:55        17    remember, I'm sorry.                        09:23:40
    18   familiar with the Controlled Substances Act? 09:21:59 18             Q.     Okay. Was it less than            09:23:41
    19       A. Yes.                      09:22:00                  19    $25,000?                                09:23:43
    20       Q. And are you familiar that          09:22:01         20        A.     I'm sorry, I can't remember.        09:23:43
    21   pursuant to Controlled Substances Act that      09:22:03   21        Q.     All right. What was your            09:23:45
    22   registrants have a fundamental duty to        09:22:05     22    compensation when you became senior manager                09:23:47
    23   maintain effective controls against         09:22:13       23    of DEA compliance?                           09:23:49
    24   diversion?                         09:22:10                24        A.     I can't remember my salary over         09:23:50
    25       A. Yes, I believe the language is 09:22:10             25    the years.                              09:23:52

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     1       Q. Okay. Do you have an               09:23:54         1       year?                             09:25:20
     2   approximate recollection of how much you         09:23:55 2             A. It's percent.                 09:25:20
     3   made?                             09:23:57                 3            Q. Okay. And has that -- over the 09:25:23
     4       A. No, sir.                   09:23:57                 4       time that you've either been senior manager 09:25:27
     5       Q. Okay. Do you recall if it was 09:23:59              5       or director of controlled substance         09:25:28
     6   $75,000 or more or above?                  09:24:01        6       compliance, has it been that approximate        09:25:30
     7       A. No, sir, I don't recall.        09:24:03            7       percentage?                          09:25:32
     8       Q. Okay. Do you know what your             09:24:04    8            A. Yes.                       09:25:32
     9   salary is currently?                 09:24:09              9            Q. Okay. Great.                   09:25:34
    10       A. Yes.                       09:24:10                10                Ms. Harper, have you reviewed       09:25:35
    11       Q. Okay. And you're currently           09:24:13      11       any court documents or pleadings in this        09:25:39
    12   director of controlled substance compliance, 09:24:15 12           case?                             09:25:42
    13   correct?                          09:24:18                13            A. I'm not certain.              09:25:42
    14       A. Yes.                       09:24:19                14            Q. Okay. Are you aware that            09:25:46
    15       Q. And what is your salary            09:24:19        15       there's a case currently pending in Ohio,      09:25:49
    16   currently?                         09:24:21               16       generally titled the national opioid        09:25:54
    17       A. It's -- I'm going to give you 09:24:21             17       litigation?                        09:25:56
    18   two numbers because I get that mixed up as 09:24:24 18                  A. Yes.                       09:25:56
    19   well, I'm sorry. It's either        or      09:24:27      19            Q. And you're aware that there are 09:25:57
    20             per year.                   09:24:31            20       approximately 1500 jurisdictions that have       09:25:58
    21       Q.                                       09:24:32     21       filed suit against various manufacturers,      09:26:02
    22       A.         .                  09:24:34                22       distributors and retail pharmacies of        09:26:07
    23       Q.                                     09:24:35       23       prescription opioids?                   09:26:08
    24                                      09:24:39               24            A. Yes.                       09:26:08
    25       A.                                       09:24:40     25            Q. Okay. And are you aware that          09:26:08

                                                             Page 31                                                         Page 33
     1                                         09:24:42                 1   these jurisdictions have alleged that these 09:26:09
     2        Q. And when did you start               09:24:42          2   entities are responsible for the opioid       09:26:12
     3                                      ?            09:24:44       3   crisis?                           09:26:14
     4        A. I don't recall the year.          09:24:44             4       A. Yes.                        09:26:15
     5        Q. Okay. And do you have any               09:24:45       5       Q. Okay. By the way, are you             09:26:16
     6   other -- do you have a retirement package at 09:24:49          6   aware -- strike that.                  09:26:20
     7   all?                              09:24:51                     7            Are you generally aware that       09:26:20
     8        A. Yes.                        09:24:52                   8   these jurisdictions are alleging that these 09:26:25
     9        Q. Okay. And what does that              09:24:53         9   entities should be responsible for the costs 09:26:28
    10   consist of?                          09:24:54                 10   that these entities have incurred as a result 09:26:30
    11        A. It's 401(k).                  09:24:55                11   of responding to the opioid crisis?          09:26:33
    12        Q. Okay. Other than the 401(k)            09:24:56       12       A. Yes, in general.                 09:26:35
    13   and                                     , do you 09:24:58     13       Q. Okay. And are you aware of any 09:26:36
    14   have any other additional compensation in          09:25:01   14   complaints that have actually been filed        09:26:39
    15   addition to your salary?                   09:25:04           15   against your company?                      09:26:42
    16        A. Yes.                        09:25:05                  16       A. No.                         09:26:43
    17        Q. And what does that consist of? 09:25:07               17       Q. Okay. So you haven't read any 09:26:46
    18        A. A bonus, an annual bonus.             09:25:08        18   of the complaints that have been filed         09:26:47
    19        Q. Okay. And approximately how               09:25:10    19   against Mallinckrodt?                     09:26:50
    20   much is that?                          09:25:11               20       A. I've read pieces of the MDL,          09:26:51
    21        A. It's -- it's a percent of the     09:25:11            21   but nothing specific to Mallinckrodt.          09:26:55
    22   salary based upon the performance of the           09:25:14   22       Q. Okay. When you say "pieces of 09:26:56
    23   company.                              09:25:17                23   the MDL," what do you mean?                    09:26:59
    24        Q. Okay. And what's the                09:25:17          24       A. The multi-district litigation. 09:27:01
    25   approximate percentage that you received last 09:25:18        25       Q. And particularly when you say           09:27:03

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                                                          Page 34                                                         Page 36
     1   "pieces," I'm just trying to get an        09:27:04          1            THE WITNESS: That is not             09:28:44
     2   understanding of what you've reviewed.           09:27:06    2       the sta -- pardon me, the statistic I 09:28:46
     3       A. So we receive a pharma news            09:27:07       3       have heard.                      09:28:48
     4   brief every single day, and so there will be 09:27:10        4   QUESTIONS BY MR. KO:                            09:28:48
     5   excerpts from the various matters related to 09:27:13        5       Q. Okay. What is the statistic         09:28:49
     6   the MDL, Judge Polster's rulings, et cetera. 09:27:16        6   that you have heard?                     09:28:50
     7       Q. I see.                      09:27:20                  7       A. That we're in the top five --       09:28:50
     8            So in other words, you're        09:27:20           8       Q. Okay.                         09:28:50
     9   getting and receiving and reviewing these       09:27:22     9       A. -- of the share of generic         09:28:53
    10   news updates about the MDL?                   09:27:26      10   suppliers.                          09:28:55
    11       A. Correct.                      09:27:28               11       Q. Okay. And generic suppliers of 09:28:55
    12       Q. Okay. Great.                    09:27:29             12   prescription opioids in particular, correct? 09:28:58
    13            Ms. Harper, do you agree that 09:27:30             13       A. Yes.                        09:28:59
    14   there's an opioid epidemic in this country? 09:27:35        14       Q. Okay. And currently, do you            09:29:00
    15            MR. O'CONNOR: Object to form. 09:27:37             15   understand that Mallinckrodt has the number 09:29:05
    16            THE WITNESS: Yes, I do.             09:27:38       16   one market share of generic prescription        09:29:07
    17   QUESTIONS BY MR. KO:                            09:27:39    17   opioids?                            09:29:10
    18       Q. Okay. And are you aware that 09:27:41                18            MR. O'CONNOR: Object to form. 09:29:10
    19   there's been an opioid epidemic in this       09:27:43      19            THE WITNESS: I don't -- I'm          09:29:11
    20   country for quite some time?                09:27:45        20       sorry. I don't know. I don't know       09:29:12
    21            MR. O'CONNOR: Object to form. 09:27:47             21       our current market position.           09:29:13
    22            THE WITNESS: I don't know,            09:27:47     22   QUESTIONS BY MR. KO:                            09:29:14
    23       sir, what you mean by "quite some         09:27:50      23       Q. Okay. During your time as             09:29:14
    24       time."                         09:27:51                 24   director or senior manager of controlled       09:29:18
    25            Can you -- I don't know.         09:27:52          25   substance compliance, have you ever inquired 09:29:21

                                                          Page 35                                                           Page 37
     1 QUESTIONS BY MR. KO:                             09:27:53   1      as to the market share of Mallinckrodt with 09:29:23
     2       Q. When did you first start          09:27:54         2      respect to prescription opioids?            09:29:26
     3   believing that there was an opioid epidemic 09:27:57      3          A. On certain specific drug            09:29:28
     4   in this country?                    09:28:02              4      substances, yes.                       09:29:31
     5            MR. O'CONNOR: Object to form. 09:28:03           5          Q. And which specific drug              09:29:32
     6            THE WITNESS: Approximately             09:28:04  6      substances?                           09:29:34
     7       mid-2000s.                      09:28:05              7          A. So I'll use the example            09:29:34
     8   QUESTIONS BY MR. KO:                           09:28:06   8      methylphenidate. When we're applying for          09:29:40
     9       Q. Mid-2000s?                     09:28:07            9      quota, if there is an intent or if we have a 09:29:43
    10       A. Yes, sir.                  09:28:08               10      belief that we will grow our market share, I 09:29:46
    11       Q. Okay. Are you familiar with          09:28:08     11      need to learn the existing market share that 09:29:48
    12   Mallinckrodt's market share of prescription 09:28:10 12          Mallinckrodt holds.                      09:29:51
    13   opioids?                          09:28:13               13          Q. Okay. And when over the last 09:29:52
    14       A. On some products, yes.             09:28:13       14      20 or so years have you inquired into that? 09:29:57
    15       Q. Okay. With respect to the          09:28:18       15               Has that been inquiries that      09:30:03
    16   generic product line of Mallinckrodt, are you 09:28:20 16        you've made on a fairly regular basis?         09:30:04
    17   aware of Mallinckrodt's market share in the 09:28:24 17                   MR. O'CONNOR: Object to form. 09:30:07
    18   generic line of business?               09:28:27         18               THE WITNESS: Yes, in                09:30:07
    19       A. Not overall, no, sir.          09:28:29           19          coordination with quota requests to       09:30:08
    20       Q. Okay. Are you aware that            09:28:31      20          DEA, yes.                         09:30:09
    21   Mallinckrodt has been either the number one 09:28:34 21          QUESTIONS BY MR. KO:                            09:30:10
    22   or number two in terms of market share         09:28:36  22          Q. And those quota requests on an 09:30:10
    23   generic manufacturer of prescription opioids 09:28:40 23         annual basis, correct?                   09:30:13
    24   for the last 20 or so years?           09:28:42          24          A. Quota is granted on an annual 09:30:13
    25            MR. O'CONNOR: Object to form. 09:28:43 25               basis, but the requests are an iterative     09:30:16

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     1 process throughout a calendar year.             09:30:19       1       Q. And who reports to you?           09:31:57
     2       Q. Okay. And so you would say              09:30:20      2       A. I have two direct reports.       09:31:58
     3   that you have regularly -- I just want to     09:30:22       3   They are managers of controlled substances 09:32:01
     4   make sure I understand when you -- when you 09:30:25         4   compliance.                        09:32:04
     5   have inquired into understanding              09:30:28       5       Q. And who are they?               09:32:07
     6   Mallinckrodt's market share, and you've said 09:30:30        6       A. There's a gentleman named --        09:32:07
     7   on a fairly consistent basis, correct?       09:30:32        7   his name is Dave Hunter.                09:32:10
     8       A. Yes.                        09:30:34                  8       Q. And who is the other person?        09:32:14
     9       Q. Okay. And consistent means             09:30:36       9   You said there were two?                09:32:17
    10   throughout the year, as you've described, in 09:30:40       10       A. Eileen Spaulding.              09:32:17
    11   connection with issues when dealing with         09:30:42   11       Q. Okay. And you have worked with 09:32:19
    12   quota requests to the DEA?                  09:30:45        12   Mr. Hunter and Ms. Spaulding before, correct? 09:32:21
    13            MR. O'CONNOR: Object to form. 09:30:47             13       A. Correct.                   09:32:24
    14            THE WITNESS: Yes, throughout            09:30:47   14       Q. And you worked with them in          09:32:25
    15       the year, but on certain drug         09:30:49          15   connection with the controlled substance     09:32:26
    16       substances at different times, sir.    09:30:51         16   compliance team throughout the time you were 09:32:30
    17   QUESTIONS BY MR. KO:                            09:30:52    17   senior manager, correct?               09:32:31
    18       Q. Okay. Going back to your              09:30:53       18       A. Correct.                   09:32:32
    19   current position as director of controlled     09:30:57     19           (Mallinckrodt-Harper Exhibit 1 09:32:40
    20   substance compliance --                   09:31:01          20       marked for identification.)        09:32:40
    21       A. Sorry.                       09:31:02                21   QUESTIONS BY MR. KO:                         09:32:40
    22       Q. That's okay.                   09:31:03              22       Q. I'd like to hand you an         09:32:41
    23            -- when did you become            09:31:05         23   exhibit. Go ahead and mark this as Harper 09:32:42
    24   director?                          09:31:07                 24   Exhibit 1.                       09:32:56
    25       A. Within the last six months.          09:31:08        25           And there's no Bates on this,   09:33:09

                                                         Page 39                                                           Page 41
     1        Q. Okay. So fairly recently?          09:31:11          1 but this -- this appears to be a printout of   09:33:12
     2        A. Yes, sir.                   09:31:12                 2 your LinkedIn profile; is that correct?        09:33:14
     3        Q. And before that, you were           09:31:13         3       A. Yes.                       09:33:16
     4   senior manager of controlled substance          09:31:15     4       Q. And does that appear to be an        09:33:16
     5   compliance, correct?                     09:31:17            5   accurate reflection or copy of your LinkedIn 09:33:19
     6        A. Yes.                       09:31:18                  6   profile?                          09:33:23
     7        Q. Okay. And so was this              09:31:18          7       A. Yes.                       09:33:23
     8   considered a promotion?                    09:31:20          8       Q. And I don't want to spend too        09:33:23
     9        A. Yes.                       09:31:21                  9   much time on it, but I do want to ask you a 09:33:25
    10        Q. Okay. And who did you replace, 09:31:22             10   question about your involvement in the        09:33:27
    11   if at all? If anyone?                  09:31:25             11   National Association of Drug Diversion         09:33:33
    12        A. No one.                      09:31:27               12   Investigators.                      09:33:36
    13        Q. So was this position created        09:31:28        13            Do you see that reference? I     09:33:37
    14   for you?                            09:31:30                14   believe that's on the next page.          09:33:38
    15        A. Yes.                       09:31:30                 15       A. Yes, I see it. Yes.            09:33:43
    16        Q. Okay. And what were the              09:31:31       16       Q. And it indicates that you've       09:33:44
    17   circumstances of creating this position?       09:31:34     17   been a member of the NADDI since 2013?            09:33:46
    18        A. It was an evolution, if you        09:31:36         18       A. Yes.                       09:33:50
    19   will, of my -- my existing job             09:31:39         19       Q. What is the NADDI?                 09:33:51
    20   responsibilities that merited a different     09:31:43      20       A. It's a group -- it's a        09:33:54
    21   title.                           09:31:46                   21   consortium of industry, law enforcement        09:34:00
    22        Q. Okay. And now that you're            09:31:46       22   leaders that assemble to discuss the issues 09:34:05
    23   director, do you have people that report to 09:31:55        23   around diversion.                     09:34:10
    24   you?                              09:31:56                  24       Q. Okay. And diversion of             09:34:12
    25        A. Yes.                       09:31:56                 25   controlled substances?                  09:34:14

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                                                       Page 42                                                                 Page 44
     1        A. Yes.                    09:34:15                   1 with them?                             09:35:56
     2        Q. And did you have any           09:34:20            2      A.    I'd like to clarify my previous    09:35:57
     3   involvement in the NADDI prior to 2013?       09:34:21     3 answer.                               09:36:00
     4        A. Yes.                    09:34:23                   4      Q.    Sure.                      09:36:00
     5        Q. Okay. And what was that          09:34:28          5      A.    I have been a member of            09:36:00
     6   involvement?                       09:34:29                6 National Association of Controlled Substances 09:36:02
     7        A. We received drug feed -- pardon 09:34:29           7 Authorities.                           09:36:05
     8   me, information feed entitled "RX News."      09:34:32     8      Q.    Okay. Since when?                 09:36:05
     9        Q. From the NADDI?                09:34:37            9      A.    I don't recall the date.       09:36:06
    10        A. Yes, sir.                09:34:40                 10 Approximately December 2013 forward.                  09:36:11
    11        Q. Other than receiving news from 09:34:41           11      Q.    Okay. So about the same time           09:36:13
    12   the NADDI, did you have any other type of      09:34:45   12 you joined the NADDI?                        09:36:14
    13   involvement with them?                 09:34:47           13      A.    Yes, sir.                  09:36:15
    14        A. No.                     09:34:48                  14      Q.    Okay. Did you have any             09:36:16
    15        Q. Okay. Were you ever -- the       09:34:50         15 involvement with this National Association of 09:36:17
    16   first time you became a member of the NADDI 09:34:55      16 Controlled Substances Authorities prior to          09:36:24
    17   was in 2013?                       09:34:57               17 2013?                                 09:36:24
    18        A. Yes.                    09:34:58                  18      A.    Not that I recall.           09:36:25
    19        Q. Okay. Do you have any           09:35:00          19      Q.    Okay. So fair to say other        09:36:28
    20   involvement with any type of diversion      09:35:02      20 than the Midwest Substance Compliance working 09:36:33
    21   organization prior to 2013?            09:35:05           21 group, prior to 2013 you had no other             09:36:37
    22        A. Yes.                    09:35:06                  22 involvement with any other diversion-type            09:36:43
    23        Q. And which one is that?         09:35:08           23 group?                                09:36:45
    24        A. The group name is Midwest         09:35:09        24      A.    Not that I recall.           09:36:46
    25   Controlled Substances Compliance Discussion 09:35:09      25      Q.    Okay. Did you ever consider           09:36:48

                                                           Page 43                                                             Page 45
     1 Group.                               09:35:18                1   membership or joining any such groups?             09:36:55
     2       Q. Okay. And I believe I've seen 09:35:18              2       A. No.                          09:36:57
     3   plenty of references to that group in the     09:35:21     3       Q. Okay. Why not?                      09:36:58
     4   documents, but is that -- correct me if I'm 09:35:23       4       A. My job was full time and my             09:36:59
     5   wrong, but is that a type of industry working 09:35:27     5   husband was ill, so I did not participate in 09:37:08
     6   group?                            09:35:28                 6   extracurricular activities, if you will.      09:37:12
     7       A. That's correct.               09:35:29              7       Q. Okay. And let's take a step           09:37:14
     8       Q. In other words, there were          09:35:29        8   back.                              09:37:21
     9   other manufacturers and distributors that      09:35:30    9            When you became -- I understand 09:37:21
    10   were part of that group?                 09:35:33         10   you don't recall when you became senior           09:37:24
    11       A. No distributors.                09:35:33           11   manager of controlled substance compliance, 09:37:26
    12       Q. Okay. So manufacturers of            09:35:35      12   but turning back to the first page of your      09:37:28
    13   prescription opioids were in that group; is 09:35:36      13   LinkedIn profile, it indicates that -- or at 09:37:30
    14   that correct?                       09:35:38              14   least the profile indicates that you have      09:37:34
    15       A. Yes.                       09:35:38                15   been senior manager for 43 years.              09:37:35
    16       Q. Okay. Other than that group, 09:35:39              16            Is that incorrect?           09:37:37
    17   any other organization that you were involved 09:35:46 17          A. That's incorrect.                 09:37:38
    18   in?                             09:35:47                  18       Q. Okay. It's more accurate to           09:37:39
    19       A. No.                        09:35:48                19   say that you've been senior manager for some 09:37:41
    20       Q. Okay. Are you familiar with           09:35:48     20   period less than 17 years when considering         09:37:44
    21   the National Association of Controlled         09:35:51   21   that you joined the controlled substance         09:37:46
    22   Substances Authorities?                   09:35:53        22   compliance group in 2001?                     09:37:48
    23       A. Oh, yes.                     09:35:53              23       A. Yes.                         09:37:49
    24            I beg your pardon.            09:35:55           24       Q. Okay. And when you first               09:37:50
    25       Q. Okay. So you had involvement 09:35:55              25   became senior manager of the controlled           09:37:55

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     1 substance compliance group, what were your           09:37:57      1 QUESTIONS BY MR. KO:                              09:40:46
     2 general responsibilities?                09:38:00                  2       Q. So when you say you had primary 09:40:46
     3      A.    The same as they were as         09:38:01               3   responsibilities associated with St. Louis     09:40:49
     4 manager, except with one exception. I had -- 09:38:06              4   and Hobart facilities, what exactly do you      09:40:51
     5 when the company met with DEA, I was present           09:38:12    5   mean?                              09:40:54
     6 at those meetings where I had not been            09:38:16         6       A. Prior to that, the controlled       09:40:54
     7 necessarily in my previous position.             09:38:19          7   substances compliance group at each facility 09:40:59
     8      Q.    Okay. So in your previous        09:38:21               8   operated reporting to the management of their 09:41:02
     9 position, you had never communicated -- or          09:38:22       9   separate sites. And so eventually the group 09:41:07
    10 never met with the DEA, but when you became            09:38:26   10   became one, and my position provided a           09:41:11
    11 senior manager, you became more involved and           09:38:29   11   corporate oversight for all the facilities   09:41:14
    12 met actually with the DEA?                  09:38:32              12   that had controlled substances compliance        09:41:17
    13           MR. O'CONNOR: Object to form.            09:38:33       13   personnel.                          09:41:19
    14           THE WITNESS: So I'd like to        09:38:34             14       Q. Okay. And when you became                09:41:19
    15      clarify, please.                 09:38:35                    15   senior manager, those responsibilities        09:41:22
    16 QUESTIONS BY MR. KO:                              09:38:36        16   continued, correct?                     09:41:24
    17      Q.    Sure.                  09:38:36                        17       A. Yes.                        09:41:25
    18      A.    All through my career in        09:38:37               18       Q. Okay. And as you said, you            09:41:26
    19 controlled substances compliance, I              09:38:40         19   started interacting with the DEA on a more       09:41:28
    20 communicated with DEA in the course of              09:38:41      20   regular basis.                       09:41:31
    21 inspections and on quota requests.           09:38:46             21            Do you recall when you first       09:41:32
    22      Q.    Okay. And so how did that         09:38:51             22   started communicating with the DEA more            09:41:35
    23 change when you became senior manager?               09:38:54     23   frequently?                          09:41:37
    24      A.    So there were times when we met        09:38:56        24            MR. O'CONNOR: Object to form. 09:41:38
    25 with DEA in Washington, DC, and I then would           09:38:58   25            THE WITNESS: I don't know the 09:41:38

                                                              Page 47                                                                 Page 49
     1 participate in those meetings.              09:39:05               1      year. Well, it was when I became           09:41:41
     2       Q. I see.                      09:39:07                      2      senior manager, but I don't know that        09:41:44
     3            And a moment ago when you said 09:39:08                 3      year, I'm sorry.                  09:41:45
     4   that the only thing that really changed was 09:39:16             4 QUESTIONS BY MR. KO:                               09:41:45
     5   your interactions with the DEA relative to     09:39:19          5      Q.    Okay. Real briefly turning          09:41:45
     6   when you were a manager, tell -- please        09:39:22          6 back to your membership in the NADDI, are you 09:41:50
     7   describe what your responsibilities were then 09:39:25           7 aware that they conduct trainings on topics        09:41:54
     8   as a manager of the controlled substance       09:39:27          8 such as diversion?                      09:41:58
     9   compliance group.                       09:39:31                 9      A.    Yes.                     09:42:00
    10       A. As a manager of the controlled 09:39:31                  10      Q.    Okay. Did you ever attend any         09:42:00
    11   substances compliance group, I had primary        09:39:33      11 of those trainings?                     09:42:01
    12   responsibilities associated with the        09:39:38            12      A.    Yes.                     09:42:02
    13   St. Louis plant function in the beginning.    09:39:40          13      Q.    Did you ever attend those          09:42:03
    14   And then as time went on, we acquired the        09:39:44       14 trainings before 2013?                      09:42:04
    15   Hobart, New York, facility, and they came in 09:39:48           15      A.    I don't think so, but I do not     09:42:06
    16   as part of our group.                  09:39:53                 16 know.                               09:42:09
    17            MR. KO: Sorry, do you mind if 09:40:15                 17      Q.    Okay. Prior to 2013, did you         09:42:09
    18       we go off the record for just a       09:40:17              18 ever attend any type of training related to       09:42:12
    19       second?                         09:40:18                    19 diversion?                           09:42:16
    20            VIDEOGRAPHER: We're going off 09:40:19                 20      A.    Yes.                     09:42:16
    21       the record at 9:40 a.m.             09:40:19                21      Q.    Okay. And what type of              09:42:17
    22        (Off the record at 9:40 a.m.)        09:40:25              22 trainings?                           09:42:18
    23            VIDEOGRAPHER: We are back on              09:40:38     23      A.    So there were DEA conferences          09:42:19
    24       the record at 9:40 a.m.             09:40:44                24 for industry.                        09:42:22
    25                                                                   25      Q.    Uh-huh. And --                   09:42:26

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                                                         Page 50                                                          Page 52
     1       A. And --                       09:42:26                 1       Q. Uh-huh.                      09:44:15
     2       Q. Go ahead. Sorry.                 09:42:27             2       A. Director of controlled           09:44:16
     3       A. I apologize.                  09:42:27                3   substances compliance at Noramco, and           09:44:18
     4       Q. That's okay.                  09:42:28                4   representatives -- and I don't know their    09:44:29
     5       A. They're private industry           09:42:29           5   exact titles -- Actavis and Watson. So those 09:44:30
     6   conferences, not -- so they were hosted by      09:42:33     6   are the ones that come to mind.            09:44:35
     7   other than DEA.                        09:42:40              7       Q. Okay. And the director of          09:44:38
     8       Q. Sure.                       09:42:41                  8   Teva, who is she or he?                 09:44:42
     9            Similar to the Midwest          09:42:42            9       A. Her name is Colleen McGinn.           09:44:44
    10   substance compliance group you were referring 09:42:44      10       Q. And how long have you known             09:44:47
    11   to, or something separate?                09:42:45          11   her?                             09:44:49
    12       A. Something separate.               09:42:46           12       A. Since I joined the controlled      09:44:49
    13       Q. Okay. And these were put on           09:42:47       13   substances compliance group.               09:44:52
    14   by, as you said, private entities?         09:42:50         14       Q. In 2001?                     09:44:52
    15       A. Yes.                        09:42:52                 15       A. Yes.                       09:44:56
    16       Q. Okay. And in the -- from the         09:42:53        16       Q. Okay. And did you speak with          09:44:57
    17   2001 to 2013 time period, how frequently did 09:42:58       17   her about diversion-type activities?        09:44:58
    18   you attend these trainings?              09:43:02           18            MR. O'CONNOR: Object to form. 09:45:02
    19       A. Approximately one per year.           09:43:03       19            THE WITNESS: Yes.                09:45:03
    20       Q. One per year. Okay.               09:43:07           20   QUESTIONS BY MR. KO:                           09:45:03
    21            And the DEA conferences, do you 09:43:08           21       Q. And how frequent?                 09:45:04
    22   recall going to those on an annual basis or 09:43:10        22       A. Intermittently. I don't know 09:45:05
    23   was that less frequent than an annual basis? 09:43:12       23   the frequency.                       09:45:09
    24       A. When they were offered, there         09:43:16       24       Q. Okay. Are you aware of Federal 09:45:09
    25   was a period of time they weren't offered on 09:43:19       25   Register notices?                     09:45:21

                                                           Page 51                                                      Page 53
     1 an annual basis. But, yes, when they were         09:43:22     1       A. Yes.                       09:45:22
     2   offered, I would attend, yes.             09:43:23           2       Q. Did you regularly review them         09:45:22
     3       Q. Okay. And do you recall              09:43:25         3   during your time in the DEA compliance group? 09:45:23
     4   attending a DEA conference in the fall         09:43:27      4       A. Yes.                       09:45:26
     5   of 2008?                            09:43:32                 5            MR. O'CONNOR: Object to form. 09:45:26
     6       A. I'm so sorry, I'm not good on 09:43:32                6            THE WITNESS: Yes.                09:45:28
     7   my years.                           09:43:37                 7   QUESTIONS BY MR. KO:                          09:45:28
     8       Q. Sure.                       09:43:37                  8       Q. How frequent would you say you 09:45:28
     9       A. I can't place the fall of 2008 09:43:37               9   reviewed those?                       09:45:30
    10   and a conference at that time.             09:43:40         10       A. I or someone in my group            09:45:31
    11       Q. That's fine. We can get to          09:43:40         11   monitored the Register every single day.      09:45:37
    12   some documents --                        09:43:42           12       Q. Okay.                       09:45:40
    13       A. Okay.                        09:43:42                13       A. For DEA notices.                 09:45:41
    14       Q. -- that will hopefully refresh 09:43:42              14       Q. I see.                    09:45:43
    15   your recollection later.                09:43:46            15            And when did you start doing      09:45:43
    16       A. All right.                   09:43:47                16   that?                           09:45:45
    17       Q. Do you maintain relationships 09:43:48               17       A. I don't recall the year. It -- 09:45:46
    18   with any other individuals who have similar 09:43:49        18   I don't recall the year.              09:45:49
    19   jobs as you do for other entities?          09:43:52        19       Q. And would you say it was your 09:45:50
    20       A. Yes.                        09:43:52                 20   responsibility to review those notices?      09:45:54
    21       Q. Which individuals and for what 09:44:02              21       A. Initially, yes.              09:45:57
    22   entities do they work for?                09:44:04          22       Q. Okay. And when did -- and I          09:45:58
    23       A. So there's a director of          09:44:05           23   assume you don't do that anymore if you said 09:46:04
    24   controlled substances compliance at Teva         09:44:12   24   "initially"?                      09:46:07
    25   Pharmaceuticals.                       09:44:15             25       A. It depends on the nature of the 09:46:08

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     1 notice that we're antici -- if we're         09:46:09                 1 QUESTIONS BY MR. KO:                               09:48:05
     2   anticipating pivotal Federal Register Notice 09:46:10               2       Q. The mid-2000s?                     09:48:06
     3   about quota or our DEA registration, I         09:46:12             3       A. Yes.                         09:48:07
     4   continue to monitor them, but other -- other 09:46:16               4       Q. Okay. And would it also be             09:48:07
     5   folks within my team monitor them on a daily 09:46:18               5   fair to say that up to that point, DEA        09:48:11
     6   basis.                            09:46:21                          6   actions were against small or mid-sized         09:48:15
     7       Q. Okay. And who would be those             09:46:22            7   distributors related to their diversion-type 09:48:23
     8   individuals?                         09:46:24                       8   activities?                         09:48:24
     9       A. The gentleman's name is Dave            09:46:25             9       A. I can't answer that question.        09:48:24
    10   Hunter. He's the manager at the St. Louis        09:46:29          10   I don't know.                         09:48:26
    11   plant.                            09:46:31                         11       Q. Now, at some point did you also 09:48:26
    12       Q. And he also, as you said            09:46:32                12   become aware of an action involving Purdue? 09:48:31
    13   before, reports to you directly right now?      09:46:37           13            MR. O'CONNOR: Object to form. 09:48:36
    14       A. Yes.                         09:46:39                       14            THE WITNESS: Yes.                   09:48:37
    15       Q. Are you aware of reviewing any 09:46:42                     15   QUESTIONS BY MR. KO:                             09:48:38
    16   Federal Register Notices in the mid-2000s?         09:46:44        16       Q. In particular, did you ever          09:48:40
    17       A. I'm certain -- I'm not certain 09:46:47                     17   become aware of the Purdue consent decree in 09:48:41
    18   because I'm mixed up on my years.              09:46:54            18   2007?                               09:48:45
    19       Q. Sure.                        09:46:56                       19       A. Yes.                         09:48:45
    20            But -- so I guess I'm trying to 09:46:56                  20       Q. And are you aware that that           09:48:45
    21   get an understanding of when you started          09:46:58         21   investigation revolved around Purdue's          09:48:50
    22   reviewing these Federal Register Notices.        09:47:01          22   manufacturing, promotion and advertising          09:48:54
    23       A. Certainly that's helpful.         09:47:03                  23   activities of OxyContin?                   09:48:56
    24            When I joined the controlled       09:47:05               24       A. Yes.                         09:48:57
    25   substances compliance group.                 09:47:08              25       Q. Okay. And at the time you             09:48:59

                                                                  Page 55                                                         Page 57
     1      Q.    Okay. Again, we'll get to some 09:47:08                    1 became aware of that consent decree, I assume 09:49:04
     2 of those in a moment.                       09:47:14                  2 you're also aware that Mallinckrodt was           09:49:08
     3      A.    Okay.                     09:47:15                         3 manufacturing a generic form of OxyContin?           09:49:10
     4      Q.    Now, when you were in the DEA             09:47:16         4            MR. O'CONNOR: Object to form. 09:49:12
     5 compliance group, did you become aware of DEA 09:47:25                5            THE WITNESS: I don't know the 09:49:12
     6 actions and investigations against major            09:47:29          6       timing of when we entered the market        09:49:16
     7 distributors?                            09:47:33                     7       for OxyContin -- or, I'm sorry, the      09:49:18
     8      A.    Yes.                     09:47:33                          8       generic oxycodone, so I don't know         09:49:22
     9      Q.    And those major distributors         09:47:34              9       exactly the timing relative to the     09:49:23
    10 are ABC, Cardinal and McKesson?                     09:47:35         10       Purdue matter.                    09:49:25
    11      A.    Yes.                     09:47:38                         11   QUESTIONS BY MR. KO:                            09:49:26
    12      Q.    And did you review the details       09:47:38             12       Q. Okay. So you are aware that           09:49:26
    13 of these investigations or DEA actions when            09:47:42      13   Mallinckrodt has manufactured oxycodone,           09:49:28
    14 you became aware of them?                       09:47:48             14   correct?                           09:49:31
    15           MR. O'CONNOR: Object to form.              09:47:48        15       A. Yes.                         09:49:31
    16           THE WITNESS: Not on a detailed 09:47:49                    16       Q. And oxycodone, generally              09:49:31
    17      level all the time, but at a high       09:47:53                17   speaking, is a generic form of a prescription 09:49:34
    18      level, yes.                    09:47:55                         18   opioid?                             09:49:36
    19 QUESTIONS BY MR. KO:                                09:47:56         19       A. Oxycodone is the name of the           09:49:38
    20      Q.    Okay. Would it be fair to say       09:47:56              20   molecule, so, yes, it's -- yes, oxycodone is 09:49:39
    21 that these settlements and DEA actions of the 09:47:58               21   manufactured into the generic, yes.           09:49:43
    22 distributors caught your attention in           09:48:01             22       Q. Okay. And you're also aware            09:49:46
    23 mid-2000 time period?                        09:48:04                23   that Mallinckrodt manufactured various dosage 09:49:48
    24           MR. O'CONNOR: Object to form.              09:48:04        24   strengths of oxycodone, correct?             09:49:53
    25                                                                      25       A. Yes.                         09:49:54

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                                                         Page 58                                                           Page 60
     1       Q. Including oxy 15 milligrams and 09:49:55              1 had responsibility, if they saw anything that 09:52:20
     2   oxy 30 milligrams, correct?                09:49:58          2 appeared to be unusual to them, to escalate       09:52:22
     3       A. Yes, in the IR release form,         09:49:59         3 to their manager.                       09:52:24
     4   yes.                            09:50:03                     4            We took precautions to make        09:52:26
     5       Q. And by "IR" you mean immediate 09:50:03               5   certain that every single order we shipped 09:52:28
     6   release, correct?                    09:50:05                6   was to a valid DEA registration, every order 09:52:30
     7       A. Yes, sir.                   09:50:05                  7   for Schedule II drugs was -- that we received 09:52:35
     8       Q. Now, one of your primary              09:50:06        8   a 222 form that was filled out correctly, and 09:52:39
     9   responsibilities as senior manager of         09:50:28       9   that the order -- the address on the 222      09:52:42
    10   controlled substance compliance was to design 09:50:31      10   forms coincided exactly with the ship to       09:52:45
    11   and implement a system to identify suspicious 09:50:35      11   address in our company's order management          09:52:48
    12   orders, correct?                     09:50:37               12   system.                            09:52:51
    13            MR. O'CONNOR: Object to form. 09:50:37             13       Q. Okay. And I want to get an           09:52:52
    14            THE WITNESS: We already had a 09:50:39             14   understanding of when these elements were in 09:52:53
    15       system in place.                  09:50:42              15   place, because I've reviewed a lot of        09:52:57
    16   QUESTIONS BY MR. KO:                            09:50:43    16   documents in this case and I've been able to 09:53:00
    17       Q. Okay. So when you say "we              09:50:43      17   determine -- or at least from my            09:53:02
    18   already had a system in place," first of all, 09:50:44      18   interpretation I've been able to see some of 09:53:04
    19   when -- what time period are you talking        09:50:48    19   these things that you have discussed during 09:53:07
    20   about right now?                       09:50:49             20   certain time periods. But I want to         09:53:08
    21       A. All the way back to my days           09:50:50       21   understand what you said a moment ago when 09:53:10
    22   before controlled substances compliance, I       09:50:55   22   you said that Mallinckrodt always had a         09:53:14
    23   was aware that we had a system in place         09:50:58    23   system.                            09:53:15
    24   designed to detect orders of unusual pattern, 09:51:02      24            Do you recall that testimony?     09:53:15
    25   size and frequency.                    09:51:05             25       A. Yes, I do.                    09:53:17

                                                         Page 59                                                           Page 61
     1       Q. Okay. And what did that             09:51:07      1          Q. Are these things that you're         09:53:18
     2   system -- what was your understanding of what 09:51:09 2         describing, are you testifying that        09:53:20
     3   that system consisted of?                09:51:11        3       Mallinckrodt always had all these elements in 09:53:21
     4       A. There was a algorithm in --         09:51:14      4       connection with the suspicious order          09:53:26
     5   programmed by IT into our order entry system 09:51:20 5          monitoring program?                      09:53:29
     6   that would flag orders for further review.     09:51:26  6               MR. O'CONNOR: Object to form. 09:53:29
     7       Q. Okay. Other than that             09:51:29        7               THE WITNESS: There's one that 09:53:30
     8   algorithm, were there any other elements of 09:51:32     8          I'm not certain of, but all the other 09:53:35
     9   that system?                         09:51:35            9          elements, yes, have been in place        09:53:37
    10       A. Yes, quite a few others.          09:51:36       10          since I became aware all the way back 09:53:40
    11       Q. Okay. And what did those             09:51:39    11          to my days in manufacturing and within 09:53:42
    12   consist of?                        09:51:41             12          the scope of DEA audits.               09:53:44
    13       A. So we had commercial                09:51:42     13       QUESTIONS BY MR. KO:                           09:53:46
    14   representative -- national account managers 09:51:46    14          Q. Okay. So prior to, for             09:53:46
    15   that were our eyes and ears and boots on the 09:51:49   15       example, 2003 --                       09:53:54
    16   ground at the customer accounts. We trained 09:51:51 16             A. Yes.                         09:53:54
    17   them to be vigilant for any potential sign -- 09:51:54  17          Q. -- there was -- I just want to 09:53:55
    18   red flags that could be indicative of       09:51:59    18       make sure I understand.                  09:53:58
    19   diversion as they visited customers.         09:52:01   19          A. Certainly.                     09:53:58
    20            May I go on, please?           09:52:05        20          Q. The suspicious order monitoring 09:53:59
    21       Q. Yeah.                        09:52:06            21       program, as you understand it, consisted of 09:54:01
    22       A. We have customer service             09:52:07    22       both an algorithm and other factors that you 09:54:04
    23   representatives who are veteran in the        09:52:08  23       had previously described; is that correct? 09:54:07
    24   business, and they were in general familiar 09:52:10    24          A. Yes.                         09:54:07
    25   with customers' order patterns, and so they 09:52:13    25          Q. Okay. Now, setting aside what 09:54:09

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     1 you understood to be the -- by the way, do          09:54:13         1      Q.     That's okay.                09:56:03
     2 you mind if I call suspicious order           09:54:17               2            And when you say "may be," is 09:56:04
     3 monitoring "SOM" for short?                   09:54:19               3   one way to say it that a fundamental feature 09:56:08
     4      A.    I don't mind.                09:54:20                     4   of a SOM program is to guard against the         09:56:12
     5      Q.    Okay. Other than what you          09:54:21               5   potential diversion of controlled substances? 09:56:16
     6 believe to be the elements of Mallinckrodt's        09:54:25         6            MR. O'CONNOR: Object to form. 09:56:17
     7 SOM program, when you became involved as a               09:54:28    7            THE WITNESS: Yes.                 09:56:18
     8 senior manager of the controlled substances         09:54:33         8   QUESTIONS BY MR. KO:                            09:56:20
     9 compliance group, is it accurate to say that       09:54:36          9       Q. Okay. And guarding against the 09:56:20
    10 one of your primary responsibilities was to        09:54:39         10   diversion of prescription opioids is an       09:56:23
    11 design and implement a system to identify           09:54:41        11   important responsibility of a company that 09:56:25
    12 suspicious orders?                       09:54:44                   12   manufactures prescription opioids; wouldn't 09:56:28
    13           MR. O'CONNOR: Object to form.             09:54:44        13   you say?                            09:56:29
    14           THE WITNESS: So, sir, we             09:54:45             14       A. Yes.                        09:56:31
    15      already had a system in place to        09:54:47               15       Q. Okay. And as we discussed             09:56:32
    16      identify suspicious orders.           09:54:49                 16   before, the CSA imposes that obligation on 09:56:33
    17 QUESTIONS BY MR. KO:                               09:54:51         17   registrants in the supply chain, including on 09:56:37
    18      Q.    Okay. Well, it's my            09:54:51                  18   Mallinckrodt, correct?                  09:56:39
    19 understanding that you revised that system          09:54:55        19            MR. O'CONNOR: Object to form. 09:56:40
    20 over time when you were a senior manager.            09:54:58       20            THE WITNESS: Yes.                 09:56:40
    21           Is that fair to say?        09:55:00                      21   QUESTIONS BY MR. KO:                            09:56:41
    22      A.    Yes.                    09:55:01                         22       Q. And would you agree with me             09:56:43
    23      Q.    Okay. So during the time that      09:55:02              23   that that would be one of the most           09:56:45
    24 you were senior manager, is it accurate to         09:55:05         24   fundamental duties of the CSA?               09:56:46
    25 say that you continued to help design and          09:55:06         25            MR. O'CONNOR: Object to form. 09:56:48

                                                            Page 63                                                                Page 65
     1 implement Mallinckrodt's suspicious order           09:55:10         1             THE WITNESS: The CSA covers             09:56:48
     2   monitoring system?                       09:55:12                  2       many aspects, my understanding, for -- 09:56:53
     3       A. Yes.                         09:55:13                       3       to maintain the closed system of         09:56:57
     4       Q. Okay. Now, a fundamental               09:55:14             4       distribution, and suspicious order       09:57:00
     5   feature of any SOM program is to prevent          09:55:17         5       monitoring is one of those components. 09:57:02
     6   diversion of controlled substances, so just 09:55:20               6   QUESTIONS BY MR. KO:                             09:57:03
     7   prescription opioids manufactured by            09:55:23           7       Q. Sure.                        09:57:03
     8   Mallinckrodt; is that correct?             09:55:24                8             And I understand that there are 09:57:04
     9            MR. O'CONNOR: Object to form. 09:55:25                    9   a lot of aspects to the CSA, but from your 09:57:06
    10            THE WITNESS: Not to prevent, 09:55:26                    10   perspective, would you agree with me that         09:57:09
    11       but to guard against diversion.         09:55:30              11   guarding against diversion, as you put it, is 09:57:12
    12   QUESTIONS BY MR. KO:                             09:55:32         12   one of the fundamental duties of the CSA?         09:57:15
    13       Q. Okay. So you have a                 09:55:32               13             MR. O'CONNOR: Objection.              09:57:17
    14   distinction between prevent and guard           09:55:33          14       Form.                          09:57:18
    15   against?                            09:55:36                      15             THE WITNESS: I can't say if         09:57:18
    16       A. Yes.                         09:55:36                      16       it -- yes. Yes. Yes.               09:57:22
    17       Q. Okay. And what is that              09:55:36               17   QUESTIONS BY MR. KO:                             09:57:23
    18   distinction?                         09:55:38                     18       Q. Okay. Now, as we discussed              09:57:24
    19       A. So prevent is an absolute. It 09:55:38                     19   before, in connection with these duties, you 09:57:29
    20   means we can assure that there's never any 09:55:41               20   helped revise Mallinckrodt's suspicious order 09:57:33
    21   diversion of our product.                 09:55:44                21   monitoring program, correct?                09:57:36
    22            Guard against means to the         09:55:46              22       A. Correct.                      09:57:37
    23   extent we're able, detect orders that may      09:55:50           23       Q. And these revisions occurred           09:57:38
    24   be -- that are cause for further review,      09:56:00            24   generally in the 2000 -- the late, I guess I 09:57:42
    25   sorry.                             09:56:02                       25   would say -- I would describe it this way. 09:57:49

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                                                           Page 66                                                             Page 68
     1            These revisions occurred       09:57:50               1 QUESTIONS BY MR. KO:                               09:59:34
     2   sometime between the 2008 and 2012 time          09:57:52      2        Q. Okay. And when you say you              09:59:35
     3   period. Would that be fair to say?         09:57:55            3   were "part of a team," who was on that team? 09:59:36
     4            MR. O'CONNOR: Object to form. 09:57:57                4        A. Security.                    09:59:38
     5            THE WITNESS: Yes, but they're 09:57:58                5        Q. Okay. And security, is that         09:59:42
     6       ongoing to this day, yes.          09:57:59                6   Bill Ratliff?                        09:59:43
     7   QUESTIONS BY MR. KO:                          09:58:00         7        A. It was Bill Ratliff, and he's 09:59:44
     8       Q. Would it be accurate to say        09:58:00             8   retired, and now it's John Gillies.         09:59:47
     9   that there was increased scrutiny on        09:58:01           9        Q. Okay. Anybody other than Bill 09:59:49
    10   Mallinckrodt's SOM program in 2008?             09:58:03      10   Ratliff or John Gillies?                 09:59:51
    11            MR. O'CONNOR: Object to form. 09:58:07               11        A. Yes, legal.                   09:59:53
    12            THE WITNESS: I can't say that. 09:58:07              12        Q. Was that Mr. Lohman and               09:59:54
    13   QUESTIONS BY MR. KO:                          09:58:13        13   Ms. Duft?                            09:59:56
    14       Q. Okay.                       09:58:14                   14        A. Yes.                        10:00:00
    15       A. No.                        09:58:14                    15        Q. Okay. Who else?                   10:00:01
    16       Q. Do you recall a time in which       09:58:14           16        A. Members of the commercial              10:00:06
    17   you believed there was increased scrutiny on 09:58:18         17   group. Members of the IT group.               10:00:09
    18   Mallinckrodt's SOM program?                 09:58:21          18        Q. So other than security, legal, 10:00:10
    19            MR. O'CONNOR: Object to form. 09:58:22               19   commercial and IT, were there any other           10:00:16
    20            THE WITNESS: We had ongoing            09:58:23      20   groups or departments that were part of the 10:00:18
    21       discussions with DEA, but, yes, yes,     09:58:26         21   SOM team?                              10:00:20
    22       there was a time.                09:58:29                 22        A. Yes. Members of the SOM team 10:00:21
    23   QUESTIONS BY MR. KO:                          09:58:29        23   came and went through different iterations of 10:00:23
    24       Q. And approximately what time           09:58:30         24   the program, so I don't recall the          10:00:27
    25   period was that?                     09:58:31                 25   composition of the team at a specific time, 10:00:29

                                                           Page 67                                                          Page 69
     1       A. We met with DEA in August              09:58:32         1 but there was a patient and product           10:00:31
     2   of 2011, I do remember that date --         09:58:36           2   monitoring group that was a participant in 10:00:34
     3       Q. Okay.                       09:58:38                    3   the team. Credit department was a            10:00:39
     4       A. -- and they had some additional 09:58:39                4   participant in the team. And those are the 10:00:42
     5   suggestions about potential enhancements of 09:58:41           5   ones I can recall.                  10:00:44
     6   our suspicious order monitoring program.        09:58:43       6       Q. Okay. Thank you.                 10:00:46
     7       Q. Do you recall any instances in 09:58:45                 7            When you referenced the         10:00:46
     8   which you met with DEA prior to that in which 09:58:55         8   commercial group a moment ago, what did that 10:00:51
     9   you discussed Mallinckrodt's SOM program?          09:58:59    9   consist of?                       10:00:56
    10       A. Yes.                       09:59:01                    10            In other words, who were        10:00:57
    11       Q. Okay. When was that?               09:59:02            11   members of that commercial group?              10:00:59
    12       A. I don't remember the year, but 09:59:03                12       A. Primarily John Adams.              10:01:00
    13   there was a discussion with DEA St. Louis on 09:59:06         13       Q. Anyone else?                   10:01:05
    14   that topic.                       09:59:10                    14       A. A gentleman named Steve Becker. 10:01:07
    15       Q. Okay. By the way, when you            09:59:11         15       Q. Okay. And Steve Becker was a 10:01:09
    16   became senior manager of controlled substance 09:59:16        16   national account manager, correct?           10:01:14
    17   compliance group -- of the controlled        09:59:19         17       A. Correct.                   10:01:15
    18   substance compliance group, you were the -- 09:59:21          18       Q. Okay. Were there any other           10:01:16
    19   you had the primary responsibility of        09:59:24         19   customer service representatives that were 10:01:18
    20   revising and designing Mallinckrodt's SOM        09:59:26     20   part of that group?                  10:01:19
    21   program; is that fair to say?           09:59:29              21       A. Yes.                      10:01:20
    22            MR. O'CONNOR: Object to form. 09:59:31               22       Q. Okay. Who were they?               10:01:21
    23            THE WITNESS: So it was all -- 09:59:32               23       A. The lady's name is Brenda           10:01:22
    24       I was part of a team. It was a team    09:59:32           24   Rehkop; she's passed away. Cathy Stewart. 10:01:29
    25       effort, sir.                 09:59:34                     25   Jim Rausch.                        10:01:35

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                                                                  Page 70                                                          Page 72
     1      Q.    And Jim Rausch was part of            10:01:36              1 dispensing and consumption of controlled          10:03:34
     2 commercial?                            10:01:40                        2 substances.                            10:03:39
     3      A.    Well, we distinguish --           10:01:40                  3            So we have many programs within 10:03:40
     4 customer service is not considered to be part 10:01:46                 4   Mallinckrodt, as a responsible manufacturer, 10:03:42
     5 of commercial, although it would seem that it 10:01:47                 5   aimed at guarding against diversion.           10:03:45
     6 would be, so customer service is a separate        10:01:49            6       Q. Okay. And taking that last           10:03:46
     7 group.                               10:01:51                          7   category that you described with respect to 10:03:48
     8      Q.    Okay. Than commercial you're           10:01:51             8   educating, I guess the public on safe         10:03:50
     9 saying?                              10:01:53                          9   prescribing and dispensing, when did            10:03:55
    10      A.    Yes.                      10:01:53                         10   Mallinckrodt first engage in that type of      10:03:57
    11      Q.    Now, you mentioned some names            10:01:54          11   conduct?                            10:04:01
    12 of people that have been deposed previously         10:01:57          12       A. I do not know the answer.            10:04:01
    13 in this case in the past few weeks. Many of        10:02:01           13       Q. Do you generally recall if it 10:04:03
    14 them have testified that you are the person        10:02:05           14   was after 2010?                        10:04:06
    15 most knowledgeable about Mallinckrodt's SOM                10:02:07   15       A. I'm sorry, I don't know when          10:04:06
    16 program.                              10:02:10                        16   the group --                        10:04:08
    17           Would you agree with that           10:02:10                17       Q. Okay.                        10:04:10
    18 assessment?                            10:02:11                       18       A. -- was created.                 10:04:10
    19           MR. O'CONNOR: Object to form.             10:02:11          19       Q. And then when you described the 10:04:11
    20           THE WITNESS: Well, I'm not a            10:02:12            20   law enforcement activities, it seemed like to 10:04:12
    21      vain person, but, yes, I know a lot        10:02:17              21   me, and correct me if I'm wrong, that          10:04:16
    22      about the program, but it's all been       10:02:18              22   those -- you provided that type of support 10:04:21
    23      with the contributions of a -- a team      10:02:20              23   when they requested it; is that fair to say? 10:04:23
    24      effort as time has gone on.            10:02:22                  24            MR. O'CONNOR: Object to form. 10:04:27
    25                                                                       25            THE WITNESS: Yes.                  10:04:28

                                                                  Page 71                                                          Page 73
     1 QUESTIONS BY MR. KO:                                10:02:23           1 QUESTIONS BY MR. KO:                               10:04:30
     2      Q.     Sure.                    10:02:23                          2        Q. Okay. So in other words, there 10:04:30
     3            Do you believe there's anyone     10:02:25                  3   wasn't a program in place in which you were 10:04:32
     4   in the SOM team or anyone else in the          10:02:27              4   regularly providing testimony, for example, 10:04:35
     5   company, for that matter, with more knowledge 10:02:30               5   but you were -- you were providing testimony 10:04:37
     6   about Mallinckrodt's suspicious order         10:02:31               6   to help law enforcement when they requested 10:04:39
     7   monitoring program than you?                10:02:33                 7   it; is that fair?                    10:04:41
     8            MR. O'CONNOR: Object to form. 10:02:36                      8        A. So I don't know -- I may not be 10:04:42
     9            THE WITNESS: I'll say that's       10:02:36                 9   aware of other people in other groups that       10:04:46
    10       unlikely.                      10:02:37                         10   provided testimony, such as our research         10:04:48
    11   QUESTIONS BY MR. KO:                           10:02:38             11   scientists, so -- but those are the times     10:04:50
    12       Q. Okay. By the way, other than         10:02:38                12   that I am aware.                        10:04:54
    13   the SOM program that you helped revise,          10:02:43           13        Q. Okay. Now, is it accurate to         10:04:55
    14   design and implement, were there any other       10:02:48           14   say that one of the -- you mentioned this a 10:04:56
    15   programs or systems in place at Mallinckrodt 10:02:53               15   moment ago, but I just want to make sure I        10:05:00
    16   related to diversion of controlled         10:02:57                 16   understand correctly.                    10:05:02
    17   substances?                         10:03:00                        17             But is it accurate to say that 10:05:03
    18       A. Yes.                        10:03:00                         18   one purpose of a SOM program is to identify 10:05:05
    19       Q. Okay. And what were those?            10:03:04               19   orders of unusual size?                   10:05:08
    20       A. So we -- we work with law            10:03:05                20        A. Yes.                         10:05:10
    21   enforcement and give testimony when             10:03:12            21        Q. Okay. And would it also be -- 10:05:11
    22   requested. We provide placebos for law         10:03:17             22   well, why is that?                      10:05:13
    23   enforcement use on specific cases. We have a 10:03:20               23        A. It's one of the indicators that 10:05:15
    24   department that educates prescribers and       10:03:25             24   may be -- that may prompt -- well, should -- 10:05:23
    25   patients on the proper prescribing and       10:03:30               25   will prompt additional investigation of that 10:05:26

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     1 order.                                 10:05:28                  1 QUESTIONS BY MR. KO:                             10:07:01
     2       Q. Okay. And other than that              10:05:29         2       Q. Okay. Would you agree with me 10:07:01
     3   general concept that -- in particular, the 10:05:31            3   that an effective SOM program would be able 10:07:05
     4   size of an order at its most fundamental         10:05:34      4   to identify whether a pharmacy or clinic is 10:07:08
     5   level is important because an excessive order 10:05:37         5   ordering excessive quantities of controlled 10:07:12
     6   or an order of -- that's -- that's large     10:05:42          6   substances?                         10:07:15
     7   could potentially be unusual; is that          10:05:47        7            MR. O'CONNOR: Object to form. 10:07:15
     8   correct?                              10:05:49                 8            THE WITNESS: No.                  10:07:16
     9             MR. O'CONNOR: Object to form. 10:05:49               9   QUESTIONS BY MR. KO:                           10:07:16
    10             THE WITNESS: Yes, but it's all 10:05:50             10       Q. Okay. You don't believe that         10:07:18
    11       relative to what -- what is large. I 10:05:55             11   would be an effective SOM program, or you         10:07:18
    12       can't define large.                  10:05:58             12   wouldn't -- you don't agree with me?          10:07:21
    13   QUESTIONS BY MR. KO:                              10:05:59    13       A. So would you please rephrase          10:07:23
    14       Q. Sure.                          10:05:59                14   the question?                        10:07:25
    15             But generally speaking,           10:06:00          15       Q. Sure.                       10:07:26
    16   shipping too many prescription opioids could 10:06:01         16            Would you agree with me that an 10:07:27
    17   potentially be problematic, correct?            10:06:03      17   effective SOM program would be able to           10:07:28
    18             MR. O'CONNOR: Objection to              10:06:05    18   identify whether a pharmacy or a clinic is     10:07:31
    19       form.                            10:06:06                 19   ordering excessive quantities of controlled 10:07:34
    20             THE WITNESS: I don't have all 10:06:06              20   substances?                         10:07:36
    21       the information, I'm sorry, to answer 10:06:08            21            MR. O'CONNOR: Same objection. 10:07:36
    22       that question completely.               10:06:09          22            THE WITNESS: So the components 10:07:37
    23   QUESTIONS BY MR. KO:                              10:06:10    23       of the SOM program that point out a       10:07:43
    24       Q. Sure.                          10:06:11                24       reason for further investigation,     10:07:50
    25             Another purpose of a SOM             10:06:11       25       they're not singular. So DEA tells us 10:07:52

                                                          Page 75                                                            Page 77
     1 program is to identify orders that deviate      10:06:14         1       that these things are to be considered 10:07:58
     2   from a normal pattern; would you agree with 10:06:18           2       during the course of our               10:08:00
     3   me?                               10:06:19                     3       investigation, but no one factor is      10:08:02
     4        A. Yes.                       10:06:19                    4       conclusively -- indicates diversion.      10:08:05
     5        Q. Okay. And it's important to        10:06:20            5   QUESTIONS BY MR. KO:                              10:08:12
     6   identify ordering patterns at a general     10:06:22           6       Q. Sure, I understand that, and I 10:08:13
     7   level; is that correct?               10:06:25                 7   understand that there are several different 10:08:15
     8        A. Yes.                       10:06:25                    8   things that you may consider.                10:08:17
     9        Q. Okay. And another purpose of a 10:06:27                9            But would you agree with me           10:08:18
    10   SOM program is to identify orders of unusual 10:06:28         10   that one aspect of an effective SOM program 10:08:19
    11   frequency; is that fair to say?          10:06:32             11   would be to identify pharmacies or clinics        10:08:24
    12        A. Yes. Yes.                    10:06:34                 12   that order excessive amounts of controlled        10:08:26
    13        Q. And it's important to identify 10:06:35               13   substances?                           10:08:29
    14   the timing of orders; that would be fair to 10:06:37          14            MR. O'CONNOR: Object to form. 10:08:29
    15   say?                             10:06:39                     15            THE WITNESS: So we do not sell 10:08:29
    16             MR. O'CONNOR: Object to form. 10:06:39              16       to pharmacies or clinics. We sell to 10:08:32
    17             THE WITNESS: Yes.                10:06:40           17       wholesalers and distributors.           10:08:36
    18   QUESTIONS BY MR. KO:                           10:06:41       18   QUESTIONS BY MR. KO:                              10:08:37
    19        Q. Okay. And would you agree with 10:06:41               19       Q. I understand that.                10:08:38
    20   me that one of -- or another central purpose 10:06:43         20            But as -- as an entity that      10:08:39
    21   of identifying suspicious orders is to avoid 10:06:47         21   sells to wholesalers, distributors, you know 10:08:41
    22   filling them for any other purpose than       10:06:50        22   that eventually those products are going         10:08:44
    23   legitimate, scientific or medical needs?     10:06:53         23   somewhere else; is that fair to say?          10:08:47
    24             MR. O'CONNOR: Object to form. 10:06:55              24       A. Yes.                          10:08:49
    25             THE WITNESS: Yes.                10:06:56           25       Q. The distributors aren't             10:08:49

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     1   necessarily providing them directly to the 10:08:50        1          clinic is ordering excessive quantities of    10:10:33
     2   consumers at that point, correct?           10:08:54       2          controlled substances?                   10:10:36
     3       A. Yes. Yes.                     10:08:55              3                   MR. O'CONNOR: Object to form. 10:10:36
     4       Q. So eventually these               10:08:55          4                   THE WITNESS: So, yes, that           10:10:38
     5   distributors distribute these controlled     10:08:58      5               could be one component.               10:10:41
     6   substances to, among other entities,         10:09:03      6          QUESTIONS BY MR. KO:                            10:10:42
     7   pharmacies and clinics; is that correct?      10:09:05     7               Q. Okay. Now, would you also             10:10:42
     8       A. Yes.                        10:09:07                8          agree with me that an effective SOM program 10:10:49
     9       Q. Okay. So would you agree with 10:09:08              9          would be able to identify whether or not that 10:10:53
    10   me that one component of a -- an effective 10:09:10       10          downstream pharmacy or clinic was ordering          10:10:56
    11   suspicious order monitoring program is to        10:09:14 11          from multiple distributors?               10:10:58
    12   identify whether or not these downstream         10:09:16 12                   MR. O'CONNOR: Object to form. 10:10:59
    13   pharmacies or clinics are ordering excessive 10:09:19 13                       THE WITNESS: It could be one           10:11:00
    14   quantities of controlled substances?         10:09:21     14               component, yes.                   10:11:03
    15            MR. O'CONNOR: Object to form. 10:09:22 15                    QUESTIONS BY MR. KO:                            10:11:04
    16            THE WITNESS: We -- throughout 10:09:23 16                         Q. Okay. And in fact, that was         10:11:04
    17       time we've been asking -- we always        10:09:26 17            something that was important to Mallinckrodt 10:11:06
    18       ask DEA for additional guidance          10:09:29     18          to try and determine at some point in the, I 10:11:08
    19       because the regulations state "know       10:09:30    19          believe, the 2010 or 2011 time period,         10:11:15
    20       your customer."                    10:09:32           20          correct?                           10:11:19
    21   QUESTIONS BY MR. KO:                            10:09:33 21                    MR. O'CONNOR: Object to form. 10:11:19
    22       Q. Right.                       10:09:34              22                   THE WITNESS: When we received 10:11:19
    23       A. And we weren't aware of an            10:09:35     23               guidance from DEA that that was an         10:11:20
    24   obligation, if you will, to monitor         10:09:41      24               appropriate thing to monitor, yes.     10:11:22
    25   customers' customers or if the tools existed 10:09:43 25

                                                                Page 79                                                          Page 81
     1 to do so.                           10:09:48                        1 QUESTIONS BY MR. KO:                               10:11:23
     2      Q.     And we'll get to that in a      10:09:49                2       Q. Okay. So in other words, if a 10:11:23
     3 moment, but I just have a very specific             10:09:53        3   downstream pharmacy or clinic was ordering 10:11:25
     4 question that I was hoping that you could            10:09:55       4   the same oxy 15 manufactured by Mallinckrodt 10:11:26
     5 answer.                              10:09:56                       5   from five different distributors, it would be 10:11:30
     6            Now, you agreed with me that         10:09:57            6   important to know that, correct?              10:11:32
     7 distributors sell downstream to pharmacies           10:10:01       7       A. It could be one indicator --         10:11:34
     8 and clinics, correct?                     10:10:03                  8       Q. Right.                        10:11:37
     9      A.     That's correct.              10:10:04                   9       A. -- precipitating further           10:11:37
    10      Q.     And at some point -- and I        10:10:05             10   review.                              10:11:40
    11 understand your testimony that you became              10:10:06    11       Q. And you would agree with me              10:11:40
    12 aware that you had to, in your words, know            10:10:08     12   that an effective SOM program would be able 10:11:41
    13 your customer, correct?                     10:10:10               13   to determine or identify whether or not that 10:11:44
    14      A.     Know your customer is part of        10:10:11          14   downstream pharmacy or clinic was ordering 10:11:47
    15 the regulations.                         10:10:13                  15   from multiple distributors, correct?          10:11:49
    16      Q.     Right.                   10:10:14                      16            MR. O'CONNOR: Object to form. 10:11:51
    17            And then also you talked about       10:10:14           17            THE WITNESS: Yes. That's one 10:11:52
    18 knowing your customer's customer as well,             10:10:16     18       component of many, yes.                 10:11:54
    19 correct?                             10:10:19                      19   QUESTIONS BY MR. KO:                             10:11:55
    20      A.     Yes.                     10:10:19                      20       Q. Now, some of these factors we 10:12:07
    21      Q.     And putting aside when you          10:10:19           21   were just discussing, is it fair to say that 10:12:09
    22 became aware of that, I'm simply asking you:           10:10:22    22   you acquired this knowledge of -- strike        10:12:14
    23 Would you agree with me that one component of 10:10:24             23   that.                              10:12:19
    24 an effective SOM program would be to identify 10:10:27             24            Was there ever a time when you 10:12:19
    25 whether or not a downstream pharmacy or                10:10:31    25   were senior manager of controlled substance 10:12:28

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     1 compliance where you became aware that               10:12:30  1        the algorithm and some of the other factors 10:14:24
     2   relying on a simple algorithm or numerical        10:12:38   2        that you were describing before?             10:14:26
     3   formulation alone was insufficient for         10:12:41      3            A. Yes.                        10:14:28
     4   purposes of complying with your duties under 10:12:43        4            Q. And turning to that algorithm, 10:14:28
     5   the CSA?                              10:12:45               5        what was your understanding of what that         10:14:31
     6           MR. O'CONNOR: Object to form. 10:12:45               6        algorithm consisted of?                  10:14:34
     7           THE WITNESS: Yes.                    10:12:46        7            A. I don't know the specific          10:14:36
     8   QUESTIONS BY MR. KO:                             10:12:46    8        multiplier, but it measured each customer       10:14:39
     9       Q. Okay. And approximately when              10:12:46    9        against their previous order history.        10:14:43
    10   was that?                            10:12:48               10            Q. Okay. And when you say a               10:14:48
    11       A. It was a guidance letter from         10:12:51       11        "multiplier," what do you mean?               10:14:54
    12   DEA.                                 10:12:54               12            A. There was a formula that            10:14:55
    13       Q. Okay.                          10:12:54              13        indicated -- a cause for additional         10:14:59
    14       A. And it was 2006 or 2007.              10:12:54       14        investigation would be if that order pattern 10:15:02
    15       Q. Okay. So you would agree with 10:12:59               15        exceeded a certain formula, such 1.5 as a       10:15:07
    16   me then that an ineffective SOM program would 10:13:00 16             multiplier.                         10:15:10
    17   be one that just simply relies on numerical 10:13:07        17            Q. And a 1.5 multiplier relative 10:15:11
    18   formulas to try and understand orders that       10:13:11   18        to what?                            10:15:14
    19   are suspicious; is that fair to say?        10:13:14        19            A. That customer's previous order 10:15:15
    20           MR. O'CONNOR: Object to form. 10:13:17              20        pattern.                          10:15:18
    21           THE WITNESS: That's the               10:13:17      21            Q. Okay. And I have seen some             10:15:18
    22       guidance that -- yes, from DEA.           10:13:18      22        references in the documents to a previous       10:15:20
    23   QUESTIONS BY MR. KO:                             10:13:19   23        order pattern consisting of anywhere from 7 10:15:22
    24       Q. Okay. Well, regardless of the 10:13:19               24        to 18 months.                         10:15:26
    25   guidance that you received, I'm just simply 10:13:21        25                 Does that comport with your        10:15:27

                                                                Page 83                                                        Page 85
     1 asking you today, as you sit here in your        10:13:22           1 general understanding?                      10:15:30
     2 position as someone that is most               10:13:25             2            MR. O'CONNOR: Object to form. 10:15:31
     3 knowledgeable about Mallinckrodt's SOM                10:13:28      3            THE WITNESS: I don't know. I 10:15:31
     4 program: Would you agree with me that an            10:13:31        4        know about the 18 months; I don't know 10:15:33
     5 ineffective SOM program would be one that             10:13:34      5        about the seven.                 10:15:34
     6 simply relies on numerical formulas to           10:13:38           6   QUESTIONS BY MR. KO:                            10:15:37
     7 identify suspicious orders?                10:13:40                 7        Q. Okay. But generally speaking, 10:15:37
     8           MR. O'CONNOR: Object to form.           10:13:41          8   what you mean when you say "multiplier" and 10:15:41
     9           THE WITNESS: Yes.                   10:13:42              9   when you referenced 1.5, are you saying that 10:15:42
    10 QUESTIONS BY MR. KO:                             10:13:42          10   the algorithm in place before 2003 was          10:15:44
    11      Q.    Okay. Now, you talked a moment         10:13:49         11   utilization of some multiplier relative to    10:15:50
    12 ago about how there was always -- as far as       10:13:51         12   the previous ordering history of a           10:15:52
    13 you know, there was always an SOM program at             10:13:54 13    Mallinckrodt customer? Is that accurate?        10:15:55
    14 Mallinckrodt as far as -- as long as you        10:13:57           14        A. Yes. Yes.                    10:15:57
    15 could recall.                        10:14:01                      15        Q. Okay. And the customers at the 10:15:57
    16      A.    Yes.                     10:14:01                       16   time, of course, are wholesale distributors, 10:15:59
    17      Q.    Now, from my position, looking        10:14:01          17   right?                           10:16:01
    18 at the documents, the first reference I see     10:14:05           18        A. I can't -- we only sold to        10:16:02
    19 to an SOM program existing at Mallinckrodt is 10:14:07             19   other manufacturers from the St. Louis plant 10:16:08
    20 from 2003.                           10:14:11                      20   manufacturing until we acquired our Hobart, 10:16:12
    21           Is it your testimony that an     10:14:13                21   New York, facility, and I always forget what 10:16:16
    22 SOM program existed prior to that?              10:14:15           22   year that was. I'm sorry.                10:16:18
    23      A.    Yes.                     10:14:16                       23        Q. Okay. So prior to -- was that 10:16:19
    24      Q.    Okay. And the program prior to       10:14:17           24   generally 2004, 2005; do you know?              10:16:21
    25 2003 consisted of, in your testimony, of both 10:14:21             25        A. I can't remember the year, I'm 10:16:24

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     1 sorry.                              10:16:25                 1      a SOM program for anything other than the          10:18:11
     2       Q. Okay. That's all right.          10:16:25           2      bulk side of the business; is that accurate? 10:18:14
     3   That's helpful.                      10:16:26              3               MR. O'CONNOR: Object to form. 10:18:16
     4             So before acquiring the Hobart 10:16:27          4               THE WITNESS: Yes.                   10:18:17
     5   facility, Mallinckrodt was only distributing 10:16:30      5      QUESTIONS BY MR. KO:                             10:18:19
     6   to other manufacturers?                  10:16:32          6          Q. Okay.                        10:18:19
     7       A. Yes, and some researchers, yes. 10:16:33            7               MR. O'CONNOR: Counsel, we've             10:18:30
     8       Q. Okay.                        10:16:37               8          been going a little more than an hour. 10:18:31
     9       A. But not wholesalers,              10:16:37          9          Should we take a break?                10:18:35
    10   distributors.                       10:16:39              10               MR. KO: Sure.                  10:18:36
    11       Q. And these other manufacturers          10:16:39    11               VIDEOGRAPHER: We are going off 10:18:36
    12   included entities like Purdue?             10:16:42       12          the record at 10:18 a.m.             10:18:38
    13       A. I don't know if Purdue was a         10:16:44      13           (Off the record at 10:18 a.m.)         10:18:39
    14   customer, but they were dosage pharm            10:16:45  14               VIDEOGRAPHER: We are back on               10:35:34
    15   manufacturers who chose to buy our bulk          10:16:48 15          the record at 10:35 a.m.             10:35:43
    16   narcotics.                         10:16:51               16      QUESTIONS BY MR. KO:                             10:35:44
    17       Q. Right. Okay.                   10:16:52            17          Q. Welcome back from the break,             10:35:46
    18             So then -- thank you for       10:16:53         18      Ms. Harper.                          10:35:49
    19   bringing up the bulk narcotics.            10:16:55       19          A. Thank you.                      10:35:49
    20             This order -- excuse me. This 10:16:57          20          Q. Now, at some point in time when 10:35:50
    21   SOM program that you're describing, was there 10:17:03 21         you were involved in the controlled substance 10:35:52
    22   an SOM program that existed both with respect 10:17:05 22         compliance group, did you become aware of           10:35:54
    23   to Mallinckrodt's bulk business and its       10:17:08    23      diversion issues in the state of Florida in 10:35:58
    24   dosage business at the time you became          10:17:14  24      particular?                         10:36:01
    25   involved in the DEA compliance group?            10:17:17 25               MR. O'CONNOR: Object to form. 10:36:02

                                                          Page 87                                                            Page 89
     1       A. It always existed for the bulk 10:17:19                1            THE WITNESS: Yes.                 10:36:02
     2   business, and it existed when we bought the 10:17:24          2   QUESTIONS BY MR. KO:                            10:36:03
     3   Hobart facility. But I'm sorry, I can't     10:17:26          3       Q. Okay. And approximately when             10:36:03
     4   remember what year that was relative to when 10:17:29         4   was that?                           10:36:04
     5   I was in the DEA compliance group, but I         10:17:31     5       A. I don't know the exact year.        10:36:04
     6   believe it was during my time in the DEA         10:17:34     6   I'm sorry.                          10:36:10
     7   compliance group, yes.                   10:17:37             7       Q. Okay. And were you aware of             10:36:10
     8       Q. Okay. And then I just want to 10:17:38                 8   the problems that existed in Florida through, 10:36:13
     9   make sure the record is clear because we're 10:17:39          9   among other things, communications with the 10:36:15
    10   talking about the bulk business. But when       10:17:41     10   DEA?                                10:36:17
    11   did you became {sic} aware of an algorithm or 10:17:43       11            MR. O'CONNOR: Object to form. 10:36:18
    12   a suspicious order monitoring program that       10:17:45    12            THE WITNESS: Yes.                 10:36:18
    13   applied to the dosage side of Mallinckrodt's 10:17:49        13   QUESTIONS BY MR. KO:                            10:36:21
    14   business?                           10:17:55                 14       Q. Okay. And is it fair to say        10:36:21
    15            MR. O'CONNOR: Object to form. 10:17:55              15   that the DEA was focused on the distribution 10:36:24
    16            THE WITNESS: When we began               10:17:55   16   of Mallinckrodt oxy -- oxycodone              10:36:28
    17       participating in the dosage generic     10:17:58         17   15 milligrams and oxycodone 30 milligrams?         10:36:32
    18       business.                      10:18:00                  18            MR. O'CONNOR: Object to form. 10:36:35
    19   QUESTIONS BY MR. KO:                           10:18:00      19            THE WITNESS: Yes.                 10:36:36
    20       Q. And that was after you acquired 10:18:01              20   QUESTIONS BY MR. KO:                            10:36:36
    21   the Hobart facility?                   10:18:02              21       Q. Okay. And do you mind if I            10:36:37
    22       A. Yes.                        10:18:04                  22   call that, just for shorthand, oxy 15 and     10:36:40
    23       Q. Okay. So prior to that time,        10:18:04          23   oxy 30s?                            10:36:47
    24   Mallinckrodt did not have -- because they       10:18:06     24       A. I don't mind.                  10:36:48
    25   weren't participating. But they did not have 10:18:09        25       Q. So you were aware at some point 10:36:49

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     1 in time when you were involved with the            10:36:52  1               THE WITNESS: Yes.                 10:38:30
     2   controlled substance compliance group that       10:36:53  2     QUESTIONS BY MR. KO:                            10:38:30
     3   Mallinckrodt was manufacturing a substantial 10:36:57      3          Q. And the Oxy Express is also          10:38:30
     4   amount of oxy 15s and 30s that were ending up 10:36:59 4         shorthand for the migration of pills from      10:38:32
     5   in Florida; is that accurate?            10:37:03          5     Florida up north through the I-75 corridor; 10:38:38
     6            MR. O'CONNOR: Objection to             10:37:05   6     is that fair to say?                  10:38:42
     7       form.                          10:37:06                7          A. I'm not certain of the exact       10:38:42
     8            THE WITNESS: So I don't know           10:37:06   8     road, but, yes, yes, in general.          10:38:44
     9       our market share over time, and          10:37:07      9          Q. Okay. But generally speaking, 10:38:45
    10       substantial is -- I don't have enough 10:37:08        10     you agree with me that the Oxy Express refers 10:38:47
    11       information relative to other         10:37:10        11     to the migration of pills outside of the     10:38:50
    12       suppliers to answer that question.       10:37:11     12     state of Florida?                     10:38:51
    13       I'm sorry.                      10:37:13              13          A. Yes.                        10:38:52
    14   QUESTIONS BY MR. KO:                            10:37:13  14          Q. Okay. And these pill migrated 10:38:52
    15       Q. Sure.                        10:37:13              15     to other states, including, for example,      10:38:55
    16            But you knew that -- you became 10:37:13         16     Ohio; is that correct?                  10:38:58
    17   aware at some point that Mallinckrodt was        10:37:16 17               MR. O'CONNOR: Objection to            10:38:59
    18   sending hundreds of millions of pills to the 10:37:19     18          form.                         10:38:59
    19   state of Florida, and in particular oxy 15s 10:37:22      19               THE WITNESS: Yes.                 10:38:59
    20   and oxy 30s; is that fair to say?          10:37:25       20     QUESTIONS BY MR. KO:                            10:39:00
    21       A. So we sell to wholesalers and         10:37:28     21          Q. Okay. Have you ever heard the 10:39:01
    22   distributors who subsequently sell to         10:37:31    22     term "blue highway"?                      10:39:04
    23   downstream registrants. Some of those are in 10:37:34 23              A. No.                         10:39:06
    24   Florida, yes, but I believe we only have one 10:37:36     24          Q. Okay. You understood that            10:39:07
    25   distributor actually located within the state 10:37:38    25     Mallinckrodt oxy 15s and 30s were blue,          10:39:09

                                                         Page 91                                                          Page 93
     1 of Florida.                           10:37:40                 1   correct?                           10:39:13
     2        Q. Yeah.                       10:37:40                 2       A. Oh, yes. Yes.                  10:39:13
     3             And setting aside who you         10:37:41         3       Q. Okay. And you understood that 10:39:14
     4   directly sold to, at some point in time you 10:37:44         4   a distinct feature of these oxy 15s and 30s 10:39:15
     5   became acutely aware of the amount of oxy 15s 10:37:47       5   and -- were -- was the fact that they were    10:39:20
     6   and 30s that were ending up in Florida,        10:37:51      6   blue, and they were one of the only          10:39:22
     7   regardless of who you initially sold them to; 10:37:55       7   prescription opioids on the market that were 10:39:24
     8   is that fair to say?                 10:37:58                8   that color.                        10:39:25
     9        A. Yes.                       10:37:58                  9             MR. O'CONNOR: Objection to           10:39:26
    10        Q. Okay. And you also became             10:37:59      10       form.                         10:39:27
    11   aware that Mallinckrodt-manufactured generic 10:38:03       11   QUESTIONS BY MR. KO:                           10:39:27
    12   opioids, including oxy 15s and 30s, were         10:38:07   12       Q. Do you understand that to be         10:39:28
    13   being widely abused and diverted in Florida; 10:38:10       13   the case?                          10:39:29
    14   is that fair to say?                 10:38:16               14       A. So I know that oxy 30s are          10:39:29
    15             MR. O'CONNOR: Objection to            10:38:16    15   blue. I'm not certain if oxy 15s are blue or 10:39:32
    16        form.                        10:38:17                  16   not, sir, I'm sorry. They may be a different 10:39:35
    17             THE WITNESS: Yes.                 10:38:17        17   color.                            10:39:38
    18   QUESTIONS BY MR. KO:                            10:38:17    18       Q. Okay. So with respect to at         10:39:38
    19        Q. Okay. And are you also              10:38:18        19   least oxy 30 -- and again, we're talking     10:39:39
    20   familiar with the term "the Oxy Express"?        10:38:20   20   about the IR oxy 30s.                   10:39:41
    21        A. Yes.                       10:38:24                 21       A. Yes.                        10:39:43
    22        Q. In fact, you gave a             10:38:24            22       Q. Those pills were blue, and you 10:39:44
    23   presentation, I believe, at one point in time 10:38:25      23   understood that those pills were migrating     10:39:47
    24   about the Oxy Express; is that accurate?        10:38:26    24   north away from Florida; is that fair to say? 10:39:49
    25             MR. O'CONNOR: Object to form. 10:38:29            25             MR. O'CONNOR: Objection to           10:39:51

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     1        form.                          10:39:51                    1       A. Yes.                        10:41:28
     2             THE WITNESS: Yes.                   10:39:52          2       Q. Okay. And I understand the            10:41:29
     3   QUESTIONS BY MR. KO:                              10:39:52      3   settlement includes a period described        10:41:33
     4        Q. Okay. We'll get to this a           10:39:53            4   "covered conduct."                     10:41:37
     5   little bit later, but about a year and a half 10:40:02          5            Do you recall that provision of 10:41:37
     6   ago you obviously became aware of a               10:40:06      6   the settlement agreement?                 10:41:39
     7   settlement between Mallinckrodt and DOJ; is 10:40:07            7       A. Yes.                        10:41:40
     8   that correct?                         10:40:11                  8       Q. And the time period for that         10:41:40
     9        A. Yes.                         10:40:11                   9   covered conduct was from January 1, 2008, to 10:41:42
    10        Q. And the settlement was with            10:40:12        10   January 1, 2012.                      10:41:47
    11   respect to Mallinc -- among other things,         10:40:13     11            Is that consistent with your    10:41:48
    12   Mallinckrodt's conduct with respect to           10:40:16      12   understanding?                        10:41:49
    13   suspicious order monitoring of controlled          10:40:21    13       A. I don't remember the specific        10:41:50
    14   substances, correct?                      10:40:23             14   times of the covered conduct, but --         10:41:52
    15        A. Yes.                         10:40:24                  15       Q. Okay.                        10:41:52
    16        Q. Okay. And the settlement              10:40:27         16       A. I don't. I'm sorry.            10:41:54
    17   resulted in a $35 million payment by your          10:40:32    17       Q. All right. That's fine. We         10:41:56
    18   employer to the government, correct?             10:40:34      18   can get to that later.                10:41:56
    19        A. Yes.                         10:40:36                  19       A. Okay.                        10:41:57
    20        Q. Okay. And given that the              10:40:38         20       Q. But in general terms, there was 10:41:57
    21   settlement revolved largely around              10:40:40       21   a period of time in which the government        10:41:59
    22   Mallinckrodt's suspicious order monitoring          10:40:44   22   alleged that Mallinckrodt had a deficient SOM 10:42:01
    23   activities -- I mean, that was something that 10:40:48         23   program; is that fair to say?            10:42:04
    24   was your responsibility during the relevant 10:40:52           24       A. I don't know that the term          10:42:06
    25   time period covered under the settlement; is 10:40:55          25   "deficient" was used.                   10:42:07

                                                            Page 95                                                         Page 97
     1   that correct?                         10:40:57                  1        Q. Okay.                       10:42:08
     2            MR. O'CONNOR: Objection to               10:40:57      2        A. But, yes, it was mentioned in       10:42:09
     3        form.                         10:40:57                     3   the memorandum of agreement.                   10:42:10
     4            THE WITNESS: Yes.                   10:40:58           4        Q. Yeah.                       10:42:13
     5   QUESTIONS BY MR. KO:                              10:41:00      5             That Mallinckrodt's SOM -- the 10:42:14
     6        Q. Okay. And the relevant time            10:41:00         6   settlement agreement indicated that           10:42:16
     7   period of the settlement, I believe, or the 10:41:02            7   Mallinckrodt's SOM program did not comport 10:42:19
     8   covered conduct as described in the             10:41:04        8   with the DEA guidelines set forth in a couple 10:42:22
     9   settlement -- actually, strike that.        10:41:07            9   letters sent by the DEA; is that correct?     10:42:27
    10            Are you familiar with the terms 10:41:09              10             MR. O'CONNOR: Objection to            10:42:29
    11   of the settlement?                      10:41:10               11        form.                        10:42:29
    12        A. Yes.                         10:41:10                  12             THE WITNESS: I don't remember 10:42:29
    13        Q. You reviewed them?                  10:41:11           13        the specifics of the language. I'm     10:42:30
    14        A. Yes.                         10:41:12                  14        sorry.                       10:42:33
    15        Q. Did you play a role in             10:41:13            15   QUESTIONS BY MR. KO:                            10:42:33
    16   negotiating any of the terms?                10:41:15          16        Q. Okay. That's fine.              10:42:33
    17        A. No.                          10:41:17                  17             Was this settlement ever        10:42:34
    18        Q. Okay. That was presumably done 10:41:18                18   discussed in any performance review that you 10:42:37
    19   by counsel?                            10:41:21                19   had recently?                         10:42:40
    20        A. Yes.                         10:41:21                  20        A. No.                        10:42:40
    21        Q. Both in-house and outside             10:41:22         21        Q. Okay. Was there ever any            10:42:42
    22   counsel?                              10:41:24                 22   discussion of you losing your job as a result 10:42:45
    23        A. Yes.                         10:41:24                  23   of the settlement?                     10:42:46
    24        Q. Okay. Were you consulted at             10:41:25       24        A. I offered to quit.             10:42:47
    25   all in connection with the settlement?          10:41:27       25        Q. You offered to quit.             10:42:48

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     1            Why was that?                10:42:49                     1      A.      Yes.                    10:44:46
     2       A. So that -- so that perhaps if     10:42:50                  2      Q.      Okay. And regarding              10:44:47
     3   the company chose to bring someone in my          10:42:55         3 Mallinckrodt's SOM program, you mentioned the 10:44:49
     4   place, that I would gladly leave.         10:42:58                 4 role of national account managers.               10:44:53
     5       Q. Okay. And you offered to quit 10:43:01                      5           Do you recall that?               10:44:56
     6   because it was your responsibility during the 10:43:03             6      A.      I do.                  10:44:57
     7   time of the covered conduct and the time       10:43:06            7      Q.      And also that customer service      10:44:58
     8   period in the settlement to monitor and       10:43:08             8 representatives were involved?                  10:45:00
     9   revise and design Mallinckrodt's suspicious 10:43:10               9      A.      Yes, that's correct.           10:45:02
    10   order monitoring system, correct?           10:43:14              10      Q.      And I believe you testified       10:45:03
    11            MR. O'CONNOR: Object to form. 10:43:15                   11 that they were necessary because they were             10:45:05
    12            THE WITNESS: Yes. It happened 10:43:15                   12 your eyes and ears on the ground -- or eyes            10:45:07
    13       on my watch.                     10:43:16                     13 and ears to your customers and the customers' 10:45:09
    14   QUESTIONS BY MR. KO:                           10:43:17           14 customers and also the boots on the ground.            10:45:13
    15       Q. By the way, are you aware of         10:43:23              15           Is that an accurate --           10:45:15
    16   any -- of whether or not the company          10:43:23            16           MR. O'CONNOR: Objection to                  10:45:17
    17   maintained a personnel file for you?         10:43:27             17      form.                          10:45:17
    18       A. Yes.                       10:43:28                        18 QUESTIONS BY MR. KO:                                  10:45:18
    19       Q. Okay.                       10:43:31                       19      Q.      -- statement?                 10:45:18
    20       A. Yes.                       10:43:31                        20      A.      So they were the eyes and ears      10:45:19
    21       Q. And I take it you had annual        10:43:32               21 to our customers, but I do not necessarily            10:45:21
    22   reviews?                           10:43:37                       22 know that they were the eyes and ears to our           10:45:23
    23       A. Yes.                       10:43:37                        23 customers' customers.                        10:45:28
    24       Q. Okay. And did you receive           10:43:38               24      Q.      Got it.                 10:45:29
    25   copies of these annual reviews to the extent 10:43:39             25           So it's accurate to say that       10:45:29

                                                                Page 99                                                                 Page 101
     1 they were in writing?                   10:43:41                     1 you had NAMs, the national account managers,         10:45:32
     2      A.    Yes, I suppose. Yes.             10:43:42                 2 and the CSRs, the customer service              10:45:34
     3      Q.    Okay. Do you recall collecting      10:43:48              3   representatives, involved because they were 10:45:36
     4 them, keeping them, storing them?               10:43:54             4   your eyes and ears to your customers,         10:45:37
     5      A.    No.                     10:43:56                          5   correct?                          10:45:40
     6      Q.    Okay. Do you have any              10:43:56               6            MR. O'CONNOR: Object to form. 10:45:40
     7 documentation that you keep from the company             10:44:02    7            THE WITNESS: Yes. Yes. Yes. 10:45:40
     8 regarding your personnel file in any fashion? 10:44:05               8   QUESTIONS BY MR. KO:                           10:45:41
     9      A.    I do not.                10:44:09                         9       Q. Okay. And you -- is it fair to 10:45:42
    10      Q.    Okay. Everything, you believe,       10:44:10            10   say that you then relied on these NAMs and 10:45:47
    11 is held by the company with respect to your       10:44:12          11   CSRs to identify and assist with the         10:45:49
    12 employment history and your personnel file;        10:44:15         12   detection of suspicious orders?            10:45:53
    13 is that fair to say?                 10:44:17                       13            MR. O'CONNOR: Object to form. 10:45:54
    14      A.    Yes.                    10:44:17                         14            THE WITNESS: To assist, yes.         10:45:56
    15      Q.    Okay. Earlier this morning we       10:44:18             15       To bring things to our attention for    10:46:01
    16 were talking about your understanding of          10:44:30          16       further investigation, yes.          10:46:03
    17 Mallinckrodt's SOM program when you joined               10:44:33   17   QUESTIONS BY MR. KO:                           10:46:05
    18 that -- the CSC group, correct?               10:44:37              18       Q. And you said earlier that you        10:46:05
    19      A.    Uh-huh.                   10:44:39                       19   had a team, and they were part of it, so they 10:46:06
    20      Q.    And by CSC, I'm referring to        10:44:39             20   were -- they were part of the team in        10:46:08
    21 the controlled substance compliance group.         10:44:41         21   which -- they were part of the SOM team,        10:46:12
    22 Is that fair to say?                 10:44:43                       22   correct?                          10:46:14
    23      A.    Yes.                    10:44:44                         23            MR. O'CONNOR: Object to form. 10:46:15
    24      Q.    Or fair to use for purposes of     10:44:44              24            THE WITNESS: They were part of 10:46:15
    25 this deposition today?                  10:44:45                    25       the SOM team at the time that we were 10:46:18

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     1       enhancing the program but not as an        10:46:20          1        for additional investigation.        10:48:17
     2       ongoing, current-day member of the         10:46:23          2   QUESTIONS BY MR. KO:                            10:48:17
     3       team.                         10:46:25                       3        Q. Okay.                       10:48:19
     4   QUESTIONS BY MR. KO:                            10:46:25         4        A. Not necessarily conclusion          10:48:19
     5       Q. Got it.                     10:46:27                      5   diversion.                          10:48:21
     6            And when did that occur, that     10:46:27              6        Q. Okay. That's helpful.            10:48:22
     7   they were...                        10:46:30                     7             And with regard to the SOM         10:48:24
     8            Well, when you said they were       10:46:31            8   program, the NAMs -- so then it's fair to say 10:48:26
     9   part of the SOM team at that time, what time 10:46:39            9   that the NAMs' and the CSRs' job was to alert 10:48:28
    10   period are you talking about?              10:46:41             10   you to -- alert you to potential diversion; 10:48:32
    11       A. So we went through several            10:46:42           11   is that accurate?                     10:48:34
    12   projects of enhancing the suspicious order      10:46:50        12        A. Yes, I believe the structure       10:48:35
    13   monitoring program, and one of the components 10:46:53          13   for customer service was they would escalate 10:48:36
    14   was a customer checklist that each customer 10:46:55            14   to their manager first, who would then, if 10:48:39
    15   was to fill out once per year.           10:46:58               15   appropriate, come to the controlled           10:48:41
    16            So the NAMs and the customer         10:47:01          16   substances compliance group with that           10:48:43
    17   service reps were important contributors to 10:47:04            17   concern.                            10:48:44
    18   that effort because they knew more about the 10:47:06           18        Q. Okay. So if a -- if an          10:48:45
    19   customer side of the house, but as we sit      10:47:10         19   individual who was a national account manager 10:48:48
    20   here today, they are not part of the        10:47:13            20   or customer service representative testified 10:48:50
    21   suspicious order monitoring team.             10:47:15          21   that she or he was not involved in           10:48:54
    22       Q. Got it. Thank you for the          10:47:16              22   identifying suspicious orders, that would not 10:48:57
    23   clarification.                      10:47:17                    23   be accurate, correct?                   10:48:59
    24            So at some point in time when      10:47:17            24             MR. O'CONNOR: Objection to            10:49:00
    25   you were part of the CSC team, the            10:47:24          25        form.                         10:49:01

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     1 involvement of the NAMs and the customer               10:47:27    1            THE WITNESS: It would not be           10:49:01
     2   service reps in the day-to-day monitoring of 10:47:29            2       accurate.                      10:49:08
     3   the customers was removed off their plate; is 10:47:34           3 QUESTIONS BY MR. KO:                               10:49:15
     4   that fair to say?                      10:47:38                  4       Q.   Okay. Now, throughout the time 10:49:15
     5            MR. O'CONNOR: Object to form. 10:47:38                  5 you were involved with the CSC and in                10:49:18
     6            THE WITNESS: So I would have              10:47:41      6 connection with your duties to revise the SOM 10:49:20
     7       never called the NAMs a day-to-day           10:47:41        7 program, did you ever consult any third           10:49:25
     8       monitoring. The customer service           10:47:44          8 parties or consultants to assist you in         10:49:28
     9       reps, yes, as they reviewed orders        10:47:46           9 implementing and maintaining an SOM program?                10:49:33
    10       that came in, that has not changed.       10:47:48          10       A.   Yes.                      10:49:36
    11       So I'd like to clarify that point.     10:47:49             11       Q.   Okay. And which third parties         10:49:37
    12            But when we speak of the           10:47:51            12 or vendors would those be?                   10:49:38
    13       suspicious order monitoring team, the 10:47:53              13       A.   The company is Drug and              10:49:39
    14       commercial -- neither the commercial         10:47:56       14 Chemical Advisory Group. I'm not certain if           10:49:47
    15       group nor customer service is            10:47:57           15 they still exist, but that was the firm at      10:49:48
    16       currently on the team.                10:47:59              16 the time. And that group was made up of              10:49:55
    17   QUESTIONS BY MR. KO:                              10:48:00      17 former DEA executives.                       10:49:58
    18       Q. Okay. So when they were part             10:48:00        18       Q.   Okay. Including Frank             10:49:59
    19   of the team, the NAMs and the CSRs assisted 10:48:02            19 Sapienza?                             10:50:02
    20   in rooting out potential diversion of         10:48:06          20       A.   Sapienza, yes, sir.            10:50:02
    21   Mallinckrodt controlled substances; is that 10:48:10            21       Q.   Other than the drug and           10:50:04
    22   accurate?                            10:48:12                   22 chemical group, anyone else?                  10:50:05
    23            MR. O'CONNOR: Objection.                10:48:12       23       A.   Yes.                      10:50:06
    24            THE WITNESS: So they assisted 10:48:13                 24       Q.   Who or which entities?            10:50:06
    25       in bringing things to our attention      10:48:15           25       A.   A gentleman, Howard Davis. He           10:50:09

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     1 was retired DEA diversion program manager.             10:50:13    1 QUESTIONS BY MR. KO:                              10:52:19
     2      Q.    Okay. Other than the drug and          10:50:20         2       Q. Okay. Other than the Buzzeo            10:52:19
     3 chemical group and Mr. Davis, did you retain          10:50:21     3   group, the drug and chemical group and           10:52:25
     4 any other entities to assist in the         10:50:25               4   Mr. Howard Davis, do you recall any other         10:52:27
     5 implementation of Mallinckrodt's SOM program? 10:50:28             5   entities or individuals that Mallinckrodt      10:52:29
     6      A.    Is there a specific time frame    10:50:30              6   retained for purposes of implementing its SOM 10:52:31
     7 to which you refer?                       10:50:34                 7   program at the time you were senior manager? 10:52:34
     8      Q.    During the time period in which        10:50:35         8       A. Yes.                        10:52:36
     9 you were senior manager of the controlled            10:50:37      9       Q. Okay. Who else?                   10:52:37
    10 substance compliance group.                      10:50:40         10       A. So there's -- there is a lady      10:52:39
    11      A.    Yes.                       10:50:41                    11   who was a former employee. Her name is            10:52:41
    12      Q.    Okay. And who would -- who              10:50:44       12   Jennifer, but she goes by Jen, Buist,        10:52:45
    13 would that individual be or which entities          10:50:45      13   B-u-i-s-t.                         10:52:51
    14 would that be?                          10:50:47                  14       Q. And if memory serves me               10:52:51
    15      A.    So I get -- I get confused       10:50:48              15   correct, Ms. -- or Jennifer was retained      10:52:55
    16 because we did not retain the consulting           10:50:50       16   sometime after 2012.                     10:52:58
    17 group for this purpose. They were retained           10:50:55     17            Is that consistent with your     10:53:02
    18 through outside counsel, so Mallinckrodt did         10:50:58     18   understanding?                        10:53:02
    19 not retain them.                        10:51:01                  19       A. Yes.                        10:53:02
    20      Q.    I see.                     10:51:02                    20       Q. Okay. In other words, she            10:53:06
    21           So outside counsel, do you mean         10:51:03        21   wasn't retained -- or she wasn't part of the 10:53:08
    22 Ropes & Gray?                             10:51:05                22   SOM team in the 2008 to 2012 time period, was 10:53:10
    23      A.    Yes.                       10:51:05                    23   she?                              10:53:12
    24      Q.    Okay. And which third-party            10:51:06        24       A. No.                         10:53:13
    25 consultant or vendor are you referring to?         10:51:11       25            (Mallinckrodt-Harper Exhibit 2 10:53:13

                                                              Page 107                                                         Page 109
     1        A. They've changed names                10:51:12            1       marked for identification.)           10:53:13
     2   throughout the years. It was at one time        10:51:14         2   QUESTIONS BY MR. KO:                            10:53:13
     3   called Buzzeo Consulting. Their named             10:51:16       3       Q. Okay. Why don't we turn to a 10:53:13
     4   changed to IQVIA, Quintiles IMS, and now            10:51:20     4   new exhibit. This will be marked as Harper 10:53:22
     5   they're known only at IMS.                  10:51:27             5   Exhibit 2.                           10:53:26
     6        Q. And my understanding of IMS             10:51:31         6            And for the record, Harper        10:53:39
     7   is -- and IQVIA is that it's a database that 10:51:32            7   Exhibit 2 is MNK-T1_0000275504.                  10:53:41
     8   tracks detailed patient-level information.     10:51:36          8            And, Ms. Harper, I just want to 10:53:54
     9   So I just want to make sure I understand what 10:51:39           9   direct you to some pages on this document. 10:53:56
    10   you're referring to in terms of their        10:51:41           10   And we can get to -- well, let's take a step 10:54:04
    11   retention.                           10:51:44                   11   back.                              10:54:08
    12             Is it your testimony that you    10:51:45             12            This appears to be an e-mail       10:54:08
    13   believe that they actually testified as      10:51:47           13   dated February 23, 2009, from you to Eileen 10:54:11
    14   consultants for the company, or did you          10:51:51       14   Spaulding and Mary Lewis; is that correct? 10:54:15
    15   simply acquire data from them?                10:51:53          15       A. Yes.                         10:54:18
    16             MR. O'CONNOR: Objection to             10:51:55       16       Q. And it's attaching a              10:54:18
    17        form.                          10:51:56                    17   presentation you're making regarding the         10:54:20
    18             THE WITNESS: We did not              10:51:56         18   controlled substance compliance group?           10:54:22
    19        acquire data from them. The company          10:51:59      19       A. Yes.                         10:54:24
    20        may have in some respect, but the old 10:52:01             20       Q. Okay. And I have seen a lot of 10:54:24
    21        Buzzeo group became a part of the         10:52:04         21   these presentations, and I believe that you 10:54:28
    22        IQVIA IMS organization, so they           10:52:06         22   have given some of these presentations, so 10:54:30
    23        were -- primarily we dealt with         10:52:13           23   I'm assuming they look familiar to you, but 10:54:33
    24        another gentleman who was a former          10:52:15       24   does this presentation that you see attached 10:54:35
    25        official at DEA.                  10:52:18                 25   to this e-mail -- do you recall this        10:54:36

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     1 particular presentation?                     10:54:40              1   want you to confirm that at least as         10:56:19
     2           MR. O'CONNOR: Objection to                10:54:41       2   reflected on this deck, the CSC group was        10:56:22
     3       form.                           10:54:42                     3   established in August of 2008, correct?        10:56:27
     4           THE WITNESS: Not this one                10:54:42        4            MR. O'CONNOR: Objection to             10:56:29
     5       specifically, but as I read it, I'm     10:54:44             5       form.                         10:56:31
     6       familiar -- I'm refamiliarizing          10:54:46            6            THE WITNESS: Yes.                  10:56:32
     7       myself.                          10:54:49                    7   QUESTIONS BY MR. KO:                            10:56:32
     8   QUESTIONS BY MR. KO:                              10:54:49       8       Q. And you were senior manager of 10:56:32
     9       Q. Sure. Do you recall giving             10:54:49           9   that group at this time, correct?          10:56:33
    10   presentations to other people or groups at        10:54:52      10       A. I was manager.                  10:56:34
    11   Mallinckrodt regarding the controlled            10:54:55       11       Q. You were manager. Okay.               10:56:40
    12   substance compliance roles and                  10:54:56        12            And when -- and so at some         10:56:42
    13   responsibilities during the 2008 to 2017 time 10:54:58          13   point you became senior manager?               10:56:44
    14   period?                              10:55:03                   14       A. Yes.                        10:56:45
    15       A. Yes.                           10:55:03                  15       Q. Okay. And as we discussed             10:56:46
    16       Q. Okay. And this was one of               10:55:03         16   earlier, you don't recall exactly when?       10:56:47
    17   those presentations?                      10:55:06              17       A. No, I'm sorry.                 10:56:49
    18       A. Yes.                           10:55:06                  18       Q. Okay. Now, based on this             10:56:51
    19       Q. Turning to page 2, which you're 10:55:07                 19   document, is it accurate to say that prior to 10:56:56
    20   on --                              10:55:13                     20   August 2008 there was no such group at           10:56:58
    21       A. Okay.                           10:55:13                 21   Mallinckrodt called the controlled substance 10:57:00
    22       Q. -- of the deck, you see that          10:55:14           22   compliance group? Is that correct?            10:57:02
    23   the controlled substance compliance group was 10:55:15          23       A. Correct.                     10:57:04
    24   established in August 2008.                   10:55:16          24       Q. Okay. I want to turn to           10:57:04
    25           Do you see that?                 10:55:18               25   page 11 of this document, of the deck in        10:57:12

                                                           Page 111                                                          Page 113
     1       A. I see that.                   10:55:18                    1   particular. And there is a reference made to 10:57:17
     2       Q. Okay. And that the name was              10:55:19         2   the controlled substance compliance team.       10:57:20
     3   changed from DEA compliance to the CSC,              10:55:21    3            Do you see that?             10:57:21
     4   correct?                            10:55:29                     4       A. Yes, I do.                  10:57:22
     5       A. Yes. Yes.                      10:55:29                   5       Q. And it indicates here that you 10:57:24
     6       Q. Okay. And just to help you            10:55:29            6   are the manager, as we just discussed, of     10:57:26
     7   along, the portion I was referencing just a 10:55:35             7   controlled substance compliance, correct?       10:57:28
     8   moment ago was right there.                  10:55:43            8       A. Correct.                    10:57:31
     9            And so the CSC group of which          10:55:44         9       Q. And this comprises the entire       10:57:31
    10   you were senior manager was established in          10:55:47    10   controlled substance compliance team?          10:57:34
    11   August 2008, according to this presentation, 10:55:49           11       A. Yes.                       10:57:35
    12   correct?                            10:55:51                    12       Q. And it looks like you reported 10:57:37
    13       A. Yes, according to the              10:55:52              13   to Ms. JoAnne Levy?                      10:57:41
    14   presentation.                         10:55:54                  14       A. Levy, yes, sir.               10:57:43
    15       Q. And is that consistent with          10:55:54            15       Q. Levy, thank you.                10:57:44
    16   your recollection?                      10:55:57                16            And what was her role?          10:57:45
    17       A. I'm so uncertain of the years        10:55:58            17       A. She was the vice president of       10:57:47
    18   the different events happened. I know this 10:56:01             18   the logistics group.                  10:57:50
    19   happened. I see that the presentation reads 10:56:03            19       Q. And did she have any day-to-day 10:57:51
    20   that way, but if it conflicts with a date     10:56:05          20   involvement with the controlled substance       10:57:54
    21   that I previously provided, I apologize.        10:56:08        21   compliance team?                       10:57:55
    22       Q. Sure. No need to apologize.           10:56:12           22       A. Yes.                       10:57:56
    23   This isn't necessarily a memory test.          10:56:15         23       Q. Okay. And what did that            10:57:56
    24       A. Okay.                         10:56:17                   24   day-to-day involvement consist of?           10:57:57
    25       Q. But I'm just curious -- well, I 10:56:18                 25       A. As our vice president, she was 10:57:59

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     1 part of the team that enhanced the suspicious 10:58:03        1 before, it's highly unlikely that anyone else 10:59:47
     2 order monitoring program.                     10:58:09        2   at Mallinckrodt knew more about             10:59:49
     3        Q. Okay.                        10:58:09               3   Mallinckrodt's SOM program other than you,       10:59:52
     4        A. We also deferred to her on          10:58:09        4   correct?                         10:59:54
     5   certain matters of, pardon me, of quota and 10:58:14        5       A. Correct.                   10:59:54
     6   other duties related to the DEA compliance        10:58:19  6       Q. Okay. And in addition to you        10:59:55
     7   group.                             10:58:22                 7   having involvement in the SOM program at        11:00:02
     8        Q. Okay. Now, with respect to the 10:58:22             8   Mallinckrodt, Ms. Spaulding also played a key 11:00:03
     9   revisions and implementation of              10:58:30       9   role; would you agree with that?          11:00:06
    10   Mallinckrodt's SOM program in particular, is 10:58:31      10            MR. O'CONNOR: Objection to          11:00:08
    11   it fair to say that you were the team leader 10:58:36      11       form.                       11:00:10
    12   of that particular group?                10:58:38          12            THE WITNESS: Yes.               11:00:10
    13        A. No.                         10:58:41               13   QUESTIONS BY MR. KO:                         11:00:10
    14        Q. It's not.                   10:58:41               14       Q. And she's based out of the        11:00:10
    15             You don't believe you were the 10:58:42          15   Hobart office?                      11:00:12
    16   team leader of -- during -- well, let me take 10:58:43     16       A. Yes.                      11:00:13
    17   that back.                          10:58:47               17       Q. And by the way, you were based 11:00:13
    18             So from the time period of       10:58:47        18   here in St. Louis, correct?            11:00:16
    19   August 2008 to 2012, were you the team leader 10:58:50 19           A. Yes.                      11:00:17
    20   of Mallinckrodt's SOM program?                 10:58:57    20       Q. And were you based not in the       11:00:17
    21        A. We did not have a designated          10:59:00     21   Hazelwood office but a different office?     11:00:20
    22   team leader.                         10:59:02              22       A. I've had three different        11:00:23
    23        Q. Okay.                        10:59:03              23   offices in the St. Louis area.         11:00:25
    24        A. And we would have deferred to          10:59:04    24       Q. Okay. During the 2008 to 2012 11:00:26
    25   the most senior official on the team, but we 10:59:06      25   time period, where were you located?         11:00:30

                                                       Page 115                                                          Page 117
     1 did not have a designated leader.              10:59:10       1       A. I believe I was at Hazelwood.         11:00:32
     2       Q. And when you say "defer to the 10:59:12              2       Q. And where was Ms. Levy?                11:00:37
     3   most senior official," are you referring to 10:59:13        3       A. At Hazelwood.                    11:00:42
     4   Ms. Levy?                            10:59:15               4       Q. Okay. I want to turn to            11:00:43
     5       A. At that time, yes.               10:59:16            5   page 15 of this deck, and here it appears      11:00:45
     6       Q. Okay. There has been -- again, 10:59:18              6   that you are describing some recent           11:00:58
     7   this isn't a memory test.                10:59:21           7   developments in the controlled substance         11:01:01
     8       A. Okay.                        10:59:23                8   compliance group; is that accurate?           11:01:03
     9       Q. So if your recollection is         10:59:23          9       A. Contributions, yes, sir.          11:01:06
    10   different, I totally understand.           10:59:25        10       Q. Contributions.                 11:01:07
    11             But I have seen reference to     10:59:27        11            And one contribution appears to 11:01:07
    12   documents that suggest that you were the team 10:59:28     12   be the implementation of an SOM program?            11:01:09
    13   leader of the SOM program.                   10:59:30      13            MR. O'CONNOR: Objection to             11:01:14
    14             Do you -- you dispute that?       10:59:32       14       form.                         11:01:14
    15             MR. O'CONNOR: Objection to            10:59:33   15            THE WITNESS: So it's not            11:01:14
    16       form.                          10:59:34                16       qualified here, but we had a program       11:01:18
    17             THE WITNESS: I don't dispute         10:59:34    17       in place, so that would have been an      11:01:20
    18       that.                         10:59:36                 18       enhancement activity of the SOM            11:01:23
    19   QUESTIONS BY MR. KO:                            10:59:36   19       program.                       11:01:24
    20       Q. Okay. You don't dispute that. 10:59:36              20   QUESTIONS BY MR. KO:                            11:01:25
    21       A. I may have been referenced as          10:59:38     21       Q. Okay. And an enhancement               11:01:25
    22   the team leader, but I didn't -- I was a key 10:59:40      22   activity, in other words, an attempt to      11:01:27
    23   contributor, but I didn't perceive myself as 10:59:43      23   revise it and improve the program; is that      11:01:32
    24   the leader.                         10:59:46               24   accurate?                          11:01:35
    25       Q. All right. But as we discussed 10:59:46             25       A. Yes. Yes.                    11:01:35

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                                                          Page 118                                                            Page 120
     1       Q. And when -- here it says, "CSOS 11:01:36                1 they also include -- or did you also review       11:03:24
     2   receipt guidance for customers."             11:01:39          2   and read statements regarding Federal           11:03:30
     3            What does CSOS refer to?           11:01:40           3   Register Notices of suspicious order          11:03:41
     4       A. So the DEA implemented an               11:01:42        4   monitoring activities?                   11:03:42
     5   electronic 222 format, and some of our          11:01:45       5            MR. O'CONNOR: Objection to             11:03:42
     6   customers are narcotic treatment programs.        11:01:51     6       form.                         11:03:43
     7   They had a lot of questions around how to        11:01:54      7   QUESTIONS BY MR. KO:                             11:03:43
     8   manage their recordkeeping, so we provided         11:01:57    8       Q. It was a poor question. Let me 11:03:44
     9   guidance to those customers.               11:02:01            9   ask it again.                       11:03:46
    10       Q. Okay. And the 222 form is a            11:02:02        10            When reviewing the Federal          11:03:46
    11   form required by the DEA that every             11:02:04      11   Register Notices, did you also see and review 11:03:48
    12   registrant fills out when ordering          11:02:05          12   notices that related to SOM activities of      11:03:50
    13   prescription -- or controlled substances; is 11:02:07         13   other registrants?                     11:03:52
    14   that accurate?                      11:02:09                  14       A. Yes.                        11:03:54
    15       A. Schedule II.                  11:02:09                 15       Q. And my presumption is that you 11:03:55
    16       Q. Schedule II in particular?         11:02:10            16   paid particularly close attention to some of 11:04:00
    17       A. Yes.                        11:02:12                   17   those notices?                        11:04:01
    18       Q. Thank you.                     11:02:12                18            MR. O'CONNOR: Objection.              11:04:02
    19            And here, the next reference is 11:02:12             19            THE WITNESS: One in                 11:04:03
    20   to what -- the next item down refers to        11:02:16       20       particular, yes.                 11:04:03
    21   something we had just previously discussed        11:02:20    21   QUESTIONS BY MR. KO:                             11:04:04
    22   about Federal Register Notices.              11:02:22         22       Q. Would that be the Southwood -- 11:04:04
    23            Do you see that?             11:02:24                23       A. Yes.                        11:04:04
    24       A. Yes.                        11:02:24                   24       Q. -- notice?                   11:04:06
    25       Q. And so you are informing             11:02:25          25            Okay. Do you recall when you 11:04:06

                                                           Page 119                                                         Page 121
     1   whoever's at this presentation that one        11:02:27        1 reviewed that one?                        11:04:07
     2   contribution of the CSC group is to watch          11:02:30    2        A. When DEA called it out in one         11:04:09
     3   Federal Register Notices that come out that 11:02:39           3   of their guidance letters as being         11:04:12
     4   are relevant for Mallinckrodt, correct?         11:02:41       4   instructive, that is what we went to         11:04:14
     5       A. Correct.                       11:02:41                 5   immediately and reviewed.                   11:04:16
     6       Q. And the Federal Register             11:02:42           6        Q. Okay. And you recall this was 11:04:17
     7   Notices, what was your understanding of            11:02:44    7   generally in the 2007 or early 2008 time       11:04:19
     8   generally what those consisted of?             11:02:46        8   period?                            11:04:23
     9            Actually, take that back.        11:02:48             9        A. It was 2006, 2007, approximate, 11:04:24
    10            Is it -- a Federal Register     11:02:49             10   but I don't remember the dates.             11:04:26
    11   Notice -- with respect to the Federal         11:02:54        11        Q. Okay. With respect to             11:04:27
    12   Register Notices that you paid particularly 11:02:57          12   participate in RiskMAP program, an FDA            11:04:33
    13   close attention to, those were notices that 11:02:58          13   initiative, can you describe to the Court     11:04:38
    14   interpreted certain DEA statutes; is that       11:03:02      14   what the RiskMAP program was?                   11:04:41
    15   fair to say?                         11:03:05                 15        A. I don't remember the definition 11:04:45
    16            MR. O'CONNOR: Objection to               11:03:05    16   of the acronym, but it pertained -- it was an 11:04:47
    17       form.                          11:03:05                   17   FDA program where certain drug substances          11:04:53
    18            THE WITNESS: I would not call 11:03:06               18   were monitored forward through the supply         11:04:56
    19       them interpretations. They were           11:03:08        19   chain.                            11:04:59
    20       statements of quota, the US aggregate 11:03:11            20        Q. Okay. And when you say               11:05:00
    21       quota, notices of proposed rulemaking, 11:03:16           21   "forward," do you mean after they left the      11:05:02
    22       who had applied to become a new              11:03:19     22   warehouses of the manufacturer facility?        11:05:09
    23       registrant, things like that.        11:03:20             23        A. Yes.                       11:05:12
    24   QUESTIONS BY MR. KO:                              11:03:22    24        Q. Okay. So would it be fair to        11:05:13
    25       Q. Okay. And the statements, did 11:03:22                 25   say that another way of saying -- well,       11:05:16

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     1 strike that.                         11:05:24                   1       manufacturers -- there were two or       11:06:53
     2            Now, there's also a reference    11:05:24            2       three others -- and have a           11:06:54
     3   made to working with the DEA on methadone.          11:05:29 3        collaborative discussion with them in 11:06:57
     4            Do you see that?             11:05:35                4       terms of how the 40-milligram           11:06:58
     5       A. Yes.                        11:05:36                   5       methadone specifically was being         11:07:02
     6       Q. And Mallinckrodt manufactures a 11:05:36               6       distributed at pharmacies, and the      11:07:07
     7   large amount of generic methadone as well,       11:05:38     7       data that they were seeing related to 11:07:10
     8   correct?                           11:05:41                   8       the mortality that they were          11:07:12
     9            MR. O'CONNOR: Objection to            11:05:41       9       associating with those distributions. 11:07:13
    10       form.                         11:05:42                   10   QUESTIONS BY MR. KO:                           11:07:15
    11            THE WITNESS: We manufacture             11:05:42    11       Q. And when you say "mortality,"          11:07:15
    12       methadone, and I don't again have -- I 11:05:44          12   you're saying that there were a large amount 11:07:18
    13       don't know if we're the largest, or    11:05:45          13   of -- or there were people that were        11:07:19
    14       large, but, yes, we manufacture it.     11:05:46         14   overdosing on methadone at the time that you 11:07:21
    15   QUESTIONS BY MR. KO:                           11:05:47      15   met with DEA, correct?                    11:07:25
    16       Q. Okay. And despite not knowing 11:05:48                16             MR. O'CONNOR: Objection to           11:07:27
    17   whether or not you are the largest, or large, 11:05:52       17       form.                         11:07:27
    18   you do understand that Mallinckrodt has for 11:05:55         18             THE WITNESS: Yes, but may I          11:07:28
    19   quite some time manufactured generic           11:05:58      19       please add that that was because there 11:07:29
    20   methadone, correct?                     11:05:59             20       were physicians that were writing them 11:07:33
    21       A. Yes.                        11:06:00                  21       for purposes other than which they       11:07:34
    22       Q. Okay. And since at least the        11:06:01          22       were FDA-approved.                    11:07:38
    23   mid-'90s, if not prior to that?          11:06:02            23   QUESTIONS BY MR. KO:                           11:07:39
    24       A. I don't recall the year because 11:06:06              24       Q. Okay. And that's based on your 11:07:40
    25   previously it was manufactured by an external 11:06:09       25   understanding what the DEA was telling you, 11:07:42

                                                        Page 123                                                        Page 125
     1 party and shipped to Mallinckrodt for          11:06:11        1 correct? Or do you actually have personal     11:07:44
     2   distribution, so I don't know when we brought 11:06:13       2 knowledge?                               11:07:46
     3   the manufacturing in-house.               11:06:15           3        A. I do not have any personal           11:07:46
     4        Q. Sure.                     11:06:17                   4    knowledge.                            11:07:47
     5        A. Of the methadone, 40             11:06:17            5        Q. So it was based on what the DEA 11:07:47
     6   milligrams, that is.                 11:06:19                6    was telling you?                       11:07:49
     7        Q. And thank you for that           11:06:20            7        A. Yes.                        11:07:50
     8   clarification.                     11:06:21                  8        Q. And do you recall when --            11:07:50
     9            Mallinckrodt manufactured        11:06:21           9    approximately when that meeting in             11:07:51
    10   various different strengths of methadone,     11:06:22      10    Washington, DC, was?                       11:07:53
    11   correct?                          11:06:25                  11        A. I don't recall the date.         11:07:54
    12        A. Yes.                      11:06:25                  12        Q. Was it before 2008?                11:07:57
    13        Q. I believe in 5, 10 and         11:06:27             13        A. I'm sorry, I don't recall the      11:08:00
    14   40-milligram dosages, among other quantities? 11:06:30      14    date.                             11:08:01
    15        A. Yes.                      11:06:33                  15        Q. Fair enough.                    11:08:02
    16        Q. Okay. And at a certain point       11:06:33         16             And going back to the RiskMAP 11:08:02
    17   in time, the DEA alerted you and the CSC        11:06:35    17    and trying to understand, as you described, 11:08:09
    18   group of methadone abuse and diversion,        11:06:39     18    the path of a drug that a manufacturer        11:08:12
    19   correct?                          11:06:41                  19    produced, forward, as you said, do you recall 11:08:20
    20            MR. O'CONNOR: Objection to           11:06:42      20    at a certain point in time creating a RiskMAP 11:08:25
    21        form.                       11:06:45                   21    for oxycodone 30?                       11:08:31
    22            THE WITNESS: They called it         11:06:45       22        A. I do not.                    11:08:32
    23        the methadone mortality working group. 11:06:46        23        Q. Okay. You don't recall any           11:08:34
    24        DEA asked us to come to Washington,       11:06:48     24    involvement in a RiskMAP for oxy 30s or 15s? 11:08:36
    25        DC, along with other major           11:06:51          25        A. We may have been asked to              11:08:39

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     1 report in to the -- it was called the patient 11:08:41          1            Now, in addition to an actual 11:10:48
     2 and product monitoring group. It was              11:08:44      2   cost, a business and corporate cost, would 11:10:52
     3   specific to fentanyl in the beginning, but I 11:08:50         3   you agree with me that the cost of         11:10:54
     4   don't -- I don't know to which other products 11:08:53        4   noncompliance is actually overdose deaths? 11:10:55
     5   it may have expanded, but we did annual          11:08:55     5            MR. O'CONNOR: Objection to           11:11:00
     6   reporting to that group.                 11:08:57             6       form.                        11:11:01
     7       Q. Sure. Okay.                     11:08:58               7   QUESTIONS BY MR. KO:                          11:11:02
     8            You didn't have any specific       11:09:00          8       Q. In other words, there's a human 11:11:02
     9   responsibility with respect to that RiskMAP 11:09:02          9   cost of noncompliance, is there not?        11:11:04
    10   report that you may have done for the FDA,        11:09:05   10            MR. O'CONNOR: Objection to           11:11:06
    11   correct?                           11:09:08                  11       form.                        11:11:06
    12       A. So we had responsibility for          11:09:08        12            THE WITNESS: There is a human 11:11:07
    13   reporting any thefts or losses of these       11:09:11       13       cost based upon the diversion of       11:11:10
    14   specific drugs, but it was an internal       11:09:13        14       prescription opioids, yes.         11:11:14
    15   reporting to the patient and product          11:09:16       15   QUESTIONS BY MR. KO:                          11:11:16
    16   monitoring group who assembled a whole large 11:09:17        16       Q. And that human cost is            11:11:16
    17   report consisting of other information for      11:09:21     17   manifested in either mortality or morbidity 11:11:17
    18   the FDA.                            11:09:24                 18   in the form of more people addicted to       11:11:21
    19       Q. Okay. I understand.                11:09:25           19   opioids. Would you agree with me on that? 11:11:24
    20            And did you have any -- a         11:09:26          20            MR. O'CONNOR: Objection to           11:11:25
    21   specific involvement with that?              11:09:29        21       form.                        11:11:26
    22       A. Only to the extent if we --         11:09:30          22            THE WITNESS: Correct. Yes.          11:11:26
    23   they contacted us once a year and asked if we 11:09:32       23       Sorry.                       11:11:27
    24   had any recorded thefts or losses, DEA 106        11:09:35   24   QUESTIONS BY MR. KO:                          11:11:27
    25   forms, for those drug products.             11:09:41         25       Q. So in addition to the costs of 11:11:28

                                                          Page 127                                                           Page 129
     1       Q. Okay. If you turn to page 18 11:09:42                  1 noncompliance here that you list, a real and       11:11:30
     2   of this deck, and there's a reference made to 11:09:52        2   tangible cost of noncompliance is -- are the 11:11:35
     3   the cost of noncompliance.                 11:10:02           3   amount of lives affected by the abuse and        11:11:38
     4            Do you see that?              11:10:03               4   diversion of prescription opioids, correct? 11:11:41
     5       A. I do see it.                 11:10:04                  5            MR. O'CONNOR: Objection to             11:11:42
     6       Q. And by the way, do you have any 11:10:05               6       form.                          11:11:44
     7   reason to doubt that this was a presentation 11:10:07         7            THE WITNESS: I agree, yes.           11:11:44
     8   you made, or do you think that someone else 11:10:08          8   QUESTIONS BY MR. KO:                             11:11:45
     9   made this presentation?                   11:10:11            9       Q. Okay. And as we discussed             11:11:45
    10       A. I have no reason to doubt I -- 11:10:12               10   before, many, if not all, of the complaints 11:11:49
    11   I did make the presentation.               11:10:14          11   that have been filed against various entities 11:11:55
    12       Q. You did make this presentation? 11:10:15              12   involved in the supply chain of prescription 11:11:59
    13       A. Yeah.                        11:10:16                 13   opioids allege that state and local         11:12:01
    14       Q. Okay. So here you're               11:10:16           14   governments have had to incur the burden of 11:12:09
    15   describing the cost of noncompliance, and in 11:10:18        15   responding to the overdose rates and           11:12:12
    16   particular the cost of noncompliance with the 11:10:22       16   morbidity rates that have been caused as a 11:12:16
    17   CSA; is that fair to say?               11:10:24             17   result of the opioid crisis?             11:12:19
    18       A. Yes.                        11:10:25                  18            MR. O'CONNOR: Objection to             11:12:23
    19       Q. Okay. And you are talking             11:10:25        19       form.                          11:12:24
    20   about, I think, other fines paid by other     11:10:27       20            THE WITNESS: Yes, that is the 11:12:24
    21   pharmacies and other entities and registrants 11:10:32       21       information that has been reported,       11:12:25
    22   of the CSA, correct?                    11:10:36             22       yes.                          11:12:26
    23       A. Well, this one is specific to a 11:10:37              23   QUESTIONS BY MR. KO:                             11:12:26
    24   fine paid by Rite Aid and its subsidiaries. 11:10:41         24       Q. Okay. And that is -- in            11:12:26
    25       Q. Right.                       11:10:47                 25   addition to the information that has been       11:12:27

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     1 reported, is that consistent with your         11:12:29         1 presentation, but the e-mail indicates it was 11:14:20
     2   understanding? Do you believe that to be the 11:12:31         2 provided to Michael Santowski for training of 11:14:24
     3   case?                              11:12:32                   3 the executive committee. So that was a level 11:14:28
     4            MR. O'CONNOR: Objection to             11:12:32      4 I didn't -- that was senior executives within 11:14:31
     5       form.                          11:12:33                   5 the organization.                        11:14:32
     6            THE WITNESS: I don't have            11:12:33        6      Q.      I see. That's very helpful.    11:14:33
     7       firsthand knowledge of the costs, but 11:12:36            7            So you didn't actual present      11:14:35
     8       I have no reason to doubt that         11:12:39           8   this deck to the executive committee?          11:14:37
     9       reporting.                      11:12:40                  9       A. I have a number of slides that 11:14:38
    10   QUESTIONS BY MR. KO:                            11:12:41     10   I pull in and out of presentations as        11:14:42
    11       Q. Okay. By the way, do you              11:12:46        11   appropriate for the audience. So I'm certain 11:14:44
    12   know -- do you personally know anyone             11:12:47   12   I presented variations of these slides to     11:14:47
    13   impacted by the opioid crisis?              11:12:49         13   different audiences, but I did not present 11:14:50
    14       A. I do not.                    11:12:52                 14   this deck to the executive committee.          11:14:52
    15       Q. You're lucky.                   11:12:54              15       Q. Okay. That's helpful.              11:14:55
    16       A. I know. I know that.              11:12:55            16            But you created the deck for       11:14:56
    17            (Mallinckrodt-Harper Exhibit 3 11:13:05             17   Mr. Santowski, if I understand correctly?       11:14:58
    18       marked for identification.)           11:13:05           18       A. Yes.                        11:15:00
    19   QUESTIONS BY MR. KO:                            11:12:57     19       Q. Okay. I want to turn to page 4 11:15:01
    20       Q. I want to turn to the next         11:12:57           20   of this deck. And here we have some of the 11:15:07
    21   exhibit, which will be marked as Harper         11:13:03     21   regulations that interpret the CSA.          11:15:19
    22   Exhibit 3.                          11:13:05                 22            Do you see that?              11:15:21
    23            For the record, this is ending 11:13:11             23       A. I think that's verbatim, but, 11:15:22
    24   in Bates stamp 283074.                    11:13:13           24   yes, yes. Not an interpretation, but the      11:15:29
    25            And it is an e-mail dated       11:13:24            25   statements in the Code of Federal             11:15:32

                                                        Page 131                                                          Page 133
     1 April 12, 2011, from you to Michael           11:13:26          1   Regulations.                         11:15:35
     2 Santowski.                            11:13:31                  2       Q. Okay. Great. Thank you for            11:15:35
     3            Who is Michael Santowski?         11:13:32           3   that clarification.                  11:15:36
     4       A. He was the gentleman to whom I 11:13:35                4            So these are statements that     11:15:37
     5   reported at the time.                 11:13:38                5   actually appear in the regulations as        11:15:39
     6       Q. Okay. And he was -- was he           11:13:38          6   codified by 21 CFR 1301.74, correct?            11:15:42
     7   part of the controlled substance compliance 11:13:42          7            MR. O'CONNOR: Objection to             11:15:47
     8   team?                             11:13:43                    8       form.                         11:15:47
     9       A. We reported to him, so he had        11:13:44          9            THE WITNESS: Yes.                  11:15:47
    10   oversight for several groups, including ours, 11:13:49       10   QUESTIONS BY MR. KO:                            11:15:48
    11   yes.                            11:13:52                     11       Q. Okay. And we have previously            11:15:48
    12       Q. I see.                     11:13:52                   12   discussed Mallinckrodt's responsibilities      11:15:51
    13            And now it appears that you've 11:13:53             13   with respect to suspicious orders, but I just 11:15:53
    14   become the senior manager of the controlled 11:13:54         14   want to make sure.                     11:15:56
    15   substance compliance group.                11:13:56          15            You would agree that all the      11:15:57
    16            Do you see that?             11:13:57               16   responsibilities and requirements set forth 11:16:00
    17       A. Yes.                       11:13:57                   17   here are responsibilities that Mallinckrodt 11:16:02
    18       Q. So at least as of April 12,       11:13:58            18   had, correct?                       11:16:04
    19   2011, you were the senior manager of the CSC? 11:14:00       19            MR. O'CONNOR: Objection to             11:16:06
    20       A. I agree.                    11:14:04                  20       form.                         11:16:07
    21       Q. Okay. And this is another          11:14:05           21            THE WITNESS: Yes, correct.           11:16:07
    22   presentation you made regarding the SOM          11:14:08    22   QUESTIONS BY MR. KO:                            11:16:08
    23   program at Mallinckrodt.                 11:14:12            23       Q. Okay. And that includes a duty 11:16:08
    24            Do you see that?             11:14:13               24   to design and operate a suspicious order       11:16:11
    25       A. So clearly I created the         11:14:14             25   identification system.                 11:16:15

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                                                            Page 134                                                          Page 136
     1            Mallinckrodt had that duty,         11:16:17          1 have any recollection?                      11:17:48
     2   correct?                              11:16:18                 2            MR. O'CONNOR: Objection to              11:17:48
     3       A. Yes.                           11:16:18                 3       form.                          11:17:49
     4       Q. And Mallinckrodt had a duty to 11:16:18                 4            THE WITNESS: I'm fairly              11:17:49
     5   require -- or Mallinckrodt had a duty to         11:16:24      5       certain that that was in one of the     11:17:51
     6   report suspicious orders to the DEA when           11:16:26    6       guidance letters from DEA circa 2006, 11:17:56
     7   discovered via a monitoring process, correct? 11:16:28         7       2007.                           11:17:59
     8       A. Yes.                           11:16:31                 8   QUESTIONS BY MR. KO:                             11:18:00
     9       Q. And Mallinckrodt had a duty              11:16:31       9       Q. Okay. And then finally, this 11:18:00
    10   to -- had a duty to ensure that this          11:16:34        10   last bullet indicates that -- or you would 11:18:04
    11   responsibility to report suspicious orders 11:16:38           11   agree with me that Mallinckrodt had a duty to 11:18:08
    12   did not end merely with filing a suspicious 11:16:39          12   conduct an independent analysis of suspicious 11:18:10
    13   order report; is that correct?              11:16:43          13   orders prior to completing a sale to          11:18:13
    14            MR. O'CONNOR: Objection to               11:16:44    14   determine whether or not the controlled         11:18:14
    15       form.                            11:16:45                 15   substances are likely to be diverted.         11:18:17
    16            THE WITNESS: So the statement 11:16:45               16            MR. O'CONNOR: Objection to              11:18:19
    17       is correct, but I -- I must -- I would 11:16:46           17       form.                          11:18:19
    18       like to clarify.                   11:16:49               18   QUESTIONS BY MR. KO:                             11:18:19
    19            All these are not straight from 11:16:50             19       Q. Is that accurate?                11:18:19
    20       CFR 21. Some of the statements, I           11:16:53      20       A. Yes.                          11:18:20
    21       believe, particularly the italicized 11:16:55             21       Q. Okay. Now, turning to the next 11:18:21
    22       one at the bottom, may have been            11:16:58      22   page, here you put in this presentation the 11:18:30
    23       culled from a DEA -- one of the DEA           11:17:01    23   number of people -- the number of registrants 11:18:36
    24       guidance letters.                   11:17:04              24   there are in the supply chain -- or the       11:18:39
    25                                                                 25   number of registrants that are part of the 11:18:43

                                                         Page 135                                                            Page 137
     1 QUESTIONS BY MR. KO:                              11:17:04       1   CSA; is that correct?                   11:18:44
     2        Q. Okay. But regardless of where 11:17:05                 2       A. As of that time, yes.             11:18:45
     3   it came from, at least at the time of this   11:17:08          3       Q. Right, as of that time.           11:18:48
     4   presentation, you believe that Mallinckrodt 11:17:10           4       A. Yes.                        11:18:49
     5   had a duty to ensure that their suspicious     11:17:12        5       Q. And there's a specific quote         11:18:49
     6   order responsibilities did not end merely      11:17:17        6   that you include in this presentation that     11:18:51
     7   with the filing of a suspicious order report; 11:17:18         7   says that "the DEA must rely on the states       11:18:53
     8   is that correct?                     11:17:21                  8   and individual registrants to monitor."        11:18:56
     9            MR. O'CONNOR: Objection to             11:17:21       9            Do you see that?              11:18:58
    10        form.                        11:17:22                    10       A. I do see that.                11:18:58
    11            THE WITNESS: Correct.               11:17:22         11       Q. And the "individual                11:18:59
    12        Correct.                      11:17:22                   12   registrants" obviously refers to entities     11:19:00
    13   QUESTIONS BY MR. KO:                            11:17:23      13   like Mallinckrodt?                      11:19:03
    14        Q. And Mallinckrodt also -- you         11:17:23         14       A. Correct.                     11:19:04
    15   also understand that Mallinckrodt was not        11:17:26     15       Q. And so at least as of this         11:19:05
    16   going to get any specific guidance from the 11:17:30          16   time, the date of this deck, you understood 11:19:07
    17   DEA at this time on whether or not their        11:17:33      17   that the DEA was not going to give you           11:19:10
    18   particular SOM program would be endorsed -- 11:17:37          18   specific guidance but was going to rely on       11:19:11
    19            MR. O'CONNOR: Objection to             11:17:40      19   registrants like Mallinckrodt to monitor        11:19:16
    20        form.                        11:17:41                    20   their controlled substances, correct?        11:19:18
    21   QUESTIONS BY MR. KO:                            11:17:41      21            MR. O'CONNOR: Objection to              11:19:19
    22        Q. -- is that accurate?            11:17:41              22       form.                         11:19:20
    23        A. That's accurate.               11:17:42               23            THE WITNESS: Correct.               11:19:20
    24        Q. Okay. And when did you               11:17:43         24   QUESTIONS BY MR. KO:                             11:19:21
    25   understand DEA to tell you that first; do you 11:17:45        25       Q. Okay. Now, I want to turn to          11:19:21

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     1 page 7 of this particular report, and there's 11:19:29         1            MR. O'CONNOR: Objection to              11:21:09
     2 a reference made to Florida. And I know we           11:19:36 2        form.                         11:21:09
     3   had spoken a little bit about problems in       11:19:39     3            THE WITNESS: So there are             11:21:09
     4   Florida a moment ago, but on page 7 -- give 11:19:43         4       other manufacturers of oxycodone --         11:21:13
     5   you a moment to get there.                 11:19:49          5   QUESTIONS BY MR. KO:                             11:21:14
     6        A. I'm sorry, the front and back 11:19:50               6       Q. I understand that.               11:21:14
     7   is mixing me up.                        11:19:52             7       A. -- and this is not specific to 11:21:15
     8        Q. Yeah.                        11:19:53                8   Mallinckrodt oxycodone.                    11:21:16
     9        A. Okay. Thank you. I am at             11:19:53        9       Q. Okay. But Mallinckrodt               11:21:18
    10   page 7.                            11:19:55                 10   manufactured oxy 15s and 30s in large            11:21:19
    11        Q. Sure.                       11:19:56                11   amounts, correct?                       11:21:22
    12            Page 7 gives some color to what 11:19:56           12       A. Mallinckrodt manufactured oxy 11:21:23
    13   we were previously discussing about the           11:19:59 13    15s and 30s, and again, "large" is -- I don't 11:21:25
    14   problem in Florida, and here you describe         11:20:01 14    have enough reference information relative to 11:21:28
    15   that most, if not almost all, 98 percent, of 11:20:04       15   the other manufacturers' production to answer 11:21:31
    16   all doctors dispensing oxycodone nationally 11:20:09 16          the question.                        11:21:35
    17   are in Florida.                       11:20:12              17       Q. Well, let's talk about that        11:21:36
    18            Do you see that?               11:20:12            18   then. The next -- the previous page,          11:21:40
    19        A. I do.                      11:20:13                 19   actually, page 6, there's a description of 11:21:42
    20        Q. So you were aware at the time 11:20:13              20   oxycodone market share of Mallinckrodt            11:21:45
    21   of this presentation that there was a --      11:20:16      21   relative to the rest of your competitors.     11:21:47
    22   almost all of the -- or the top doctors      11:20:20       22            Do you see that?              11:21:50
    23   dispensing oxycodone were in Florida,            11:20:23   23       A. I do see it.                  11:21:51
    24   correct?                           11:20:25                 24       Q. So at least as of Q4 of 2010, 11:21:53
    25            MR. O'CONNOR: Objection to              11:20:26   25   it appears that Mallinckrodt has a 52 percent 11:21:59

                                                        Page 139                                                         Page 141
     1       form.                          11:20:27                  1 share of oxycodone in the nation; is that     11:22:02
     2            THE WITNESS: Yes. Accepting             11:20:27    2 accurate?                            11:22:08
     3       as factual this data published by the 11:20:32           3            MR. O'CONNOR: Object to form. 11:22:08
     4       Florida governor's office, yes.         11:20:35         4            THE WITNESS: Yes.                 11:22:09
     5   QUESTIONS BY MR. KO:                            11:20:38     5   QUESTIONS BY MR. KO:                            11:22:11
     6       Q. Right. And you had                  11:20:38          6       Q. Okay. And then that rose            11:22:12
     7   knowledge -- or you understood there to be a 11:20:39        7   slightly in Q1 of 2011 -- fiscal year 2011 to 11:22:16
     8   big problem in Florida at this time --        11:20:41       8   56 percent.                         11:22:19
     9            MR. O'CONNOR: Objection to             11:20:43     9            Do you see that?              11:22:20
    10       form.                          11:20:43                 10       A. Yes, I do see that statistic,     11:22:23
    11   QUESTIONS BY MR. KO:                            11:20:43    11   yes.                             11:22:26
    12       Q. -- with respect to prescription 11:20:43             12       Q. All right. And so there -- and 11:22:26
    13   opioids manufactured by Mallinckrodt,            11:20:45   13   none of Mallinckrodt's competitors are         11:22:27
    14   correct?                            11:20:46                14   anywhere close to Mallinckrodt's market share 11:22:29
    15            MR. O'CONNOR: Same objection. 11:20:46             15   based on this table, correct?             11:22:32
    16            THE WITNESS: A problem, yes.            11:20:47   16       A. Correct.                     11:22:33
    17       The -- sorry. The adjective "big,"       11:20:50       17       Q. And in fact, as we just           11:22:35
    18       again, is a relative term, but, yes, a 11:20:53         18   previously described and went over, the total 11:22:37
    19       problem in Florida.                  11:20:56           19   percentage of Mallinckrodt's competitors is 11:22:41
    20   QUESTIONS BY MR. KO:                            11:20:57    20   less than Mallinckrodt's own share of the      11:22:44
    21       Q. Okay. And in fact, there was          11:20:57       21   market of oxycodone, correct?               11:22:47
    22   substantially more oxycodone manufactured by 11:20:59       22            MR. O'CONNOR: Objection to            11:22:50
    23   Mallinckrodt that was being dispensed in         11:21:03   23       form.                         11:22:51
    24   Florida than all the other remaining states 11:21:05        24            THE WITNESS: Yes. As I sit           11:22:51
    25   combined according to this deck, correct?        11:21:07   25       here and perform quick math, yes.         11:22:53

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                                                         Page 142                                                         Page 144
     1       Yes.                          11:22:55                   1 expected Mallinckrodt to understand and know       11:24:43
     2   QUESTIONS BY MR. KO:                           11:22:56      2 their customer's customer; is that correct?   11:24:47
     3       Q. Okay. Now, based, I believe -- 11:22:56               3            MR. O'CONNOR: Objection to          11:24:51
     4   if you turn to page 14 of this deck now,      11:23:05       4        form.                        11:24:51
     5   going forward.                        11:23:08               5            THE WITNESS: Yes, that's per 11:24:51
     6            And there's reference made to a 11:23:20            6        DEA St. Louis, yes.                11:24:53
     7   conversation that Mallinckrodt had with the 11:23:22         7   QUESTIONS BY MR. KO:                           11:24:54
     8   DEA on July 20, 2010.                     11:23:25           8        Q. Okay. So as of July 20th -- no 11:24:54
     9            Do you see that?              11:23:28              9   later than July 20, 2010, you understood that 11:24:56
    10       A. I do.                       11:23:29                 10   Mallinckrodt had an obligation as required by 11:25:00
    11       Q. And do you recall that             11:23:29          11   the DEA to know their customer's customer, 11:25:02
    12   conversation?                         11:23:32              12   correct?                           11:25:05
    13       A. I do.                       11:23:32                 13            MR. O'CONNOR: Objection to            11:25:05
    14       Q. And you participated in it?         11:23:33         14        form.                        11:25:06
    15       A. Yes.                        11:23:35                 15            THE WITNESS: So it was told to 11:25:06
    16       Q. Okay. And we'll get to that in 11:23:35              16        us by DEA St. Louis, but DEA Albany         11:25:07
    17   a moment --                          11:23:36               17        contradicted the statement.          11:25:10
    18       A. All right.                   11:23:37                18   QUESTIONS BY MR. KO:                           11:25:12
    19       Q. -- but I just want to talk        11:23:37           19        Q. Okay. And we'll get to that        11:25:12
    20   about some of the things that you've put in 11:23:40        20   maybe in a moment, but -- well, first of all, 11:25:13
    21   this presentation, including the fact that 11:23:42         21   is there any indication of a contradiction on 11:25:17
    22   Mallinckrodt is viewed as the kingpin within 11:23:44       22   this deck?                          11:25:19
    23   the drug cartel.                     11:23:47               23        A. Well, so the DEA expectation,        11:25:19
    24            Do you see that reference?       11:23:48          24   I'm using that term as all of DEA here when I 11:25:24
    25       A. I do.                       11:23:50                 25   prepared the bullet point on the slide, but 11:25:28

                                                       Page 143                                                           Page 145
     1        Q. And that was something that the 11:23:50             1 the comment came from DEA St. Louis.                 11:25:31
     2   DEA had indicated to you?                   11:23:52         2        Q. Okay. So when you say that you 11:25:33
     3        A. Yes.                        11:23:53                 3   are referring to DEA -- the DEA expectation, 11:25:34
     4        Q. Okay. And my presumption is            11:23:55      4   then it is fair to say that based on your     11:25:39
     5   that they expressed that view because          11:23:57      5   conversation with the DEA on July 20th, you 11:25:41
     6   Mallinckrodt had the majority of the market 11:23:59         6   understood that Mallinckrodt had an            11:25:43
     7   share of oxycodone?                      11:24:02            7   obligation to know your customer's customer; 11:25:46
     8             MR. O'CONNOR: Objection to            11:24:03     8   is that correct?                      11:25:50
     9        form.                         11:24:03                  9             MR. O'CONNOR: Objection to             11:25:50
    10             THE WITNESS: I know the view           11:24:03   10        form.                         11:25:50
    11        was expressed, but I don't know what      11:24:05     11             THE WITNESS: So again, I'm            11:25:50
    12        the basis was because this is talking 11:24:07         12        sorry, it was DEA St. Louis, and it      11:25:51
    13        about Harvard Drug distributor.         11:24:09       13        was DEA St. Louis expectation because 11:25:54
    14   QUESTIONS BY MR. KO:                            11:24:12    14        that was a quote from the             11:25:58
    15        Q. Okay. So you -- regardless,         11:24:12        15        conversation.                    11:25:59
    16   you recall during this DEA meeting in July       11:24:16   16   QUESTIONS BY MR. KO:                             11:25:59
    17   of 2010 that DEA had expressed the view that 11:24:20       17        Q. Okay. So I just want to make          11:25:59
    18   Mallinckrodt was viewed as the kingpin within 11:24:22      18   sure the record is clear.                11:26:01
    19   the drug cartel?                      11:24:24              19             Based on your conversations        11:26:02
    20        A. I do.                      11:24:25                 20   with DEA St. Louis, it was your understanding 11:26:03
    21        Q. Okay. And we had discussed a           11:24:26     21   that the DEA St. Louis required Mallinckrodt, 11:26:06
    22   little time ago that -- about Mallinckrodt's 11:24:31       22   and in fact expected Mallinckrodt, to know        11:26:10
    23   duties to know their customers' customers,       11:24:34   23   their customer's customer as of July 20,        11:26:13
    24   and here you indicate that at least as of the 11:24:36      24   2010; is that correct?                  11:26:15
    25   date of this meeting, you understood that DEA 11:24:38      25             MR. O'CONNOR: Objection to             11:26:16

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     1       form.                         11:26:16                    1 I may have carried this information back to        11:28:05
     2            THE WITNESS: Yes.                 11:26:16           2 the suspicious order monitoring team at the        11:28:08
     3   QUESTIONS BY MR. KO:                            11:26:17      3 time.                               11:28:10
     4       Q. Okay. By the way, we talked           11:26:17         4       Q. Okay. I want to turn back to 11:28:10
     5   about Mr. Ratliff a moment ago.              11:26:31         5   the table of contents of this deck, which     11:28:26
     6            When did you first start       11:26:34              6   appears on page 2. And again, I understand 11:28:32
     7   working with Mr. Ratliff?                 11:26:35            7   that you didn't actually make this         11:28:41
     8       A. I don't know the year.            11:26:37             8   presentation, but you prepared all the       11:28:44
     9       Q. Okay. It was before the 2008         11:26:38          9   materials in this presentation, correct?     11:28:47
    10   time period?                         11:26:41                10       A. Yes.                        11:28:48
    11       A. I don't know when he came to           11:26:41       11       Q. Including some of the things         11:28:50
    12   us, I'm sorry.                      11:26:45                 12   that we went over and also this reference to 11:28:52
    13       Q. Sure.                       11:26:46                  13   an OxyContin Express video?                  11:28:55
    14            Do you know who Pete Kleissle        11:26:47       14       A. Yes.                        11:28:58
    15   is?                             11:26:51                     15       Q. And do you recall ever             11:28:59
    16       A. Yes.                        11:26:51                  16   presenting -- I know you didn't make this      11:29:01
    17       Q. He was at DEA, correct?             11:26:52          17   presentation, but did you recall presenting 11:29:04
    18       A. Yes.                        11:26:53                  18   about the OxyContin Express in other settings 11:29:07
    19       Q. Do you recall any conversations 11:26:53              19   at Mallinckrodt?                      11:29:13
    20   with Pete Kleissle regarding your obligations 11:26:55       20       A. Yes, I believe so.              11:29:13
    21   to know your customer's customer?              11:26:59      21       Q. Okay. And that video, again, 11:29:13
    22       A. So when I'm using the term           11:27:01         22   consisted of your understanding of migration 11:29:15
    23   "DEA" here, this conversation was indeed with 11:27:06       23   of opioid pills moving north from Florida, 11:29:17
    24   Pete Kleissle.                      11:27:10                 24   correct?                           11:29:20
    25       Q. Okay. So Pete Kleissle             11:27:11           25       A. Correct.                     11:29:21

                                                         Page 147                                                             Page 149
     1 specifically told you and other people that        11:27:15     1        Q. And unfortunately we don't have 11:29:22
     2   were at this meeting that you had an           11:27:18       2   the video to play, but I believe --            11:29:27
     3   obligation to know your customer's customer 11:27:20          3        A. Unfortunately, a lot of the           11:29:28
     4   or --                             11:27:23                    4   time I couldn't get the video to play.           11:29:31
     5       A. It was only me.                   11:27:23             5        Q. Oh, okay.                        11:29:32
     6       Q. Only you. Okay.                    11:27:24            6              Well, I believe there's some       11:29:33
     7            And who did you share that          11:27:27         7   stills, at least, in this presentation.      11:29:34
     8   information with?                        11:27:28             8   Turning to page 16.                        11:29:36
     9       A. The person to whom I reported            11:27:28      9        A. All right.                      11:29:37
    10   at the time and Bill Ratliff, because I don't 11:27:35       10        Q. Do you recall that particular          11:29:47
    11   believe our group reported to him, but we         11:27:38   11   image?                                11:29:48
    12   work in close conjunction with the security 11:27:39         12        A. I do.                        11:29:48
    13   group in DEA compliance.                      11:27:41       13        Q. This was an image that was               11:29:49
    14       Q. Okay. And so the person you             11:27:42      14   included in your video?                      11:29:50
    15   reported to at the time was Ms. Levy or was 11:27:44         15        A. I don't think so. I think it        11:29:51
    16   it Mr. Santowski? You don't recall?            11:27:46      16   was separate.                            11:29:54
    17       A. It was another person, Tom             11:27:48       17        Q. This is just an image?               11:29:55
    18   Berry.                              11:27:52                 18        A. Yes.                          11:29:56
    19       Q. Tom Berry. Okay.                    11:27:52          19        Q. Okay. This was an image of, I 11:29:57
    20            So other than Mr. Berry and         11:27:52        20   think, a pill mill in Florida?              11:29:59
    21   Mr. Ratliff, did you talk about this          11:27:54       21              MR. O'CONNOR: Objection to               11:30:01
    22   conversation you had with Mr. Kleissle with 11:27:56         22        form.                           11:30:01
    23   anyone else?                           11:27:58              23              THE WITNESS: Yes.                    11:30:01
    24       A. I may have discussed it --           11:27:59         24   QUESTIONS BY MR. KO:                                11:30:02
    25   well, clearly I put it in a presentation, so 11:28:04        25        Q. And the pill mill was, I             11:30:02

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                                                          Page 150                                                        Page 152
     1 think -- I think this particular picture was    11:30:04       1 as Harper Exhibit 4. For the record, that'll 11:31:52
     2   of Tru-Valu, I believe.                 11:30:06             2 end in Bates stamp 496098.                       11:31:58
     3            Does that name ring a bell?       11:30:08          3            Actually, we'll skip that one. 11:32:18
     4            MR. O'CONNOR: Objection to            11:30:12      4   Let's go to -- I'll take that one. Still     11:32:23
     5       form.                         11:30:12                   5   Exhibit 4. Strike that.                  11:32:32
     6            THE WITNESS: The name rings a 11:30:12              6            Exhibit 4 is actually ending in 11:32:34
     7       bell, but I don't have a way of       11:30:13           7   Bates stamp 1308810. That is Harper                11:32:36
     8       identifying the pharmacy here.          11:30:14         8   Exhibit 4.                           11:32:44
     9   QUESTIONS BY MR. KO:                            11:30:16     9            You keep that one. That's the 11:32:44
    10       Q. Okay. By the way, what's your 11:30:16               10   official copy with the --                  11:32:46
    11   definition of a pill mill?              11:30:17            11       A. Okay. I apologize. Sorry.              11:32:48
    12       A. The definition of a pill mill, 11:30:18              12       Q. No need to apologize.                 11:32:49
    13   from my perspective, is a facility wherein 11:30:20         13            For the record, this is a        11:32:50
    14   patients who may not legitimately have the 11:30:28         14   March 3, 2008 e-mail from you to Bill              11:33:02
    15   need for a prescription would go and have -- 11:30:33       15   Ratliff.                            11:33:05
    16   some doctors were overprescribing or selling 11:30:38       16            Do you see that?                11:33:06
    17   oxycodone specifically within the state of 11:30:43         17       A. I do.                        11:33:06
    18   Florida because it was a DEA-registered         11:30:45    18       Q. Do you have any reason to doubt 11:33:06
    19   activity at the time.                 11:30:47              19   that you sent this e-mail to Mr. Ratliff on 11:33:08
    20       Q. And then, therefore, as a          11:30:48          20   March 3, 2008?                           11:33:11
    21   result of the wide -- or overprescription of 11:30:51       21       A. No reason to doubt it.               11:33:11
    22   oxycodone, those particular prescription       11:30:53     22       Q. Okay. So I know you said a               11:33:13
    23   opioids were being widely abused and            11:30:56    23   moment ago you don't recall when you started 11:33:14
    24   diverted; is that correct?              11:30:59            24   working with Mr. Ratliff, but at least as of 11:33:16
    25            MR. O'CONNOR: Objection to            11:30:59     25   March of 2008, you seemed to be working with 11:33:18

                                                        Page 151                                                          Page 153
     1       form.                          11:31:00                  1 him in connection with DEA compliance,             11:33:20
     2            THE WITNESS: So, yes,               11:31:00        2 correct?                            11:33:24
     3       that's -- that's one of the         11:31:02             3        A. Correct.                    11:33:24
     4       contributing factors, yes.            11:31:03           4        Q. And it appears that you're        11:33:24
     5   QUESTIONS BY MR. KO:                            11:31:05     5   preparing some DEA compliance monthly              11:33:25
     6       Q. Okay. And you understood               11:31:05       6   highlights as of February 2008.             11:33:30
     7   during the 2008 through 2012 time period that 11:31:07       7             Do you see that?            11:33:32
     8   there were a large amount of pill mills in     11:31:10      8        A. Yes.                       11:33:32
     9   Florida, correct?                      11:31:13              9        Q. And do you recall how              11:33:33
    10       A. I don't know the number, and I 11:31:14              10   frequently you prepared these monthly          11:33:35
    11   don't have a -- a basis for correlation in    11:31:16      11   highlights?                         11:33:37
    12   terms of large -- I'm sorry, I can't answer 11:31:18        12        A. I believe it was monthly.         11:33:38
    13   the question.                         11:31:21              13        Q. And do you recall when you           11:33:39
    14       Q. Relative to any other states         11:31:22        14   first started preparing these?           11:33:40
    15   that you were looking at during your time as 11:31:25       15        A. I do not.                   11:33:42
    16   senior manager of controlled substance          11:31:26    16        Q. And here the distribution is to 11:33:44
    17   compliance, do you recall any other state in 11:31:28       17   Mr. Ratliff.                        11:33:47
    18   which you've examined pill mill activities       11:31:32   18             Do you recall ever sending      11:33:48
    19   other than Florida?                     11:31:34            19   these DEA compliance monthly highlights to        11:33:50
    20       A. No, the focus was Florida.           11:31:36        20   anyone else?                         11:33:55
    21            (Mallinckrodt-Harper Exhibit 4 11:31:54            21        A. They would have been sent to         11:33:55
    22       marked for identification.)            11:31:54         22   the person to whom I reported, so it was Bill 11:33:57
    23   QUESTIONS BY MR. KO:                            11:31:40    23   Ratliff at the time. So there would have      11:33:59
    24       Q. Okay. Okay. We can set this            11:31:40      24   been other people as -- as my manager changed 11:34:00
    25   aside. Right now turn to what will be marked 11:31:49       25   over time.                          11:34:03

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                                                          Page 154                                                            Page 156
     1      Q.     I see.                     11:34:04                   1 that Mallinckrodt's SOM program needed to           11:36:02
     2            So you sent -- during the time 11:34:04                2 be -- needed to receive elevated priority?      11:36:04
     3   period in which you created a DEA compliance 11:34:07           3       A. I do.                       11:36:08
     4   monthly highlight, you sent those to your         11:34:10      4       Q. Yeah. And what were the              11:36:09
     5   direct report each month, correct?             11:34:12         5   reasons for that?                     11:36:11
     6       A. The person to whom I reported, 11:34:14                  6       A. So this master compounding             11:36:12
     7   yes.                                11:34:16                    7   pharmacy sale, which we did not make, the         11:36:15
     8       Q. Okay.                          11:34:16                  8   matter was brought to our attention by a DEA 11:36:20
     9       A. And I can't rule out no one           11:34:16           9   investigator. But after the decision was      11:36:23
    10   else received this, but this is directed to 11:34:19           10   made that that was a suspicious order we        11:36:26
    11   Bill Ratliff only on the correspondence.         11:34:22      11   would not ship, one of the narcotic -- the     11:36:28
    12       Q. And as a general matter, these 11:34:24                 12   NAMs -- but she was on the bulk side. She         11:36:31
    13   monthly highlights were sent only to your         11:34:26     13   said to us, "Ah, I was in that place, and it 11:36:34
    14   direct report; is that fair to say?        11:34:29            14   didn't look right."                   11:36:37
    15       A. The person to whom I reported            11:34:31       15             So that prompted a reeducation 11:36:38
    16   directly, yes.                        11:34:33                 16   of the commercial group, our eyes and ears in 11:36:41
    17       Q. Okay. Thank you.                    11:34:33            17   the market again, to call to our attention    11:36:45
    18            And I just want to go over one 11:34:34               18   anything that looked abnormal with any of the 11:36:47
    19   quick thing on this particular e-mail.         11:34:38        19   facilities to which we were selling.         11:36:50
    20            Do you see three sections down 11:34:42               20       Q. Okay. And during this time            11:36:52
    21   the portion of the e-mail that refers to       11:34:46        21   period -- we had talked a moment ago about         11:36:54
    22   suspicious order monitoring?                  11:34:48         22   certain DEA guidance letters that you had        11:36:56
    23       A. Yes, I see it.                  11:34:49                23   received in 2006 through 2007 time period,        11:36:59
    24       Q. You indicate to Mr. Ratliff           11:34:51          24   correct?                           11:37:01
    25   that "the need for a comprehensive review and 11:34:55         25       A. Yes.                        11:37:01

                                                          Page 155                                                            Page 157
     1 upgrade of our suspicious order monitoring          11:34:58      1        Q. And those letters were sent by 11:37:01
     2   program has received elevated priority."        11:34:59        2   Joseph Rannazzisi, correct?                 11:37:04
     3             Did I read that correctly?      11:35:02              3        A. I believe, yes. Yes, he was         11:37:05
     4       A. Yes.                         11:35:03                    4   deputy assistant administrator. Yes.          11:37:08
     5       Q. So is it fair to say that as of 11:35:05                 5        Q. And is it okay for purposes of 11:37:13
     6   March of 2008, your belief was that            11:35:08         6   this deposition to refer to those guidance      11:37:16
     7   Mallinckrodt's SOM program needed to be             11:35:12    7   letters as the Rannazzisi letters?          11:37:17
     8   reviewed and upgraded and that -- needed to 11:35:15            8        A. Yes.                        11:37:19
     9   be reviewed and upgraded?                    11:35:19           9        Q. Okay. So was one of the             11:37:19
    10             MR. O'CONNOR: Objection to             11:35:20      10   reasons why you were putting more attention 11:37:20
    11       form.                          11:35:20                    11   to Mallinckrodt's SOM program a result of          11:37:25
    12             THE WITNESS: It states -- yes, 11:35:20              12   receiving these -- of receiving the          11:37:28
    13       it states "upgraded." I would have        11:35:22         13   Rannazzisi letters?                     11:37:30
    14       changed that terminology if I could,       11:35:24        14        A. It caused us to pay -- to give 11:37:31
    15       but it says "upgraded," yes.           11:35:26            15   more attention to our suspicious order          11:37:36
    16   QUESTIONS BY MR. KO:                             11:35:27      16   monitoring, but specifically this event is as 11:37:38
    17       Q. Okay. And you also state that 11:35:28                  17   I just previously spoke, where we had a          11:37:41
    18   "as of March 3, 2008, the need to review and 11:35:31          18   Mallinckrodt person out at this facility, and 11:37:44
    19   upgrade Mallinckrodt's SOM program is an            11:35:36   19   in retrospect they said it didn't look right 11:37:47
    20   elevated priority"; is that correct?        11:35:40           20   and it wound up to be a suspicious order.        11:37:50
    21       A. Yes.                         11:35:42                   21            So we wanted to reeducate our        11:37:52
    22       Q. Okay. You can set that aside. 11:35:42                  22   sales force about their reviewing customer        11:37:53
    23             Do you recall -- you can refer 11:35:54              23   accounts when they were in there.              11:37:57
    24   back to that document if you like, but do you 11:35:55         24        Q. Sure. And I understand the           11:37:59
    25   recall why you felt at that particular time 11:35:58           25   specific example you're giving, and I          11:38:00

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     1 appreciate that. You have great recall about 11:38:02            1 questions taken from Southwood into a           11:40:12
     2 that.                              11:38:06                      2 checklist, correct?                     11:40:19
     3            But in terms of revising and      11:38:06            3        A. Correct.                    11:40:19
     4   enhancing your SOM program, would it be            11:38:09    4        Q. And this checklist is reference 11:40:21
     5   accurate to say that in early 2008, one of     11:38:12        5   to a customer checklist that Mallinckrodt       11:40:24
     6   the reasons why you wanted to do so was a         11:38:16     6   utilized in connection with this SOM program, 11:40:27
     7   result of receiving the Rannazzisi letters? 11:38:19           7   correct?                           11:40:30
     8       A. Yes.                         11:38:20                   8            MR. O'CONNOR: Objection to             11:40:30
     9       Q. Okay. I want to hand you --          11:38:21           9        form.                        11:40:31
    10   you can set that aside.                 11:38:24              10            THE WITNESS: It was being             11:40:31
    11            (Mallinckrodt-Harper Exhibit 5 11:38:25              11        implemented at the time, yes.          11:40:33
    12       marked for identification.)           11:38:25            12   QUESTIONS BY MR. KO:                            11:40:34
    13   QUESTIONS BY MR. KO:                            11:38:25      13        Q. Okay. So, and when you say            11:40:34
    14       Q. I want to hand you what's been 11:38:26                14   "implemented at the time" -- thank you for       11:40:37
    15   marked as Harper Exhibit 5, and that ends in 11:38:27         15   that -- as of April 10, 2008, there wasn't    11:40:38
    16   Bates stamp 273902. And this is an e-mail, 11:38:31           16   necessarily a checklist that was final,      11:40:42
    17   for the record, that you sent to several     11:38:45         17   correct?                           11:40:44
    18   people dated April 10, 2008.               11:38:47           18        A. There were several checklists. 11:40:45
    19            Do you have any reason to doubt 11:38:51             19   Okay.                              11:40:49
    20   that you sent this e-mail on this day and     11:38:55        20            So may I explain, please?         11:40:49
    21   time?                              11:38:56                   21        Q. Sure.                      11:40:51
    22       A. I have no reason to doubt it.       11:38:56           22        A. So there was a customer account 11:40:52
    23       Q. Okay. And here you talk about 11:38:58                 23   setup which had been in existence ad           11:40:53
    24   reference to the Drug and Chemical Advisory 11:39:01          24   infinitum, but this was a new customer          11:40:59
    25   Group. That's the group that we were           11:39:05       25   checklist that asked our customers to attest 11:41:01

                                                         Page 159                                                           Page 161
     1 discussing before that Frank Sapienza was        11:39:06        1 to their -- that they had a suspicious order     11:41:05
     2 part of, correct?                        11:39:10              2     monitoring program. And we got that guidance 11:41:10
     3        A. Correct.                      11:39:12               3     straight from Drug and Chemical Advisory           11:41:12
     4        Q. And so at least as of this         11:39:12          4     Group, that that would be a tool to augment 11:41:16
     5   time you are consulting with them -- well, is 11:39:14       5     our program.                          11:41:18
     6   it fair to say that as of April 10, 2008, you 11:39:16       6          Q. Okay. So a moment ago when you 11:41:18
     7   are consulting with the Drug and Chemical          11:39:18  7     said that there was always a customer account 11:41:21
     8   Advisory Group in connection with your duties 11:39:20 8           setup, as far as you understood, in          11:41:23
     9   to design and implement a suspicious order         11:39:21  9     connection with SOM procedure, prior to this 11:41:24
    10   monitoring program?                        11:39:24         10     date was there ever a customer checklist that 11:41:28
    11        A. That's correct.                 11:39:24            11     was part of that customer account setup?         11:41:31
    12        Q. Okay. And on the additional           11:39:26      12          A. Right. So, no, I'd like to        11:41:33
    13   items for consideration section, you talk       11:39:29    13     clarify because the previous checklist was 11:41:34
    14   about the Southwood Federal Register Notice. 11:39:33 14           not in conjunction with SOM. So this is the 11:41:37
    15             Do you see that?               11:39:37           15     first SOM checklist.                     11:41:40
    16        A. I do.                        11:39:38               16          Q. Great.                     11:41:41
    17        Q. And when you describe the              11:39:39     17              So accurate to say that as of     11:41:42
    18   Southwood Federal Register Notice, you take 11:39:51 18            April of 2008, you are developing the first 11:41:45
    19   some important elements of that notice and         11:39:56 19     customer checklist to be filled out in        11:41:47
    20   relay them to the people you are e-mailing        11:40:03  20     connection with Mallinckrodt's SOM program? 11:41:50
    21   here.                               11:40:05                21     Correct?                           11:41:53
    22             Do you see that?               11:40:05           22          A. That's correct.               11:41:53
    23        A. I do.                        11:40:06               23          Q. Okay. And some of the               11:41:54
    24        Q. And so when you -- you are             11:40:06     24     questions that you want included in the         11:41:56
    25   saying that you should incorporate certain        11:40:09  25     checklist, at least your suggestion, if I    11:41:59

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     1 understand correctly, is to try and determine 11:42:01          1 Southwood is to input into the checklist           11:43:27
     2 the overall percentage of controlled            11:42:03        2   identification of the percentage of           11:43:32
     3   substance filled by the pharmacy.             11:42:05        3   prescriptions filled by the -- filled by the 11:43:35
     4           Do you see that?               11:42:06               4   pharmacy that originate from the Internet. 11:43:37
     5       A. I do see that.                 11:42:07                5            Do you see that?                11:43:39
     6       Q. And so that was an important           11:42:08        6            MR. O'CONNOR: Objection to               11:43:39
     7   feature of the checklist to you at this time. 11:42:10        7       form.                           11:43:41
     8           MR. O'CONNOR: Objection to              11:42:11      8            THE WITNESS: It was -- yes, it 11:43:41
     9       form.                         11:42:12                    9       was stated -- it was suggested in         11:43:42
    10   QUESTIONS BY MR. KO:                            11:42:12     10       Southwood's.                        11:43:44
    11       Q. Correct?                      11:42:13                11   QUESTIONS BY MR. KO:                              11:43:45
    12       A. So it was -- they were             11:42:13           12       Q. Okay. And that -- you felt            11:43:45
    13   statements taken from Southwood, and I'm          11:42:17   13   that that was an important element to be         11:43:47
    14   asking the question: Should we incorporate 11:42:19          14   included in the checklist at the time,         11:43:49
    15   these questions?                       11:42:21              15   correct?                             11:43:51
    16       Q. Okay. And you're asking the            11:42:23       16       A. So I pulled -- we pulled these 11:43:52
    17   question, "should we incorporate," because 11:42:27          17   from Southwood's, but they were not              11:43:57
    18   you have received a Federal Register Notice 11:42:28         18   applicable to the questions we asked            11:43:59
    19   that suggests that you should consider asking 11:42:30       19   distributors. Some of them became part of a 11:44:02
    20   those questions, correct?                 11:42:32           20   pharmacy information sheet, so I'm -- I'm         11:44:05
    21           MR. O'CONNOR: Objection to              11:42:33     21   confusing the names of our forms, and I           11:44:08
    22       form.                         11:42:35                   22   apologize for that.                     11:44:10
    23           THE WITNESS: Yes.                   11:42:35         23            So this was taken from            11:44:11
    24   QUESTIONS BY MR. KO:                            11:42:35     24   Southwood's for evaluation by the team:           11:44:12
    25       Q. Okay. And one question that            11:42:35       25   Could we, should we, incorporate these            11:44:14

                                                            Page 163                                                       Page 165
     1 you believe you should ask in light of            11:42:38     1    statements into our direct customer          11:44:17
     2   reviewing Southwood is to determine the            11:42:41  2    checklist.                         11:44:19
     3   overall percentage of controlled substances 11:42:42         3        Q. Right. And thank you for that. 11:44:19
     4   filled by a particular pharmacy, correct?        11:42:44    4             So these are questions that you 11:44:21
     5             MR. O'CONNOR: Objection to              11:42:46   5    believe should be incorporated into the new 11:44:23
     6        form.                          11:42:47                 6    customer checklist that you were working on 11:44:25
     7             THE WITNESS: So we don't ship 11:42:47             7    in April of 2008, correct?               11:44:27
     8        to pharmacies, so we adapted the          11:42:50      8        A. I did not know if we should -- 11:44:28
     9        spirit of this question to ask the     11:42:53         9    should use them.                      11:44:33
    10        question of our distributor customers. 11:42:56        10        Q. But you believe that they were 11:44:33
    11   QUESTIONS BY MR. KO:                              11:42:59  11    good suggestions pursuant to your review of 11:44:36
    12        Q. Right.                        11:42:59              12    Southwood, correct?                     11:44:39
    13             But the idea is to understand, 11:43:00           13             MR. O'CONNOR: Objection to            11:44:40
    14   notwithstanding the fact that you don't ship 11:43:02       14        form.                         11:44:41
    15   directly to pharmacies, the idea is to        11:43:04      15             THE WITNESS: So I pulled them 11:44:41
    16   understand what overall percentage of a           11:43:08  16        out of Southwood, but I was learning 11:44:42
    17   controlled substance is being filled by a       11:43:12    17        more and more and more about the          11:44:43
    18   downstream pharmacy, that is, a customer of 11:43:13 18               business and our customers at the       11:44:45
    19   one of your distributors, correct?           11:43:17       19        time, and I did not know if these had 11:44:48
    20             MR. O'CONNOR: Objection to              11:43:18  20        relevance to be added to this direct 11:44:50
    21        form.                          11:43:19                21        customer checklist.                11:44:54
    22             THE WITNESS: That's correct. 11:43:19             22    QUESTIONS BY MR. KO:                           11:44:55
    23   QUESTIONS BY MR. KO:                              11:43:19  23        Q. Fair enough.                   11:44:55
    24        Q. Okay. And another important             11:43:20    24             Was the purpose of posing these 11:44:56
    25   question that you glean from your review of 11:43:25 25           questions an attempt to understand more, as 11:45:00

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     1 you said, about Mallinckrodt's business?        11:45:04         1 questions as you learned from Southwood was          11:46:50
     2 Correct?                              11:45:06                   2 to understand more about the downstream            11:46:52
     3            MR. O'CONNOR: Objection to             11:45:07    3      customer of a distributor that you ship drugs 11:46:54
     4       form.                         11:45:08                  4      to?                              11:46:57
     5            THE WITNESS: Yes.                 11:45:08         5               MR. O'CONNOR: Objection to            11:46:57
     6   QUESTIONS BY MR. KO:                            11:45:09    6          form.                         11:46:58
     7       Q. And in particular, the            11:45:09           7               THE WITNESS: Yes.                 11:46:58
     8   questions you posed here you were considering 11:45:11 8           QUESTIONS BY MR. KO:                           11:47:01
     9   to include in your checklist because they      11:45:15     9          Q. Okay. Thank you.                  11:47:02
    10   provide details of the downstream customer        11:45:18 10               There's also a reference made, 11:47:04
    11   that purchases drugs from distributors that 11:45:21       11      next item down -- next paragraph, excuse me, 11:47:08
    12   you ship and sell to directly, correct?      11:45:25      12      starting with "Kim France." Do you see         11:47:13
    13            MR. O'CONNOR: Objection to             11:45:27   13      there's a reference made to IntegriChain?      11:47:16
    14       form.                         11:45:28                 14               To help orient you, I've       11:47:21
    15            THE WITNESS: Correct.               11:45:28      15      highlighted it on the screen for you.       11:47:23
    16   QUESTIONS BY MR. KO:                            11:45:32   16          A. Oh, thank you.                  11:47:25
    17       Q. So is it fair to say that you     11:45:33          17          Q. Yeah.                        11:47:25
    18   are trying to understand details of where      11:45:35    18          A. Yes, I see it.                11:47:34
    19   Mallinckrodt drugs end up in terms of which 11:45:41 19                Q. Okay. And you participated in 11:47:35
    20   pharmacy or clinic they go to?              11:45:45       20      the potential retention of IntegriChain, did 11:47:37
    21            MR. O'CONNOR: Objection to             11:45:46   21      you not?                           11:47:42
    22       form.                         11:45:47                 22          A. Correct.                     11:47:42
    23            THE WITNESS: We had two               11:45:47    23          Q. Okay. And so did Kimberly             11:47:42
    24       checklists.                     11:45:51               24      France, as I understand it?              11:47:49
    25            May I restate this? Is that    11:45:51           25          A. Yes.                        11:47:50

                                                         Page 167                                                                Page 169
     1       all right with you?                 11:45:54               1      Q.     And who is Ms. France?           11:47:50
     2   QUESTIONS BY MR. KO:                             11:45:54      2      A.     She was -- she was with the        11:47:51
     3       Q. Yeah, sure.                     11:45:55                3 patient and product monitoring group that had 11:47:53
     4       A. So this was within the scope of 11:45:55                4 a different focus and goal than the DEA            11:47:56
     5   the suspicious order checklist going to our 11:45:59           5 compliance group.                         11:48:00
     6   direct customers. Okay? So these questions 11:46:02            6      Q.     Okay. And both she and you          11:48:01
     7   were not applicable to our business because 11:46:07           7 were involved in the potential retention of        11:48:06
     8   we sold to wholesaler and distributor.         11:46:08        8 IntegriChain during this 2008 time period,          11:48:08
     9             But as time went on, we          11:46:10            9 correct?                            11:48:12
    10   developed a pharmacy information sheet which, 11:46:13        10      A.     Yes, among others, yes.         11:48:12
    11   when we had conversations with the              11:46:16      11      Q.     Okay. And this e-mail           11:48:14
    12   distributors about their customers, we asked 11:46:18         12 specifically states from you that "one of the 11:48:16
    13   these questions from Southwood's: Are you          11:46:21   13 goals of the Mallinckrodt IntegriChain             11:48:19
    14   aware that your pharmacy customer has these 11:46:25          14 project being considered as part of RiskMAP           11:48:22
    15   percentages, et cetera.                  11:46:27             15 is to combine prescription data from Verispan 11:48:24
    16             So there are two checklists,     11:46:28           16 and IMS, added Mallinckrodt sales data and,          11:48:28
    17   and I think they're getting interchanged       11:46:29       17 coupled with ARCOS data from DEA, to provide              11:48:32
    18   here, and I apologize for the confusion.       11:46:31       18 a mechanism to detect diversion through the          11:48:34
    19       Q. That's okay. I appreciate the 11:46:33                 19 supply chain."                          11:48:37
    20   response. I just have a simple yes or no       11:46:37       20            Did I read that correctly?     11:48:38
    21   question.                          11:46:40                   21      A.     Yes, you did.               11:48:39
    22       A. All right.                   11:46:41                  22      Q.     Okay. And so was one of the         11:48:42
    23       Q. Is it accurate to say, yes or       11:46:41           23 purposes of trying to retain IntegriChain to       11:48:44
    24   no, that one of the reasons why you are         11:46:44      24 understand where Mallinckrodt prescription           11:48:48
    25   suggesting the consideration of these          11:46:46       25 opioids were ending up once they had left           11:48:52

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     1 Mallinckrodt facilities in Hobart and                11:48:54       1            Do you have any reason to          11:50:58
     2 St. Louis?                           11:48:56               2           dispute that?                         11:50:59
     3       A. We were looking at that as a         11:48:57      3                    MR. O'CONNOR: Objection to             11:51:00
     4   possibility, yes.                    11:49:01             4               form.                          11:51:00
     5       Q. Okay. And so you were trying 11:49:01              5                    THE WITNESS: I have no reason 11:51:00
     6   to understand and trying to detect diversion 11:49:02     6               to dispute it.                   11:51:01
     7   throughout the supply chain with the help of 11:49:05     7           QUESTIONS BY MR. KO:                             11:51:02
     8   IntegriChain; is that correct?            11:49:09        8               Q. Okay. So do you recall              11:51:02
     9            MR. O'CONNOR: Objection to             11:49:11  9           actually asking for approval from Mr. Ratliff 11:51:04
    10       form.                        11:49:12                10           to participate in the potential retention of 11:51:07
    11            THE WITNESS: Yes, that is the 11:49:12          11           IntegriChain?                          11:51:09
    12       service they offered, yes.           11:49:13        12               A. I do.                        11:51:10
    13   QUESTIONS BY MR. KO:                            11:49:20 13               Q. Okay. And that was obviously 11:51:11
    14       Q. Okay. And can you generally           11:49:21    14           prior to this date, but do you recall whether 11:51:13
    15   describe to the Court your involvement with 11:49:22 15               or not that was in the 2007 time period?        11:51:15
    16   this project?                       11:49:23             16               A. I don't recall the date, I'm       11:51:17
    17       A. IntegriChain came in to            11:49:24       17           sorry.                             11:51:21
    18   Mallinckrodt and gave one or two              11:49:28   18               Q. Okay. I want to go forward to 11:51:21
    19   presentations. I'm not certain. And then we 11:49:30 19               the second attachment, titled "IntegriChain 11:51:29
    20   evaluated the merit of adding that to our      11:49:35  20           Pilot Program and Overview." And I don't -- 11:51:33
    21   suspicious order monitoring, and we decided 11:49:39 21               we don't need to go through this in detail, 11:51:36
    22   not to add IntegriChain's services.         11:49:40     22           but do you recall who actually drafted this 11:51:38
    23       Q. And why did you decide not to 11:49:43            23           language?                             11:51:45
    24   retain them?                         11:49:45            24               A. It was not me.                   11:51:46
    25       A. So IntegriChain was a vendor, 11:49:45            25               Q. Okay. Was it someone at               11:51:49

                                                              Page 171                                                           Page 173
     1 and their data collection did not add value      11:49:49           1 Mallinckrodt?                            11:51:50
     2 from our perspective to our suspicious order         11:49:54       2       A. I do not know, or if it was         11:51:50
     3 monitoring program at the time.                11:49:57             3   IntegriChain.                         11:51:53
     4      Q.    Uh-huh. And why did you feel         11:49:58            4       Q. Okay. But as far as you know, 11:51:54
     5 like they did not add value?                11:50:00                5   you didn't draft this particular language, 11:51:55
     6      A.    Well, it was a multitude of       11:50:01               6   correct?                            11:51:57
     7 data from different sources, not necessarily        11:50:06        7       A. I'm positive I did not.           11:51:57
     8 specific to Mallinckrodt data, and we           11:50:10            8       Q. Okay. Despite not knowing who 11:51:59
     9 evaluated it, as I said.                 11:50:14                   9   may have drafted it, as you said, you were 11:52:07
    10           This also says "coupled with       11:50:16              10   considering retention of IntegriChain because 11:52:09
    11 ARCOS data from DEA." DEA has steadfastly                 11:50:18 11   they were going to hopefully help detect        11:52:13
    12 throughout time refused to share ARCOS data            11:50:22    12   diversion throughout the supply chain. So 11:52:17
    13 with anyone, and so that was another key            11:50:25       13   separate and apart from what I'm              11:52:19
    14 component of their program.                   11:50:28             14   highlighting, sorry.                    11:52:22
    15           So for those reasons we          11:50:31                15       A. Oh, I'm sorry.                  11:52:22
    16 declined the service.                     11:50:32                 16       Q. Yeah, no, that's okay. Let me 11:52:23
    17      Q.    Do you recall how long you          11:50:34            17   repeat.                            11:52:25
    18 evaluated whether or not you were going to           11:50:35      18       A. Okay.                         11:52:26
    19 retain IntegriChain?                      11:50:36                 19       Q. You were considering the              11:52:26
    20      A.    It was straightaway, shortly      11:50:38              20   retention of IntegriChain because they were 11:52:27
    21 after their one or two presentations.          11:50:42            21   going to help detect diversion throughout the 11:52:30
    22      Q.    Okay. I have seen reference to      11:50:46            22   supply chain, correct?                   11:52:31
    23 documents in which you have -- you have asked 11:50:51             23            MR. O'CONNOR: Objection to              11:52:32
    24 approval from Bill Ratliff to be part of the     11:50:53          24       form.                          11:52:33
    25 IntegriChain project.                     11:50:56                 25            THE WITNESS: Yes, that was             11:52:33

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     1       what they advertised. Yes.             11:52:33           1 described it as being a report of adverse      11:54:08
     2   QUESTIONS BY MR. KO:                             11:52:36     2   events, correct?                     11:54:10
     3       Q. That was the intent?               11:52:37            3       A. Yes.                        11:54:11
     4       A. Yes.                         11:52:37                  4       Q. Why would -- why would not             11:54:12
     5       Q. And one of the ways that they          11:52:38        5   considering an adverse event be a fruitful    11:54:17
     6   would do that was through capturing -- at        11:52:39     6   thing to do in connection with trying to     11:54:20
     7   least representing to you that they would       11:52:41      7   detect suspicious orders?                11:54:22
     8   capture detailed data, correct?             11:52:43          8            MR. O'CONNOR: Objection to            11:54:23
     9       A. Correct.                      11:52:45                 9       form.                         11:54:24
    10       Q. And so -- and in particular, in 11:52:46              10            THE WITNESS: Adverse events            11:54:25
    11   the second sentence of this background           11:52:48    11       were handled by patient and product       11:54:27
    12   material, it indicates that "detailed data    11:52:51       12       monitoring, and they were events such 11:54:30
    13   through surveillance and pharmacovigilance is 11:52:56       13       as a doctor had a patient on the      11:54:34
    14   an important resource for the company."          11:53:00    14       operating table and had administered a 11:54:35
    15            Do you see that?               11:53:02             15       Mallinckrodt medication and there was 11:54:37
    16       A. I do see that.                 11:53:03               16       some unexpected symptom occurring. So 11:54:38
    17       Q. Would you agree with that             11:53:03        17       it was like a hotline of           11:54:44
    18   statement?                           11:53:04                18       pharmacovigilance.                  11:54:47
    19       A. I would not.                    11:53:04              19   QUESTIONS BY MR. KO:                           11:54:49
    20       Q. You don't believe detailed data 11:53:05              20       Q. Okay. And was that -- did --        11:54:49
    21   is an important resource for the company?         11:53:08   21   during your time at Mallinckrodt, did you       11:54:51
    22       A. I don't understand how              11:53:09          22   ever receive -- or were you aware of any       11:54:54
    23   pharmacovigilance, which in my understanding 11:53:10        23   adverse event reports related to diversion? 11:55:00
    24   is adverse event reporting, could be an        11:53:12      24            MR. O'CONNOR: Objection to            11:55:02
    25   important resource for the company.             11:53:18     25       form.                         11:55:03

                                                           Page 175                                                         Page 177
     1            Also, this statement -- may I 11:53:20               1            THE WITNESS: Yes.                  11:55:03
     2   say something else, please?                 11:53:22          2   QUESTIONS BY MR. KO:                            11:55:08
     3        Q. Of course.                     11:53:24               3       Q. Okay. And did you -- during           11:55:08
     4        A. So this document, it switches 11:53:24                4   your time at Mallinckrodt, did you ever        11:55:13
     5   back and forth, so it's confusing in terms of 11:53:26        5   receive or were you aware of any adverse         11:55:15
     6   they're talking about "the company,"            11:53:30      6   event reports related to the abuse of        11:55:18
     7   Mallinckrodt, but then "our company,"            11:53:33     7   prescription opioids manufactured by           11:55:20
     8   indicating IntegriChain.                  11:53:36            8   Mallinckrodt?                         11:55:23
     9            So it's difficult to -- to    11:53:38               9       A. Yes.                        11:55:24
    10   define every sentence and under --            11:53:43       10       Q. Okay. And notwithstanding the 11:55:27
    11        Q. Sure. Fair enough.                11:53:46           11   fact that some of these adverse event reports 11:55:29
    12        A. Thank you. Thank you.                11:53:47        12   included instances of diversion and abuse, 11:55:31
    13        Q. Fair enough. And we can put            11:53:47      13   you don't believe that it was necessary to 11:55:35
    14   the document aside because I don't mean to 11:53:49          14   include these -- or consider these reports in 11:55:37
    15   put you through a memory test of the actual 11:53:51         15   connection with Mallinckrodt's duties to       11:55:40
    16   document.                             11:53:53               16   implement and design a suspicious order          11:55:42
    17        A. Okay.                        11:53:53                17   monitoring program?                      11:55:44
    18        Q. I would just ask you separately 11:53:53             18            MR. O'CONNOR: Objection to             11:55:44
    19   whether or not you believe detailed data is 11:53:55         19       form.                         11:55:46
    20   an important resource for the company to          11:53:57   20            THE WITNESS: So this was one 11:55:46
    21   utilize in trying to detect diversion.       11:54:00        21       of the tools that was offered to us, 11:55:49
    22        A. Yes. In general, yes.             11:54:03           22       among many, and eventually we realized 11:55:51
    23        Q. Okay. And a moment ago when               11:54:04   23       that we had the chargeback tool which 11:55:55
    24   you were talking about what your               11:54:06      24       could give us the detailed data about 11:56:00
    25   understanding of pharmacovigilance is, you 11:54:06          25       the Mallinckrodt product, whereas         11:56:03

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     1       IntegriChain was talking about the        11:56:05         1       answer to the extent answering his       11:57:52
     2       universe of products not specific to     11:56:07          2       question would reveal any              11:57:54
     3       Mallinckrodt.                     11:56:08                 3       conversations you had with company           11:57:56
     4   QUESTIONS BY MR. KO:                            11:56:08       4       counsel.                       11:57:57
     5       Q. Sure. And I understand --           11:56:09            5            THE WITNESS: Okay. I can             11:57:58
     6   maybe it'll help to put the document aside. 11:56:10           6       answer because it did not relate to     11:58:01
     7       A. Okay.                         11:56:13                  7       conversation with company counsel.          11:58:04
     8       Q. I really don't have any more         11:56:13           8   QUESTIONS BY MR. KO:                            11:58:05
     9   questions on it. I was just asking with       11:56:14         9       Q. Okay.                        11:58:05
    10   respect to your statement about             11:56:16          10       A. The adverse event that was           11:58:05
    11   pharmacovigilance and adverse --              11:56:18        11   reported was a result of someone -- the        11:58:08
    12       A. Uh-huh.                        11:56:18                12   allegation was stealing fentanyl patches from 11:58:12
    13       Q. -- event reports in particular. 11:56:19               13   a glove compartment of a car that was hot. 11:58:16
    14            You had suggested that it was      11:56:19          14   Fentanyl, the active ingredient is activated 11:58:19
    15   not necessary to review adverse event reports 11:56:24        15   by heat. And so the person who suffered the 11:58:21
    16   in connection with Mallinckrodt's duties to 11:56:27          16   adverse event had stolen the fentanyl,        11:58:24
    17   design and implement an SOM program.               11:56:33   17   allegedly, taken it and, yes, overdosed. And 11:58:27
    18            Is that what you testified to? 11:56:35              18   I don't know if they expired or not. I know 11:58:32
    19            MR. O'CONNOR: Objection to             11:56:37      19   there was a medical emergency.               11:58:35
    20       form.                          11:56:37                   20       Q. Isn't that an example of          11:58:37
    21            THE WITNESS: Yes.                  11:56:37          21   diversion leading to an opioid overdose?        11:58:39
    22   QUESTIONS BY MR. KO:                            11:56:38      22       A. Yes, it's diversion at the        11:58:41
    23       Q. Okay. And my question is, why 11:56:38                 23   patient level, yes.                  11:58:47
    24   would you not consider such adverse event         11:56:39    24       Q. Okay. And diversion at the           11:58:47
    25   reports relating to the abuse and diversion 11:56:42          25   patient level is something that would be       11:58:49

                                                           Page 179                                                        Page 181
     1 of Mallinckrodt prescription opioids that         11:56:44       1 important for you to understand that is         11:58:52
     2   were contained in such adverse event reports 11:56:47          2   occurring in connection with your duties as 11:58:53
     3   as you testified?                     11:56:49                 3   someone responsible for designing and           11:58:57
     4       A. Okay. Please, I'd like to take 11:56:50                 4   implementing a system to detect suspicious 11:59:00
     5   a break and confer with my attorneys on this 11:56:54          5   orders, is it not?                   11:59:03
     6   answer.                             11:56:56                   6            MR. O'CONNOR: Objection to            11:59:04
     7            MR. KO: Okay.                   11:56:57              7        form.                        11:59:05
     8            MR. O'CONNOR: Answer the                11:56:57      8            THE WITNESS: So it's              11:59:05
     9       pending question.                   11:57:00               9        impossible, completely impossible. We 11:59:12
    10            THE WITNESS: Because the               11:57:01      10        can monitor potentially down to the      11:59:14
    11       adverse events that came to my           11:57:03         11        pharmacy level, but once the          11:59:15
    12       attention were notices of document         11:57:04       12        prescription is dispensed, we cannot    11:59:17
    13       retention notice of litigation against 11:57:09           13        prevent diversion when it gets into a 11:59:21
    14       the company for people who took            11:57:11       14        private person's hands.            11:59:24
    15       fentanyl -- various -- various         11:57:19           15   QUESTIONS BY MR. KO:                           11:59:25
    16       episodes that resulted in abuse or a 11:57:22             16        Q. I know that you may think that 11:59:26
    17       lawsuit against the company as a          11:57:27        17   you cannot prevent diversion, but my question 11:59:27
    18       result of perceived Mallinckrodt         11:57:30         18   is simply whether or not it would be         11:59:30
    19       responsibility.                  11:57:33                 19   important to know whether Mallinckrodt drugs 11:59:33
    20   QUESTIONS BY MR. KO:                             11:57:34     20   were being diverted in instances like you      11:59:36
    21       Q. Okay. And with respect to that 11:57:35                21   just described.                      11:59:39
    22   example in particular about the fentanyl        11:57:37      22        A. Yes.                       11:59:41
    23   episode, that was related to an overdose?       11:57:41      23            MR. O'CONNOR: Objection to            11:59:42
    24            MR. O'CONNOR: And just for             11:57:48      24        form.                        11:59:43
    25       clarity, I'm instructing you not to     11:57:49          25


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                                                                Page 182                                                         Page 184
     1 QUESTIONS BY MR. KO:                               11:59:43           1 have Exhibit 6 in front of you?              12:13:58
     2      Q.      And in particular, it would be    11:59:43               2       A. It's Exhibit 2.               12:14:00
     3 important to know -- if there were thousands        11:59:45          3       Q. Oh, Exhibit 2. Okay. You can 12:14:01
     4 of overdoses that resulted from diversion of        11:59:46          4   set that aside.                     12:14:02
     5 Mallinckrodt drugs, that would be important          11:59:50         5             I'm going to hand you a copy of 12:14:03
     6 to know in connection with your duties as           11:59:52          6   what's previously been marked as Exhibit 21 12:14:04
     7 a -- someone responsible for implementing an         11:59:55         7   of the Stewart deposition.               12:14:06
     8 SOM program, correct?                         11:59:58                8             MR. KO: And for the record,       12:14:18
     9           MR. O'CONNOR: Objection to               11:59:59           9       this is -- ends in Bates 274111, and 12:14:20
    10      form.                          11:59:59                         10       it is an e-mail from Cathy Stewart to 12:14:26
    11           THE WITNESS: So will you               11:59:59            11       several people, and you are among the 12:14:29
    12      please repeat the question? I'm           12:00:03              12       recipients.                    12:14:32
    13      sorry.                         12:00:04                         13   QUESTIONS BY MR. KO:                           12:14:32
    14 QUESTIONS BY MR. KO:                               12:00:04          14       Q. Do you see that?                12:14:32
    15      Q.      Sure.                   12:00:04                        15       A. I do.                      12:14:32
    16           If there were thousands of          12:00:04               16       Q. And it's dated May 14, 2008,         12:14:33
    17 overdoses that resulted from the diversion of 12:00:06               17   correct?                           12:14:35
    18 Mallinckrodt drugs, that would be important          12:00:08        18       A. Yes.                        12:14:35
    19 to know in connection with your duties as           12:00:11         19       Q. And by the way, who is -- or         12:14:36
    20 someone responsible for implementing an SOM               12:00:13   20   you know Cathy Stewart, right?               12:14:37
    21 program, correct?                        12:00:15                    21       A. Yes.                        12:14:39
    22           MR. O'CONNOR: Objection.                12:00:16           22       Q. You worked with her in              12:14:40
    23           THE WITNESS: Yes. So the               12:00:17            23   connection with SOM procedure --              12:14:42
    24      question is hypothetical -- yes,         12:00:20               24       A. Yes.                        12:14:44
    25      thousands, yes, that would have been a       12:00:21           25       Q. -- and activities?             12:14:44

                                                                Page 183                                                       Page 185
     1       concern.                      12:00:23                          1       A. (Witness nods head.)              12:14:46
     2   QUESTIONS BY MR. KO:                           12:00:23             2       Q. Okay. And do you respect her          12:14:46
     3       Q. And overdose deaths that result 12:00:28                     3   opinions?                          12:14:48
     4   from someone taking a pill from a patient is 12:00:32               4       A. Yes.                       12:14:48
     5   a sign of diversion, is it not?         12:00:35                    5       Q. Okay. And did you work with            12:14:49
     6            MR. O'CONNOR: Objection.             12:00:38              6   her closely throughout the 2008 and 2012 time 12:14:51
     7       Form.                         12:00:40                          7   period?                           12:14:54
     8            THE WITNESS: It's a form of         12:00:40               8       A. I can't -- she wasn't in that    12:14:54
     9       diversion. It's misuse of a         12:00:42                    9   role for an extremely long time, so I don't 12:14:56
    10       prescription drug, yes.            12:00:43                    10   know when she left, I'm sorry.             12:14:58
    11            MR. O'CONNOR: Counsel, we've           12:00:46           11       Q. Did you work with her closely         12:15:00
    12       been going almost an hour and a half. 12:00:47                 12   in connection with SOM-related activities at 12:15:01
    13       Should we take another break?           12:00:48               13   Mallinckrodt in the 2007, 2008 time period? 12:15:04
    14            MR. KO: Yeah, I was just going 12:00:50                   14       A. I don't know when she started. 12:15:07
    15       to say it's time for a break.      12:00:52                    15   Clearly it was in May of 2008, but I don't     12:15:12
    16            VIDEOGRAPHER: We are going off 12:00:54                   16   know the start or the end date of when she      12:15:15
    17       the record at 12 p.m.             12:00:55                     17   became part of the initiative.           12:15:18
    18        (Off the record at 12:00 p.m.)       12:00:58                 18       Q. And you attended a -- you           12:15:21
    19            VIDEOGRAPHER: We are back on             12:13:39         19   attended a conference with her --           12:15:27
    20       the record at 12:13 p.m.            12:13:43                   20       A. Yes.                       12:15:28
    21   QUESTIONS BY MR. KO:                           12:13:45            21       Q. -- in 2008, correct?            12:15:29
    22       Q. Welcome back from the break,           12:13:47             22       A. Yes.                       12:15:30
    23   Ms. Harper.                         12:13:49                       23       Q. And this was, I believe, in        12:15:30
    24       A. Thank you.                    12:13:50                      24   October of 2008, and it was the Buzzeo          12:15:32
    25       Q. Going back to the -- do you         12:13:50                25   conference?                         12:15:36

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     1       A. Yes.                         12:15:36                   1       A. Yes.                        12:17:23
     2       Q. And I know that postdates the          12:15:36         2       Q. So Ms. Stewart is at this time, 12:17:24
     3   date of this letter, but do you recall anyone 12:15:38         3   as of May 14, 2008, working with you and          12:17:27
     4   else attending that conference other than you 12:15:42         4   Mr. Ratliff to specifically ensure that      12:17:32
     5   and Cathy from Mallinckrodt?                  12:15:45         5   Mallinckrodt maintains compliance with DEA 12:17:40
     6       A. I do not.                     12:15:47                  6   requirements related to identification of     12:17:42
     7       Q. Okay. So as far as you recall, 12:15:48                 7   suspicious orders, correct?               12:17:44
     8   you were the only -- you and Cathy were the 12:15:55           8       A. I don't see the word              12:17:45
     9   only two that attended the Buzzeo conference 12:15:57          9   "specifically," but, yes, she was assisting 12:17:49
    10   in 2008?                            12:16:00                  10   with enhancing the program.                 12:17:52
    11       A. Yes.                         12:16:01                  11       Q. Okay. And then she also              12:17:55
    12       Q. And what was her position             12:16:01         12   mentioned -- mentions that "in light of the 12:17:57
    13   during the 2008 time period?                12:16:03          13   recent developments with McKesson, a good          12:17:59
    14       A. Manager of dosage customer              12:16:04       14   deal of focus is being placed on this        12:18:02
    15   service.                           12:16:09                   15   project."                          12:18:03
    16       Q. Okay. So she was a customer            12:16:09        16            Do you see that?              12:18:04
    17   service rep -- or sorry, excuse me. She was 12:16:11          17       A. I do.                      12:18:04
    18   involved in the customer service group,         12:16:14      18       Q. And is she referring to a DEA         12:18:05
    19   correct?                           12:16:16                   19   investigation that ultimately resulted in a 12:18:08
    20       A. Correct. The reps reported to 12:16:16                 20   DEA action against McKesson in the early 2008 12:18:12
    21   her.                              12:16:17                    21   time period?                         12:18:16
    22       Q. Right.                       12:16:18                  22       A. Yes.                        12:18:16
    23            And so she, at least of this     12:16:18            23       Q. Okay. And McKesson, as we               12:18:17
    24   time, was having some involvement in the          12:16:23    24   mentioned before, is a -- is one of the -- or 12:18:21
    25   revising of Mallinckrodt's SOM program; is         12:16:25   25   one of the major distributors that faced DEA 12:18:23

                                                          Page 187                                                          Page 189
     1 that fair to say?                       12:16:29                 1 scrutiny regarding their distribution of       12:18:25
     2        A. Yes.                        12:16:29                   2   prescription opioids, correct?            12:18:28
     3        Q. Okay. And also it appears that 12:16:30                3       A. Yes.                        12:18:29
     4   at this time the customer service group is      12:16:33       4       Q. Okay. Now, she goes on to            12:18:32
     5   having some involvement in the implementation 12:16:35         5   describe generally when an order is deemed       12:18:34
     6   of the revised SOM program.                  12:16:38          6   peculiar by a customer service rep.          12:18:41
     7             Separate and apart from what       12:16:39          7            Do you see that?              12:18:42
     8   the e-mail says, is it your recollection that 12:16:41         8       A. Uh-huh. Yes.                    12:18:42
     9   the customer service group had some             12:16:44       9       Q. And she says that "an order is 12:18:44
    10   involvement in the revising of Mallinckrodt's 12:16:45        10   deemed peculiar by a customer service rep        12:18:50
    11   SOM program in 2008?                        12:16:47          11   based on a set of guidelines currently being 12:18:52
    12             MR. O'CONNOR: Objection to             12:16:49     12   developed."                          12:18:56
    13        form.                         12:16:50                   13            Do you see that reference?       12:18:56
    14             THE WITNESS: Yes.                 12:16:50          14            First sentence of the second     12:19:05
    15   QUESTIONS BY MR. KO:                             12:16:50     15   paragraph.                          12:19:07
    16        Q. Okay. Ms. Stewart says that -- 12:16:51               16       A. Yes, yes, yes, I see it. Yes, 12:19:07
    17   in particular that she is advising everyone 12:17:00          17   thank you.                          12:19:08
    18   on this e-mail that she is working with you 12:17:03          18       Q. So fair to say as of May 14,        12:19:08
    19   and Mr. Harper to develop procedures to           12:17:06    19   2008, Mallinckrodt is developing certain        12:19:13
    20   ensure that Mallinckrodt maintains compliance 12:17:11        20   guidelines to determine whether or not an       12:19:15
    21   with DEA requirements to identify suspicious 12:17:15         21   order is peculiar?                    12:19:17
    22   orders; is that correct?                12:17:18              22       A. It's not correct.             12:19:20
    23        A. So I'm Harper, and it talks        12:17:18           23       Q. Okay. Is it -- is that -- is     12:19:21
    24   about working with me and Bill Ratliff.         12:17:21      24   your testimony that it's not correct because 12:19:24
    25        Q. Right.                      12:17:23                  25   you always had a system to determine whether 12:19:25

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     1 or not an order was peculiar?                12:19:28         1   could have been anything that came to the        12:21:34
     2        A. That's correct.               12:19:29              2   customer service rep's attention as them       12:21:35
     3        Q. Okay. So is it fair to say       12:19:30           3   being familiar with the account.            12:21:39
     4   that as of May 14, 2008, you are revising the 12:19:31      4       Q. Okay. Because as you testified 12:21:41
     5   set of guidelines to determine whether or not 12:19:37      5   previously, they were your eyes and ears to 12:21:43
     6   it's peculiar?                      12:19:39                6   the customer, correct?                   12:21:47
     7        A. Yes.                       12:19:40                 7       A. That was the NAMs. But, yes,           12:21:48
     8        Q. Okay. And what is the             12:19:41          8   the customer service reps were veterans with 12:21:49
     9   difference from your perspective between a 12:19:47 9           the accounts, and, yes, they knew the         12:21:51
    10   peculiar order and a suspicious order?        12:19:49     10   customers.                           12:21:56
    11        A. We -- at different times with 12:19:51             11       Q. So would you agree -- because I 12:21:56
    12   the enhancements of our program, we called 12:19:58 12          realize that you are trying to make a        12:22:04
    13   orders "peculiar," we called orders         12:20:01       13   distinction between the NAMs and the CSRs.          12:22:08
    14   "unusual," and we called orders "suspicious." 12:20:03 14                But would it be fair to say      12:22:11
    15   So at this time, the peculiar order was      12:20:06      15   that the CSRs had deep knowledge about the         12:22:12
    16   something that came to our attention and        12:20:10   16   customers?                           12:22:16
    17   warranted additional review but was not        12:20:14    17            MR. O'CONNOR: Objection to             12:22:16
    18   necessarily deemed to be suspicious.          12:20:17     18       form.                         12:22:17
    19        Q. Okay. So a peculiar order, if 12:20:19             19   QUESTIONS BY MR. KO:                            12:22:17
    20   I understand your testimony correctly, is not 12:20:21 20           Q. Of Mallinckrodt?                  12:22:17
    21   necessarily synonymous with a suspicious          12:20:23 21       A. I wouldn't use the term "deep         12:22:18
    22   order; is that correct?                12:20:26            22   knowledge." They had knowledge of the             12:22:22
    23        A. Correct.                    12:20:26               23   customers from the customer service            12:22:24
    24        Q. Okay. And if I understand both 12:20:28            24   perspective.                         12:22:26
    25   this e-mail and some other documents I've        12:20:32 25        Q. Okay. And when you said               12:22:27

                                                          Page 191                                                        Page 193
     1 reviewed, my understanding is that once an          12:20:35  1   earlier that the NAMs were your eyes and        12:22:29
     2   order is identified as peculiar, certain     12:20:38       2   ears, would you also say that the customer 12:22:34
     3   people make the determination of whether or 12:20:42 3          service reps to some extent were the eyes and 12:22:36
     4   not the order is ultimately suspicious        12:20:44      4   ears for the Mallinckrodt business as well? 12:22:38
     5   sufficient to notify the DEA; is that        12:20:46       5       A. If you use the term -- making        12:22:40
     6   accurate?                            12:20:48               6   an inferential leap, because the customer      12:22:45
     7            MR. O'CONNOR: Objection to             12:20:48    7   service reps didn't see the customers or -- 12:22:48
     8       form.                          12:20:49                 8   they talked to the customers and took         12:22:50
     9            THE WITNESS: Yes.                  12:20:49        9   customer orders.                      12:22:52
    10   QUESTIONS BY MR. KO:                            12:20:50   10       Q. Okay. Let me make sure I             12:22:53
    11       Q. Okay. And so for purposes of 12:20:50               11   understand it.                      12:22:55
    12   this e-mail from Ms. Stewart to you, among 12:20:54 12                   They didn't see the customers, 12:22:55
    13   others, she is discussing a revision of what 12:20:58      13   but they talked to them?                12:22:57
    14   determines a peculiar order, correct?         12:21:03     14       A. Yes.                        12:22:58
    15       A. A peculiar order as recognized 12:21:05             15       Q. Okay. So they didn't actually 12:22:58
    16   by customer service.                     12:21:11          16   visit them like the NAMs did, but they would 12:23:00
    17       Q. Okay.                         12:21:12              17   speak to them via telephone only?            12:23:03
    18       A. Yes.                         12:21:12               18            MR. O'CONNOR: Objection to            12:23:05
    19       Q. And is it accurate to say that 12:21:13             19       form.                         12:23:06
    20   a peculiar order -- whether or not an order 12:21:17       20            THE WITNESS: Correct.              12:23:06
    21   was deemed peculiar was based on an              12:21:22 21    QUESTIONS BY MR. KO:                           12:23:06
    22   algorithm, as we discussed earlier; is that 12:21:25       22       Q. But the CSRs had, through these 12:23:06
    23   correct?                            12:21:29               23   conversations, presumably had knowledge about 12:23:10
    24       A. That was one of the reasons,          12:21:29      24   the customers, correct?                 12:23:11
    25   but in the case of a customer service rep, it 12:21:31     25       A. Yes.                        12:23:13

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                                                            Page 194                                                      Page 196
     1       Q. Turning back to this                12:23:20          1    A. Okay. All right. Okay. Thank 12:25:35
     2   distinction between peculiar and suspicious, 12:23:21        2you.                              12:25:35
     3   do you ever recall an instance in which an 12:23:23          3    Q. -- and I'm trying to understand 12:25:35
     4   order was identified as suspicious but not 12:23:25          4the distinctions between them.              12:25:39
     5   peculiar?                            12:23:30                5    A. Okay. Thank you.                  12:25:40
     6       A. I don't know that answer.             12:23:31        6    Q. So with respect to               12:25:42
     7       Q. Okay. Do you ever recall an             12:23:32      7identification of a peculiar order, you had 12:25:43
     8   instance in which an order was identified as 12:23:36        8previously testified that if an order met a 12:25:44
     9   unusual but not peculiar?                   12:23:38         9certain threshold by an algorithm determined 12:25:53
    10       A. I can't say. I'm sorry.            12:23:39          10by Mallinckrodt, it would be deemed peculiar. 12:25:55
    11       Q. Okay. Is it accurate to             12:23:43         11         MR. O'CONNOR: Objection to             12:25:58
    12   describe at least the -- well, strike that. 12:23:45        12    form.                          12:25:59
    13            Prior to the revision of the      12:23:50         13QUESTIONS BY MR. KO:                            12:25:59
    14   SOM program in 2008 that's reflected in these 12:23:55 14         Q. Correct?                      12:25:59
    15   e-mails that we're going over, is it accurate 12:24:00      15    A. Correct.                      12:25:59
    16   to say that an order was first -- an         12:24:04       16    Q. And in addition to the             12:26:00
    17   evaluation was made first about whether or 12:24:10 17        algorithm triggering a peculiar order, you     12:26:03
    18   not an order was peculiar, separate and apart 12:24:11 18     had also testified that there were other     12:26:06
    19   from an analysis of whether or not an order 12:24:14 19       circumstances that may indicate an order was 12:26:08
    20   was suspicious?                         12:24:15            20peculiar as identified by a customer service 12:26:11
    21            MR. O'CONNOR: Objection to               12:24:16  21rep, correct?                        12:26:14
    22       form.                           12:24:17                22    A. Correct.                      12:26:14
    23            THE WITNESS: It appeared, yes. 12:24:17            23    Q. Okay. And who other than the           12:26:15
    24       That was a term that we used, yes.          12:24:21    24CSRs had a responsibility or an obligation to 12:26:20
    25                                                              25 determine whether or not this order was         12:26:26

                                                        Page 195                                                          Page 197
     1 QUESTIONS BY MR. KO:                               12:24:23   1    peculiar?                            12:26:28
     2       Q. So in addition to it being a        12:24:24         2             MR. O'CONNOR: Objection to              12:26:28
     3   term that you used, is it accurate to say     12:24:26      3        form.                           12:26:29
     4   that at Mallinckrodt, before making a          12:24:28     4             THE WITNESS: Peculiar, using            12:26:29
     5   determination with respect to whether an         12:24:31   5        the strictest definition of the term. 12:26:37
     6   order was suspicious, the existing SOM           12:24:33   6        The national account managers, if they 12:26:43
     7   program at the time determined first whether 12:24:37       7        saw something when they were at the          12:26:43
     8   an order was peculiar?                    12:24:39          8        accounts, the customer service review 12:26:43
     9       A. Yes, that was the term we used, 12:24:42             9        and the peculiar order algorithm          12:26:50
    10   yes.                             12:24:46                  10        detection, yes.                    12:26:50
    11       Q. And then once an order was             12:24:46     11    QUESTIONS BY MR. KO:                             12:26:52
    12   deemed to be peculiar, you subsequently made 12:24:48 12             Q. Okay. So I'm setting aside the 12:26:52
    13   a determination of whether or not that order 12:24:50      13    algorithm detection.                     12:26:54
    14   was suspicious, correct?                  12:24:53         14        A. Okay.                          12:26:55
    15       A. Yes.                        12:24:55                15        Q. So for purposes of identifying 12:26:56
    16       Q. Okay. And you had mentioned a 12:24:56              16    an order as peculiar, do you recall any        12:26:59
    17   moment ago that there were other               12:25:11    17    instances in the 2007 through 2010 time           12:27:00
    18   circumstances besides the algorithm that         12:25:14  18    period in which orders were identified as        12:27:03
    19   would potentially make an order peculiar.         12:25:17 19    peculiar by either a CSR or an NAM, separate 12:27:05
    20            Do you recall that?            12:25:20           20    and apart from whether or not an algorithm         12:27:10
    21       A. Yes. I'm using the terms            12:25:21        21    triggered the order to be peculiar?           12:27:14
    22   "peculiar," "suspicious," "unusual,"          12:25:26     22        A. Yes.                          12:27:17
    23   interchangeably, yes.                    12:25:31          23        Q. Okay. And other than the CSRs 12:27:18
    24       Q. Okay. Well, I would not like          12:25:32      24    and the NAMs, did anyone else have               12:27:22
    25   to use those words interchangeably --           12:25:35   25    responsibility with respect to determining       12:27:25

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     1 whether or not that order was peculiar?          12:27:26      1 necessary to determine whether or not that          12:29:18
     2   Separate and apart from the algorithm.         12:27:32      2   is, in fact, suspicious, correct?          12:29:21
     3       A. Separate from the algorithm?         12:27:33         3        A. Correct.                     12:29:22
     4            So may I ask a question,        12:27:37            4        Q. So it's your testimony sitting 12:29:23
     5   please?                           12:27:38                   5   here today that you did not always perform 12:29:27
     6       Q. Sure.                      12:27:38                   6   due diligence on peculiar orders before         12:29:29
     7       A. So there was -- we spoke            12:27:39          7   shipping them, correct?                   12:29:31
     8   earlier about a circumstance where a DEA         12:27:40    8             MR. O'CONNOR: Objection to             12:29:31
     9   investigator contacted Mallinckrodt. It was 12:27:44         9        form.                        12:29:32
    10   a compounding pharmacy. So I don't know if 12:27:48         10             THE WITNESS: Correct.               12:29:32
    11   that was within the same time frame.          12:27:50      11   QUESTIONS BY MR. KO:                             12:29:33
    12            But so my point is, peculiar     12:27:52          12        Q. Okay. Shipping of a peculiar          12:30:03
    13   order information could come from an external 12:27:56      13   order without doing due diligence would seem 12:30:04
    14   source, potentially.                  12:27:59              14   contradictory to what Ms. Stewart is trying 12:30:06
    15       Q. Okay. So other than an             12:28:00          15   to describe here, right?                 12:30:10
    16   external source or from some evaluation made 12:28:03       16             MR. O'CONNOR: Objection to             12:30:12
    17   by a CSR or an NAM, apart from the algorithm 12:28:06       17        form.                        12:30:13
    18   that triggered a peculiar order, were there 12:28:11        18             THE WITNESS: Yes.                  12:30:13
    19   any other circumstances in which a peculiar 12:28:15        19   QUESTIONS BY MR. KO:                             12:30:16
    20   order was identified at Mallinckrodt?         12:28:19      20        Q. Okay. And to be clear, so the 12:30:17
    21       A. No.                        12:28:20                  21   record is clear, she is suggesting that if an 12:30:21
    22       Q. Okay. Is it your understanding 12:28:21              22   order is deemed peculiar, it should be placed 12:30:23
    23   that Mallinckrodt could not ship a peculiar 12:28:30        23   on hold and the DEA compliance group will be 12:30:26
    24   order without first conducting some sort of 12:28:37        24   advised.                           12:30:30
    25   due diligence on that order?              12:28:38          25             Do you see that?             12:30:30

                                                        Page 199                                                          Page 201
     1      A.     It is not.              12:28:39                   1       A. I do.                        12:30:31
     2            MR. O'CONNOR: Objection to            12:28:39      2       Q. And in particular, Mr. Ratliff 12:30:32
     3       form.                        12:28:40                    3   and you are the DEA compliance group as            12:30:34
     4   QUESTIONS BY MR. KO:                           12:28:40      4   referenced by Ms. Stewart, correct?            12:30:38
     5       Q. It is not your understanding. 12:28:41                5       A. Correct.                      12:30:39
     6            So a peculiar order could ship 12:28:42             6       Q. And she also states that "DEA          12:30:40
     7   without conducting due diligence then,         12:28:43      7   compliance will then conduct a more in-depth 12:30:44
     8   correct?                          12:28:45                   8   investigation and determine if the situation 12:30:47
     9       A. Correct.                    12:28:45                  9   warrants notification to the DEA."            12:30:49
    10       Q. Okay. So isn't that an unusual 12:28:46              10            Do you see that?               12:30:51
    11   circumstance?                         12:28:55              11       A. I do see it.                  12:30:52
    12            MR. O'CONNOR: Objection to            12:28:55     12       Q. And so your testimony, so the          12:30:53
    13       form.                        12:28:57                   13   record is clear, is that that more in-depth 12:30:55
    14   QUESTIONS BY MR. KO:                           12:28:57     14   investigation did not always occur, correct? 12:30:58
    15       Q. In other words, if you're not 12:28:57               15            MR. O'CONNOR: Objection to              12:30:59
    16   performing any -- earlier we made a           12:29:01      16       form.                          12:31:00
    17   distinction between peculiar and suspicious 12:29:03        17            THE WITNESS: There were times 12:31:00
    18   orders, correct?                     12:29:05               18       that we shipped an order before the       12:31:01
    19       A. Correct.                    12:29:05                 19       review was complete, but we never           12:31:03
    20       Q. And the latter is something         12:29:05         20       shipped a suspicious order.            12:31:06
    21   that you ultimately have to report to the    12:29:07       21   QUESTIONS BY MR. KO:                             12:31:07
    22   DEA, correct?                         12:29:08              22       Q. Okay. Well, separate and apart 12:31:08
    23       A. Correct.                    12:29:09                 23   from the terminology now --                  12:31:09
    24       Q. And we had also discussed about 12:29:09             24       A. Okay.                         12:31:10
    25   how evaluation of a peculiar order is        12:29:16       25       Q. -- the process as described by 12:31:11

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     1 Ms. Stewart and your testimony here today,         12:31:14 1       develop criteria for orders that deviate from 12:33:55
     2   after an order was deemed to be peculiar from 12:31:17 2          normal ordering patterns and/or from unusual 12:33:57
     3   a variety of means that we discussed, it was 12:31:22      3      order frequency. Not yet sure how to capture 12:34:01
     4   not always the case that the order was placed 12:31:26     4      this. Hope to identify an algorithm that       12:34:05
     5   on hold and an in-depth investigation ensued, 12:31:30 5          will support a parsing through the data to 12:34:08
     6   correct?                          12:31:34                 6      identify patterns, frequency, et cetera."     12:34:10
     7            MR. O'CONNOR: Objection to            12:31:34    7               Did I read that correctly?       12:34:13
     8       form.                        12:31:34                  8          A. Yes, you did.                   12:34:14
     9            THE WITNESS: So the order was 12:31:34            9          Q. So is it accurate to say that 12:34:15
    10       always placed on hold, but sometimes 12:31:35         10      as the date of this e-mail, Mallinckrodt had 12:34:17
    11       it was released from hold and shipped 12:31:37        11      not yet developed a criteria in its         12:34:18
    12       prior to the completion of the review. 12:31:39       12      suspicious order monitoring system to           12:34:23
    13   QUESTIONS BY MR. KO:                           12:31:41   13      identify orders that deviate from a normal 12:34:25
    14       Q. Okay. Now, a moment ago you             12:31:41   14      ordering pattern?                      12:34:27
    15   said that you believe you never shipped a      12:32:03   15               MR. O'CONNOR: Objection to             12:34:28
    16   suspicious order, correct?               12:32:04         16          form.                          12:34:32
    17       A. Correct.                     12:32:05              17               THE WITNESS: Not correct.             12:34:35
    18       Q. But that is just simply based 12:32:05             18      QUESTIONS BY MR. KO:                             12:34:36
    19   on your understanding of whether or not that 12:32:09 19              Q. Okay. Is it correct to say          12:34:36
    20   formal label was made by someone at            12:32:11   20      that at the date of this e-mail, Mallinckrodt 12:34:37
    21   Mallinckrodt, correct?                  12:32:15          21      is working on revising the criteria for       12:34:39
    22            MR. O'CONNOR: Objection to            12:32:17   22      identifying orders that deviate from a normal 12:34:42
    23       form.                        12:32:18                 23      ordering pattern?                      12:34:44
    24   QUESTIONS BY MR. KO:                           12:32:18   24          A. Yes.                         12:34:44
    25       Q. Let me ask a different way.         12:32:18       25          Q. And also accurate to say that 12:34:44

                                                         Page 203                                                            Page 205
     1            If you release an order without 12:32:20             1   at this time Mallinckrodt is revising its      12:34:46
     2   conducting an investigation or performing due 12:32:23        2   criteria for determining whether or not a        12:34:48
     3   diligence, that order could potentially be      12:32:26      3   usual -- an order that deviates from usual       12:34:53
     4   suspicious, could it not?                 12:32:28            4   order frequency; is that correct?            12:34:56
     5            MR. O'CONNOR: Objection to              12:32:30     5             MR. O'CONNOR: Objection to              12:34:57
     6       form.                         12:32:30                    6       form.                           12:34:58
     7            THE WITNESS: That's correct.           12:32:30      7             THE WITNESS: Correct.               12:34:58
     8   QUESTIONS BY MR. KO:                             12:32:31     8   QUESTIONS BY MR. KO:                              12:34:58
     9       Q. Okay. And in particular, just 12:32:48                 9       Q. And Ms. Stewart indicates that 12:34:59
    10   to make sure the record is clear, if you       12:32:50      10   she's not sure how to capture this as of the 12:35:00
    11   release a peculiar order without conducting 12:32:53         11   date of this e-mail.                    12:35:06
    12   an investigation or performing due diligence, 12:32:55       12             Do you see that?              12:35:07
    13   that peculiar order could potentially be       12:32:58      13       A. I see that.                    12:35:07
    14   suspicious, could it not?                 12:33:00           14       Q. And so is it fair to say that 12:35:08
    15            MR. O'CONNOR: Objection to              12:33:01    15   you -- would you agree with this statement, 12:35:09
    16       form.                         12:33:02                   16   that at the time you weren't sure how to        12:35:11
    17            THE WITNESS: It could.               12:33:02       17   capture this criteria in revising your SOM        12:35:12
    18   QUESTIONS BY MR. KO:                             12:33:04    18   policy?                              12:35:15
    19       Q. Okay. Okay. Now, if you turn 12:33:04                 19       A. We were working through the              12:35:16
    20   to the second page of this e-mail -- it's     12:33:32       20   algorithm to understand -- there were several 12:35:18
    21   unfortunately just a one-page document.           12:33:41   21   approaches to the analysis, and we had not         12:35:25
    22       A. Okay. Thank you.                    12:33:42          22   settled on a specific one at this time.       12:35:28
    23       Q. And at the top, Ms. Stewart is 12:33:43               23       Q. Okay. And the algorithm at the 12:35:30
    24   indicating that "in addition to order         12:33:47       24   time of the -- at the time of this e-mail,     12:35:35
    25   quantities by product, we hope to also          12:33:52     25   what was your understanding what the              12:35:36

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                                                          Page 206                                                                    Page 208
     1 algorithm was?                           12:35:37                  1      form.                           12:37:48
     2       A. It was comparing a customer's         12:35:38            2           THE WITNESS: So again -- I'm              12:37:48
     3   order history to itself and flagging any     12:35:41            3      sorry -- we've always had a program,          12:37:49
     4   order that exceeded a multiplier.           12:35:46             4      so we were hoping to enhance it and           12:37:51
     5       Q. And at the time, do you recall 12:35:49                   5      introduce everyone to the enhancements          12:37:53
     6   what the multiplier was?                  12:35:50               6      at that time.                    12:37:55
     7       A. I do not.                    12:35:51                     7 QUESTIONS BY MR. KO:                                12:37:55
     8       Q. Do you recall if it was a           12:35:52              8      Q.      Okay. And the enhanced              12:37:56
     9   multiplier?                         12:35:54                     9 version, just so the record is clear, extra       12:37:58
    10       A. I do not.                    12:35:55                    10 attention to the enhanced version was given          12:38:02
    11       Q. Okay. In the next paragraph,         12:35:56            11 in early 2008, correct?                       12:38:04
    12   Ms. Stewart indicates that "the sales force 12:36:06            12      A.      Yes.                     12:38:05
    13   will play a key role in this process by      12:36:07           13      Q.      And it was your hope to roll        12:38:06
    14   verifying the customer's physical site and     12:36:11         14 out an enhanced version as quickly as              12:38:08
    15   operations ring true with the type of        12:36:14           15 possible; is that fair to say?                12:38:11
    16   business they purport to run."             12:36:16             16      A.      Yes.                     12:38:12
    17            Do you see that?              12:36:17                 17      Q.      And it's important to roll out     12:38:13
    18       A. I do.                       12:36:17                     18 an enhanced SOM program because failure to do 12:38:15
    19       Q. Do you agree that the sales         12:36:18             19 so would result in further diversion and           12:38:18
    20   force would play this key role in trying to 12:36:20            20 abuse of -- potentially of Mallinckrodt            12:38:21
    21   identify the customer's physical site and     12:36:22          21 opioids, correct?                        12:38:24
    22   operations?                          12:36:27                   22           MR. O'CONNOR: Objection to                12:38:24
    23       A. That was a suggestion from Drug 12:36:27                 23      form.                           12:38:25
    24   and Chemical Advisory Group that we did not 12:36:30            24           THE WITNESS: So we always had                  12:38:25
    25   implement. We used the sales force, but they 12:36:34           25      a backbone program in place, and we            12:38:26

                                                          Page 207                                                                    Page 209
     1 did not play the key role in determining          12:36:35         1       were enhancing the program.            12:38:29
     2   whether the customer was set up or not.          12:36:38        2   QUESTIONS BY MR. KO:                          12:38:30
     3       Q. Okay. And to be clear, is the 12:36:40                    3       Q. Did you feel that backbone SOM 12:38:32
     4   sales force discussed here and as you just      12:36:41         4   program was sufficient in terms of complying 12:38:34
     5   testified to, are you talking about NAMs and 12:36:46            5   with your duties under the CSA?             12:38:36
     6   CSRs or both? Or NAMs or CSRs or both?               12:36:48    6       A. Yes.                       12:38:38
     7       A. NAMs.                           12:36:54                  7       Q. Okay. Well, then why did you         12:38:39
     8       Q. Okay. So the sales force            12:36:55              8   feel the need to enhance it?            12:38:41
     9   described in this e-mail is just with respect 12:36:56           9       A. Because as time went on, we got 12:38:42
    10   to the national account managers, correct?       12:36:58       10   further guidance from DEA. Any piece of         12:38:44
    11       A. Yes.                         12:37:00                    11   information that we gleaned, we acted upon it 12:38:47
    12       Q. Okay. And you can set that            12:37:00           12   immediately. And we led the industry in       12:38:51
    13   aside. Thank you.                       12:37:14                13   every aspect of enhancing our suspicious      12:38:53
    14            Now, is it fair to say that in 12:37:21                14   order monitoring program.                 12:38:57
    15   the early 2008 time period you were working 12:37:27            15       Q. Okay. When you say you acted          12:38:57
    16   on revising and revamping Mallinckrodt's SOM 12:37:28           16   on everything "immediately," what does that 12:38:59
    17   program? Is that accurate?                 12:37:32             17   mean?                             12:39:03
    18       A. Yes.                         12:37:33                    18            Did you act on advice from the 12:39:05
    19            MR. O'CONNOR: Objection to              12:37:33       19   DEA as soon as you heard it? Is that what      12:39:07
    20       form.                          12:37:34                     20   your testimony is today?                12:39:12
    21   QUESTIONS BY MR. KO:                             12:37:34       21       A. So immediately -- that was a        12:39:12
    22       Q. And you had hoped to roll out a 12:37:35                 22   poor choice of words. As soon as possible, 12:39:16
    23   formal SOM program at some -- as quickly as 12:37:40            23   yes.                            12:39:18
    24   possible; is that fair to say?            12:37:45              24       Q. Okay. And what does "as soon          12:39:19
    25            MR. O'CONNOR: Objection to              12:37:47       25   as possible" mean to you?                12:39:21

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                                                       Page 210                                                          Page 212
     1            MR. O'CONNOR: Objection to          12:39:21       1 of this meeting in the first sentence          12:41:25
     2       form.                        12:39:22                   2   underneath agenda, it states that "The         12:41:27
     3            THE WITNESS: Depending upon            12:39:22    3   purpose of the meeting" -- and these calls -- 12:41:33
     4       varying amounts of time, depending how 12:39:24         4   "was to share information between sites and 12:41:37
     5       long it would have taken to implement 12:39:27          5   to help each other gain a broader knowledge 12:41:39
     6       the suggestion from DEA.             12:39:28           6   of the supply chain process."               12:41:41
     7   QUESTIONS BY MR. KO:                          12:39:29      7             Did I read that correctly?      12:41:43
     8       Q. Okay. Was it your goal at the 12:39:30               8       A. Yes.                         12:41:44
     9   time that you were trying to enhance your SOM 12:39:32      9       Q. And so there were frequent            12:41:44
    10   program in early 2008 to make revisions and 12:39:35       10   calls at the time to try and better        12:41:45
    11   roll out a formal enhanced policy as quickly 12:39:38      11   understand and gain knowledge of the supply 12:41:47
    12   as possible?                       12:39:40                12   chain process?                         12:41:51
    13       A. Yes.                       12:39:42                 13       A. Yes.                         12:41:51
    14       Q. Okay. And when would you say           12:39:43     14       Q. Okay. And I just actually want 12:41:51
    15   you actually rolled out a formal SOM policy 12:39:46       15   to turn to your portion of the             12:41:55
    16   that satisfied you, as someone who was in      12:39:49    16   presentation -- or the notes that capture     12:41:59
    17   charge of overseeing the SOM program?           12:39:53   17   your presentation, which is at the bottom of 12:42:00
    18            MR. O'CONNOR: Objection to          12:39:54      18   page 2.                             12:42:05
    19       form.                        12:39:56                  19             Do you see where it says,        12:42:07
    20            THE WITNESS: So the existing        12:39:56      20   "Karen gave a brief update on Covidien's         12:42:08
    21       policy always satisfied me, but we     12:39:58        21   efforts"?                           12:42:11
    22       continued to work on enhancing our       12:40:00      22       A. I do see that.                 12:42:12
    23       policies.                    12:40:02                  23       Q. And by the way, Covidien is -- 12:42:12
    24   QUESTIONS BY MR. KO:                          12:40:02     24   was your -- was the actual -- was the former 12:42:15
    25       Q. Okay. And with respect to          12:40:03         25   employer -- was your former employer?             12:42:19

                                                       Page 211                                                          Page 213
     1 enhancing it in particular as we discussed in 12:40:07        1        A. Right. Our company has changed 12:42:22
     2 early 2008, when would you say that process         12:40:10 2    corporate structure and ownership, yes.           12:42:25
     3   was actually complete?                   12:40:13           3        Q. Thank you.                        12:42:26
     4       A. I can't answer that because        12:40:14          4        A. Yes.                           12:42:26
     5   enhancements are always ongoing. They're         12:40:18 5          Q. You put it more artfully than          12:42:27
     6   ongoing up to today. So there's no start and 12:40:21       6   me.                                  12:42:28
     7   stop time to the enhancements.              12:40:24        7             Covidien, at the time of          12:42:28
     8           (Mallinckrodt-Harper Exhibit 6 12:40:27             8   2000 -- 2008, Mallinckrodt was essentially 12:42:33
     9       marked for identification.)          12:40:27           9   Covidien. And so for purposes of this             12:42:35
    10   QUESTIONS BY MR. KO:                           12:40:27    10   deposition, when I refer to Covidien, it's       12:42:37
    11       Q. Fair enough.                   12:40:28             11   synonymous with Mallinckrodt; is that fair? 12:42:40
    12           I'm going to hand you a copy of 12:40:28           12        A. That's fair.                    12:42:43
    13   what will be marked as Harper Exhibit 6.        12:40:30 13          Q. Okay. And you give a general             12:42:44
    14           And for the record, this is -- 12:40:41            14   overview of the SOM program, and you say that 12:42:50
    15   ends in Bates stamp 387983.                12:40:42        15   your efforts are ongoing to, quote, "Improve 12:42:57
    16           Ms. Harper, this appears to be 12:41:00            16   our current suspicious order monitoring            12:43:01
    17   a June 17, 2008, DEA compliance all site        12:41:01 17     system in light of recent DEA actions with 12:43:05
    18   conference call with notes attached to it. 12:41:06        18   other registrants regarding this law."          12:43:08
    19           Is that accurate -- an accurate 12:41:09           19             Did I read that correctly?        12:43:10
    20   description of the document?               12:41:13        20        A. Can you point that out to me,           12:43:10
    21       A. Yes.                        12:41:14                21   please, the sentence?                      12:43:13
    22       Q. And you were present at this         12:41:14       22        Q. Sure. I just highlighted it.         12:43:13
    23   meeting? You're listed as an attendee?        12:41:15     23   It's at the top -- it's the first sentence 12:43:17
    24       A. Yes.                        12:41:17                24   underneath your portion of the presentation. 12:43:18
    25       Q. And it appears that the purpose 12:41:17            25        A. So I see that that is what it        12:43:20

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     1 reads, but I don't know that I published        12:43:24         1 program?                              12:45:04
     2   these notes or if Ms. Woznick was             12:43:26         2       A. I believe so, yes.             12:45:04
     3   interpreting the discussion and documenting 12:43:32           3       Q. Okay. And then at other            12:45:07
     4   it --                           12:43:33                       4   times -- I believe the name you referenced     12:45:14
     5         Q. Fair enough.                  12:43:35                5   before was Todd?                       12:45:15
     6         A. -- as she saw fit.            12:43:35                6            I'm sorry, who --           12:45:17
     7         Q. Fair enough.                  12:43:37                7            MR. O'CONNOR: Objection to            12:45:18
     8            Would you agree with me that        12:43:37          8       form.                        12:45:18
     9   one of the reasons why you were seeking to       12:43:38      9   QUESTIONS BY MR. KO:                           12:45:18
    10   improve Mallinckrodt's SOM system was in           12:43:41   10       Q. Who did you report to after         12:45:19
    11   light of recent DEA actions at the time?       12:43:45       11   JoAnne Levy?                          12:45:21
    12         A. Yes.                       12:43:48                  12       A. Tom Berry.                     12:45:21
    13         Q. Okay. And the persons             12:43:51           13       Q. Tom Berry. Thank you.               12:45:22
    14   responsible on the bottom right-hand corner 12:43:56          14       A. Yeah.                       12:45:24
    15   are listed as you and Eileen Spaulding.       12:44:03        15       Q. So Mr. Berry, would you agree          12:45:24
    16            Do you see that?              12:44:06               16   that after -- once you began reporting to     12:45:26
    17         A. I do.                     12:44:06                   17   Mr. Berry, would you say that Mr. Berry was 12:45:31
    18         Q. And so is it fair to say that    12:44:07            18   the team leader for the SOM team?             12:45:34
    19   based on this document, you and Eileen are       12:44:07     19       A. No.                        12:45:36
    20   the people responsible for implementing an       12:44:11     20       Q. Okay. At the time that you          12:45:36
    21   improved SOM program at Mallinckrodt at this 12:44:15         21   reported to Mr. Berry, would you say that you 12:45:37
    22   time?                              12:44:17                   22   were the team leader of the SOM team?           12:45:39
    23            MR. O'CONNOR: Objection.              12:44:17       23       A. So I'm sorry to repeat, but        12:45:41
    24         Form.                        12:44:18                   24   there was no designated leader except in the 12:45:47
    25            THE WITNESS: So not in              12:44:19         25   case of JoAnne Levy, who was the senior          12:45:49

                                                         Page 215                                                                Page 217
     1        isolation. We were members of the          12:44:20       1 official. Tom Berry was not as actively           12:45:52
     2        team, and we were the representatives 12:44:21            2 involved in the team because he was new to          12:45:55
     3        of the DEA compliance group on the          12:44:22      3 the controlled substances business, and so I       12:45:58
     4        team, but there were others on the       12:44:25         4 would not state anyone's name specifically         12:46:01
     5        team.                          12:44:26                   5 during this time period as the leader.         12:46:03
     6   QUESTIONS BY MR. KO:                             12:44:26      6      Q.    Separate and apart of whether       12:46:04
     7        Q. Okay. But you guys were -- is 12:44:26                 7 or not there was an official designation, did 12:46:11
     8   it fair to say that you were the team leaders 12:44:30         8 you consider yourself, along with Eileen           12:46:13
     9   of the SOM team, or do you disclaim that          12:44:31     9 Spaulding, to the team leader of implementing 12:46:18
    10   responsibility?                        12:44:34               10 an improved SOM program during the 2008 time              12:46:20
    11        A. I --                       12:44:34                   11 period?                            12:46:23
    12             MR. O'CONNOR: Objection to             12:44:34     12      A.    Yes. I would consider it         12:46:23
    13        form.                          12:44:35                  13 controlled substances compliance                 12:46:25
    14             THE WITNESS: The leader of the 12:44:35             14 responsibility, and I was the leader of that      12:46:26
    15        team was always the most senior           12:44:43       15 group at that time, yes.                 12:46:28
    16        official, so in one case it was JoAnne 12:44:44          16      Q.    Okay. You thank.               12:46:29
    17        Levy. So I was a key contributor to       12:44:47       17           And this document indicates a        12:46:31
    18        the team, as was Eileen, but I don't    12:44:50         18 deadline. Do you see that?                  12:46:36
    19        know that I was ever designated as the 12:44:52          19      A.    I do see it.               12:46:37
    20        team leader.                     12:44:53                20      Q.    And the deadline, according to        12:46:43
    21   QUESTIONS BY MR. KO:                             12:44:54     21 this document, is fourth quarter 2008 fiscal       12:46:46
    22        Q. Okay. So is it your testimony 12:44:54                22 year?                             12:46:50
    23   that you believe, as least as of the time     12:44:56        23      A.    Yes.                    12:46:50
    24   that JoAnne Levy was your direct report, that 12:44:58        24      Q.    By the way, what was             12:46:50
    25   she was the team leader of the SOM policy and 12:45:02        25 Mallinckrodt's fiscal year?                12:46:52

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     1      A.      At that time it ended in           12:46:53                  1       A. Yes. Well, we reported to           12:48:53
     2 October -- September.                           12:46:57                  2   JoAnne Levy, yes.                       12:48:55
     3      Q.      September. Okay.                   12:46:58                  3            MR. KO: Okay. And with that, 12:48:59
     4           So it was at least as of the         12:47:02                   4       I think we can break for lunch.        12:49:00
     5 date of this call and the notes that were           12:47:05              5            THE WITNESS: Okay.                  12:49:02
     6 drafted pursuant to this call that an             12:47:10                6            VIDEOGRAPHER: We are going off 12:49:02
     7 improved SOM program would be complete no                     12:47:15    7       the record at 12:49 p.m.             12:49:03
     8 later than October of 2008?                      12:47:18                 8        (Off the record at 12:49 p.m.)        12:49:04
     9           MR. O'CONNOR: Objection to                  12:47:19            9            (Mallinckrodt-Harper Exhibit 7 13:37:59
    10      form.                            12:47:19                           10       marked for identification.)           13:36:59
    11           THE WITNESS: No, sir.                    12:47:19              11            VIDEOGRAPHER: We are back on              13:36:59
    12 QUESTIONS BY MR. KO:                                  12:47:20           12       the record at 1:37 p.m.             13:37:01
    13      Q.      Is that accurate or is that --     12:47:21                 13   QUESTIONS BY MR. KO:                            13:37:02
    14      A.      No.                        12:47:21                         14       Q. Welcome back from lunch,               13:37:03
    15      Q.      That's incorrect?                12:47:22                   15   Ms. Harper.                          13:37:06
    16      A.      That's incorrect.                12:47:23                   16       A. Thank you.                     13:37:07
    17      Q.      Okay. So what is this deadline        12:47:24              17       Q. I appreciate your patience to        13:37:07
    18 referring to?                            12:47:25                        18   stay. We've got a few more hours to go.         13:37:09
    19      A.      The update that would be             12:47:26               19            I've handed you a copy of        13:37:12
    20 provided on the next team call.                   12:47:27               20   what's been marked as Harper Exhibit 7.          13:37:14
    21      Q.      Okay. So it wasn't necessarily        12:47:29              21            And for the record, this       13:37:16
    22 your goal to complete the SOM revisions by                 12:47:31      22   document ends in Bates 274572.                13:37:17
    23 fourth quarter of 2008?                        12:47:35                  23            And this is a July 29, 2008,     13:37:21
    24      A.      No.                        12:47:36                         24   e-mail from you to Mr. Ratliff; is that       13:37:25
    25      Q.      Okay. Did you have a -- did           12:47:36              25   correct?                           13:37:27

                                                                   Page 219                                                            Page 221
     1 you have a firm goal at any point in time           12:47:41   1                  A. Yes.                         13:37:27
     2   other than trying to effectuate an improved 12:47:43         2                  Q. And this appears to be another 13:37:27
     3   SOM program as soon as possible?                  12:47:46   3              monthly report as of July 2008 that you are 13:37:29
     4       A. No.                           12:47:47                4              sending on that we discussed previously          13:37:32
     5       Q. Okay. By the way, turning back 12:47:48               5              today?                              13:37:35
     6   to the first page, there are a list of       12:47:54        6                  A. Correct.                      13:37:35
     7   attendees.                             12:48:00              7                  Q. In terms of we had discussed          13:37:36
     8            Are all those people folks on        12:48:02       8              the fact that you had sent monthly reports to 13:37:38
     9   the DEA/controlled substance compliance team? 12:48:06 9                    Mr. Ratliff.                         13:37:42
    10       A. No.                           12:48:10               10                       And I just wanted to ask a few 13:37:43
    11       Q. Okay. Which individuals were              12:48:11   11              questions on this document.                 13:37:45
    12   not on the DEA compliance team?                   12:48:13  12                       It appears here on the third     13:37:46
    13       A. Joe Ruffino.                      12:48:15           13              section down that you are working on a draft 13:37:48
    14       Q. Okay.                           12:48:23             14              of the SOM policy, and you indicate that         13:37:56
    15       A. And I can't be certain about           12:48:23      15              hopefully the final draft is close to       13:38:02
    16   Patti Woznick. So Patti and Joe were in           12:48:27  16              publication.                         13:38:04
    17   purchasing, and dotted line, Hobart             12:48:30    17                       Do you see that?              13:38:05
    18   compliance reported to Patti for a while, and 12:48:34      18                  A. I do see it.                  13:38:05
    19   then they came into part of this              12:48:37      19                  Q. Is it accurate to say as of        13:38:06
    20   synchronized, coordinated group. So Patti          12:48:42 20              July 29, 2008, you're working on a final        13:38:07
    21   may or may not have been part of the team at 12:48:45       21              revised draft of the SOM policy?              13:38:10
    22   the time.                            12:48:48               22                  A. Yes, as it stood at the time, 13:38:14
    23       Q. Okay. So other than Joe and             12:48:48     23              yes.                              13:38:16
    24   potentially Patti, everyone else was a member 12:48:50      24                  Q. And then you're awaiting             13:38:16
    25   of the DEA compliance team?                     12:48:52    25              feedback from Ms. Stewart?                   13:38:18

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     1        A. Yes.                        13:38:19                   1 Mallinckrodt to begin with.                   13:40:20
     2        Q. And that you are hoping to          13:38:19           2             So then in that circumstance, 13:40:21
     3   train and implement the revised SOM program 13:38:26           3   the distributor applies back to Mallinckrodt 13:40:23
     4   in August, later that summer, correct?         13:38:28        4   to made whole -- to be made whole for that 13:40:25
     5        A. Yes.                        13:38:30                   5   differential. So I'd like to point out that 13:40:28
     6        Q. Okay. So at this point it's       13:38:31             6   all transactions are not subject to         13:40:32
     7   still a work in progress, the revised SOM        13:38:32      7   chargebacks, and chargebacks are after the 13:40:34
     8   program, correct?                       13:38:35               8   fact, retrospective information.            13:40:36
     9            MR. O'CONNOR: Objection to              13:38:36      9        Q. And when you say "all               13:40:39
    10        form.                         13:38:36                   10   transactions are not subject to chargebacks," 13:40:41
    11            THE WITNESS: Yes. Yes.               13:38:36        11   what you mean by that, if I understand you 13:40:44
    12   QUESTIONS BY MR. KO:                             13:38:38     12   correctly, is that, you know, chargeback only 13:40:47
    13        Q. And at the bottom of this          13:38:38           13   occurs if a distributor or customer of        13:40:49
    14   e-mail, there's another reference to         13:38:44         14   Mallinckrodt makes such a request to            13:40:50
    15   IntegriChain. I don't want to ask you any       13:38:45      15   Mallinckrodt, correct?                    13:40:52
    16   questions about that. We've talked about         13:38:49     16        A. Correct.                     13:40:53
    17   that.                            13:38:50                     17        Q. Pursuant to the terms of the        13:40:53
    18            But you also discuss in this     13:38:50            18   agreement between the distributor and           13:40:56
    19   e-mail how, quote, "How review of               13:38:53      19   Mallinckrodt, correct?                    13:40:58
    20   Mallinckrodt chargebacks could be used to          13:38:55   20        A. That's correct.                13:40:58
    21   help our customers monitor their customers," 13:38:57         21        Q. Okay. And separate and apart 13:40:59
    22   end quote.                           13:39:01                 22   from whether or not all information, as you 13:41:01
    23            Did I read that correctly?      13:39:01             23   describe, is contained in the chargeback        13:41:05
    24        A. Yes.                        13:39:02                  24   information -- or chargeback data, for lack 13:41:07
    25        Q. So fair -- well, as of the date 13:39:02              25   of a better term, was there also a certain 13:41:09

                                                           Page 223                                                        Page 225
     1 of this e-mail, is it fair to say that you    13:39:06           1 point in time where you expanded the             13:41:12
     2   were considering how to utilize chargeback 13:39:10            2   examination of, quote/unquote, downstream         13:41:17
     3   information to understand how to help            13:39:12      3   data?                             13:41:22
     4   customers monitor their customers?              13:39:16       4            MR. O'CONNOR: Object to form. 13:41:22
     5       A. Yes, that's correct.             13:39:18               5   QUESTIONS BY MR. KO:                           13:41:23
     6       Q. Okay. You can set that aside. 13:39:19                  6       Q. Let me strike that.             13:41:24
     7            And was one reason to utilize 13:39:22                7            In addition to chargeback data 13:41:24
     8   chargeback information -- or strike that.      13:39:39        8   as you described, were there any other        13:41:26
     9            What is your understanding of 13:39:41                9   sources of information that you asked to be 13:41:28
    10   chargeback -- chargeback data, separate and 13:39:43          10   pulled for purposes of understanding the       13:41:32
    11   apart from what's included in that?          13:39:47         11   obligation to monitor customers' customers? 13:41:36
    12       A. Like currently my --               13:39:48            12       A. I -- not as you state the        13:41:38
    13       Q. Yeah. What's your                  13:39:50            13   question, I'm not aware.                13:41:41
    14   understanding of what chargeback data             13:39:51    14            (Mallinckrodt-Harper Exhibit 9 13:41:44
    15   consists of.                        13:39:54                  15       marked for identification.)          13:41:44
    16       A. Certainly.                     13:39:54                16   QUESTIONS BY MR. KO:                           13:41:44
    17            We sell to wholesalers and        13:39:55           17       Q. Okay. I'm going to hand you a 13:41:44
    18   distributors at a certain price, and there 13:39:56           18   copy -- going back to your description of      13:41:46
    19   are wholesaler/distributor customers, their 13:40:01          19   chargebacks, I'm going to hand you a copy of 13:41:48
    20   customers, who have negotiated discounts           13:40:04   20   what will be marked as -- I hate to go out of 13:41:50
    21   through purchasing co-ops, et cetera.          13:40:07       21   order because I already premarked something, 13:41:52
    22            And so they then purchase from 13:40:10              22   but this is going to be Harper Exhibit 9.    13:41:54
    23   our distributors. The downstream registrants 13:40:12         23            And for the record, this is a   13:41:57
    24   purchase from our distributor at a lesser      13:40:14       24   copy of your deposition transcript that you 13:41:59
    25   price than the distributor has paid         13:40:19          25   sat for in connection with the Island Drug     13:42:04

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     1 matter that we were discussing earlier today. 13:42:09           1       Q. Okay. So for purposes of this 13:44:25
     2             Do you recall sitting for that 13:42:12              2   deposition, is it true that provided there    13:44:29
     3   deposition?                            13:42:12                3   was a chargeback request, Mallinckrodt would 13:44:31
     4        A. Yes.                         13:42:13                  4   know exactly which pharmacy the drugs were 13:44:35
     5        Q. And Island Drug was a pharmacy 13:42:13                5   sold to?                           13:44:37
     6   that actually one of your distributors        13:42:15         6       A. Yes.                         13:44:38
     7   shipped to, correct?                     13:42:17              7       Q. And provided that there was a          13:44:39
     8        A. May I have a minute to              13:42:18           8   chargeback request, Mallinckrodt would know 13:44:41
     9   refamiliarize myself with the document? Is 13:42:27            9   what the DEA registration number of the          13:44:43
    10   that all right?                       13:42:30                10   downstream entity is, correct?              13:44:46
    11        Q. Actually, I just want to -- is 13:42:31               11       A. Yes.                         13:44:47
    12   it for purposes of answering my question?         13:42:31    12       Q. And Mallinckrodt would also             13:44:48
    13        A. Yes, sir.                    13:42:32                 13   know exactly which pharmacy address its pills 13:44:50
    14        Q. You don't need to answer that. 13:42:33               14   were being shipped to, correct?             13:44:54
    15   I just actually want to turn your attention 13:42:34          15       A. Correct.                      13:44:55
    16   to page 12. I'm sorry, page 11.              13:42:36         16       Q. And Mallinckrodt would also             13:44:56
    17             And so in connection with this 13:42:54             17   understand the quantity of pills being        13:44:58
    18   deposition testimony, do you see the question 13:43:05        18   shipped to that particular -- particular     13:44:59
    19   that's asked: "And what is a chargeback          13:43:08     19   pharmacy or clinic, correct?               13:45:02
    20   system, if you'll define that, please?"       13:43:12        20            MR. O'CONNOR: Objection to             13:45:03
    21             Do you mind reading your           13:43:14         21       form.                          13:45:04
    22   response to that question in the record?        13:43:15      22            THE WITNESS: That's correct. 13:45:04
    23        A. I don't mind.                   13:43:17              23   QUESTIONS BY MR. KO:                            13:45:04
    24        Q. Okay. Thank you.                   13:43:19           24       Q. And Mallinckrodt would know              13:45:05
    25        A. "Mallinckrodt sells controlled 13:43:20               25   exactly which drugs they have sold to that 13:45:06

                                                         Page 227                                                              Page 229
     1 substances to wholesalers at a standard           13:43:22       1 particular pharmacy, correct?                  13:45:08
     2   price. Some pharmacies negotiate a              13:43:24       2       A. Correct.                        13:45:09
     3   discounted price. When the wholesaler honors 13:43:27          3       Q. And I want to focus on your             13:45:11
     4   the discounted price to the pharmacy, they        13:43:30     4   qualification when you say you -- this would 13:45:15
     5   then submit a chargeback request               13:43:32        5   only be the case if Mallinckrodt obtained a 13:45:19
     6   retroactively to Mallinckrodt so that they       13:43:35      6   chargeback request.                       13:45:22
     7   can be made financially whole for the           13:43:39       7            First of all, wasn't it the     13:45:22
     8   difference in price."                   13:43:41               8   case that a chargeback request -- it was        13:45:25
     9             Is that enough or shall I go     13:43:44            9   certainly uncommon if a chargeback request 13:45:28
    10   on?                                13:43:46                   10   did not occur, correct?                   13:45:30
    11        Q. Can you please continue?             13:43:46         11            MR. O'CONNOR: Objection to               13:45:32
    12        A. Certainly.                    13:43:47                12       form.                            13:45:33
    13             "In doing so, the wholesaler      13:43:48          13            THE WITNESS: Yes.                    13:45:33
    14   tells Mallinckrodt exactly which pharmacy to 13:43:51         14   QUESTIONS BY MR. KO:                              13:45:36
    15   which the drugs were sold, what the DEA            13:43:53   15       Q. In most instances, Mallinckrodt 13:45:37
    16   registration number is, the pharmacy address, 13:43:55        16   and you expected a chargeback request to be 13:45:40
    17   the quantity, and which drugs they have sold 13:43:58         17   made by a distributor, correct?              13:45:43
    18   to that pharmacy."                       13:44:01             18       A. Yes.                           13:45:45
    19        Q. Okay. And as you sit here            13:44:04         19       Q. And move -- and putting aside 13:45:46
    20   today, is that still an accurate description 13:44:06         20   whether or not a chargeback was paid, does 13:45:52
    21   of how you understand the chargeback system? 13:44:11         21   the chargeback data track all downstream           13:45:56
    22        A. The only thing I would amend,           13:44:13      22   customer sales?                          13:45:58
    23   if possible, is to qualify that and say -- so 13:44:16        23            MR. O'CONNOR: Objection to               13:46:00
    24   provided there was a chargeback transaction, 13:44:22         24       form.                            13:46:01
    25   this is still the case, yes.            13:44:24              25            THE WITNESS: "Downstream                  13:46:01

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     1       customers" meaning the pharmacy?           13:46:04     1       Q. Okay. And you indicate that it 13:48:10
     2   QUESTIONS BY MR. KO:                           13:46:05     2   gives specific guidance on suspicious order 13:48:16
     3       Q. Yes.                       13:46:06                  3   monitoring.                           13:48:20
     4       A. Their sales?                  13:46:06               4             Do you see that?              13:48:20
     5       Q. The sales made to the             13:46:07           5       A. Yes, I do see it.               13:48:21
     6   pharmacies by the distributors.            13:46:10         6       Q. And so is it fair to say that 13:48:23
     7       A. For Mallinckrodt product, yes. 13:46:12              7   you in fact believe it to be the case that 13:48:26
     8       Q. Okay. So just so the record is 13:46:15              8   this letter was instructive on your         13:48:27
     9   clear, the chargeback data would include all 13:46:17       9   obligations to design and implement a           13:48:31
    10   downstream customer sales made by a             13:46:21   10   suspicious order monitoring system?             13:48:34
    11   distributor to a pharmacy or clinic, correct? 13:46:24     11       A. It was instructive in terms of 13:48:35
    12       A. Correct.                    13:46:27                12   guidance.                            13:48:38
    13       Q. Okay. And so you can set this 13:46:28              13       Q. Okay.                         13:48:39
    14   one aside.                         13:46:37                14       A. Yes.                         13:48:39
    15            (Mallinckrodt-Harper Exhibit 8 13:46:53           15       Q. And you also ask -- or you           13:48:40
    16       marked for identification.)          13:46:53          16   don't -- you don't ask anything, but Jim       13:48:45
    17   QUESTIONS BY MR. KO:                           13:46:53    17   Rausch responds to your e-mail.               13:48:47
    18       Q. I'm now going to go back in          13:46:46       18             Do you see that?              13:48:48
    19   time -- or back in order and hand you a copy 13:46:47      19       A. Yes, I do.                    13:48:49
    20   of what's going to be marked -- or what has 13:46:49       20       Q. And he indicates that "We,"           13:48:51
    21   been marked as Harper Exhibit 4 -- or 8,       13:46:50    21   being Mallinckrodt, "send a suspicious order 13:48:55
    22   excuse me.                          13:46:52               22   report to the DEA monthly."                 13:48:57
    23            And this is a -- for the      13:46:56            23             Correct?                  13:48:59
    24   record, this document ends in Bates 419810, 13:47:00       24       A. Correct.                      13:48:59
    25   and this is a December 14, 2007, e-mail from 13:47:06      25       Q. Did you ever review any of            13:49:00

                                                         Page 231                                                       Page 233
     1 you to Ms. Levy.                         13:47:10             1 those reports prior to the time of this    13:49:02
     2             Is that correct?          13:47:12                2 e-mail?                              13:49:07
     3        A. Yes.                      13:47:12                  3       A. I'm not certain.               13:49:07
     4        Q. And going down to the bottom of 13:47:15            4       Q. Okay. Generally speaking, was 13:49:12
     5   this page, you indicate that you are        13:47:23        5   it Mr. Rausch's responsibility to send these 13:49:13
     6   receiving -- you have received the attached 13:47:29        6   reports to the DEA monthly?                 13:49:14
     7   memo as part of a training at a recent       13:47:33       7       A. Yes.                        13:49:15
     8   seminar.                           13:47:35                 8       Q. Okay. And do you have an              13:49:16
     9             Do you see that?             13:47:35             9   understanding of -- well, earlier we were      13:49:19
    10        A. Yes.                      13:47:36                 10   talking about the distinction between         13:49:22
    11        Q. And the memo is what's             13:47:36        11   peculiar and suspicious orders.            13:49:24
    12   contained in this attachment, and it's one of 13:47:38     12            Do you recall that?           13:49:25
    13   the DEA guidance letters that we referred to 13:47:40      13       A. Yes.                        13:49:25
    14   earlier today; is that correct?          13:47:42          14       Q. Is it your understanding that       13:49:26
    15        A. Yes.                      13:47:43                 15   these monthly reports being sent by           13:49:27
    16        Q. And would it also be fair to       13:47:44        16   Mr. Rausch were a compilation of the peculiar 13:49:31
    17   say that this is one of the Rannazzisi      13:47:46       17   orders that Mallinckrodt had identified?       13:49:34
    18   letters that we referred to? Correct?       13:47:48       18       A. Yes.                        13:49:36
    19        A. Yes.                      13:47:50                 19       Q. Okay. So in other words, it         13:49:38
    20        Q. So as of December 5, 2007, or 13:47:53             20   wasn't necessarily the case that they were -- 13:49:40
    21   no later than December 5, 2007, you were in 13:47:58       21   that Mallinckrodt was sending any             13:49:42
    22   possession of one of the Rannazzisi letters 13:48:01       22   notification of suspicious orders to DEA,       13:49:44
    23   dated December -- September 27, 2006,           13:48:04   23   correct?                           13:49:46
    24   correct?                          13:48:08                 24       A. Correct.                     13:49:46
    25        A. Yes.                      13:48:08                 25       Q. It was just simply a monthly         13:49:47

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     1 report that contained all the peculiar orders 13:49:49           1 sending reports as well, but the confirmed   13:51:41
     2 that Mallinckrodt had identified, right?       13:49:51          2 suspicious orders to DEA were ten or less.   13:51:45
     3       A. Correct.                       13:49:53                 3      Q.      Right.                  13:51:46
     4       Q. Okay. And do you recall -- I 13:49:54                   4            And as we discussed, the         13:51:47
     5   know I've asked this question in another form 13:50:08         5   report -- the monthly reports were just the 13:51:49
     6   or in a different way, but do you recall       13:50:11        6   peculiar orders that Mallinckrodt had         13:51:50
     7   prior to December 5, 2007, whether or not         13:50:13     7   identified, correct?                  13:51:52
     8   Mallinckrodt had ever identified a suspicious 13:50:16         8       A. Correct.                     13:51:52
     9   order to the DEA?                        13:50:18              9       Q. And not necessarily any -- or        13:51:53
    10       A. Yes, I do recall.                13:50:20              10   not any suspicious orders, correct?          13:51:55
    11       Q. You do recall instances in           13:50:22          11       A. Correct.                     13:51:57
    12   which Mallinckrodt identified a suspicious 13:50:24           12       Q. Okay. By the way, there's           13:51:58
    13   order to the DEA?                        13:50:26             13   reference made to someone by the name of Sean 13:52:07
    14       A. Yes.                         13:50:26                  14   Welch.                             13:52:10
    15       Q. Okay. And when did that occur? 13:50:27                15            Do you see that?             13:52:10
    16       A. So there was the case we talked 13:50:28               16       A. Yes.                        13:52:11
    17   about with the compounding pharmacy.               13:50:31   17       Q. Who is he?                     13:52:12
    18       Q. Okay.                         13:50:34                 18       A. He was a co-manager of customer 13:52:13
    19       A. And there were several others, 13:50:35                19   service at that time. I believe Jim Rausch 13:52:19
    20   but I don't recall the particulars of those 13:50:38          20   may have reported to him.                  13:52:22
    21   reports.                            13:50:40                  21       Q. Okay. Was he involved on the 13:52:25
    22       Q. Fair enough.                     13:50:41              22   SOM team as well?                       13:52:27
    23            So you do recall some instances 13:50:41             23       A. Only in terms of being kept          13:52:28
    24   in which suspicious orders were reported to 13:50:45          24   informed of our activity.               13:52:36
    25   Mallinckrodt prior to December 14, 2007?           13:50:48   25       Q. So he didn't have any             13:52:37

                                                         Page 235                                                        Page 237
     1       A. Reported to the DEA?               13:50:52             1 day-to-day responsibility with respect to the 13:52:44
     2       Q. Yes.                       13:50:53                     2 SOM program?                               13:52:48
     3       A. Yes, sir.                   13:50:54                    3       A. He did not.                    13:52:49
     4       Q. Okay. And approximately -- I         13:50:54           4       Q. Okay. And you also indicate, 13:52:49
     5   know you've -- you don't know the exact        13:50:58        5   going back to the bottom e-mail from you to 13:52:51
     6   amount, but you've given some examples.         13:51:00       6   Jim and Sean, you say that you received the 13:52:53
     7            Do you know whether or not it     13:51:02            7   attached memo as part of a training at a       13:52:56
     8   was -- there were 10 instances or 50        13:51:04           8   recent seminar.                        13:52:58
     9   instances?                         13:51:06                    9            Do you recall which seminar         13:52:59
    10            Do you know approximately how        13:51:07        10   this was?                           13:53:00
    11   many suspicious orders Mallinckrodt reported 13:51:08         11       A. Yes, it was the Buzzeo.             13:53:00
    12   to the DEA?                         13:51:09                  12       Q. Okay. So the 2007 Buzzeo               13:53:02
    13       A. I will approximate it to be ten 13:51:10               13   conference, correct?                     13:53:05
    14   or less.                         13:51:15                     14            We'll just -- assuming -- I      13:53:08
    15       Q. Okay. So in the entire time        13:51:16            15   mean, the e-mail is dated --               13:53:10
    16   that you were a part of the DEA compliance       13:51:17     16       A. Yes, yes, yes.                  13:53:11
    17   team, you recall ten orders being          13:51:21           17       Q. -- December 5th.                  13:53:11
    18   identified -- approximately ten orders being 13:51:24         18       A. Because it says "recent," yes. 13:53:12
    19   identified as suspicious to the DEA?         13:51:25         19       Q. Right.                       13:53:15
    20            MR. O'CONNOR: Objection to           13:51:27        20       A. Yes, sir.                     13:53:15
    21       form.                        13:51:27                     21       Q. And the Buzzeo conference was 13:53:15
    22            THE WITNESS: Prior to this?        13:51:27          22   an annual occurrence, generally speaking, in 13:53:16
    23   QUESTIONS BY MR. KO:                          13:51:36        23   the fall of each year, correct?            13:53:19
    24       Q. Right.                     13:51:36                    24       A. Yes.                        13:53:20
    25       A. Yes. Re -- but -- Rausch was        13:51:37           25       Q. Okay. So was it the case             13:53:21

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     1 that -- well, did you ever receive this         13:53:24        1 agree with me that the actual amount of           13:55:07
     2   correspondence from Mr. Rannazzisi prior to 13:53:27          2   suspicious orders that were reported to the 13:55:09
     3   the 2007 Buzzeo conference?                   13:53:31        3   DEA prior to 2007 was a very low percentage 13:55:10
     4        A. No.                         13:53:34                  4   relative to all peculiar orders reported to 13:55:16
     5        Q. Okay. In going back to the ten 13:53:35               5   the DEA, correct?                       13:55:18
     6   instances in which you recall in which a        13:53:46      6            MR. O'CONNOR: Objection to             13:55:19
     7   suspicious order was identified, certainly      13:53:50      7       form.                          13:55:19
     8   it's more than one, but I just want to make 13:53:52          8            THE WITNESS: Yes, correct.           13:55:19
     9   sure I understand.                      13:53:56              9   QUESTIONS BY MR. KO:                            13:55:20
    10            Did you say approximately ten, 13:53:56             10       Q. Okay. We can set this one            13:55:21
    11   or do you think it was ten or less?          13:53:58        11   aside.                             13:55:29
    12        A. Ten or less.                   13:53:59              12            (Mallinckrodt-Harper Exhibit 10 13:55:29
    13        Q. Ten or less.                   13:54:00              13       marked for identification.)           13:55:30
    14            And do you recall if it was       13:54:01          14   QUESTIONS BY MR. KO:                            13:55:30
    15   five, or where in the spectrum between one        13:54:03   15       Q. Want to now turn your attention 13:55:30
    16   and ten?                             13:54:06                16   to what's going to be marked as exhibit --      13:55:31
    17        A. I'm sorry, I can't recall. I 13:54:07                17   Harper Exhibit 10.                      13:55:33
    18   really can't recall.                  13:54:09               18            And for the record, this        13:55:39
    19        Q. Would it be fair to say,           13:54:09          19   document ends in Bates 7146630.                13:55:40
    20   relative to all the peculiar orders that you 13:54:11        20            And this appears to be -- if     13:55:56
    21   had reported to you on a monthly basis to the 13:54:13       21   you look at the bottom e-mail on the first     13:55:57
    22   DEA, that the identification of a suspicious 13:54:16        22   page, there's a reference made to an e-mail 13:56:00
    23   order was extremely rare given that number? 13:54:19         23   you send to several people on January 4,        13:56:04
    24            MR. O'CONNOR: Objection to              13:54:22    24   2008?                               13:56:09
    25        form.                         13:54:22                  25            Do you see that?              13:56:09

                                                         Page 239                                                        Page 241
     1            THE WITNESS: If we can say           13:54:22        1       A. Yes.                        13:56:10
     2       extremely rare was a low percentage,      13:54:24        2       Q. Any reason to dispute -- or any 13:56:11
     3       if you don't mind that term, yes.      13:54:26           3   reason to dispute whether or not you sent       13:56:14
     4       Yes.                          13:54:28                    4   this letter -- or e-mail?              13:56:16
     5   QUESTIONS BY MR. KO:                           13:54:29       5       A. No.                        13:56:18
     6       Q. Well, in these peculiar --        13:54:29             6       Q. Okay. And on this particular          13:56:19
     7   these monthly peculiar order reports that Jim 13:54:30        7   e-mail, you are attaching another memo/DEA 13:56:24
     8   Rausch was sending to the DEA, did you have 13:54:33          8   guidance letter; is that correct?          13:56:31
     9   any understanding of how many orders were         13:54:35    9       A. Yes.                        13:56:33
    10   included in that report?                13:54:36             10       Q. And this is separate and apart 13:56:34
    11       A. I did not.                   13:54:38                 11   from the prior Rannazzisi letter that we       13:56:39
    12       Q. Okay. There were quite a few, 13:54:40                12   discussed. This appears to be another one, 13:56:41
    13   weren't there?                       13:54:42                13   dated December 27, 2007, correct?              13:56:43
    14            MR. O'CONNOR: Objection to            13:54:43      14       A. Correct.                     13:56:46
    15       form.                         13:54:44                   15       Q. And you received this -- you          13:56:46
    16            THE WITNESS: I don't know if         13:54:44       16   actually received this correspondence,         13:56:49
    17       this was the report that included the 13:54:47           17   correct?                          13:56:51
    18       dosage form orders out of Hobart or if 13:54:51          18       A. Correct.                     13:56:51
    19       this was a separate report that Jim     13:54:54         19       Q. Directly from Mr. Rannazzisi?          13:56:51
    20       Rausch was sending for the bulk API        13:54:55      20       A. Yes.                        13:56:54
    21       orders.                       13:55:00                   21       Q. Okay. And turning back to             13:56:55
    22   QUESTIONS BY MR. KO:                           13:55:00      22   the -- to your e-mail, you indicate that the 13:57:00
    23       Q. Fair enough.                   13:55:00               23   guidance letter or the memo as referred to in 13:57:08
    24            Well, regardless of whether or 13:55:01             24   this e-mail that you received on January 4, 13:57:12
    25   not we can clarify that distinction, you do 13:55:05         25   2000-A -- 2008 targets manufacturers as well 13:57:15

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     1 as distributors in terms of suspicious order     13:57:20        1   the instructions set forth in that letter,    13:58:56
     2   monitoring obligations.                  13:57:23              2   correct?                             13:58:58
     3            Did I read that correctly?      13:57:23              3            MR. O'CONNOR: Objection to               13:58:58
     4       A. Yes.                        13:57:24                    4       form.                           13:58:59
     5       Q. So is it fair to say that as of 13:57:24                5            THE WITNESS: Could you please 13:58:59
     6   January 4, 2008, you understand that the DEA 13:57:28          6       repeat that question? I'm sorry.          13:59:01
     7   expected compliance with the standards set       13:57:31      7   QUESTIONS BY MR. KO:                              13:59:02
     8   forth in this letter? Correct?           13:57:35              8       Q. Sure.                         13:59:03
     9            MR. O'CONNOR: Objection to            13:57:36        9            You certainly believed that         13:59:03
    10       form.                         13:57:36                    10   Mallinckrodt could not follow the               13:59:07
    11            THE WITNESS: So these aren't         13:57:36        11   instructions set forth in that letter,       13:59:10
    12       regulations. It's a guidance.        13:57:39             12   correct?                             13:59:12
    13   QUESTIONS BY MR. KO:                           13:57:40       13            MR. O'CONNOR: Objection to               13:59:13
    14       Q. Sure.                        13:57:41                  14       form.                           13:59:13
    15       A. So, yes, we understood that          13:57:41          15            THE WITNESS: I did not believe 13:59:13
    16   this was additional guidance on SOM.            13:57:43      16       that.                          13:59:14
    17       Q. And my question was whether or 13:57:46                17   QUESTIONS BY MR. KO:                              13:59:14
    18   not you understood that as of January 4,       13:57:49       18       Q. Right.                         13:59:15
    19   2008, you understood that the DEA expected         13:57:52   19            You believed that Mallinckrodt 13:59:15
    20   compliance with the standards set forth in     13:57:56       20   should follow the instructions set forth in 13:59:17
    21   that letter.                      13:57:58                    21   that letter, correct?                   13:59:19
    22            MR. O'CONNOR: Objection to            13:57:59       22       A. Correct.                        13:59:20
    23       form.                         13:57:59                    23       Q. Thank you.                        13:59:21
    24            THE WITNESS: No.                  13:57:59           24       A. Yes.                          13:59:22
    25                                                                 25       Q. That was an inartful question           13:59:22

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     1 QUESTIONS BY MR. KO:                               13:58:00      1 by me. I apologize.                        13:59:24
     2       Q. So you believed that the things 13:58:00                2            Now, going back to the bottom 13:59:26
     3   set forth in this letter you did not        13:58:02           3   of that first page, you also reference        13:59:37
     4   necessarily have to comply with?               13:58:04        4   another -- well, you reference a Federal        13:59:41
     5       A. No.                           13:58:06                  5   Register Notice.                       13:59:41
     6       Q. Okay. You believe you did not 13:58:06                  6            Do you see that?               13:59:44
     7   have to comply with -- with the instructions 13:58:09          7       A. Yes.                         13:59:44
     8   as sent out by Mr. Rannazzisi on...           13:58:14         8       Q. 72 FR 36487.                      13:59:44
     9       A. So this is another guidance           13:58:18          9            And I believe that's a          13:59:51
    10   meant for industry which we attempted to          13:58:20    10   reference to the Southwood Federal Register 13:59:51
    11   incorporate into our program. But this was 13:58:23           11   Notice that we discussed earlier today,         13:59:53
    12   not -- it quotes the regulations, but this    13:58:27        12   correct?                            13:59:55
    13   was not promulgated in CFR 21.                 13:58:30       13       A. Yes, it is.                   13:59:55
    14       Q. I understand that and I -- I        13:58:34           14       Q. Okay. So again, as of January 13:59:57
    15   very clearly under the distinction that       13:58:35        15   4, 2008, you understood that the DEA was           13:59:59
    16   you're trying to make, and my question simply 13:58:37        16   instructing you to read, review and follow 14:00:05
    17   was whether or not you believed you were           13:58:39   17   the guidelines set forth in that Federal       14:00:11
    18   expected to comply with the instructions set 13:58:42         18   Register Notice, correct?                  14:00:13
    19   forth in that letter.                  13:58:45               19            MR. O'CONNOR: Objection to              14:00:14
    20             MR. O'CONNOR: Same objection. 13:58:45              20       form.                          14:00:14
    21             THE WITNESS: Yes.                  13:58:46         21            THE WITNESS: So this is a             14:00:14
    22   QUESTIONS BY MR. KO:                             13:58:51     22       guidance, and it referenced             14:00:16
    23       Q. All right. You certainly did         13:58:51          23       Southwood's, and Southwood's was the 14:00:18
    24   not want to follow -- or you certainly         13:58:52       24       relationship from a distributor to the 14:00:22
    25   believed that Mallinckrodt could not follow 13:58:54          25       pharmacy. And we sell to                14:00:23

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     1       distributors, not directly to         14:00:24              1 that aside.                           14:01:56
     2       pharmacies.                       14:00:26                  2            Actually, sorry, there was one 14:01:57
     3   QUESTIONS BY MR. KO:                             14:00:26       3   more question, but maybe you don't need to         14:02:09
     4       Q. And I understand the                14:00:26             4   consult with that actual exhibit.           14:02:12
     5   distinction being made, but there were          14:00:28        5            Do you know who Kyle Wright is? 14:02:13
     6   certain statements made in Southwood,             14:00:30      6       A. Yes.                         14:02:15
     7   correct, as we discussed earlier?            14:00:32           7       Q. He was at DEA, correct?               14:02:17
     8       A. Yes.                         14:00:33                    8       A. Yes.                         14:02:19
     9       Q. And it was your understanding 14:00:33                   9       Q. And do you recall meeting with 14:02:20
    10   that there were certain principles to follow 14:00:36          10   him at various DEA meetings or conferences? 14:02:25
    11   as a result of the statements set forth in 14:00:42            11       A. Yes.                         14:02:28
    12   Southwood, or did you believe that you did 14:00:43            12       Q. And did you meet with him prior 14:02:29
    13   not have to follow those?                  14:00:45            13   to or after the receipt of that e-mail, or do 14:02:33
    14            MR. O'CONNOR: Objection to              14:00:46      14   you not recall?                        14:02:36
    15       form.                          14:00:47                    15       A. I do not recall.                14:02:37
    16            THE WITNESS: Certain                 14:00:47         16       Q. Do you recall meeting with him 14:02:38
    17       principles, yes.                  14:00:48                 17   in the 2011 time period?                   14:02:39
    18   QUESTIONS BY MR. KO:                             14:00:49      18       A. I'm sorry, I remember meeting           14:02:40
    19       Q. So in other words, there were 14:00:49                  19   with him at a conference, but not the date. 14:02:42
    20   certain principles that you believe you had 14:00:50           20       Q. Sure.                        14:02:44
    21   to follow as a result of the Southwood          14:00:52       21            And do you recall the substance 14:02:47
    22   Federal Register Notice, correct?             14:00:54         22   of the conversation you had with Mr. Wright? 14:02:51
    23            MR. O'CONNOR: Objection.               14:00:55       23       A. Yes.                         14:02:53
    24       Form.                          14:00:55                    24       Q. And what was the substance of           14:02:55
    25            THE WITNESS: Yes. Correct.             14:00:55       25   the conversation you had with him?              14:02:57

                                                          Page 247                                                           Page 249
     1 QUESTIONS BY MR. KO:                               14:00:57       1       A. He had been speaking from the           14:02:58
     2       Q. So the letters that you had         14:01:06             2   podium about suspicious order monitoring, and 14:03:01
     3   received from Mr. Rannazzisi, as we described 14:01:07          3   I asked to speak to him during a breakout       14:03:06
     4   were the Rannazzisi letters, just so the      14:01:09          4   session to talk about the attributes of our 14:03:09
     5   record is clear, those are two letters that 14:01:13            5   program.                             14:03:11
     6   you became aware of sometime in the 2007,           14:01:16    6       Q. Okay. And I believe we have            14:03:12
     7   2008 time period?                        14:01:19               7   some documentation about that, so we'll cover 14:03:15
     8       A. Yes.                         14:01:20                    8   that later.                         14:03:17
     9            MR. O'CONNOR: Objection to              14:01:21       9             But other than that particular 14:03:18
    10       form.                          14:01:22                    10   conversation you had with him, do you recall 14:03:21
    11   QUESTIONS BY MR. KO:                             14:01:22      11   any other meetings or conversations you had 14:03:23
    12       Q. And it's your testimony that          14:01:22          12   with Mr. Wright?                        14:03:24
    13   you only received directly the e-mail -- or 14:01:23           13       A. I'm not certain if he was at a 14:03:26
    14   the letter reflected in Exhibit 10 directly, 14:01:27          14   subsequent meeting at DEA in 2011. I can't 14:03:31
    15   correct?                            14:01:30                   15   recall if he was in attendance.            14:03:35
    16       A. Correct.                      14:01:31                  16       Q. Okay. Fair enough.                 14:03:36
    17       Q. Okay. And in connection with            14:01:33        17             (Mallinckrodt-Harper Exhibit 11 14:03:42
    18   revising and improving Mallinckrodt's SOM           14:01:37   18       marked for identification.)           14:04:00
    19   program, is one of the reasons for improving 14:01:40          19   QUESTIONS BY MR. KO:                            14:04:00
    20   the SOM program a result of reading these         14:01:44     20       Q. I'm going to hand you a copy of 14:03:38
    21   letters?                           14:01:49                    21   what has been marked as Harper Exhibit 11.         14:03:40
    22            MR. O'CONNOR: Objection.               14:01:49       22       A. Uh-huh.                        14:03:40
    23            THE WITNESS: Yes.                   14:01:50          23       Q. And for the record, this           14:04:00
    24   QUESTIONS BY MR. KO:                             14:01:53      24   exhibit ends in Bates 301994, and it appears 14:04:04
    25       Q. Okay. Thank you. You can set 14:01:54                   25   to be an e-mail chain between you and Jim         14:04:12

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                                                                             Review
                                                        Page 250                                                           Page 252
     1 Rausch from April 21, 2008.                   14:04:14        1 what the current one is --                  14:05:50
     2            Do you see that?              14:04:19             2       Q. Sure.                        14:05:52
     3        A. Yes.                       14:04:19                 3       A. -- at that time.                14:05:52
     4        Q. And in this e-mail chain, I        14:04:20         4       Q. I see what you're saying.            14:05:52
     5   believe you're asking what the algorithm -- 14:04:24        5       A. Okay.                         14:05:54
     6   you're asking Mr. Rausch what the algorithm 14:04:29        6       Q. And so my question was simply: 14:05:54
     7   is to determine orders of excessive quantity, 14:04:31      7   At the time of this e-mail, you did not know 14:05:56
     8   frequency or outside of the normal pattern; 14:04:36        8   the then current equation to determine a        14:05:59
     9   is that correct?                    14:04:38                9   peculiar order, correct?                  14:06:02
    10        A. Yes.                       14:04:38                10       A. That's correct.                  14:06:03
    11        Q. And in particular -- I said       14:04:39         11       Q. And based on your e-mail, you 14:06:04
    12   "algorithm," but you specifically asked what 14:04:43      12   had thought that perhaps it was just a 1.2 14:06:07
    13   the current equation is, correct?          14:04:45        13   metric?                             14:06:09
    14        A. Yes.                       14:04:47                14             MR. O'CONNOR: Objection to             14:06:11
    15        Q. And he responds that "the           14:04:48       15       form.                          14:06:12
    16   metric is     the previous fiscal year and     14:04:52    16             THE WITNESS: Yes.                  14:06:12
    17   year-to-date average for a SKU and customer." 14:04:56     17   QUESTIONS BY MR. KO:                             14:06:13
    18            MR. O'CONNOR: Objection to             14:05:00   18       Q. All right. Okay.                  14:06:14
    19        form.                        14:05:04                 19             And just, again, to be clear, 14:06:17
    20   QUESTIONS BY MR. KO:                            14:05:04   20   this -- this e-mail talks about an excessive 14:06:19
    21        Q. Well, let me just make sure the 14:05:05           21   quantity calculation. That's the title of 14:06:22
    22   record is clear.                    14:05:06               22   the e-mail, right?                     14:06:25
    23            His response to your question      14:05:06       23       A. Yes.                         14:06:26
    24   is, quote, "Any order quantity that is          14:05:08   24       Q. And Mallinckrodt's then system 14:06:27
    25   the previous fiscal year and YTD" -- in other 14:05:09     25   to determine whether or not an order was of 14:06:36

                                                        Page 251                                                         Page 253
     1 words, year-to-date -- "average for a SKU and 14:05:13        1 an excessive quantity, frequency or outside       14:06:39
     2 customer."                             14:05:15               2   of normal pattern was to use the      metric 14:06:42
     3            Did I read that correctly?      14:05:16           3   that we've been describing today; is that     14:06:45
     4       A. Yes.                        14:05:16                 4   correct?                           14:06:47
     5       Q. Okay. And so does this refresh 14:05:17              5       A. Yes.                        14:06:47
     6   your recollection that in the April 2008 time 14:05:21      6       Q. Okay. You can set that aside. 14:06:49
     7   period, the algorithm that you were using for 14:05:23      7            Now, the date of this e-mail is 14:07:02
     8   the peculiar order threshold was       the     14:05:24     8   April 21, 2008, correct?                 14:07:03
     9   previous fiscal year?                   14:05:26            9       A. Yes, correct.                 14:07:05
    10       A. Yes.                        14:05:27                10       Q. And that's approximately three 14:07:07
    11       Q. Okay. And at that time, it's        14:05:28        11   and a half months after you received          14:07:08
    12   also fair to say based on this e-mail that    14:05:30     12   notification from the DEA, and in particular 14:07:10
    13   you didn't actually know until Jim responded 14:05:32      13   the second Rannazzisi letter, correct?       14:07:14
    14   what the formula actually was?               14:05:35      14       A. Yes.                        14:07:17
    15            MR. O'CONNOR: Objection to             14:05:36   15       Q. So is it fair to say that it     14:07:17
    16       form.                         14:05:38                 16   took you three and a half months to ask        14:07:18
    17            THE WITNESS: That's not             14:05:38      17   Mr. Rausch what your then existing peculiar 14:07:21
    18       correct.                      14:05:39                 18   order algorithm metric was?                14:07:24
    19   QUESTIONS BY MR. KO:                            14:05:39   19            MR. O'CONNOR: Objection to            14:07:26
    20       Q. Well, why did you ask him then? 14:05:40            20       form.                         14:07:27
    21       A. Because I asked the current          14:05:42       21            THE WITNESS: We were rewriting 14:07:27
    22   equation. It had moved from         to to       14:05:44   22       the policies in the systems and        14:07:29
    23   It moved around.                        14:05:47           23       procedures, and, yes, I did not know 14:07:31
    24       Q. Right.                       14:05:48               24       it by heart. So there was a reference 14:07:32
    25       A. The multiplier. So I asked him 14:05:48             25       made, and I wanted to detail it in the 14:07:34

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                                                      Page 254                                                            Page 256
     1       procedure.                      14:07:36                1 e-mail chain between you -- well, excuse me.         14:09:32
     2   QUESTIONS BY MR. KO:                            14:07:36    2            It's an e-mail chain involving 14:09:35
     3       Q. Okay. Thank you for that.           14:07:36         3   Mr. Ratliff and Mr. Rausch in which you are 14:09:40
     4            And I was just asking whether      14:07:37        4   also a recipient, dated April 1, 2008; is     14:09:42
     5   or not you agree with the fact that it took 14:07:41        5   that correct?                       14:09:46
     6   you three and a half months after receiving 14:07:43        6       A. Yes.                        14:09:46
     7   the second Rannazzisi letter directed at      14:07:45      7       Q. And earlier we had spoken about 14:09:48
     8   manufacturers to ask Mr. Rausch what the then 14:07:50      8   Pete Kleissle of the DEA, and you recall        14:09:58
     9   existing peculiar order algorithm was.        14:07:59      9   meeting him sometime in 2010, correct?           14:10:01
    10            MR. O'CONNOR: Objection.              14:08:01    10       A. Yes.                        14:10:04
    11       Form.                         14:08:03                 11       Q. And it appears here that            14:10:05
    12            THE WITNESS: Yes.                 14:08:03        12   Mr. Kleissle has had some interactions with 14:10:06
    13   QUESTIONS BY MR. KO:                            14:08:03   13   Mr. Ratliff and Mr. Rausch as well, correct? 14:10:09
    14       Q. Okay. Thank you. You can set 14:08:03               14       A. I believe directly with           14:10:11
    15   that one aside.                      14:08:16              15   Mr. Ratliff, who was passing on the            14:10:15
    16            And I think -- or excuse me, I 14:08:18           16   information to Jim Rausch.                  14:10:17
    17   will hand you a copy of what's previously       14:08:19   17       Q. Okay. And it was also your            14:10:18
    18   been marked as Exhibit 1 to the Stewart         14:08:21   18   understanding that Mr. Rat -- or excuse me, 14:10:20
    19   deposition.                         14:08:24               19   Mr. Rausch was sending monthly reports to          14:10:23
    20            MR. KO: And for the record,        14:08:26       20   Mr. Kleissle at DEA --                    14:10:27
    21       this document ends in Bates 299558.        14:08:27    21       A. Yes.                        14:10:29
    22   QUESTIONS BY MR. KO:                            14:08:27   22       Q. -- prior to this time, correct? 14:10:30
    23       Q. Sorry to jump around, but going 14:08:42            23       A. Yes.                        14:10:31
    24   back to the previous line of questioning, do 14:08:43      24       Q. And those were the peculiar           14:10:31
    25   you recall why it took you three and a half 14:08:48       25   order reports that we were discussing          14:10:32

                                                        Page 255                                                          Page 257
     1   months to ask for the existing algorithm?      14:08:50  1      previously, correct?                     14:10:33
     2            MR. O'CONNOR: Objection to            14:08:52  2           A. Yes.                         14:10:34
     3       form.                        14:08:54                3           Q. Now, in response to receiving         14:10:36
     4            THE WITNESS: I was writing the 14:08:54         4      those monthly reports, Mr. Ratliff reports a 14:10:38
     5       procedure, and I wanted to document. 14:08:56        5      conversation that he had with Mr. Kleissle       14:10:45
     6       I knew the algorithm existed; I just 14:08:57        6      about them; is that correct?               14:10:48
     7       did not know the multiplier.          14:08:59       7           A. Correct.                      14:10:49
     8   QUESTIONS BY MR. KO:                           14:09:00  8           Q. In particular, Mr. Ratliff         14:10:52
     9       Q. Okay. And when you say you             14:09:00   9      says, "Pete Kleissle, DEA diversion group         14:10:56
    10   were "writing the procedure," what are you 14:09:03     10      supervisor, St. Louis, just called regarding 14:10:58
    11   talking about?                       14:09:05           11      several letters he has received from you        14:11:02
    12       A. I'm documenting the process          14:09:05    12      detailing suspicious orders."               14:11:04
    13   flow for our suspicious order monitoring       14:09:09 13                 Did I read that correctly?     14:11:07
    14   program within Mallinckrodt.               14:09:11     14           A. Yes.                         14:11:07
    15       Q. Okay. And that's reflected in 14:09:12           15           Q. He goes on to say, "He advised 14:11:09
    16   a policy. I think we'll have a copy of it 14:09:13      16      that he needs more information in that if it 14:11:12
    17   that we can show you, but it's the actual    14:09:16   17      is suspicious, why are we filling the order. 14:11:14
    18   policy of identifying -- company policy of 14:09:18 18          I explained that we use a calculation based 14:11:17
    19   identifying a suspicious order, correct?     14:09:23   19      upon an amount previously ordered. He             14:11:19
    20       A. Yes.                       14:09:24              20      stated, 'If you think it is suspicious, don't 14:11:23
    21            MR. O'CONNOR: Objection to            14:09:26 21      fill it.' I will go into more detail on     14:11:26
    22       form.                        14:09:26               22      Friday."                             14:11:30
    23   QUESTIONS BY MR. KO:                           14:09:26 23                 Did I read that correctly?     14:11:30
    24       Q. All right. Now, turning back 14:09:27            24           A. Yes.                         14:11:31
    25   to this document, this appears to be an      14:09:27   25           Q. Now, we had discussed earlier          14:11:32

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                                                                             Review
                                                            Page 258                                                          Page 260
     1 today about instances in which Mallinckrodt           14:11:38      1            THE WITNESS: Yes.                 14:13:14
     2   was shipping a peculiar order before making 14:11:42              2   QUESTIONS BY MR. KO:                            14:13:14
     3   any kind of due diligence determination.          14:11:46        3       Q. Okay. And in response to             14:13:15
     4             Do you recall that testimony? 14:11:49                  4   Mr. Ratliff's e-mail, Mr. Rausch says, "Bill, 14:13:22
     5        A. Yes, there was a short period 14:11:50                    5   okay. I think we just sent the monthly one 14:13:28
     6   of time, yes. There was a period of time. 14:11:52                6   out yesterday, so maybe that's the one he      14:13:30
     7        Q. Okay. And this seems to               14:11:54            7   just got. We won't send out any more."         14:13:32
     8   reflect that practice; is that fair to say? 14:11:57              8            Did I read that correctly?      14:13:35
     9             MR. O'CONNOR: Objection to              14:12:02        9       A. Yes.                        14:13:35
    10        form.                           14:12:03                    10       Q. So as of the date of this         14:13:37
    11             THE WITNESS: No, not -- no, it 14:12:03                11   e-mail, it appears that Mr. Rausch is no      14:13:40
    12        does not.                        14:12:08                   12   longer going to send the peculiar order       14:13:45
    13   QUESTIONS BY MR. KO:                              14:12:08       13   reports on to DEA; is that accurate?         14:13:46
    14        Q. Okay. Well, Mr. Kleissle is           14:12:08           14       A. Yes.                        14:13:49
    15   concerned about -- Mr. Kleissle is concerned, 14:12:10           15       Q. And did you agree with that          14:13:50
    16   is he not, about the fact that Mallinckrodt 14:12:14             16   practice?                           14:13:51
    17   is actually filling orders --              14:12:17              17       A. Yes.                        14:13:52
    18             MR. O'CONNOR: Objection.               14:12:19        18       Q. Okay. And you agreed with that 14:13:55
    19   QUESTIONS BY MR. KO:                              14:12:19       19   because you were going to revamp and improve 14:13:56
    20        Q. -- that appear on the peculiar 14:12:19                  20   your SOM program, correct?                   14:14:02
    21   order report?                           14:12:20                 21       A. Yes.                        14:14:03
    22             MR. O'CONNOR: Objection to              14:12:21       22       Q. You can set that one aside.         14:14:04
    23        form.                           14:12:21                    23            Actually, I take that back.     14:14:37
    24             THE WITNESS: My understanding 14:12:21                 24   Sorry to jump around again.                14:14:39
    25        of this instruction is, if it's      14:12:23               25       A. No worries.                    14:14:40

                                                            Page 259                                                          Page 261
     1        suspicious, do not report it and don't 14:12:25              1       Q. But can you grab that document 14:14:41
     2        ship it. But if you're going to ship 14:12:28                2   again?                             14:14:44
     3        it, it's not suspicious.            14:12:30                 3       A. Is this number 1?                14:14:44
     4   QUESTIONS BY MR. KO:                                14:12:32      4       Q. Yes.                         14:14:44
     5        Q. Okay. Well --                      14:12:33               5       A. Stewart?                      14:14:46
     6        A. Sorry. Sorry.                     14:12:34                6       Q. Stewart Exhibit 1.               14:14:48
     7        Q. No, it's okay. We'll try to          14:12:35             7       A. All right. Yes, I have it.        14:14:50
     8   unpack that in a moment.                      14:12:36            8       Q. And Mr. Ratliff indicates to         14:14:50
     9        A. Okay.                           14:12:37                  9   the recipients of this e-mail, including you, 14:14:57
    10        Q. But he does say, "If you think 14:12:37                  10   that "I advised that we have a conference        14:15:00
    11   it is suspicious, don't fill it," correct?    14:12:40           11   call planned with Frank Sapienza on Friday to 14:15:04
    12        A. Yes.                           14:12:42                  12   strengthen our suspicious order              14:15:07
    13        Q. Okay. And he also is advising 14:12:43                   13   identification system."                  14:15:10
    14   that he needs more information based on the 14:12:48             14            Did I read that correctly?       14:15:12
    15   peculiar order reports that Mr. Rausch --          14:12:55      15       A. Yes.                         14:15:12
    16   Mr. Rausch is sending to him; is that fair to 14:12:57           16       Q. So do you agree -- do you agree 14:15:12
    17   say?                                 14:12:59                    17   with Bill's sentiment at that time that your 14:15:13
    18        A. Yes.                           14:12:59                  18   suspicious order monitoring system needed to 14:15:17
    19        Q. Okay. So as of the date of             14:13:01          19   be strengthened?                       14:15:20
    20   this e-mail, is it fair to say that         14:13:03             20            MR. O'CONNOR: Objection to              14:15:21
    21   Mallinckrodt knew from the DEA that they              14:13:05   21       form.                          14:15:22
    22   needed more information on the monthly               14:13:09    22            THE WITNESS: No.                   14:15:22
    23   reports that they were sending to DEA?              14:13:11     23   QUESTIONS BY MR. KO:                             14:15:22
    24               MR. O'CONNOR: Objection to             14:13:13      24       Q. You did not believe it needed          14:15:22
    25        form.                            14:13:14                   25   to be strengthened?                     14:15:24

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                                                                             Review
                                                         Page 262                                                              Page 264
     1       A. Semantics. I believe it needed 14:15:25                   1       A. Yes.                         14:17:32
     2   to be enhanced, but I would not have used the 14:15:27           2       Q. And the DEA advice that that           14:17:33
     3   word "strengthen."                    14:15:29                   3   member received was that the DEA expected           14:17:37
     4       Q. Okay. So as of April 1, 2008, 14:15:31                    4   registrants to know their customer, correct? 14:17:41
     5   you believed that Mallinckrodt's suspicious 14:15:34             5       A. Correct.                      14:17:44
     6   order monitoring program needed to be           14:15:37         6       Q. And I want to focus on the           14:17:44
     7   enhanced?                           14:15:38                     7   portion of your e-mail in which you say that 14:17:48
     8       A. Yes.                       14:15:38                       8   "The DEA advice includes comparing" -- quote, 14:17:54
     9       Q. Okay. You can set that one          14:15:39              9   "Compare that activity to a bank's obligation 14:17:59
    10   aside.                           14:15:42                       10   to report $10,000 transactions to law         14:18:01
    11             I'm now going to hand you a     14:15:53              11   enforcement for detection and money             14:18:03
    12   copy of what will be marked as Harper          14:15:55         12   laundering while having the ability to detect 14:18:05
    13   Exhibit 12.                        14:15:57                     13   multiple transactions at $9,999."           14:18:08
    14             MR. KO: For the record, this 14:15:58                 14            Did I read that correctly?      14:18:14
    15       is -- ends in Bates stamp 419907.       14:15:58            15       A. Yes.                         14:18:14
    16             (Mallinckrodt-Harper Exhibit 12 14:16:01              16       Q. Is it a fair interpretation of 14:18:16
    17       marked for identification.)         14:16:02                17   what you're saying here that it's important 14:18:21
    18   QUESTIONS BY MR. KO:                           14:16:02         18   for registrants to not just know about orders 14:18:22
    19       Q. And this is an e-mail chain in 14:16:21                  19   that are actually suspicious and violate DEA 14:18:27
    20   which you are involved in in the late April 14:16:24            20   regulations or statutes, but also to       14:18:33
    21   to early May 2008 time period; is that       14:16:27           21   determine whether or not there are other        14:18:37
    22   correct?                          14:16:35                      22   orders that could potentially violate such 14:18:38
    23       A. Yes.                       14:16:35                      23   duties and statutes under the CSA?            14:18:42
    24       Q. And do you have any reason to 14:16:36                   24            MR. O'CONNOR: Objection to             14:18:43
    25   doubt that you sent and received the e-mails 14:16:39           25       form.                          14:18:44

                                                           Page 263                                                            Page 265
     1 reflected in this exhibit?                  14:16:43               1            THE WITNESS: My interpretation 14:18:44
     2       A. No.                           14:16:44                    2       of the comment is that the suspicious 14:18:46
     3       Q. Okay. And at the very bottom             14:16:45         3       order monitoring system should detect 14:18:48
     4   of the first page of the exhibit -- the first 14:16:47           4       orders that are causing uplift -- or    14:18:51
     5   page.                              14:16:54                      5       the algorithm to flag for unusual        14:18:56
     6       A. Oh, I'm terribly sorry.             14:16:55              6       pattern, size or frequency, but also     14:18:58
     7       Q. That's okay.                    14:16:57                  7       those that come in by other --         14:19:00
     8            -- you indicate that on          14:16:58               8       analysis come in just under those         14:19:06
     9   April 23, 2008, you attended a meeting to          14:16:59      9       metrics.                       14:19:07
    10   discuss -- or sorry, you attended a meeting 14:17:01            10   QUESTIONS BY MR. KO:                             14:19:07
    11   of the Midwest Controlled Substance               14:17:03      11       Q. So ones that could potentially 14:19:08
    12   Discussion Group in Chicago.                   14:17:05         12   be suspicious and ones that could potentially 14:19:09
    13            Do you see that?                14:17:06               13   trigger your algorithm, correct?            14:19:12
    14       A. Yes.                          14:17:07                   14            MR. O'CONNOR: Objection.               14:19:12
    15       Q. And that was one of the               14:17:07           15       Form.                          14:19:13
    16   industry groups involving manufacturers that 14:17:09           16            THE WITNESS: Yes. Cause for 14:19:13
    17   you had referenced earlier today?              14:17:11         17       further review, yes.                14:19:16
    18       A. Yes.                          14:17:12                   18   QUESTIONS BY MR. KO:                             14:19:18
    19       Q. And one of the agenda items was 14:17:13                 19       Q. All right. So in other words, 14:19:18
    20   suspicious order monitoring, correct?            14:17:18       20   you would agree with me that an effective SOM 14:19:21
    21       A. Yes.                          14:17:19                   21   program would not simply just identify actual 14:19:25
    22       Q. And there is reference made to 14:17:19                  22   orders that are suspicious but orders that 14:19:29
    23   DEA advice that one member of the industry           14:17:28   23   come -- using your words, that come close to 14:19:32
    24   received.                            14:17:31                   24   being suspicious as well, correct?           14:19:37
    25            Do you see that?                14:17:31               25            MR. O'CONNOR: Objection to              14:19:38

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     1        form.                         14:19:39                   1 has been marked as Harper Exhibit 13.             14:21:52
     2            THE WITNESS: That was the             14:19:39       2            For the record, this e-mail     14:21:58
     3        advice given by this member of          14:19:40         3   chain ends in Bates 302096.                 14:22:00
     4        industry, yes.                  14:19:41                 4            And this is an e-mail dated      14:22:11
     5   QUESTIONS BY MR. KO:                            14:19:42      5   November 4, 2008, from Cathy Stewart to           14:22:13
     6        Q. And then regardless of the          14:19:42          6   several people, including you, correct?        14:22:15
     7   advice given by the member of the industry, 14:19:43          7        A. Correct.                     14:22:17
     8   is it your opinion that an effective SOM       14:19:45       8        Q. And they appear to attach notes 14:22:17
     9   program would both flag actual suspicious        14:19:47     9   that she took at a conference she attended, 14:22:20
    10   orders and those that come close to being a 14:19:50         10   and I believe that is the Buzzeo conference; 14:22:24
    11   suspicious order?                      14:19:52              11   is that correct?                     14:22:26
    12            MR. O'CONNOR: Objection to             14:19:52     12        A. Yes.                       14:22:26
    13        form.                         14:19:54                  13        Q. Does this refresh your            14:22:27
    14            THE WITNESS: Not necessarily, 14:19:54              14   recollection as to whether or not you         14:22:29
    15        no.                          14:19:55                   15   attended this particular conference as well? 14:22:30
    16   QUESTIONS BY MR. KO:                            14:19:55     16        A. Yes.                       14:22:32
    17        Q. Okay. So you don't -- you           14:19:56         17        Q. And did you in fact attend this 14:22:33
    18   didn't -- you didn't agree with the DEA        14:19:58      18   conference with Ms. Stewart?                 14:22:35
    19   advice that was being given?                14:19:59         19        A. Yes.                       14:22:35
    20        A. So this is a person at a         14:20:00            20        Q. Okay. And she indicates in her 14:22:36
    21   conference making a comparison, and it was, 14:20:04         21   e-mail to you that "A lot of energy is being 14:22:42
    22   again, another suggestion. But we understood 14:20:07        22   focused on suspicious order monitoring."         14:22:46
    23   that we were still refining our algorithm at 14:20:11        23            Do you see that?              14:22:50
    24   the time to detect orders of unusual pattern, 14:20:15       24        A. Oh, yes. Yes, I do.             14:22:51
    25   size and frequency, not necessarily those       14:20:20     25        Q. And do you recall that at          14:22:54

                                                        Page 267                                                             Page 269
     1 that meet the suggestion.                   14:20:23            1 this -- during this Buzzeo conference in            14:22:56
     2       Q. Understood.                     14:20:25               2   late -- or fall of 2008 that there was in       14:23:01
     3            And you're right, that is the 14:20:26               3   fact a lot of attention being given to         14:23:03
     4   fundamental duty at the end of the day. You 14:20:29          4   suspicious order monitoring?                   14:23:08
     5   were working -- it's correct that at this    14:20:32         5       A. Yes.                           14:23:08
     6   time you were working on an algorithm to          14:20:33    6       Q. Okay. And she also indicates             14:23:09
     7   detect orders of unusual pattern, size and     14:20:35       7   in the second sentence of the second             14:23:17
     8   frequency, correct?                     14:20:42              8   paragraph -- you know, I've been talking           14:23:21
     9       A. Yes.                         14:20:43                  9   quite a bit, so I'll let you -- if you don't 14:23:25
    10       Q. Okay. You can set that one            14:20:43        10   mind, do you want to read that second             14:23:28
    11   aside.                            14:20:53                   11   sentence?                              14:23:29
    12            (Mallinckrodt-Harper Exhibit 13 14:21:15            12       A. The second sentence of the              14:23:29
    13       marked for identification.)           14:21:15           13   second paragraph?                          14:23:30
    14   QUESTIONS BY MR. KO:                            14:21:15     14       Q. Yeah.                           14:23:30
    15       Q. Now, you said previously that          14:21:24       15       A. "Other highlights, i.e., more          14:23:31
    16   you recall attending the Buzzeo conferences 14:21:25         16   intensive focus on carriers, are provided as 14:23:34
    17   in certain years when you were senior manager 14:21:27       17   a heads-up that this is on its way."           14:23:37
    18   of controlled substance compliance group,        14:21:29    18       Q. And can you read the sentence             14:23:41
    19   correct?                            14:21:32                 19   before that?                            14:23:42
    20       A. Yes.                         14:21:32                 20       A. "The attached is for                 14:23:43
    21       Q. And do you recall attending in 14:21:33               21   informational" -- oh, I'm sorry.              14:23:45
    22   2007 and 2008?                          14:21:35             22       Q. The sentence before that.              14:23:47
    23       A. I don't -- I can't recall the 14:21:37                23       A. "As the team leader, I will            14:23:48
    24   dates.                            14:21:39                   24   depend on Karen Harper to determine which             14:23:53
    25       Q. I'll hand you a copy of what         14:21:40         25   areas of our SOM process may need to be              14:23:55

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     1 looked at again."                        14:23:57                 1       Q. Right. So --                  14:25:43
     2        Q. Okay. So certainly from the          14:23:58           2       A. Yes.                        14:25:44
     3   perspective of Ms. Stewart, she believed that 14:23:59          3       Q. I apologize for that.           14:25:45
     4   you were the team leader of the SOM process; 14:24:01           4       A. Quite all right.              14:25:50
     5   is that correct?                      14:24:04                  5       Q. Do you know whether or not the 14:25:51
     6        A. That's what this states, yes.      14:24:04             6   formal documentation was contained in any         14:25:52
     7        Q. Okay. And you, in fact,            14:24:06             7   sort of database?                     14:25:56
     8   believed that you were effectively the team 14:24:08            8       A. It is, yes.                 14:25:57
     9   leader for the enhancement of the SOM process 14:24:10          9       Q. Okay. And what database would 14:25:58
    10   during this time period, correct?           14:24:12           10   that all be kept in?                  14:26:00
    11            MR. O'CONNOR: Objection.              14:24:13        11       A. It's the share drive at         14:26:02
    12        Form.                         14:24:14                    12   Mallinckrodt.                        14:26:05
    13            THE WITNESS: Yes.                  14:24:14           13       Q. Okay. And so your testimony is 14:26:06
    14   QUESTIONS BY MR. KO:                            14:24:15       14   that every single order that was identified 14:26:08
    15        Q. And turning the next -- turning 14:24:19               15   as suspicious was formally documented, or is 14:26:11
    16   to the next page, you see her actual notes. 14:24:20           16   it your testimony that every single order     14:26:17
    17            Do you recall reading and         14:24:27            17   that was identified as peculiar was formally 14:26:19
    18   reviewing these notes?                    14:24:29             18   documented, or both?                     14:26:21
    19        A. Yes.                        14:24:30                   19             MR. O'CONNOR: Objection to           14:26:21
    20        Q. Okay. She indicates that,          14:24:32            20       form.                         14:26:22
    21   quote, "We must also formally document the         14:24:43    21             THE WITNESS: Both, but not          14:26:22
    22   investigation of each peculiar, suspicious, 14:24:47           22       necessarily at that time. But as time 14:26:24
    23   peculiar, order that gets identified,       14:24:51           23       went on, yes, every order review was      14:26:26
    24   including the hows and the whys of the logic 14:24:53          24       documented and why.                   14:26:29
    25   we used to deem the order appropriate to ship 14:24:55         25

                                                          Page 271                                                           Page 273
     1 or not."                             14:24:58                     1 QUESTIONS BY MR. KO:                               14:26:30
     2            Did I read that correctly?       14:24:59              2       Q. Okay. And do you recall               14:26:30
     3       A. Yes.                         14:24:59                    3   approximately when that formal documentation 14:26:31
     4       Q. Okay. And do you recall               14:25:00           4   began?                              14:26:36
     5   whether or not you implemented that policy         14:25:01     5       A. In 2012.                      14:26:37
     6   change into the enhanced SOM program?               14:25:05    6       Q. Okay. So that would be four            14:26:41
     7            MR. O'CONNOR: Objection to              14:25:08       7   years after the date of this particular      14:26:44
     8       form.                          14:25:09                     8   e-mail, correct?                       14:26:48
     9            THE WITNESS: Yes. Yes, we               14:25:09       9       A. Correct.                      14:26:48
    10       did. Pardon me.                     14:25:12               10       Q. Do you know why it took so              14:26:49
    11   QUESTIONS BY MR. KO:                             14:25:13      11   along to enact that policy?                14:26:51
    12       Q. So is it your testimony that         14:25:13           12       A. So we were working on enhancing 14:26:53
    13   for the revised and enhanced SOM program that 14:25:15         13   our program again. I keep stating that.        14:26:56
    14   you eventually rolled out at a future date      14:25:18       14            These are suggestions by          14:27:00
    15   from the date of this e-mail, you formally       14:25:21      15   breakout speakers and not necessarily -- she 14:27:03
    16   documented every single peculiar order,          14:25:23      16   talks about they're not all-inclusive,       14:27:06
    17   including the hows and whys of the logic we 14:25:30           17   they're for informational purposes.           14:27:09
    18   used to deemed the order appropriate to ship 14:25:35          18            So it was our intent to do so, 14:27:10
    19   or not?                            14:25:37                    19   but we had not completely incorporated the 14:27:13
    20       A. Yes.                         14:25:37                   20   explanation into every order that was          14:27:17
    21       Q. Okay. And do you know whether 14:25:37                  21   reviewed at that time.                   14:27:19
    22   or not those -- and I think earlier I had     14:25:38         22       Q. But you -- excuse me. You did 14:27:21
    23   said "peculiar, suspicious, peculiar," but I 14:25:40          23   ultimately adopt a system whereby you            14:27:25
    24   mean to say "particular suspicious."           14:25:42        24   formally documented every peculiar and            14:27:27
    25       A. That's how the sentence reads. 14:25:43                 25   suspicious order in 2012, correct?            14:27:29

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                                                         Page 274                                                           Page 276
     1        A. Yes.                         14:27:31                  1 QUESTIONS BY MR. KO:                             14:29:07
     2        Q. And that's four years after you 14:27:32               2       Q. And as we described earlier,        14:29:07
     3   first discussed the possibility of doing so, 14:27:33          3   there weren't necessarily other           14:29:10
     4   correct?                             14:27:35                  4   extracurricular activities that you were     14:29:12
     5        A. It's four years after the topic 14:27:36               5   involved in with respect to your diversion 14:29:14
     6   was made -- mentioned at a conference, yes. 14:27:38           6   responsibilities at Mallinckrodt, correct? 14:29:16
     7        Q. And reference was made by               14:27:40       7           MR. O'CONNOR: Objection to             14:29:18
     8   Ms. Stewart that "we must also formally            14:27:44    8       form.                         14:29:18
     9   document."                              14:27:47               9           THE WITNESS: Correct.               14:29:18
    10             Did I read that correctly?       14:27:47           10   QUESTIONS BY MR. KO:                           14:29:19
    11             So just the record -- just so    14:27:56           11       Q. And so this conference was an 14:29:19
    12   the record is clear, Ms. Stewart indicates in 14:27:57        12   important conference for you to attend in      14:29:21
    13   her notes that, quote, "We must also formally 14:28:00        13   which you could further understand your         14:29:23
    14   document the investigation of each particular 14:28:04        14   responsibilities under the CSA, correct?      14:29:25
    15   suspicious, open parens, peculiar, close         14:28:09     15           MR. O'CONNOR: Objection to             14:29:27
    16   parens, order that gets identified," end        14:28:11      16       form.                         14:29:28
    17   quote.                              14:28:15                  17           THE WITNESS: Yes.                  14:29:28
    18             Did I read that correctly?       14:28:15           18   QUESTIONS BY MR. KO:                           14:29:28
    19        A. Yes, you did.                    14:28:15             19       Q. So is it fair to say that the 14:29:29
    20        Q. Okay. So as of the fall             14:28:16          20   advice and suggestions that were borne out of 14:29:31
    21   of 2008, she is suggesting, is she not, that 14:28:21         21   this conference were important suggestions to 14:29:34
    22   you must formally document each suspicious or 14:28:23        22   follow?                            14:29:38
    23   peculiar order?                         14:28:25              23           MR. O'CONNOR: Objection to             14:29:39
    24        A. She is relaying those notes          14:28:25         24       form.                         14:29:40
    25   from the conference, not necessarily as a         14:28:29    25           THE WITNESS: They were                14:29:40

                                                         Page 275                                                        Page 277
     1 mandate that we incorporate them.              14:28:32          1       elements to be considered as part of    14:29:41
     2       Q. Sure.                       14:28:34                    2       our suspicious order monitoring        14:29:42
     3       A. So they're notes that she took 14:28:35                 3       program, not necessarily a mandate to 14:29:44
     4   at a conference.                     14:28:38                  4       be followed.                    14:29:46
     5       Q. Right. And I understand it's        14:28:39            5   QUESTIONS BY MR. KO:                           14:29:48
     6   not a mandate, but she is making a suggestion 14:28:39         6       Q. Okay. And an element to be           14:29:48
     7   that you should formally document each          14:28:41       7   considered as of the fall of 2008 was formal 14:29:49
     8   suspicious and peculiar order, is she not?    14:28:43         8   documentation of every single peculiar and 14:29:51
     9       A. Not necessarily. She's            14:28:44              9   suspicious order, correct?              14:29:54
    10   relaying comments made at a conference by a 14:28:45          10       A. Yes, based upon one of the         14:29:54
    11   speaker.                           14:28:47                   11   conference speakers, yes, sir.           14:29:56
    12       Q. Okay. Is it fair to say         14:28:48               12       Q. And again, it took you four        14:29:57
    13   that -- this Buzzeo conference that you       14:28:49        13   years to actually implement a system in which 14:30:06
    14   attended each year, it was an important       14:28:53        14   you would formally document each peculiar or 14:30:09
    15   conference, correct?                   14:28:56               15   suspicious order, correct?              14:30:13
    16       A. Yes.                       14:28:56                    16       A. Yes.                       14:30:15
    17       Q. And it was a conference in          14:28:56           17       Q. And during that four-year time 14:30:17
    18   which you would gain important insight          14:28:58      18   period, do you have any understanding of how 14:30:21
    19   regarding your duties under the CSA to         14:29:01       19   many pills were diverted in the country,      14:30:25
    20   maintain effective controls against         14:29:03          20   Mallinckrodt pills were diverted in the      14:30:27
    21   diversion, among other things, correct?       14:29:05        21   country?                           14:30:29
    22             MR. O'CONNOR: Objection to           14:29:06       22           MR. O'CONNOR: Objection to            14:30:29
    23       form.                        14:29:06                     23       form.                        14:30:30
    24             THE WITNESS: Yes.                14:29:06           24           THE WITNESS: I do not.             14:30:30
    25                                                                 25


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                                                        Page 278                                                          Page 280
     1 QUESTIONS BY MR. KO:                             14:30:30      1 QUESTIONS BY MR. KO:                               14:31:52
     2       Q. Do you have an understanding of 14:30:32              2       Q. So are you going to follow your 14:31:58
     3   whether or not that time period reflected the 14:30:33       3   counsel's instruction?                   14:31:59
     4   peak of pills that were being distributed    14:30:39        4       A. Yes, sir.                     14:31:59
     5   into Florida?                       14:30:43                 5       Q. Okay. Now, I know you said              14:32:00
     6            MR. O'CONNOR: Objection to            14:30:43      6   earlier that this wasn't necessarily a       14:32:09
     7       form.                         14:30:44                   7   mandate but a suggestion.                  14:32:11
     8            THE WITNESS: Yes.                 14:30:44          8            But is there any reason you can 14:32:13
     9   QUESTIONS BY MR. KO:                           14:30:44      9   think of for not following this advice that 14:32:14
    10       Q. You do have an understanding,          14:30:44      10   you learned at the Buzzeo conference in 2008? 14:32:19
    11   correct?                           14:30:45                 11       A. No.                          14:32:21
    12       A. Yes.                        14:30:45                 12       Q. Okay. Now, one thing -- going 14:32:22
    13       Q. And during that time period          14:30:45        13   down to the fifth paragraph of this page,       14:32:27
    14   there were -- there was a large concern from 14:30:47       14   Ms. Stewart writes in her notes that "The        14:32:36
    15   2008 through 2012 that many of Mallinckrodt 14:30:51        15   general consensus is that sales reps are not 14:32:38
    16   pills were going into Florida and being       14:30:54      16   considered a good option for on-site           14:32:42
    17   abused and diverted, correct?             14:30:56          17   investigations and initial review prior to     14:32:44
    18            MR. O'CONNOR: Objection to            14:30:57     18   accepting new customers due to their            14:32:47
    19       form.                         14:30:58                  19   perceived bias in getting the customer         14:32:48
    20            THE WITNESS: Yes.                 14:30:58         20   approved for sales revenue purposes."           14:32:50
    21   QUESTIONS BY MR. KO:                           14:31:00     21            Did I read that correctly?       14:32:53
    22       Q. Okay. Do you believe that           14:31:04         22       A. Yes.                         14:32:55
    23   earlier adoption of the formal documentation 14:31:05       23       Q. And so understanding your              14:32:56
    24   to identify peculiar or suspicious orders    14:31:07       24   perspective that these aren't necessarily      14:33:02
    25   would have helped stop the flow of diversion 14:31:10       25   mandates, but is it fair to say that one      14:33:04

                                                        Page 279                                                            Page 281
     1 and abuse that was occurring of Mallinckrodt     14:31:13      1 thing -- one piece of advice and/or a           14:33:06
     2 pills had you implemented this policy         14:31:16         2   suggestion that you learned following this 14:33:09
     3 earlier?                            14:31:18                   3   conference was that the general consensus is 14:33:11
     4           MR. O'CONNOR: Objection to              14:31:18     4   that sales reps should not be involved in       14:33:15
     5       form.                         14:31:18                   5   reviewing new customers due to their            14:33:19
     6           THE WITNESS: No.                   14:31:18          6   perceived bias in getting sales?            14:33:21
     7   QUESTIONS BY MR. KO:                            14:31:19     7            MR. O'CONNOR: Objection to              14:33:23
     8       Q. You don't believe that?            14:31:19           8        form.                         14:33:24
     9       A. I do not.                    14:31:20                 9            THE WITNESS: That's correct, 14:33:24
    10       Q. Okay. So you don't -- well,         14:31:21         10        and we did not.                   14:33:26
    11   then why did you adopt this formal procedure 14:31:23       11   QUESTIONS BY MR. KO:                             14:33:28
    12   in 2012?                           14:31:25                 12        Q. In other words -- well, I think 14:33:29
    13       A. It was -- as we continued the        14:31:25        13   you were asking {sic} my next question.           14:33:32
    14   enhancement of our program, it was --           14:31:30    14            So you never had sales reps        14:33:34
    15           THE WITNESS: This may be a              14:31:36    15   involved in initial reviews of -- initial    14:33:36
    16       privileged --                   14:31:37                16   reviews of new customers?                    14:33:42
    17           MR. O'CONNOR: Then I guess I             14:31:39   17        A. So we had -- we had the sales 14:33:43
    18       would instruct you not to answer with 14:31:40          18   force calling on customers. We had an            14:33:46
    19       respect to any sort of attorney-client 14:31:42         19   independent new customer setup process --          14:33:48
    20       communications.                     14:31:46            20        Q. Right.                      14:33:51
    21           But you can answer to the         14:31:46          21        A. -- which involved the customer 14:33:51
    22       extent you can without getting into       14:31:47      22   filling out the application.              14:33:52
    23       those communications with counsel.          14:31:48    23            At one time we considered that 14:33:54
    24           THE WITNESS: Okay.                   14:31:49       24   the sales reps would fill out the           14:33:55
    25                                                               25   application, and we -- we did not utilize      14:33:58

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                                                                 Page 282                                                       Page 284
     1 that --                             14:34:02                          1        A. Yes.                       14:35:47
     2      Q.      Okay.                    14:34:02                        2        Q. They did have involvement?           14:35:48
     3      A.      -- as part of the program.       14:34:02                3        A. Yes.                       14:35:49
     4           So the customer fills out the       14:34:03                4        Q. Okay. And what involvement -- 14:35:50
     5 application. We run the credit, the Dun &           14:34:05          5   what did that involvement consist of?         14:35:52
     6 Bradstreet, et cetera. And that's the way -- 14:34:08                 6        A. So if an order was flagged as      14:35:54
     7 so it's not predicated upon the salesperson's 14:34:10                7   peculiar, suspicious, unusual, whatever the 14:35:57
     8 review of the customer.                       14:34:14                8   naming convention was at the time, we would 14:36:00
     9      Q.      And by the way, the sales reps      14:34:16             9   at times consult with the NAMs to ask them if 14:36:05
    10 referred to here, again, are these both NAMs         14:34:18        10   they had more information on the account that 14:36:08
    11 and CSRs, or NAMs or CSRs, or which -- which               14:34:22 11    would help us in our review of that order      14:36:12
    12 sales reps is Cathy referring to?              14:34:26              12   that had been flagged.                  14:36:14
    13           MR. O'CONNOR: Objection to               14:34:27          13        Q. Okay. And sometimes they would 14:36:15
    14      form.                          14:34:28                         14   clear these orders, correct?             14:36:18
    15           THE WITNESS: NAMs.                      14:34:28           15            MR. O'CONNOR: Objection to            14:36:19
    16 QUESTIONS BY MR. KO:                               14:34:29          16        form.                        14:36:20
    17      Q.      NAMs. Okay.                  14:34:29                   17            THE WITNESS: Yes. Yes.              14:36:20
    18           And so your testimony is that        14:34:29              18   QUESTIONS BY MR. KO:                           14:36:23
    19 NAMs were not involved in any initial review             14:34:32    19        Q. In other words, sometimes they 14:36:24
    20 of new customers?                         14:34:36                   20   would conclusively -- or sometimes they would 14:36:27
    21      A.      Not to my knowledge.              14:34:38              21   make the recommendation to you that that         14:36:28
    22      Q.      Okay. So if -- if for purposes    14:34:41              22   particular order was not suspicious         14:36:31
    23 of the new checklist -- new customer              14:34:46           23   sufficient to alert the DEA, correct?       14:36:34
    24 checklist form NAMs had some input and                   14:34:49    24            MR. O'CONNOR: Objection to            14:36:36
    25 involvement, that would be contrary to your          14:34:51        25        form.                        14:36:36

                                                                 Page 283                                                       Page 285
     1 expectation --                            14:34:53                    1           THE WITNESS: Yes, with                14:36:36
     2            MR. O'CONNOR: Objection.                14:34:54           2       appropriate explanation, yes.          14:36:38
     3        Form.                           14:34:55                       3   QUESTIONS BY MR. KO:                            14:36:39
     4   QUESTIONS BY MR. KO:                              14:34:56          4       Q. Right.                      14:36:40
     5        Q. -- is that correct?              14:34:56                   5           And that explanation, what did 14:36:40
     6        A. I don't -- can you provide more 14:34:57                    6   that usually consist of? Was that in the      14:36:43
     7   detail to give me more information to answer 14:35:01               7   form of an e-mail? A telephone call?           14:36:46
     8   the question, please?                     14:35:03                  8           MR. O'CONNOR: Objection.               14:36:49
     9        Q. Sure.                        14:35:04                       9   QUESTIONS BY MR. KO:                            14:36:49
    10            Well, maybe I'll -- I'll try it 14:35:05                  10       Q. How did that message -- how was 14:36:49
    11   this way. Did you believe in the fall          14:35:07            11   that message conveyed to you?                14:36:51
    12   of 2008 that it was a good idea to consult       14:35:11          12       A. It could have been either,          14:36:53
    13   national account managers in connection with 14:35:14              13   e-mail or telephone.                   14:36:55
    14   approval of new customers for purposes of           14:35:17       14       Q. But we know at least from the          14:36:56
    15   filling out the new customer checklist?          14:35:22          15   2008 to 2012 time period, there was no formal 14:37:01
    16            MR. O'CONNOR: Objection to               14:35:24         16   documentation of that, correct?             14:37:04
    17        form.                          14:35:25                       17       A. Not relative to every order         14:37:05
    18            THE WITNESS: No.                     14:35:25             18   that was flagged by the algorithm, correct. 14:37:08
    19   QUESTIONS BY MR. KO:                              14:35:25         19       Q. Okay. And separate and apart           14:37:10
    20        Q. Okay. And how about with                14:35:26           20   from what's included in Ms. Stewart's notes, 14:37:15
    21   respect to determining whether or not any          14:35:28        21   do you believe having salespeople involved in 14:37:19
    22   orders of new customers were peculiar and/or 14:35:33              22   the identification of suspicious orders is a 14:37:21
    23   suspicious? Did you believe that NAMs had            14:35:37      23   good thing?                         14:37:25
    24   any involvement in that process following the 14:35:41             24           MR. O'CONNOR: Objection to              14:37:26
    25   fall of 2008?                          14:35:45                    25       form.                         14:37:27

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     1             THE WITNESS: No. They --              14:37:27           1 believe that conflict of interest exists in    14:39:17
     2        facilitating in the review, yes, but 14:37:31                 2   having an individual who has a financial        14:39:20
     3        not in the identification, no. I do 14:37:33                  3   incentive to create new sales also determine 14:39:23
     4        not think they should be involved.       14:37:36             4   whether or not an order is suspicious?        14:39:25
     5   QUESTIONS BY MR. KO:                             14:37:38          5            MR. O'CONNOR: Objection to             14:39:27
     6        Q. Okay. And so if they were -- 14:37:39                      6       form.                         14:39:28
     7   so I understand this is a hypothetical, but 14:37:43               7            THE WITNESS: I believe that          14:39:28
     8   bear with me.                          14:37:45                    8       the greater incentive is regulatory     14:39:30
     9             So would it be appropriate then 14:37:46                 9       compliance and DEA compliance, as was 14:39:33
    10   if a national account manager was the only 14:37:49               10       carried throughout our organization,      14:39:36
    11   source for determining whether or not a          14:37:57         11       would override any financial           14:39:38
    12   peculiar order was suspicious or not?          14:38:00           12       incentive.                     14:39:40
    13        A. Yes.                         14:38:01                     13   QUESTIONS BY MR. KO:                            14:39:41
    14        Q. It would be appropriate?            14:38:01              14       Q. Do you believe that the            14:39:42
    15        A. Yes.                         14:38:02                     15   national account managers had -- believed        14:39:43
    16        Q. So in that case, isn't the NAM 14:38:03                   16   that they had a greater incentive to comply 14:39:45
    17   the only person providing input as to whether 14:38:07            17   with the regulatory statutes laid out under 14:39:48
    18   or not an order is suspicious?              14:38:09              18   the CSA?                             14:39:51
    19        A. Yes.                         14:38:10                     19       A. Yes.                        14:39:53
    20        Q. Okay. And so you're saying            14:38:15            20       Q. Okay. And you believe -- well, 14:39:54
    21   that's okay?                          14:38:16                    21   strike that.                       14:39:57
    22        A. Yes.                         14:38:17                     22            Do you recall following the       14:39:57
    23        Q. Okay. So you don't have any           14:38:17            23   date of this particular Buzzeo conference      14:40:13
    24   problems, as someone who is in charge of          14:38:20        24   ever discussing removing NAMs from the             14:40:16
    25   running a suspicious order monitoring            14:38:22         25   suspicious order monitoring and peculiar        14:40:22

                                                               Page 287                                                             Page 289
     1 program, of having national account managers           14:38:24      1 order monitoring review structure?              14:40:22
     2 who have an incentive for new sales and new           14:38:29       2      A.    No.                      14:40:25
     3 business to be involved in the decision of         14:38:34          3      Q.    Okay. Do you ever recall           14:40:27
     4 whether or not to identify an order as           14:38:36            4 removing any member of sales force -- that         14:40:30
     5 suspicious or not?                      14:38:39                     5 includes NAMs and customer service reps --          14:40:33
     6           MR. O'CONNOR: Objection to               14:38:39          6 from the peculiar order/suspicious order         14:40:37
     7      form.                         14:38:40                          7 review system?                          14:40:41
     8           THE WITNESS: I do not have any             14:38:40        8      A.    No.                      14:40:43
     9      problem with that.                   14:38:44                   9      Q.    Okay. You can set this          14:40:43
    10 QUESTIONS BY MR. KO:                               14:38:45         10 document aside.                         14:40:53
    11      Q.      Okay. National account           14:38:45              11           (Mallinckrodt-Harper Exhibit 14       14:40:57
    12 managers at Mallinckrodt were compensated on             14:38:47   12      marked for identification.)          14:40:58
    13 a commission -- or excuse me.                  14:38:48             13 QUESTIONS BY MR. KO:                              14:40:58
    14           Do you have an understanding of         14:38:50          14      Q.    I'm going to hand you a copy of      14:40:58
    15 how national account managers were                 14:38:52         15 what will be marked as Harper Exhibit 14.          14:40:59
    16 compensated?                            14:38:53                    16           Now, do you recall -- I know        14:41:35
    17      A.      I do not.                14:38:53                      17 you said you didn't recall the specifics of     14:41:54
    18      Q.      Do you understand that national      14:38:54          18 how NAMs were compensated at Mallinckrodt,                14:41:57
    19 account managers had a -- received a              14:38:58          19 but do you know whether or not they received         14:41:59
    20 commission based on the amount of sales              14:39:01       20 any bonuses based in part of the volume of         14:42:01
    21 activity that they were able to retain?          14:39:04           21 their sales of controlled substances           14:42:03
    22      A.      I don't know how their pay is     14:39:06             22 manufactured by Mallinckrodt?                   14:42:05
    23 structured.                           14:39:08                      23      A.    I do not know.               14:42:06
    24      Q.      Okay. Setting aside whether or      14:39:09           24      Q.    Did you ever inquire as to         14:42:07
    25 not you knew how NAMs were paid, don't you               14:39:12   25 whether or not they were being compensated on 14:42:10


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     1 that basis?                           14:42:11                       1 QUESTIONS BY MR. KO:                           14:43:47
     2      A.    Nope.                      14:42:12                       2      Q.     Correct.                   14:43:47
     3      Q.    How come you never inquired            14:42:13           3            But for some?                14:43:47
     4 about that?                           14:42:15                       4       A. For some, yes.                  14:43:48
     5      A.    Because the controlled            14:42:15                5       Q. Okay. So is it the case that 14:43:50
     6 substances compliance group operated, to the           14:42:19      6   for some orders, national account managers 14:43:53
     7 extent it was possible, autonomously unless         14:42:21         7   played an integral role in determining        14:43:56
     8 we needed guidance from the NAMs on specific             14:42:27    8   whether or not a peculiar order was           14:43:59
     9 orders. So I never knew how they were              14:42:30          9   ultimately determined to be suspicious?        14:44:00
    10 compensated, why. I don't know how much                 14:42:32    10            MR. O'CONNOR: Objection to             14:44:02
    11 oxycodone was sold for. I don't know any of          14:42:34       11       form.                         14:44:03
    12 the financial pieces of that.               14:42:38                12            THE WITNESS: They assisted in 14:44:03
    13      Q.    Sure.                    14:42:38                        13       the review, and the ultimate decision 14:44:05
    14      A.    Thank you.                   14:42:40                    14       about whether the order was suspicious 14:44:06
    15      Q.    Okay. And you say that you            14:42:41           15       or not rests -- always did rest with 14:44:08
    16 needed -- at times you needed guidance from            14:42:45     16       the controlled substances compliance 14:44:11
    17 them on specific -- you needed guidance from           14:42:47     17       group.                         14:44:12
    18 NAMs on specific orders --                    14:42:50              18   QUESTIONS BY MR. KO:                            14:44:12
    19      A.    Uh-huh.                     14:42:53                     19       Q. Including you and Mr. Ratliff, 14:44:13
    20      Q.    -- with respect to identifying    14:42:53               20   among other people, correct?                14:44:14
    21 a peculiar or suspicious order, correct?         14:42:55           21       A. Correct.                      14:44:15
    22      A.    Not identifying but reviewing.        14:42:57           22       Q. Okay. So if -- in the scenario 14:44:16
    23      Q.    Reviewing.                   14:43:00                    23   we were just discussing, if the national      14:44:21
    24           With the ultimate goal of         14:43:01                24   account manager -- well, strike that.        14:44:25
    25 trying to determine whether or not that order 14:43:02              25            When the national account         14:44:28

                                                               Page 291                                                         Page 293
     1 was suspicious, correct?                    14:43:04                 1 manager was assisting in the review of           14:44:38
     2       A. Correct.                      14:43:05                      2   whether or not a peculiar order was deemed -- 14:44:39
     3       Q. So NAMs played -- would you              14:43:06           3   was going to be deemed as suspicious or not, 14:44:43
     4   agree with me that NAMs played an integral         14:43:10        4   can you think of any instances in which the 14:44:46
     5   role in determining whether or not an order 14:43:13               5   input of the national account manager was the 14:44:53
     6   could potentially be suspicious?             14:43:15              6   only input you received in making a           14:44:55
     7            MR. O'CONNOR: Objection to             14:43:16           7   determination of whether or not the order was 14:44:57
     8       form.                          14:43:18                        8   suspicious?                          14:44:59
     9            THE WITNESS: Certain orders.           14:43:18           9       A. Yes, outside of the controlled 14:45:00
    10            May I explain or --            14:43:21                  10   substances compliance group, yes.             14:45:06
    11   QUESTIONS BY MR. KO:                            14:43:23          11       Q. Were there instances in which 14:45:07
    12       Q. Well, let me -- certain orders. 14:43:24                   12   the determination that the -- that you and 14:45:14
    13   Do you mean certain orders that were            14:43:25          13   Mr. Ratliff made as to whether an order was 14:45:17
    14   previously flagged as peculiar?              14:43:27             14   suspicious or not relied solely on the input 14:45:19
    15       A. Yes.                         14:43:28                      15   of a national account manager?              14:45:23
    16       Q. Okay. So once an order was             14:43:29            16       A. Yes.                        14:45:24
    17   flagged as peculiar, is it accurate to say    14:43:30            17   QUESTIONS BY MR. KO:                           14:45:43
    18   that NAMs played an integral role in           14:43:34           18       Q. Okay. I'm going to hand you a 14:45:38
    19   determining whether or not that peculiar        14:43:39          19   copy of what's going to be marked as Harper 14:45:40
    20   order was ultimately deemed to be suspicious 14:43:41             20   Exhibit 14.                         14:45:43
    21   sufficient to notify the DEA?               14:43:45              21            MR. KO: And this is, for the 14:45:46
    22            MR. O'CONNOR: Objection to             14:43:46          22       record, an e-mail from Dave Hunter to 14:45:51
    23       form.                          14:43:46                       23       several people, including you, on       14:45:55
    24            THE WITNESS: Not every order. 14:43:46                   24       November 19, 2009, and Bates ending in 14:45:58
    25                                                                     25       278806.                         14:46:03

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     1 QUESTIONS BY MR. KO:                              14:46:03  1               MR. O'CONNOR: Objection to             14:48:07
     2        Q. Do you recall this -- or do you 14:46:13          2          form.                         14:48:08
     3   have any reason to dispute that you received 14:46:15     3               THE WITNESS: So all suspicious 14:48:08
     4   this e-mail?                        14:46:16              4          order monitoring systems, not            14:48:14
     5        A. I have no reason to dispute.       14:46:17       5          necessarily unique to Mallinckrodt,       14:48:15
     6        Q. Okay. And here Mr. Hunter is          14:46:18    6          yes.                         14:48:16
     7   attaching notes from the Buzzeo conference I 14:46:21     7       QUESTIONS BY MR. KO:                           14:48:16
     8   believe he attends in 2009; is that correct? 14:46:27     8          Q. Right. Right.                   14:48:16
     9        A. Yes. Seeing this, so, yes.        14:46:29        9               So as a general matter in 2009, 14:48:17
    10        Q. Okay. And do you recall            14:46:33      10       would you agree with the statement that        14:48:19
    11   attending this particular Buzzeo conference 14:46:34     11       suspicious order monitoring continued to be 14:48:22
    12   as well?                           14:46:35              12       given close scrutiny by the DEA?             14:48:25
    13        A. I do not.                   14:46:35             13          A. Yes.                        14:48:27
    14        Q. Okay. So you recall attending 14:46:36           14          Q. Okay. And the question is            14:48:28
    15   the 2008 Buzzeo conference with Ms. Stewart, 14:46:39 15          asked, "Are there any plans for DEA to         14:48:31
    16   but you don't recall attending this        14:46:41      16       publicize information to implement?"           14:48:35
    17   conference with Mr. Hunter; is that fair?      14:46:43  17               Do you see that?               14:48:37
    18        A. That's fair.                14:46:46             18          A. Yes.                        14:48:38
    19        Q. Okay. Do you recall Mr. Hunter 14:46:48          19          Q. "SOM incorporate algorithms             14:48:39
    20   sending these notes to you about what          14:46:54  20       where products are more likely to be          14:48:43
    21   transpired at this particular Buzzeo        14:46:59     21       diverted."                         14:48:45
    22   conference?                          14:47:01            22               Did I read that correctly as     14:48:47
    23        A. I do not specifically recall      14:47:02       23       well?                            14:48:48
    24   it, but I can refamiliarize myself with the 14:47:05     24          A. You did.                       14:48:48
    25   content.                           14:47:08              25          Q. Okay. And there is a response 14:48:50

                                                           Page 295                                                      Page 297
     1      Q.     Sure.                    14:47:08                   1 given by someone at DEA, it appears.              14:48:51
     2            And there are notes. I just      14:47:09            2            Do you see that?              14:48:54
     3   want to turn to the first page of notes that 14:47:11         3       A. Yes.                         14:48:54
     4   he drafts. These appear to be notes that he 14:47:17          4       Q. And that's Jim Crawford.             14:48:55
     5   has created following his attendance at the 14:47:20          5            Did you know who he has?            14:48:57
     6   2009 Buzzeo conference; is that correct?         14:47:24     6       A. Yes.                         14:48:59
     7       A. Yes.                        14:47:25                   7       Q. Okay. Did you communicate with 14:49:00
     8       Q. And looking down at the bottom 14:47:28                8   him at all during the 2008, 2012 time period? 14:49:01
     9   of this page, he indicates where I'm          14:47:32        9       A. No.                          14:49:04
    10   highlighting right now, "Sir, suspicious       14:47:34      10       Q. Okay. But you just knew -- you 14:49:05
    11   order monitoring was certainly a hotbed of 14:47:37          11   just knew who he was, but you didn't           14:49:08
    12   discussion."                         14:47:39                12   necessarily communicate with him?               14:49:10
    13            Do you see that?              14:47:40              13       A. Correct. He and Mark Caverly           14:49:11
    14       A. So that's a question, yes,         14:47:40           14   spoke at the end of every Buzzeo conference. 14:49:15
    15   that's a question as documented here.          14:47:44      15       Q. Got it.                      14:49:16
    16       Q. Right.                       14:47:45                 16            And it's -- he says in response 14:49:17
    17            And it's a question by someone 14:47:46             17   to this question, quote, "Whatever we put out 14:49:20
    18   in the audience, some registrant or someone 14:47:47         18   will be outdated by the time we put it out. 14:49:24
    19   who attended the conference, correct?           14:47:50     19   You're looking at a number. Tell me how much 14:49:27
    20       A. Yes.                        14:47:51                  20   that we can exceed. DEA can't do that. It's 14:49:30
    21       Q. Okay. And so it's fair to say 14:47:52                21   part of your due diligence, knowing your         14:49:33
    22   that as of the fall of 2009, their         14:47:57          22   customer," end quote.                    14:49:37
    23   continual -- there's continual attention and 14:48:01        23            Did I read that correctly?      14:49:38
    24   scrutiny being given to Mallinckrodt's         14:48:02      24       A. Yes.                         14:49:39
    25   suspicious order monitoring system?             14:48:05     25       Q. Okay. So this appears to be          14:49:39

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     1 some Q&As in which -- there is a question in         14:49:41     1        (Off the record at 2:51 p.m.)       14:51:40
     2   which registrants are asking whether or not 14:49:44            2            VIDEOGRAPHER: We are back on            15:10:02
     3   DEA will give guidance on an appropriate           14:49:48     3       the record at 3:10 p.m.            15:10:03
     4   suspicious order monitoring algorithm.           14:49:54       4   QUESTIONS BY MR. KO:                          15:10:05
     5           Is that a fair characterization 14:49:55                5       Q. Now, Mr. Harper {sic}, is it       15:10:08
     6   of the question that was asked?              14:49:56           6   fair to say from the 2008 through 2009 time 15:10:10
     7           MR. O'CONNOR: Objection to               14:49:58       7   period you are continually working to revise 15:10:16
     8       form.                          14:49:58                     8   and improve the enhanced suspicious order       15:10:17
     9           THE WITNESS: Yes.                    14:49:58           9   monitoring system at Mallinckrodt, correct? 15:10:20
    10   QUESTIONS BY MR. KO:                             14:49:59      10       A. Correct.                    15:10:22
    11       Q. And the response given was that 14:49:59                11       Q. Okay. And you also continue to 15:10:22
    12   DEA was not going to provide such concrete          14:50:03   12   work on peculiar order algorithms in the 2008 15:10:27
    13   guidance; is that correct?                14:50:06             13   through 2009 time period, correct?          15:10:33
    14       A. I'd like to reread the answer, 14:50:06                 14       A. Correct.                    15:10:34
    15   please.                             14:50:10                   15       Q. And with respect to the           15:10:34
    16       Q. Sure.                         14:50:10                  16   checklists we were discussing previously,     15:10:36
    17       A. Yes, that's the gist of the        14:50:11             17   you're continually working on revising and     15:10:38
    18   response, yes.                         14:50:19                18   implementing a -- both a new customer          15:10:41
    19       Q. Okay. So as of the fall             14:50:20            19   checklist and a customer checklist throughout 15:10:45
    20   of 2009, is it accurate to say that         14:50:22           20   the 2008 and 2009 time period, correct?       15:10:47
    21   Mr. Hunter informed you that the DEA was not 14:50:27          21       A. Correct.                    15:10:49
    22   going to give concrete guidance as to what        14:50:31     22            (Mallinckrodt-Harper Exhibit 15 15:11:00
    23   particular algorithm to implement?             14:50:33        23       marked for identification.)         15:11:00
    24       A. Yes.                          14:50:35                  24   QUESTIONS BY MR. KO:                          15:11:00
    25       Q. Okay. Now, the following               14:50:36         25       Q. Okay. I'm going to hand you a 15:11:01

                                                          Page 299                                                            Page 301
     1 question by someone in the audience was,          14:50:39        1 copy of what's going to be marked as Harper          15:11:02
     2   "Well, what then does the DEA expect?"           14:50:43       2   Exhibit 15. And in conjunction with that, 15:11:06
     3            And a response was given by        14:50:45            3   I'm going to hand you also a document that's 15:11:13
     4   Mr. Caverly. It says, quote, "Previously DEA 14:50:47           4   previously been identified as Exhibit 35 of 15:11:14
     5   sat down with National Drug Association with 14:50:51           5   the Stewart deposition. They're both right 15:11:16
     6   an algorithm. DEA standpoint: You know our 14:50:55             6   here.                              15:11:22
     7   customers better than we do. DEA stepped         14:50:59       7             For the record, Harper          15:11:23
     8   away from providing guidelines. It is not      14:51:01         8   Exhibit 15 ends in Bates stamp 270090.           15:11:24
     9   going to happen," end quote.               14:51:04             9             And of course the second         15:11:31
    10            Did I read that correctly?     14:51:06               10   document I referenced was Stewart Exhibit 35 15:11:33
    11       A. Yes.                        14:51:06                    11   that ends in 477900.                     15:11:37
    12       Q. So as of the date of this         14:51:07              12             Now, turning your attention       15:11:43
    13   e-mail in the fall of 2009, you understood     14:51:09        13   first to the e-mail identified as Harper      15:11:44
    14   that the DEA was not going to provide          14:51:12        14   Exhibit 15, this is an e-mail exchange you 15:11:48
    15   guidelines with respect to SOM algorithms,       14:51:15      15   had with Eileen Spalding dated October 31, 15:11:53
    16   correct?                           14:51:18                    16   2010, correct?                        15:11:59
    17       A. Yes.                        14:51:18                    17        A. Correct.                     15:11:59
    18       Q. You can set that aside.           14:51:25              18        Q. And earlier when I had -- just 15:12:00
    19            MR. O'CONNOR: We've been going 14:51:29               19   a moment ago when we were discussing               15:12:05
    20       about an hour 15. Maybe we should          14:51:30        20   continual revisions and enhancements to          15:12:06
    21       take a break.                   14:51:32                   21   Mallinckrodt's SOM program in the 2008 and 15:12:11
    22            MR. KO: Yeah, we can take a         14:51:32          22   2009 time period, it's also safe to say that 15:12:14
    23       break. Sounds good.                 14:51:34               23   in 2010 you're also continually working on 15:12:18
    24            VIDEOGRAPHER: We are going off 14:51:37               24   improving the SOM program, correct?               15:12:21
    25       the record at 2:51 p.m.             14:51:39               25        A. Correct.                     15:12:22

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                                                        Page 302                                                           Page 304
     1       Q. And in fact, that work            15:12:23            1        A. "Basically, during the last two 15:14:06
     2   continues in 2011 as well?                15:12:25           2   years, all peculiar orders that were on the 15:14:09
     3       A. Yes.                        15:12:27                  3   daily report were investigated by CSR           15:14:13
     4       Q. When would you say you actually 15:12:28              4   manager, were deemed to be okay, and none           15:14:18
     5   implemented a procedure or an SOM policy that 15:12:31       5   rose to the level of peculiar. As you will 15:14:21
     6   sufficiently addressed some of the concerns 15:12:37         6   see, it was not feasible to forward the       15:14:26
     7   you raised in the 2008 time period with        15:12:41      7   peculiar order report to DEA due to the         15:14:28
     8   respect to Mallinckrodt's SOM program?           15:12:43    8   lengthiness as we were tweaking the            15:14:34
     9             MR. O'CONNOR: Objection.            15:12:46       9   algorithms."                          15:14:36
    10       Form.                          15:12:46                 10        Q. Okay. And in the e-mail above, 15:14:37
    11             THE WITNESS: I don't know the 15:12:46            11   you amend your statement about none rising to 15:14:40
    12       first date of the publication. Again, 15:12:47          12   the level of peculiar. And what you actually 15:14:45
    13       just as the program is constantly      15:12:50         13   meant was that no peculiar orders rose to the 15:14:47
    14       being enhanced, we're constantly         15:12:53       14   level of suspicious; is that correct?       15:14:50
    15       updating our procedure, so I don't      15:12:56        15        A. That is correct.               15:14:52
    16       have the date of the publication. I'm 15:12:57          16        Q. So as of October 31, 2010, is        15:14:53
    17       sorry.                        15:12:58                  17   it accurate to say that Mallinckrodt did not 15:14:59
    18   QUESTIONS BY MR. KO:                           15:12:58     18   identify a single suspicious order between       15:15:02
    19       Q. And is it -- do you have a         15:12:59          19   beginning of 2000 -- excuse me, between           15:15:07
    20   general understanding of the approximate time 15:13:01      20   August of 2008 to October 31, 2010?             15:15:11
    21   period of the date of publication?          15:13:03        21             MR. O'CONNOR: Objection to            15:15:15
    22             Do you recall whether or not it 15:13:04          22        form.                         15:15:17
    23   was after 2011?                       15:13:05              23             THE WITNESS: None that rose to 15:15:17
    24       A. I don't recall.               15:13:07               24        the level of suspicious and reported     15:15:19
    25       Q. Okay.                        15:13:08                25        to DEA, that is correct.            15:15:22

                                                        Page 303                                                           Page 305
     1       A. I just don't know.              15:13:08              1 QUESTIONS BY MR. KO:                             15:15:23
     2       Q. You remember a meeting you had 15:13:09               2      Q.     Right.                  15:15:24
     3   with DEA in 2011, often referred to as the     15:13:12      3            And so we had discussed earlier 15:15:24
     4   earthquake meeting? Correct?                15:13:14         4   about the significant amount of diversion and 15:15:30
     5       A. Yes.                        15:13:16                  5   abuse of Mallinckrodt pills that occurred in 15:15:34
     6       Q. And it's referred to in that      15:13:17            6   Florida in the 2008 through 2012 time period. 15:15:36
     7   manner because there was an earthquake that 15:13:18         7            Do you recall that?          15:15:38
     8   day outside of DC, in Virginia in particular? 15:13:20       8            MR. O'CONNOR: Objection.             15:15:38
     9       A. Yes.                        15:13:23                  9            THE WITNESS: Significant is         15:15:39
    10       Q. As of the date of that meeting, 15:13:24             10       your word, but, yes, the diversion,    15:15:40
    11   you had not yet adopted a formal procedure       15:13:28   11       yes.                        15:15:42
    12   for the enhanced SOM program, correct?           15:13:31   12   QUESTIONS BY MR. KO:                           15:15:42
    13            MR. O'CONNOR: Objection to            15:13:34     13       Q. You recall that we discussed        15:15:44
    14       form.                         15:13:35                  14   diversion and abuse of Mallinckrodt pills      15:15:47
    15            THE WITNESS: I don't know what 15:13:35            15   occurring in Florida throughout the 2008       15:15:49
    16       date we wrote the procedure, so I       15:13:36        16   through 2012 time period, correct?          15:15:51
    17       can't make -- I cannot answer, I'm      15:13:38        17       A. Yes.                       15:15:53
    18       sorry.                        15:13:40                  18       Q. Okay. And during at least a         15:15:54
    19   QUESTIONS BY MR. KO:                           15:13:40     19   two-year time period between 2008 and 2010, 15:15:58
    20       Q. Fair enough. Okay.                15:13:40           20   Mallinckrodt's suspicious order monitoring      15:16:01
    21            So turning back to this        15:13:42            21   policy and system did not identify a single 15:16:04
    22   particular exhibit, in the second paragraph 15:13:46        22   suspicious order, correct?              15:16:07
    23   of the bottom e-mail starting with          15:14:01        23       A. Correct.                    15:16:08
    24   "Basically," can you read that for the       15:14:04       24       Q. Okay. And in the third            15:16:10
    25   record?                            15:14:06                 25   paragraph below in your e-mail you state,      15:16:13

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     1 quote, "It is significant to note that       15:16:18          1 monitoring system did not trigger the            15:17:53
     2   neither Sunrise or Harvard triggered the       15:16:21      2   algorithms that were in place for that time 15:17:56
     3   algorithms that were in place for direct      15:16:23       3   period. And I presume the algorithms you're 15:18:01
     4   customers because we were looking at overall 15:16:25        4   discussing are the peculiar order algorithms, 15:18:04
     5   purchase trends for each distributor, not     15:16:26       5   correct?                            15:18:06
     6   reviewing where the distributors were sending 15:16:29       6       A. Correct.                      15:18:06
     7   our product, and our program met CFR             15:16:31    7       Q. So in other words, because            15:18:07
     8   requirements. In essence, the program was        15:16:37    8   their orders were not either      or         15:18:10
     9   expanded within the last month to our          15:16:41      9   potentially     of the prior fiscal year, as 15:18:13
    10   customers' customers."                   15:16:43           10   we previously discussed, there was never a 15:18:18
    11            Did I read that correctly?      15:16:45           11   peculiar order flag that was raised with       15:18:23
    12       A. Yes.                        15:16:45                 12   respect to their orders --               15:18:25
    13       Q. Now, Sunrise and Harvard were           15:16:46     13            MR. O'CONNOR: Objection to             15:18:26
    14   two distributors that were customers of        15:16:48     14       form.                          15:18:27
    15   Mallinckrodt, correct?                  15:16:49            15   QUESTIONS BY MR. KO:                            15:18:27
    16       A. Correct.                     15:16:50                16       Q. -- fair?                     15:18:27
    17       Q. And they both had their license 15:16:50             17       A. Fair.                        15:18:27
    18   eventually suspended by the DEA at some time 15:16:52       18       Q. Okay. And you note that your 15:18:28
    19   in the 2010 time period?                 15:16:54           19   suspicious order monitoring system at the        15:18:32
    20       A. Correct.                     15:16:56                20   time was unable to identify whether or not 15:18:33
    21       Q. And so they had their licenses 15:16:57              21   certain of their orders were suspicious        15:18:37
    22   suspended because they were selling to          15:17:01    22   because, of course, you just had a peculiar 15:18:39
    23   customers, and in particular, pharmacies and 15:17:03       23   order algorithm that was based on a metric of 15:18:43
    24   pain clinics that were engaged in           15:17:11        24   orders relative to prior order history.      15:18:49
    25   diversion --                        15:17:13                25            MR. O'CONNOR: Objection to             15:18:52

                                                        Page 307                                                           Page 309
     1            MR. O'CONNOR: Objection to             15:17:13     1       form.                          15:18:53
     2       form.                         15:17:13                   2            THE WITNESS: So enabling is            15:18:53
     3   QUESTIONS BY MR. KO:                            15:17:13     3       paraphrasing, but we were looking at        15:18:56
     4       Q. -- correct?                  15:17:14                 4       different purchasing trends and not at 15:19:01
     5       A. That is what was reported in          15:17:14        5       the downstream registrant.             15:19:05
     6   the media, yes.                       15:17:17               6   QUESTIONS BY MR. KO:                             15:19:07
     7       Q. Okay. And was it -- and in           15:17:18         7       Q. Right.                        15:19:07
     8   addition to what was reported in the media, 15:17:20         8            And I didn't say -- just so the 15:19:08
     9   you eventually acquired some level of           15:17:22     9   record is clear, I didn't say "enable"; I    15:19:09
    10   knowledge of certain orders that Sunrise and 15:17:24       10   said "unable."                        15:19:12
    11   Harvard had shipped to pharmacies and clinics 15:17:28      11       A. Unable, yes.                    15:19:12
    12   in Florida, did you not?                 15:17:31           12       Q. Right.                        15:19:13
    13            MR. O'CONNOR: Objection to             15:17:33    13            So Mallinckrodt's suspicious       15:19:14
    14       form.                         15:17:33                  14   order monitoring program at the time was          15:19:15
    15            THE WITNESS: Yes.                  15:17:33        15   unable to identify any suspicious orders of 15:19:17
    16   QUESTIONS BY MR. KO:                            15:17:33    16   Sunrise or Harvard because you were merely          15:19:23
    17       Q. Okay. And so ultimately              15:17:34        17   looking at a numerical metric of order         15:19:26
    18   Sunrise and Harvard had their license          15:17:36     18   history -- of orders relative to order      15:19:31
    19   suspended by the DEA due to suspicious orders 15:17:38      19   history of Sunrise and Harvard, correct?        15:19:33
    20   that they had shipped in at least the 2008     15:17:41     20            MR. O'CONNOR: Objection.               15:19:35
    21   through 2000 {sic} time period; is that        15:17:46     21       Form.                           15:19:36
    22   correct?                           15:17:48                 22            THE WITNESS: Correct.                15:19:37
    23       A. Yes.                        15:17:48                 23   QUESTIONS BY MR. KO:                             15:19:37
    24       Q. Okay. And here you're               15:17:49         24       Q. Okay. At the time that you           15:19:45
    25   indicating that your suspicious order         15:17:50      25   learned that Sunrise and Harvard had their       15:19:45

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     1 licenses suspended by the DEA, did that         15:19:48         1 this chronology is the chronology that you           15:21:41
     2 concern you?                            15:19:50                 2   conveyed to Ms. Spaulding?                    15:21:44
     3       A. Yes.                         15:19:50                   3       A. Yes, I believe it is.             15:21:47
     4       Q. Okay. And it also -- and it         15:19:50            4       Q. Okay. And does the                   15:21:48
     5   concerned you because you had been unable to 15:19:52          5   chronology -- indicates that in the fall       15:22:04
     6   detect the fact that they actually had       15:19:56          6   of 2008 -- well, first of all, there's a     15:22:07
     7   shipped many suspicious orders, according to 15:19:58          7   reference made at the top of the page to an 15:22:09
     8   the DEA, prior to 2010, correct?             15:20:00          8   old version that was being sent to DEA            15:22:11
     9            MR. O'CONNOR: Objection to             15:20:01       9   Albany.                               15:22:15
    10       form.                          15:20:02                   10            Do you see that?                15:22:16
    11            THE WITNESS: It concerned me            15:20:02     11       A. Yes, I do.                      15:22:16
    12       because they were direct customers of 15:20:05            12       Q. And in your chronology you               15:22:16
    13       Mallinckrodt.                     15:20:06                13   indicate, quote, "This reporting system was 15:22:22
    14   QUESTIONS BY MR. KO:                            15:20:07      14   discontinued at the direction of suspicious 15:22:24
    15       Q. Okay. And they were direct            15:20:07         15   order monitoring team pending new order             15:22:27
    16   customers of Mallinckrodt that had            15:20:09        16   algorithms that the SOM team was working to 15:22:30
    17   Mallinckrodt pills sold to pharmacies and       15:20:12      17   establish."                           15:22:32
    18   clinics -- strike that.               15:20:16                18            Did I read that correctly?        15:22:33
    19            When you say it concerned you        15:20:22        19       A. Yes.                          15:22:33
    20   because they were direct customers of          15:20:27       20       Q. So, again, in the fall of 2008, 15:22:35
    21   Mallinckrodt, is it also accurate to say that 15:20:28        21   you are continually working on revising the 15:22:37
    22   you were concerned because Mallinckrodt pills 15:20:30        22   SOM program, correct?                        15:22:40
    23   may have been diverted or abused as a result 15:20:37         23       A. Correct.                        15:22:41
    24   of shipments made by Sunrise and Harvard?          15:20:40   24       Q. And you had abandoned a                 15:22:42
    25            MR. O'CONNOR: Objection to             15:20:42      25   reporting system that was in place to send 15:22:45

                                                          Page 311                                                           Page 313
     1       form.                         15:20:43                     1 reports to DEA Albany as of this date,          15:22:49
     2            THE WITNESS: Yes.                 15:20:44            2 correct?                               15:22:52
     3   QUESTIONS BY MR. KO:                           15:20:46        3        A. Yes.                         15:22:52
     4       Q. Okay. Now, I want to turn to         15:20:47           4        Q. Okay. Turning to the next            15:22:54
     5   the -- you can keep the e-mail in front of    15:20:49         5   page, there's an indication on February 16, 15:23:11
     6   you if you'd like, but this document which is 15:20:53         6   2009, that "SOM draft procedure sent to legal 15:23:18
     7   Exhibit 35, that appears to be a chronology 15:20:58           7   department for further review relative to new 15:23:22
     8   of the suspicious order monitoring program       15:21:03      8   tasks being created as part of the revised      15:23:29
     9   from August 2008 through 2010; is that         15:21:05        9   program."                             15:23:31
    10   correct?                           15:21:08                   10             Do you see that?              15:23:31
    11       A. That is correct.               15:21:08                11        A. Yes.                         15:23:31
    12       Q. And it's specifically a          15:21:08              12        Q. So legal played a part in the       15:23:31
    13   chronology of the SOM program regarding           15:21:12    13   review of the SOM draft procedures and the         15:23:33
    14   Mallinckrodt's dosage products during that      15:21:14      14   ultimate implementation of the revised SOM          15:23:36
    15   time period, correct?                  15:21:17               15   program; is that fair to say?              15:23:39
    16       A. Correct.                     15:21:17                  16        A. Yes.                         15:23:40
    17       Q. And in Exhibit 15, you             15:21:18            17        Q. Okay. And do you recall              15:23:40
    18   reference to Ms. Spaulding a chronology, a      15:21:22      18   working with Mr. Lohman and Ms. Duft in             15:23:41
    19   lengthy chronology, to try and get her up to 15:21:25         19   connection with implementation of the revised 15:23:45
    20   speed on what has occurred with respect to      15:21:28      20   SOM program?                              15:23:47
    21   Mallinckrodt's SOM program.                  15:21:30         21        A. Yes.                         15:23:48
    22            Do you see a reference to that? 15:21:32             22        Q. Is it fair to say that they      15:23:48
    23            It'll be at the --        15:21:38                   23   had -- in addition to working with them, is 15:23:54
    24       A. Yes, yes, I do.                15:21:39                24   it fair to say that they had -- or how would 15:23:56
    25       Q. Do you recall whether or not         15:21:41          25   you describe their involvement in the          15:24:01

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     1 implementation of the revised SOM program?           15:24:02           1 than the interaction you had with other        15:25:26
     2            MR. O'CONNOR: I'm just going          15:24:05               2 groups?                                15:25:29
     3       to remind the witness not to get into 15:24:06                    3       A. I don't know. I can't say.          15:25:30
     4       any specific communications with         15:24:07                 4       Q. Okay.                          15:25:33
     5       counsel.                      15:24:08                            5       A. I can't answer.                  15:25:33
     6            THE WITNESS: They were               15:24:09                6       Q. Do you recall if you had any           15:25:33
     7       contributors and reviewers in terms of 15:24:13                   7   kind of day-to-day communication with them? 15:25:35
     8       the current system set of enhancements 15:24:15                   8       A. I don't recall, but I do not        15:25:37
     9       that we were working on.              15:24:17                    9   think so.                            15:25:43
    10   QUESTIONS BY MR. KO:                           15:24:18              10       Q. Okay. Now, on the next --             15:25:43
    11       Q. Sure.                      15:24:18                           11   well, the next entry is redacted, but the      15:25:50
    12            And do you recall how           15:24:18                    12   entry after that dated March 2, 2009,          15:25:52
    13   frequently you communicated with them during 15:24:22                13   indicates that "Mr. Rausch continues to work 15:25:54
    14   this time period?                    15:24:24                        14   with IS to define the criteria of what would 15:25:57
    15       A. I do not.                   15:24:25                          15   be peculiar -- what would be a peculiar order 15:25:59
    16       Q. Okay. Do you recall whether or 15:24:26                       16   and how to determine programmatic flags for 15:26:01
    17   not it was monthly communications with them 15:24:27                 17   detection."                           15:26:05
    18   or weekly communications?                   15:24:30                 18            Did I read that correctly?       15:26:06
    19       A. I do not.                   15:24:32                          19       A. Yes, you did.                    15:26:06
    20       Q. Relative to other people that       15:24:33                  20       Q. Okay. And perhaps it might             15:26:09
    21   you had worked with in connection with          15:24:35             21   mean to say problematic, but in any way, we 15:26:10
    22   revising the SOM policy, do you have any         15:24:36            22   don't need to guess.                     15:26:14
    23   understanding of whether or not their        15:24:40                23            It's fair to say that as of    15:26:17
    24   involvement was higher or lower than, for       15:24:42             24   March 2, 2009, Jim Rausch is continuing to 15:26:19
    25   example, your interactions with Mr. Ratliff 15:24:47                 25   try and define the criteria of what          15:26:24

                                                                  Page 315                                                          Page 317
     1 in the security department?                     15:24:49                1 constitutes a peculiar order.                15:26:26
     2            MR. O'CONNOR: Objection to                  15:24:53         2             MR. O'CONNOR: Objection.              15:26:27
     3      form.                            15:24:53                          3   QUESTIONS BY MR. KO:                             15:26:27
     4            THE WITNESS: I'm sorry, I              15:24:53              4       Q. Correct?                       15:26:28
     5      thought you were talking about legal.            15:24:54          5       A. That is correct.                15:26:28
     6 QUESTIONS BY MR. KO:                                   15:24:55         6       Q. And IS is information systems? 15:26:29
     7      Q.      I am. And I'm just trying to        15:24:55               7       A. Yes, that's correct.             15:26:31
     8 get an understanding --                       15:24:57                  8       Q. And was there a point person           15:26:32
     9      A.      Okay.                     15:24:57                         9   in -- at IS that you worked with or you knew 15:26:34
    10      Q.      Because since you can't            15:24:59               10   was part of the SOM team?                    15:26:37
    11 necessarily recall how involved they were,              15:25:01       11       A. I don't know.                   15:26:39
    12 I'm just trying to get an understanding of            15:25:03         12       Q. Okay. Now, further down on              15:26:41
    13 perhaps seeing if you knew how much they were 15:25:05                 13   June 29, 2009, you indicate that "revised       15:26:48
    14 involved relative to other groups that were            15:25:07        14   questionnaire -- customer questionnaires are 15:26:54
    15 part of the SOM team.                          15:25:08                15   submitted to legal that have been updated        15:26:56
    16            So it's fair to say that they      15:25:09                 16   based upon CSF focus group meetings Jim             15:26:58
    17 were part of the SOM -- legal was part of the 15:25:10                 17   Rausch and Cathy Stewart conducted with            15:27:02
    18 SOM team, correct?                             15:25:13                18   CSRs."                               15:27:04
    19      A.      Correct.                      15:25:13                    19             Did I read that correctly?      15:27:05
    20      Q.      And you had some interaction             15:25:14         20       A. Yes.                         15:27:05
    21 with them in implementing an SOM program,                   15:25:16   21       Q. So again, you're continually          15:27:06
    22 correct?                               15:25:19                        22   working on the customer checklists or           15:27:07
    23      A.      Correct.                      15:25:19                    23   questionnaires that will be submitted to       15:27:10
    24      Q.      And would you say that that          15:25:20             24   Mallinckrodt customers in connection with the 15:27:13
    25 involvement or interaction was more or less              15:25:22      25   SOM program; fair to say?                   15:27:15

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                                                         Page 318                                                         Page 320
     1       A. Yes.                       15:27:17                    1 report to Ms. Spaulding, do you?              15:29:25
     2       Q. Okay. And the -- by the way,         15:27:18          2       A. I do not.                     15:29:26
     3   in this chronology that you drafted, you      15:27:36        3       Q. Okay. And by the way, what was 15:29:29
     4   represented to Eileen that this was an       15:27:40         4   the approximate date of the strike?           15:29:30
     5   attempt by you to provide an extensive        15:27:44        5       A. It was in 2010, and I believe 15:29:31
     6   chronology on SOM activities during this        15:27:49      6   it would have started in March or April         15:29:38
     7   two-year time period.                   15:27:52              7   because our union contract's due in March, 15:29:39
     8            Why were you providing this to 15:27:52              8   but I think they had an extension until        15:29:43
     9   her?                             15:27:56                     9   April. So I'm not -- around that time.        15:29:45
    10       A. I was assigned at the St. Louis 15:27:56              10       Q. Okay. Great.                    15:29:48
    11   plant, working in the plant during a work      15:27:57      11            And it lasted until May or June 15:29:49
    12   stoppage which had gone on for an extended        15:28:00   12   of 2010?                            15:29:54
    13   period of time, months, and so I wanted to      15:28:04     13       A. Or longer. I can't --            15:29:54
    14   update Eileen on the status of the current    15:28:07       14       Q. Sure.                        15:29:57
    15   system of enhancements.                   15:28:10           15       A. I can't remember when it was           15:29:57
    16       Q. Okay. And do you recall             15:28:11          16   over.                             15:29:58
    17   whether or not you may have provided this to 15:28:13        17       Q. Sure.                        15:29:58
    18   her in preparation for any meetings that she 15:28:15        18            Turn to page 4 of this report, 15:29:59
    19   was having with DEA?                      15:28:18           19   this chronology. There's a reference made 15:30:02
    20       A. I don't recall.              15:28:19                 20   that on April 30, 2010, the peculiar order 15:30:11
    21       Q. Okay. And you did reference a 15:28:23                21   calculations changed from a       factor to a      15:30:14
    22   work stoppage at Mallinckrodt. I understand 15:28:26         22   factor.                           15:30:18
    23   that there was a strike by some employees at 15:28:29        23            Do you see that reference?        15:30:20
    24   Covidien at the time.                  15:28:31              24       A. I do.                       15:30:21
    25       A. Is that referenced here?          15:28:31            25       Q. So if I understand correctly, 15:30:22

                                                         Page 319                                                          Page 321
     1       Q. I don't think it is.         15:28:33              1       the peculiar order algorithm on April 30,       15:30:27
     2       A. Okay.                       15:28:34               2       2010, increased from        to , correct?        15:30:30
     3       Q. Yeah, but --                 15:28:34              3            A. That's correct.                15:30:36
     4       A. All right.                  15:28:34               4            Q. So in other words, as of April 15:30:36
     5       Q. -- just -- just generally there 15:28:35           5       30, 2010, the algorithm that Mallinckrodt        15:30:38
     6   was --                           15:28:35                 6       utilized to determine whether or not an order 15:30:42
     7       A. Yes, you're correct. Yes.         15:28:35         7       was suspicious was by determining whether an 15:30:44
     8       Q. There was a strike by Covidien 15:28:37            8       order was               greater than the prior 15:30:50
     9   employees in the 2010 time period.           15:28:39     9       year average; is that accurate?             15:30:54
    10           How long did that last?        15:28:41          10            A. Yes.                        15:30:57
    11       A. 17 weeks, I believe.            15:28:42          11            Q. Okay. And this increase             15:30:58
    12       Q. Okay. A fairly long strike.       15:28:51        12       resulted for a variety of reasons, is my      15:31:04
    13       A. (Witness nods head.)             15:28:52         13       understanding, but is one of the reasons that 15:31:08
    14       Q. And during that time period,        15:28:53      14       you increased from       to     because the       15:31:11
    15   was there any work done on attempting to        15:28:54 15       peculiar order report was too lengthy?         15:31:14
    16   improve or revise the SOM process?            15:28:56   16                MR. O'CONNOR: Objection to              15:31:18
    17       A. Yes.                       15:29:00               17            form.                         15:31:19
    18       Q. And who was that work done by? 15:29:01           18                THE WITNESS: Yes.                   15:31:20
    19       A. So the work was ongoing, with         15:29:03    19       QUESTIONS BY MR. KO:                             15:31:20
    20   Jim Rausch working with IT on the algorithms, 15:29:06 20              Q. So it was creating an             15:31:21
    21   so other subcomponents of the team continued 15:29:10 21          administrative burden because there were too 15:31:22
    22   while I was away.                     15:29:13           22       many orders to review?                     15:31:25
    23       Q. Okay. And with respect to this 15:29:15           23                MR. O'CONNOR: Objection to              15:31:26
    24   chronology, you have no reason to dispute the 15:29:17 24              form.                         15:31:27
    25   accuracy of any of these events that you      15:29:21   25                THE WITNESS: Yes.                   15:31:27

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                                                                             Review
                                                                  Page 322                                                       Page 324
     1 QUESTIONS BY MR. KO:                                   15:31:29        1 Exhibit 33 to the Stewart deposition.           15:34:04
     2      Q.      Okay. And so you and others           15:31:29            2            MR. KO: And for the record, it 15:34:15
     3 believed that increasing the peculiar order            15:31:33        3       ends in Bates 279975.                15:34:11
     4 algorithm to        would reduce the amount of            15:31:37     4   QUESTIONS BY MR. KO:                            15:34:11
     5 reports that were printed for the SOM team to 15:31:39                 5       Q. And this appears to be an           15:34:22
     6 review, correct?                            15:31:43                   6   e-mail exchange between you and Ms. Stewart. 15:34:23
     7      A.      That's correct, and the hope       15:31:45               7            Do you see that?              15:34:25
     8 was that the truly -- the orders that needed        15:31:47           8       A. Yes.                        15:34:26
     9 to be investigated further would then print            15:31:50        9       Q. And I just have a couple            15:34:26
    10 based upon this new change in the algorithm.             15:31:54     10   questions on this.                    15:34:28
    11      Q.      Okay. And the increase from               15:31:59       11            Ms. Stewart asks on Monday,         15:34:32
    12 to        occurs during this time period -- well, 15:32:07            12   August 9, 2010, quote, "How's progress on the 15:34:36
    13 strike that.                           15:32:10                       13   revised suspicious order monitoring program 15:34:43
    14            I believe as of the date of --     15:32:27                14   going?" end quote.                      15:34:44
    15 I know you don't recall when the actual                15:32:29       15            Did I read that correctly?      15:34:47
    16 revised SOM policy was formalized, but at                15:32:32     16       A. Yes.                        15:34:48
    17 least as of the date of this e-mail,            15:32:34              17       Q. Okay. And your response -- you 15:34:48
    18 October 31, 2010, the revised SOM program had 15:32:36                18   respond several things, but your response to 15:34:53
    19 yet to be formalized; is that correct?            15:32:38            19   this question is, quote, "We had a meeting 15:34:54
    20            MR. O'CONNOR: Objection.                 15:32:40          20   last week that could only be classified as a 15:34:57
    21      Form.                           15:32:41                         21   train wreck, but the effort will continue and 15:35:00
    22            THE WITNESS: So that                   15:32:41            22   I will not be discouraged. I will not be     15:35:02
    23      depends -- yes. In a final SOP, yes,         15:32:46            23   discouraged. I will not be discouraged."       15:35:38
    24      but I believe that we were updating           15:32:50           24            Did I read that correctly?      15:35:07
    25      our work instructions or our               15:32:52              25       A. Yes.                        15:35:07

                                                                  Page 323                                                       Page 325
     1       procedures all the way along the line. 15:32:53                  1       Q. Okay. So fair to say that as       15:35:08
     2       But, yes, finalized, signed, sealed,    15:32:56                 2   of August 9, 2010, at least with respect to 15:35:11
     3       yes, it was not at that time.        15:32:59                    3   the meeting you had on the revised SOM           15:35:14
     4   QUESTIONS BY MR. KO:                            15:33:00             4   program, you believed that the meeting was a 15:35:16
     5       Q. And when we talk about the             15:33:00               5   train wreck, correct?                  15:35:19
     6   final SOP or SOM procedure, this was a formal 15:33:01               6       A. That particular meeting, but I 15:35:21
     7   document which lays out the criteria for        15:33:04             7   don't remember what the meeting was, and it's 15:35:23
     8   identifying a suspicious order, correct?       15:33:07              8   an inartful term on my part. But, yes,       15:35:24
     9       A. Correct.                      15:33:10                        9   that's what the e-mail says.             15:35:29
    10       Q. And so at the time -- as of         15:33:11                 10       Q. And you have no reason to doubt 15:35:30
    11   October 31, 2010, a final SOM procedure that 15:33:13               11   that you sent this e-mail to Ms. Stewart?     15:35:32
    12   outlines the criteria for identifying a     15:33:19                12       A. I don't.                   15:35:34
    13   suspicious order had not yet been finalized, 15:33:22               13       Q. Okay. Were you frustrated at         15:35:35
    14   correct?                            15:33:25                        14   the time in August of 2010 with how the         15:35:39
    15       A. So does this -- oh, that --        15:33:25                  15   revised suspicious order monitoring program 15:35:42
    16   yes, that's correct based upon this e-mail, 15:33:30                16   was going?                          15:35:44
    17   yes.                              15:33:32                          17       A. I would like -- I would like to 15:35:44
    18       Q. Okay. I'm going to hand you a 15:33:47                       18   read this whole e-mail, please, for context, 15:35:51
    19   copy of what will be marked as Harper            15:33:49           19   because it appears to be talking about       15:35:53
    20   Exhibit 16.                          15:33:50                       20   exports, import permits and letters of       15:35:56
    21       A. May I put these aside?              15:33:51                 21   non-reexport.                        15:35:59
    22       Q. Yes, you may.                    15:33:52                    22            So we've switched the          15:36:00
    23       A. All right.                    15:33:54                       23   conversation to SOM, but I don't see that on 15:36:01
    24       Q. Actually, I lied. It won't be 15:33:54                       24   this page.                        15:36:04
    25   Exhibit 16. It's previously been marked as 15:34:02                 25       Q. Sure. Sure.                   15:36:05

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                                                         Page 326                                                             Page 328
     1            So I guess -- I'll just ask you 15:36:05              1 group decided that the actual day-to-day            15:38:28
     2   a question to save time.                  15:36:08             2   monitoring responsibility should be switched 15:38:31
     3            Ms. Stewart clearly asks you        15:36:10          3   to a non-customer service function in that        15:38:32
     4   whether -- how progress on the revised           15:36:12      4   those that have responsibility to manage the 15:38:38
     5   suspicious order monitoring program is going, 15:36:16         5   orders have a conflict of interest in         15:38:40
     6   correct?                             15:36:17                  6   deciding which orders should ultimately be         15:38:42
     7        A. Yes.                         15:36:17                  7   shipped, with the ultimate right -- with        15:38:46
     8        Q. And separate and apart --           15:36:17           8   ultimate right of refusal retained by the       15:38:50
     9   separate and apart from what you responded to 15:36:18         9   controlled substances compliance group."           15:38:55
    10   her, however inartful that was, my question 15:36:22          10       Q. Okay. Thank you for that.             15:38:56
    11   to you is: Do you recall in the 2010 time        15:36:25     11             So is it accurate to say that    15:38:57
    12   period being frustrated at the progress of      15:36:29      12   one of the things that came out of this         15:39:00
    13   the revised SOM policy at Mallinckrodt?            15:36:32   13   conference call regarding Mallinckrodt's then 15:39:03
    14        A. Yes.                         15:36:35                 14   existing SOM procedure was that you were             15:39:05
    15        Q. Okay. And as of August 2010,            15:36:40      15   attempting to shift the day-to-day monitoring 15:39:09
    16   this is about two and a half years after you 15:36:55         16   responsibility of particular orders to a       15:39:12
    17   first identify SOM as being an elevated          15:36:58     17   non-customer service function?                 15:39:19
    18   priority for you; is that fair to say?      15:37:01          18       A. That is correct.                 15:39:20
    19        A. Yes.                         15:37:03                 19       Q. Okay. And earlier we had               15:39:21
    20            (Mallinckrodt-Harper Exhibit 16 15:37:07             20   discussed about -- earlier we had discussed 15:39:27
    21        marked for identification.)           15:37:07           21   the fact that certain salespeople did not       15:39:29
    22   QUESTIONS BY MR. KO:                              15:37:07    22   have day-to-day monitoring responsibilities 15:39:32
    23        Q. Okay. I'm going to hand you a 15:37:07                23   with respect to SOM.                       15:39:34
    24   copy of what's going to now be marked as -- 15:37:08          24             Does this change your testimony 15:39:36
    25   you can set that aside.                  15:37:11             25   at all or refresh your recollection at all    15:39:38

                                                         Page 327                                                           Page 329
     1       A. All right.                    15:37:12                  1   that at one point in time NAMs and/or           15:39:40
     2       Q. This is a copy of Harper             15:37:13           2   customer service representatives did, indeed, 15:39:44
     3   Exhibit 16. And for the record, it ends in 15:37:20            3   have day-to-day monitoring responsibilities 15:39:49
     4   Bates 280260.                          15:37:25                4   with respect to Mallinckrodt's suspicious       15:39:50
     5             And this is an e-mail exchange 15:37:37              5   order monitoring program?                   15:39:53
     6   between, again, you and Ms. Spaulding dated 15:37:38 6                      MR. O'CONNOR: Objection to             15:39:53
     7   September 24, 2010?                        15:37:44            7       form.                          15:39:54
     8       A. Correct, yes.                   15:37:45                8            THE WITNESS: So I'd like to          15:39:54
     9       Q. And Ms. Spaulding asks at the           15:37:46        9       clarify, please.                 15:39:54
    10   bottom how a conference call on SOM went.            15:37:54 10            When we talk about commercial         15:39:55
    11             Do you see that?              15:37:59              11       group, that's the NAMs.               15:39:56
    12       A. Uh-huh. I do.                    15:38:00              12            Customer service is not called 15:39:58
    13       Q. And you respond, and I'd ask           15:38:01        13       commercial group, unless I             15:40:00
    14   that you read the first full sentence at the 15:38:05         14       inadvertently referred to them as that 15:40:01
    15   top of your e-mail.                     15:38:11              15       here. They've never been part --        15:40:04
    16       A. "Interesting, the group             15:38:12           16       even -- it seems like they would be      15:40:07
    17   decided" --                          15:38:15                 17       commercial. They are not commercial          15:40:09
    18       Q. I'm sorry, just I guess --         15:38:15            18       group.                         15:40:10
    19       A. Oh, I beg your pardon.               15:38:17          19            So this is talking about switch 15:40:12
    20       Q. Yeah, I guess "pretty well" is 15:38:19                20       from a non-customer service function. 15:40:13
    21   the first sentence. Just so just start      15:38:20          21   QUESTIONS BY MR. KO:                            15:40:15
    22   reading from "pretty well."                 15:38:23          22       Q. Okay. So are you referring           15:40:16
    23       A. Oh, I'm sorry.                  15:38:25               23   here to CSRs or NAMs?                       15:40:17
    24       Q. That's okay.                    15:38:25               24       A. CSRs.                         15:40:20
    25       A. "Pretty well. Interesting, the 15:38:26                25       Q. Okay. So then prior to the          15:40:21

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                                                            Page 330                                                             Page 332
     1 date of this e-mail, it would be accurate to       15:40:25         1       A. Yes, except Jane Williams was          15:42:19
     2   say that CSRs had actual day-to-day              15:40:27         2   vice president. And she was in charge of the 15:42:22
     3   monitoring responsibilities with respect to 15:40:30              3   NAMs but not a NAM herself.                   15:42:24
     4   Mallinckrodt's SOM program?                     15:40:31          4       Q. Right. Thank you for the            15:42:26
     5       A. So I'd like to clarify. It was 15:40:33                    5   clarification.                      15:42:27
     6   Jim Rausch in particular who was the manager 15:40:34             6            So during the two -- would it     15:42:27
     7   of C -- customer service.                  15:40:36               7   be accurate to say that during the 2005       15:42:30
     8       Q. Okay. So what you're saying             15:40:39           8   through 2017 time period you interacted with 15:42:35
     9   then through this e-mail is that you wanted 15:40:41              9   about four NAMs?                        15:42:37
    10   to remove Jim Rausch from the day-to-day            15:40:45     10       A. So there was also -- Bonnie New 15:42:39
    11   monitoring of Mallinckrodt's SOM program?             15:40:48   11   is another. There was a gentleman who -- a 15:42:46
    12       A. The group decided that, yes.           15:40:50           12   name Dave Irwin. Again, people transitioned 15:42:51
    13       Q. Okay. And did you in fact              15:40:52           13   roles over time, and, I'm sorry, I cannot say 15:42:53
    14   implement this policy change?                  15:40:53          14   that at one certain time frame which NAMs I 15:42:54
    15       A. Yes.                        15:40:55                      15   interacted with.                     15:42:57
    16       Q. Okay. Now, I know that you're 15:40:55                    16       Q. Sure. And I'm just trying to        15:42:57
    17   not referring to NAMs here, but would you           15:41:11     17   get a general understanding.               15:42:59
    18   agree with me that -- well, first of all, let 15:41:15           18       A. Okay.                        15:43:00
    19   me back up.                           15:41:19                   19       Q. So approximately four to five         15:43:01
    20            Do you have any understanding          15:41:19         20   NAMs that you interacted with in connection 15:43:02
    21   of how many national account managers there 15:41:20             21   with your -- in connection with your          15:43:04
    22   were at Mallinckrodt?                      15:41:23              22   responsibilities in designing, implementing, 15:43:08
    23       A. I do not.                    15:41:24                     23   an SOM program, correct?                    15:43:09
    24       Q. Okay. Does the number four               15:41:25         24       A. I'll agree with approximately, 15:43:11
    25   sound accurate to you?                     15:41:29              25   yes.                             15:43:13

                                                          Page 331                                                               Page 333
     1       A. It's possible. I just don't -- 15:41:30                    1       Q. Okay. And despite not knowing 15:43:13
     2   I don't know.                         15:41:32                    2   exactly how much NAMs made, was it your              15:43:24
     3       Q. Okay. Would you -- if I             15:41:33               3   understanding that NAMs were compensated             15:43:26
     4   represented to you, and assuming that I could 15:41:38            4   based on the amount of customers that they 15:43:27
     5   prove at trial that there were approximately 15:41:40             5   had?                               15:43:32
     6   eight national account managers at            15:41:42            6       A. No, I didn't -- I didn't know. 15:43:32
     7   Mallinckrodt during the 2005 through 2015         15:41:44        7       Q. You had no understanding?              15:43:34
     8   time period, does that -- is that consistent 15:41:48             8       A. Right.                        15:43:35
     9   with your understanding?                   15:41:49               9       Q. Okay. To the extent they were 15:43:36
    10             MR. O'CONNOR: Object to form. 15:41:51                 10   compensated based on the volume of pills          15:43:40
    11             THE WITNESS: I just don't know 15:41:52                11   purchased by their customers, would you agree 15:43:46
    12       who the NAMs were at any particular         15:41:55         12   that that would be a conflict of interest -- 15:43:48
    13       time or assigned to which product         15:41:57           13             MR. O'CONNOR: Object to form. 15:43:51
    14       line.                         15:41:59                       14   QUESTIONS BY MR. KO:                            15:43:51
    15   QUESTIONS BY MR. KO:                            15:42:00         15       Q. -- to the extent they were          15:43:51
    16       Q. Sure.                        15:42:00                     16   involved in the SOM monitoring process?            15:43:52
    17             But you interacted with many of 15:42:00               17             MR. O'CONNOR: Same objection. 15:43:54
    18   the NAMs, correct?                       15:42:03                18             THE WITNESS: So I'm sorry, are 15:43:54
    19       A. Correct.                      15:42:04                    19       we making the -- the inferential leap 15:43:55
    20       Q. And how many NAMs did you                 15:42:05        20       that they were definitely -- because I 15:43:59
    21   interact with?                        15:42:06                   21       don't know about their compensation, 15:44:01
    22       A. Four to six, I'm guesstimating. 15:42:06                  22       if it was dollars, pills, accounts,    15:44:01
    23       Q. And among those were Victor             15:42:13          23       regions. I don't know that.           15:44:04
    24   Borelli, Steve Becker and Jane Williams,        15:42:16         24   QUESTIONS BY MR. KO:                            15:44:05
    25   correct?                            15:42:19                     25       Q. Sure.                        15:44:06

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                                                           Page 334                                                          Page 336
     1             Assuming that NAMs were paid          15:44:06      1 conflict of interest that would apply with        15:46:13
     2   based on volume of pills sold, at least in 15:44:09           2   respect to a national account manager?          15:46:15
     3   part --                            15:44:11                   3            MR. O'CONNOR: Object to form. 15:46:16
     4       A. Okay.                         15:44:11                 4            THE WITNESS: So it doesn't,           15:46:17
     5       Q. -- were paid based on the            15:44:13          5       because neither of them, neither the 15:46:18
     6   amount of pills that they were able to sell 15:44:14          6       NAMs or customer service, were --           15:46:20
     7   to a particular customer, would you agree        15:44:16     7       after this, they were not directly      15:46:26
     8   that that would be a conflict of interest to 15:44:18         8       responsible for the day-to-day           15:46:28
     9   have them involved in evaluating whether or 15:44:21          9       monitoring. They were consulted or          15:46:29
    10   not an order was suspicious?                15:44:23         10       rose situations to our attention.       15:46:31
    11             MR. O'CONNOR: Object to form. 15:44:24             11   QUESTIONS BY MR. KO:                             15:46:33
    12             THE WITNESS: No.                  15:44:25         12       Q. I understand that that was           15:46:34
    13   QUESTIONS BY MR. KO:                             15:44:26    13   the -- what happened after this e-mail, or 15:46:34
    14       Q. Okay. And going back to the            15:44:26       14   that change was attempted to be made. But 15:46:37
    15   e-mail that's in front of you and -- you      15:44:41       15   prior to the date of this, you are          15:46:40
    16   indicate that at least from this meeting it 15:44:45         16   indicating, are you not, in this e-mail that 15:46:46
    17   was agreed that customer service              15:44:51       17   a conflict of interest exists with respect to 15:46:47
    18   representatives would no longer be involved 15:44:56         18   the customer service group?                  15:46:49
    19   in the day-to-day monitoring because of          15:44:58    19       A. It does state -- yes, it does 15:46:51
    20   their -- because of a conflict of interest. 15:45:00         20   state that.                         15:46:59
    21             MR. O'CONNOR: Object to form. 15:45:02             21       Q. And you said also that national 15:46:59
    22   QUESTIONS BY MR. KO:                             15:45:03    22   account managers have involvement in -- in 15:47:01
    23       Q. Do you see it?                   15:45:05             23   Mallinckrodt customers as well, right?          15:47:04
    24       A. Yes. Yes, I do see that. Yes. 15:45:06                24       A. Correct.                      15:47:06
    25       Q. And what is the conflict of          15:45:09         25       Q. And that approximately four to 15:47:07

                                                          Page 335                                                        Page 337
     1 interest that you're referring to there?      15:45:10        1     eight national account managers that           15:47:11
     2       A. It's a -- you know, it's just a 15:45:11             2     Mallinckrodt had, they were in charge of         15:47:12
     3   conglomeration of even though customer            15:45:12 3      wholesale distributors that Mallinckrodt        15:47:15
     4   service is separate from the NAMs and           15:45:16    4     supplied drugs to, correct?               15:47:18
     5   separate from commercial, customer service 15:45:20 5                       MR. O'CONNOR: Object to form. 15:47:20
     6   does maintain a relationship with the         15:45:22      6               THE WITNESS: Correct.              15:47:20
     7   customers. And so that's the basis on which 15:45:24        7     QUESTIONS BY MR. KO:                             15:47:21
     8   this statement was made.                  15:45:26          8         Q. And so the -- do you believe          15:47:22
     9       Q. Well, how -- how was it any           15:45:28       9     that a conflict of interest exists with     15:47:28
    10   different -- how was the conflict of interest 15:45:34     10     respect to a national account manager's         15:47:32
    11   that applies with respect to the customer      15:45:36    11     involvement in the suspicious order            15:47:34
    12   service group any different than a conflict 15:45:38       12     monitoring program given that their --          15:47:36
    13   of interest that would apply with respect to 15:45:40      13     assuming this was true -- given that their 15:47:40
    14   the national account managers?               15:45:43      14     primary form of compensation was the amount 15:47:44
    15       A. So customer service group            15:45:44       15     of pills they were able to sell --         15:47:47
    16   maintained the relationship with the          15:45:51     16               MR. O'CONNOR: Object to form. 15:47:49
    17   customer, as did the NAMs.                  15:45:53       17     QUESTIONS BY MR. KO:                             15:47:49
    18            Could you repeat that question, 15:45:55          18         Q. -- to a particular Mallinckrodt 15:47:50
    19   please? I'm getting mixed up as I'm thinking 15:45:56 19          customer?                             15:47:52
    20   of my answer. I'm sorry.                  15:46:01         20               MR. O'CONNOR: Objection.              15:47:52
    21       Q. Sure.                       15:46:03                21               THE WITNESS: No, I do not.           15:47:53
    22            How was the conflict of          15:46:03         22     QUESTIONS BY MR. KO:                             15:47:54
    23   interest that applies with the customer       15:46:04     23         Q. Okay. It's okay to say no.          15:47:54
    24   service group that you're referring to in     15:46:07     24         A. Oh, I'm sorry. I'm sorry.          15:48:06
    25   this e-mail differ in any way from the        15:46:10     25         Q. No, don't be sorry.               15:48:09

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                                                                             Review
                                                             Page 338                                                        Page 340
     1              Here's --                   15:48:09                 1 involvement in the suspicious order               15:49:49
     2        A. That was for emphasis.                15:48:09          2   monitoring program, did he not?                15:49:51
     3        Q. I want to hand you a copy of            15:48:10        3       A. To the extent that we would           15:49:52
     4   what's going to be -- what has previously          15:48:11     4   occasionally ask the NAMs questions after the 15:49:58
     5   been marked -- you can set that aside --          15:48:12      5   algorithm indicated an order was for further 15:50:01
     6   what's previously been marked as Exhibit 44 15:48:17            6   review, yes, that's correct.             15:50:03
     7   of the Stewart deposition.                   15:48:19           7       Q. So were there instances in           15:50:03
     8              MR. KO: And for the record,          15:48:20        8   which Mr. Borelli cleared -- or concluded         15:50:04
     9        it's dated -- or sorry, that's -- ends 15:48:22            9   that a peculiar order was not suspicious and 15:50:11
    10        in Bates 3028219.                     15:48:25            10   relayed that information to you?             15:50:14
    11   QUESTIONS BY MR. KO:                               15:48:25    11            MR. O'CONNOR: Object to form. 15:50:15
    12        Q. And before turning to the text 15:48:32                12            THE WITNESS: Yes.                  15:50:16
    13   of this document, Mr. -- as we discussed           15:48:33    13   QUESTIONS BY MR. KO:                             15:50:17
    14   before, Mr. Borelli is a national account         15:48:37     14       Q. Okay. And the date of this           15:50:18
    15   manager, correct?                          15:48:40            15   e-mail is May 20, 2008, correct?              15:50:18
    16        A. Yes.                           15:48:40                16       A. Yes.                        15:50:21
    17        Q. Okay. And he was a national              15:48:41      17       Q. This is simultaneous to when           15:50:21
    18   account manager in charge of certain              15:48:44     18   you are first starting to revamp your -- the 15:50:26
    19   distributors that Mallinckrodt shipped pills 15:48:45          19   revised SOM program, correct?                  15:50:31
    20   to, correct?                            15:48:47               20       A. Yes.                        15:50:32
    21        A. Yes.                           15:48:48                21       Q. And you learned Mr. Borelli -- 15:50:32
    22        Q. And the context of this e-mail, 15:48:49               22   you learned from Ms. Stewart that all the        15:50:34
    23   or the subject, is Sunrise Wholesale,            15:48:56      23   customer service reps all state that         15:50:36
    24   correct?                               15:48:57                24   Mr. Borelli will tell them anything they want 15:50:38
    25        A. Yes.                           15:48:58                25   to hear just so he can get the sale, correct? 15:50:40

                                                           Page 339                                                            Page 341
     1       Q. And as we discussed before,            15:48:58      1           A. Yes, I see that that's printed 15:50:44
     2   Sunrise had its license revoked by the DEA in 15:48:59 2            in the e-mail, yes, sir.                15:50:46
     3   2010 as a result of suspicious orders they 15:49:02         3           Q. Okay. So given that                15:50:47
     4   were shipping to Florida, correct?            15:49:05      4       Mr. Borelli has an incentive to obtain as       15:50:51
     5             MR. O'CONNOR: Object to form. 15:49:07            5       many sales as possible, is it still your     15:50:54
     6             THE WITNESS: Yes.                 15:49:08        6       testimony that you believe it's not a        15:50:57
     7   QUESTIONS BY MR. KO:                             15:49:09   7       conflict of interest for him to be involved 15:50:58
     8       Q. Okay. And Sunrise was a               15:49:09       8       in the evaluation of a peculiar order?        15:51:00
     9   customer, again, of Mallinckrodt?              15:49:11     9                MR. O'CONNOR: Object to form. 15:51:02
    10       A. Yes.                         15:49:13               10                THE WITNESS: Yes. Yes.                15:51:03
    11       Q. And is it your understanding          15:49:14      11       QUESTIONS BY MR. KO:                             15:51:03
    12   that Mr. Borelli was in charge of the Sunrise 15:49:17 12               Q. By the way, how many times did 15:51:04
    13   account?                             15:49:24              13       Mr. Borelli confirm that an order was           15:51:05
    14       A. Yes.                         15:49:24               14       actually suspicious?                     15:51:08
    15       Q. Okay. And Ms. Stewart                 15:49:24      15           A. I don't know.                   15:51:10
    16   indicates some language to you about             15:49:27  16           Q. Well, you had previously -- we 15:51:16
    17   Mr. Borelli and indicates that the e-mail       15:49:31   17       had previously discussed an e-mail in which 15:51:18
    18   importance is high.                     15:49:34           18       you told Ms. Spaulding that no orders rose to 15:51:19
    19             She says quote, "FYI, the        15:49:35        19       the level of suspicious in the 2008 to 2000 15:51:24
    20   customer service reps all state that Victor 15:49:38       20       {sic} time period --                    15:51:26
    21   will tell them anything they want to hear       15:49:41   21           A. Okay.                         15:51:27
    22   just so he can get the sale," end quote.      15:49:42     22           Q. -- correct?                    15:51:28
    23             Did I read that correctly?      15:49:46         23           A. Uh-huh.                        15:51:28
    24       A. You did.                       15:49:46             24           Q. So I take it that Mr. Borelli 15:51:29
    25       Q. Okay. And Mr. Borelli had              15:49:47     25       never, ever identified a peculiar order as 15:51:33

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     1 being suspicious; is that accurate?           15:51:35          1   license renewal, the question whether our       15:54:10
     2             MR. O'CONNOR: Object to form. 15:51:37              2   customers monitor their customers was removed 15:54:12
     3             THE WITNESS: Yes.                 15:51:38          3   from the questionnaire by the Mallinckrodt 15:54:14
     4   QUESTIONS BY MR. KO:                            15:51:39      4   suspicious order monitoring team because         15:54:16
     5       Q. And the same would be true with 15:51:39               5   there is no actual regulatory obligation to 15:54:19
     6   respect to Ms. New and Mr. Becker, correct? 15:51:41          6   monitor customers' customers."               15:54:23
     7       A. Yes. Yes, I'm following you,          15:51:43         7            Did I read that correctly with 15:54:25
     8   yes.                             15:51:44                     8   the exception of the insertion "is"?        15:54:26
     9       Q. Yeah.                        15:51:44                  9       A. Yes.                        15:54:30
    10             So to the extent that        15:51:44              10       Q. Okay. And so at -- is it safe 15:54:30
    11   Mr. Becker or Ms. New evaluated whether or          15:51:46 11   to say that prior to -- at some point prior 15:54:33
    12   not a peculiar order was suspicious, they       15:51:50     12   to August 26, 2010, in your customer           15:54:35
    13   never, in fact, reported that such an order 15:51:52         13   checklist you had a question of whether or 15:54:40
    14   was suspicious to you, correct?             15:51:57         14   not your customers monitor their customers? 15:54:43
    15       A. Correct.                     15:51:58                 15   Correct?                            15:54:50
    16       Q. Okay. Oh, and with respect            15:51:59        16       A. Yes.                        15:54:50
    17   to -- so in addition to Ms. New, Mr. Becker 15:52:17         17       Q. But you removed that question          15:54:51
    18   and Mr. Borelli, were there any other NAMs         15:52:22 18    from the questionnaire, correct?            15:54:53
    19   during the 2008 to 2000 {sic} time period        15:52:25    19       A. Yes.                        15:54:53
    20   that informed you that a peculiar order        15:52:30      20       Q. Set that aside.                15:54:54
    21   should rise to the level of a suspicious      15:52:33       21       A. All right.                   15:54:54
    22   order?                             15:52:35                  22       Q. Did you believe that removing          15:55:10
    23       A. Tim Berry was a NAM for the             15:52:35      23   that question from your questionnaire was an 15:55:10
    24   generics group at one point, and Dave Irwin, 15:52:38        24   enhancement of your SOM program?                 15:55:12
    25   but I just don't remember specifically        15:52:42       25       A. I don't think it was not, so       15:55:15

                                                          Page 343                                                       Page 345
     1 conferring with them in terms of an order         15:52:43   1      that's a double negative. I don't think it 15:55:17
     2   that required further review.              15:52:46        2      was to the detriment of the program.          15:55:21
     3       Q. Okay. As you sit -- well,           15:52:48        3          Q. Okay. So you don't regret           15:55:23
     4   again, based on your representation to         15:52:52    4      removing that question from your              15:55:25
     5   Ms. Spaulding that there were no suspicious 15:52:54 5            questionnaire?                        15:55:26
     6   orders as of October 31, 2010, is it fair to 15:52:57      6          A. No.                         15:55:27
     7   say that no national account manager ever        15:53:00  7          Q. Okay. And that's                 15:55:28
     8   reported to you that a peculiar order should 15:53:03      8      notwithstanding the fact that you did receive 15:55:30
     9   rise to the level of being a suspicious      15:53:05      9      guidance from the DEA that they expected you 15:55:33
    10   order?                             15:53:08               10      to monitor your customer's customer, correct? 15:55:35
    11       A. Yes.                         15:53:08              11               MR. O'CONNOR: Object to form. 15:55:37
    12             (Mallinckrodt-Harper Exhibit 17 15:53:08        12               THE WITNESS: Correct.              15:55:39
    13       marked for identification.)           15:53:08        13      QUESTIONS BY MR. KO:                           15:55:39
    14   QUESTIONS BY MR. KO:                            15:53:09  14          Q. Okay. So you received guidance 15:55:40
    15       Q. Okay. I want to turn to a copy 15:53:09            15      from the DEA that it was important for         15:55:42
    16   of what will be marked as exhibit -- Harper 15:53:15 16           Mallinckrodt to know your customer's            15:55:46
    17   Exhibit 17.                          15:53:19             17      customer, yet you removed that question from 15:55:48
    18             And for the record, this       15:53:34         18      your questionnaire; is that accurate?        15:55:50
    19   document is -- ends in Bates stamp 368390. 15:53:35 19                     MR. O'CONNOR: Object to form. 15:55:53
    20             In an August 26, 2010 e-mail      15:53:50      20               THE WITNESS: Yes.                 15:55:53
    21   from you to others, you state, "Ginger and 15:53:54       21               May I add, please?            15:55:54
    22   Kate," is the first page, "Although we        15:54:00    22      QUESTIONS BY MR. KO:                           15:55:55
    23   require direct customers to submit a          15:54:04    23          Q. This is a yes or no question.       15:55:56
    24   suspicious order monitoring customer            15:54:06  24      That's all I needed.                  15:55:57
    25   questionnaire with proof of their annual DEA 15:54:07 25              A. All right.                   15:55:58

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                                                         Page 346                                                            Page 348
     1        Q. Counsel can -- has the            15:55:59             1 checklist.                           15:58:05
     2   opportunity to do some redirect if he would 15:56:01           2            Is that accurate?            15:58:10
     3   like.                             15:56:02                     3       A. Yes, it is, yes.               15:58:11
     4        A. Okay. Thank you.                  15:56:03             4       Q. And she indicates that you left 15:58:12
     5             (Mallinckrodt-Harper Exhibit 18 15:56:07             5   a message regarding a customer checklist,        15:58:16
     6        marked for identification.)          15:56:08             6   correct?                           15:58:19
     7   QUESTIONS BY MR. KO:                            15:56:08       7       A. Yes. I just had to figure out 15:58:19
     8        Q. I'm going to hand you a copy of 15:56:08               8   who was leaving the message. Yes. Yes.           15:58:24
     9   what's going to be marked as Harper            15:56:09        9       Q. Sure.                       15:58:26
    10   Exhibit 18.                          15:56:12                 10            And Ms. Stewart seems to be         15:58:26
    11             And for the record, this       15:56:21             11   referencing some failures on the customer        15:58:28
    12   document ends in Bates 279142.                15:56:22        12   checklist that seemed to be the result of     15:58:31
    13             This is an April 29, 2010       15:56:28            13   confusion as it relates to the form itself. 15:58:35
    14   e-mail you send to Ms. Spaulding regarding        15:56:32    14            Do you see that reference?        15:58:39
    15   suspicious order monitoring.                15:56:36          15       A. Yes.                        15:58:40
    16             You state, quote, "We have        15:56:38          16       Q. So at the time of this e-mail, 15:58:42
    17   working algorithms, and J. Rausch has been        15:56:43    17   there was certainly some confusion with         15:58:44
    18   reviewing peculiar orders for several weeks. 15:56:46         18   respect to the questionnaire that you were 15:58:46
    19   I have a meeting with Jim tomorrow because         15:56:48   19   trying to roll out in 2009, correct?        15:58:47
    20   the review is taking several hours a day, yet 15:56:50        20       A. Yes.                        15:58:49
    21   still results in him making a judgment call 15:56:53          21       Q. And Ms. Stewart indicates that 15:58:49
    22   that he is not comfortable with. Bottom line 15:56:55         22   she's actually putting customers that have 15:58:51
    23   is that tomorrow I plan on having something 15:56:59          23   been put on hold as a result of this customer 15:58:54
    24   for you to give DEA. Trying desperately to 15:57:01           24   checklist, and she's actually recommending 15:58:57
    25   clear up all loose ends before the potential 15:57:04         25   that they be taken off.                 15:59:01

                                                           Page 347                                                        Page 349
     1 work stoppage."                           15:57:06               1           Is that consistent with how        15:59:03
     2            Did I read that correctly?       15:57:07             2   this e-mail reads?                     15:59:05
     3       A. Yes.                         15:57:08                   3           MR. O'CONNOR: Object to form. 15:59:06
     4       Q. Okay. And is it accurate to          15:57:09           4           THE WITNESS: Yes.                   15:59:06
     5   say that as of April 29, 2010, it's your      15:57:12         5   QUESTIONS BY MR. KO:                            15:59:09
     6   understanding that Mr. Rausch is still making 15:57:16         6       Q. So in other words, while there 15:59:09
     7   judgment calls on peculiar orders that he is 15:57:19          7   was confusion surrounding this particular       15:59:10
     8   not comfortable with?                     15:57:21             8   version of the customer checklist, for any 15:59:13
     9       A. Yes.                         15:57:22                   9   customers that were put on hold at that time, 15:59:18
    10       Q. Okay. You can set that aside. 15:57:23                 10   she had recommended putting them off of hold 15:59:19
    11            Now, as we discussed, in          15:57:25           11   and releasing orders; is that correct?       15:59:22
    12   addition to algorithms, you had checklists 15:57:34           12       A. Yes.                        15:59:25
    13   that you were working on at the same time         15:57:38    13           MR. O'CONNOR: Object to form. 15:59:26
    14   with respect to new and current customers, 15:57:39           14   QUESTIONS BY MR. KO:                            15:59:27
    15   correct?                            15:57:41                  15       Q. You can set that one aside.          15:59:28
    16       A. Correct.                      15:57:41                 16           (Mallinckrodt-Harper Exhibit 20 15:59:37
    17            (Mallinckrodt-Harper Exhibit 19 15:57:48             17       marked for identification.)           15:59:37
    18       marked for identification.)            15:57:48           18   QUESTIONS BY MR. KO:                            15:59:37
    19   QUESTIONS BY MR. KO:                             15:57:48     19       Q. I'm going to hand you a copy of 15:59:38
    20       Q. I'm going to hand you a copy of 15:57:48               20   what's going to be marked as Harper            15:59:39
    21   what's going to be marked as Harper             15:57:49      21   Exhibit 20.                         15:59:40
    22   Exhibit 19, and it ends in Bates 301020.        15:57:51      22           For the record, this ends in      15:59:42
    23            And this is a July 22, 2009       15:57:58           23   Bates stamp 372333.                      15:59:44
    24   e-mail from Ms. Stewart to many people,           15:58:00    24           And this is an e-mail exchange 15:59:50
    25   including you, regarding the customer           15:58:02      25   that you are having with Ms. Spaulding in        15:59:52

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                                                               Page 350                                                              Page 352
     1 the -- on February 11, 2011; is that              15:59:56            1        A. Yes.                          16:01:47
     2 accurate?                              15:59:59                       2        Q. And in some instances, you              16:01:48
     3      A.    Yes.                    16:00:00                           3    never actually in fact received the           16:01:50
     4      Q.    Okay. And I want to focus on            16:00:05           4    checklist, correct?                      16:01:53
     5 the second e-mail down in the chain that you          16:00:09        5        A. I believe this says during the 16:01:53
     6 draft to Ms. Spaulding regarding the customer 16:00:13                6    renewal.                             16:01:56
     7 checklist.                             16:00:20                       7        Q. Yeah.                          16:01:58
     8           Do you see where you have           16:00:21                8             During the renewal time period, 16:01:59
     9 indicated that you have discovered a               16:00:23           9    CDIG does nothing if the SOM customer                16:02:01
    10 disconnect in the system?                    16:00:25                10    checklist is ever returned; is that correct? 16:02:05
    11      A.    I do.                   16:00:26                          11        A. So customers would have sent in 16:02:07
    12      Q.    And you're talking about the           16:00:27           12    an initial checklist, but then this is the 16:02:13
    13 system of the customer checklist, correct?           16:00:28        13    annual update that they may not have turned 16:02:17
    14      A.    Yes.                    16:00:30                          14    in, and CDIG may not have caught that fact, 16:02:19
    15      Q.    And you indicate that, quote,      16:00:31               15    yes.                              16:02:20
    16 "We have significant gaps in that although           16:00:35        16        Q. All right. So they may have            16:02:20
    17 CDIG send out the annual update SOM customer                 16:00:40 17   turned in a checklist at one point in time, 16:02:21
    18 checklist, when the system indicates customer 16:00:44               18    but the requirement and the expectation           16:02:24
    19 account DEA registration is nearing renewal           16:00:48       19    certainly was that they would turn in at        16:02:26
    20 time, they do nothing if the SOM customer             16:00:51       20    least an annual checklist as well, correct? 16:02:27
    21 checklist is not ever returned by the             16:00:54           21             MR. O'CONNOR: Object to form. 16:02:30
    22 customer."                              16:00:56                     22             THE WITNESS: Yes.                    16:02:30
    23           Did I read that correctly?        16:00:57                 23    QUESTIONS BY MR. KO:                              16:02:31
    24      A.    Yes.                    16:00:57                          24        Q. And that wasn't always                16:02:31
    25      Q.    Okay. And CDIG basically --             16:00:59          25    happening as of 2011, correct?                16:02:32

                                                               Page 351                                                           Page 353
     1 CDIG stands for customer data integrity                16:01:03       1        A. Correct.                      16:02:33
     2 group, correct?                          16:01:06                     2        Q. And so would you say that --          16:02:34
     3       A. Correct.                       16:01:07                      3    we'll move on. You can set that aside.         16:02:42
     4       Q. And they had some involvement              16:01:07          4    Thank you.                            16:02:44
     5   in the SOM procedure, in particular the          16:01:08           5             Now, earlier we were discussing 16:02:53
     6   customer checklist, correct?                 16:01:11               6    chargebacks.                          16:02:55
     7       A. Yes.                         16:01:12                        7             Do you recall that?            16:02:55
     8       Q. But if I understand this e-mail 16:01:13                     8        A. Yes.                         16:02:56
     9   correctly, is it accurate to say that as of 16:01:16                9        Q. Do you remember when you first 16:02:57
    10   February of 2011 you were -- you discovered 16:01:19               10    started looking into utilization of         16:03:01
    11   that all SOM customer checklists were not          16:01:24        11    chargebacks -- or chargeback data to           16:03:04
    12   actually being returned by the customers,         16:01:28         12    understand the details of where your pills, 16:03:09
    13   correct?                            16:01:30                       13    Mallinckrodt pills, were going?              16:03:12
    14            MR. O'CONNOR: Object to form. 16:01:30                    14             MR. O'CONNOR: Object to form. 16:03:13
    15            THE WITNESS: Yes.                    16:01:31             15             THE WITNESS: Yes.                  16:03:14
    16   QUESTIONS BY MR. KO:                              16:01:31         16    QUESTIONS BY MR. KO:                            16:03:15
    17       Q. You would agree that this is a 16:01:32                     17        Q. And when was that?                  16:03:15
    18   significant gap in the review system, would 16:01:33               18        A. I believe it was within the         16:03:16
    19   you not?                             16:01:36                      19    scope of our involvement in the Sunrise         16:03:19
    20       A. It's a gap -- yes. In this         16:01:37                 20    investigation.                       16:03:23
    21   component of the review system, yes, it is a 16:01:41              21        Q. Okay. And that was in the 2009 16:03:23
    22   gap.                               16:01:43                        22    time period?                          16:03:26
    23       Q. Because you relied on the              16:01:43             23        A. I don't remember the -- I'm          16:03:27
    24   customer checklist to obtain information from 16:01:44             24    terrible with my years. I'm sorry, I don't 16:03:29
    25   the customer, correct?                     16:01:47                25    remember.                             16:03:33

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                                                                             Review
                                                            Page 354                                                           Page 356
     1            (Mallinckrodt-Harper Exhibit 21 16:03:33                 1 help?"                                 16:06:03
     2       marked for identification.)              16:03:34             2            Do you see that?                 16:06:07
     3   QUESTIONS BY MR. KO:                               16:03:34       3        A. Yes.                          16:06:07
     4       Q. Okay. I'm going to hand you a 16:03:34                     4        Q. Okay. And Mr. Burd's response 16:06:07
     5   copy of what's going to be marked as Harper 16:03:35              5   is, "Okay, I'll start to look into it. Yeah, 16:06:12
     6   Exhibit 21.                             16:03:37                  6   it would be through chargebacks."                16:06:16
     7       A. Okay.                            16:03:39                  7            Do you see that portion of the 16:06:18
     8       Q. And this is an e-mail chain             16:03:39           8   e-mail?                               16:06:20
     9   involving you, among other people, in the           16:03:58      9        A. I do.                        16:06:20
    10   April 17, 2007 time period; is that accurate? 16:04:03           10        Q. So is it fair to say that this 16:06:20
    11       A. Yes.                            16:04:06                  11   e-mail chain reflects an understanding by          16:06:22
    12       Q. And I don't believe I                16:04:08             12   Mallinckrodt employees that they could             16:06:27
    13   identified this document, but it ends in         16:04:09        13   utilize chargebacks to understand where            16:06:30
    14   Bates 7728295.                            16:04:14               14   Mallinckrodt-manufactured pills were ending 16:06:32
    15            Starting with the second to the 16:04:17                15   up?                                 16:06:36
    16   last e-mail at the bottom of this chain from 16:04:31            16        A. Yes.                          16:06:36
    17   Vince Kaiman to Jeff Burd in which you are            16:04:33   17        Q. And the date of this e-mail is 16:06:36
    18   cc'd, as of 2:47 -- let's start there.       16:04:38            18   April 17, 2007, correct?                    16:06:38
    19            First of all, who's Vince          16:04:43             19        A. Correct.                       16:06:39
    20   Kaiman?                                 16:04:45                 20        Q. And you were on this e-mail             16:06:40
    21       A. He was director or vice                16:04:45           21   chain?                                16:06:43
    22   president of commercial group at that time. 16:04:48             22        A. Correct.                       16:06:43
    23       Q. Okay. And he is inquiring in             16:04:53         23        Q. Okay. And I want to pay -- I           16:06:44
    24   an e-mail exchange with Jeff Burd whether or 16:04:57            24   want to turn your attention to the top of        16:06:52
    25   not Jeff can also find out of the             16:05:02           25   this e-mail in which Jeff Burd -- by the way, 16:06:54

                                                            Page 355                                                            Page 357
     1 40-milligram sales into the channel, how much 16:05:06              1 who is Jeff Burd?                        16:06:58
     2 of it ends up in clinics.                  16:05:08                 2       A. He was in commercial group, but 16:06:59
     3            Do you see that portion of the 16:05:13                  3   I believe he was on the branded side. I       16:07:00
     4   e-mail I'm referencing?                    16:05:14               4   didn't have any interaction with him.         16:07:02
     5       A. Yes.                          16:05:15                     5       Q. Sure.                        16:07:03
     6       Q. So in other words, Vince is           16:05:18             6             And Mr. Burd, who appears was a 16:07:04
     7   asking -- and the 40-milligram sales is a       16:05:20          7   senior marketing manager, he is -- he         16:07:08
     8   reference to the methadone 40 milligrams,         16:05:22        8   indicates that, "Well, we were able to get at 16:07:11
     9   correct?                            16:05:24                      9   this data quicker than I expected, with       16:07:14
    10       A. Yes.                          16:05:25                    10   Kate's help."                        16:07:17
    11       Q. Manufactured by Mallinckrodt?            16:05:25         11             Do you see that?             16:07:18
    12       A. Yes.                          16:05:27                    12       A. I do.                       16:07:19
    13       Q. And he is trying to determine          16:05:28           13       Q. So is it a fair               16:07:19
    14   where those Mallinckrodt pills ends up in        16:05:31        14   characterization of this e-mail that he was 16:07:21
    15   clinics.                           16:05:37                      15   able to obtain the chargeback data a lot      16:07:22
    16            Is that a fair characterization 16:05:37                16   quicker than he had expected?               16:07:26
    17   of the question he's asking Jeff?            16:05:39            17             MR. O'CONNOR: Object to form. 16:07:27
    18            MR. O'CONNOR: Object to form. 16:05:41                  18             THE WITNESS: Yes.                16:07:28
    19            THE WITNESS: It's how many end 16:05:41                 19   QUESTIONS BY MR. KO:                            16:07:28
    20       up in clinics versus retail.          16:05:43               20       Q. Okay. And if you look at the 16:07:29
    21   QUESTIONS BY MR. KO:                             16:05:46        21   timestamp, it looks like it takes him --     16:07:30
    22       Q. Okay. And there's some                16:05:47            22   certainly the same day, but he responds        16:07:33
    23   discussion back and forth about how one might 16:05:52           23   within six hours of when he says he will look 16:07:35
    24   go about doing that, but Vince at some point 16:05:55            24   into it, correct?                    16:07:39
    25   in the e-mail chain says, "Would chargebacks 16:05:58            25       A. Yes.                        16:07:40

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                                                           Page 358                                                                Page 360
     1        Q. So in a six-hour time period, 16:07:41                      1       A. Oh, here. Yes.                   16:09:33
     2   is it accurate to say that a Mallinckrodt      16:07:45             2       Q. Okay. Now, in that                  16:09:41
     3   employee was able to utilize chargeback data 16:07:46               3   November 19, 2009 e-mail, you ask, among             16:09:45
     4   to understand where Mallinckrodt products          16:07:50         4   other things, to Tiffany, quote, "Is it      16:09:48
     5   were ending up?                         16:07:52                    5   feasible to run chargeback summary reports 16:09:53
     6            MR. O'CONNOR: Object to form. 16:07:53                     6   each time we receive information through the 16:09:55
     7            THE WITNESS: Yes.                   16:07:53               7   industry about DEA actions against pharmacies 16:09:57
     8   QUESTIONS BY MR. KO:                             16:07:55           8   or physicians?"                        16:09:59
     9        Q. Okay. And by the way, do              16:07:56              9            Did I read that correctly?        16:10:00
    10   you -- there's a reference here to Kate. It 16:08:00               10       A. Yes.                        16:10:00
    11   says that he's able to -- he was able to      16:08:04             11       Q. So is it fair to say that at      16:10:02
    12   utilize Kate's help to get this data.       16:08:07               12   least as of November 2000 -- fair to say that 16:10:04
    13            Do you see that?               16:08:09                   13   as of November 19, 2009, you're inquiring          16:10:11
    14        A. Yes, I do.                    16:08:09                     14   about how to utilize chargeback summary            16:10:15
    15        Q. And that was Kate Neely?              16:08:10             15   reports to determine where Mallinckrodt pills 16:10:18
    16        A. Yes. Kate Muhlenkamp at the             16:08:12           16   are ending up?                         16:10:22
    17   time, yes.                          16:08:14                       17            MR. O'CONNOR: Object to form. 16:10:23
    18        Q. Right.                       16:08:15                      18            THE WITNESS: Yes.                   16:10:24
    19        A. Yes.                        16:08:15                       19   QUESTIONS BY MR. KO:                             16:10:24
    20        Q. Thank you.                     16:08:16                    20       Q. Okay. And was this -- does             16:10:25
    21            (Mallinckrodt-Harper Exhibit 22 16:08:18                  21   this refresh your recollection at all that    16:10:28
    22        marked for identification.)          16:08:18                 22   this was about the time you were -- you          16:10:32
    23   QUESTIONS BY MR. KO:                             16:08:18          23   became interested in utilizing chargeback         16:10:34
    24        Q. I'm going to hand you now a           16:08:26             24   information consistent with the DEA              16:10:36
    25   copy of what will be marked as Harper            16:08:28          25   investigation against Sunrise?               16:10:39

                                                                 Page 359                                                          Page 361
     1 Exhibit 22.                           16:08:31                        1            MR. O'CONNOR: Object to form. 16:10:41
     2           And we can go through this            16:08:37              2            THE WITNESS: No.                    16:10:42
     3 document and we can take a break.                 16:08:38            3   QUESTIONS BY MR. KO:                              16:10:44
     4           MR. O'CONNOR: Okay.                     16:08:38            4       Q. Okay.                         16:10:44
     5 QUESTIONS BY MR. KO:                               16:08:38           5       A. Well, around the same time,             16:10:44
     6      Q.    If that doesn't -- or if you      16:08:42                 6   but -- this is not speaking of that, but,     16:10:46
     7 don't mind.                           16:08:44                        7   yes, at the same time, yes, sir, sorry.       16:10:48
     8      A.    That's acceptable, thank you,        16:08:45              8       Q. Yeah, I understand that this          16:10:50
     9 yes.                               16:08:45                           9   doesn't make any reference --                16:10:51
    10      Q.    For the record, this e-mail         16:08:53              10       A. Okay. I apologize. Yes.              16:10:52
    11 exchange ends in Bates 500657. And this is             16:08:54      11       Q. Yeah, that's okay.                 16:10:54
    12 an e-mail exchange from actually the 2009 to            16:08:59     12            Around this time was when            16:10:54
    13 2010 time period.                           16:09:04                 13   Sunrise -- you began looking into Sunrise as 16:10:56
    14           And the title of the e-mail is      16:09:08               14   well, correct?                        16:10:59
    15 "Chargeback Information Request."                  16:09:09          15       A. Yes.                         16:11:00
    16           Do you see that?                  16:09:10                 16       Q. And you also were trying to            16:11:01
    17      A.    Yes, but I see that it started     16:09:11               17   pull chargeback data and chargeback              16:11:04
    18 in 2010, not in 2009.                       16:09:14                 18   information in connection with understanding 16:11:07
    19      Q.    And it's a little confusing        16:09:17               19   where your pills ended up after distributing 16:11:09
    20 because I think that's reference made to a         16:09:19          20   to Sunrise, correct?                    16:11:13
    21 subsequent e-mail. But if you look at the          16:09:22          21            MR. O'CONNOR: Object to form. 16:11:14
    22 bottom of the second page, there is an e-mail 16:09:24               22            THE WITNESS: Yes. The company 16:11:15
    23 from you to Tiffany Rowley dated November 19, 16:09:27               23       was. I -- yes, not me personally,        16:11:16
    24 2009.                               16:09:33                         24       yes.                          16:11:18
    25           Do you see that?                  16:09:33                 25


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                                                              Page 362                                                       Page 364
     1 QUESTIONS BY MR. KO:                              16:11:18         1 requests might be or how many end user             16:13:18
     2       Q. But it was in connection with        16:11:20             2   inquiries per month, I can run this by my       16:13:21
     3   your obligations as the team leader of the     16:11:21          3   manager to ensure she agrees this fits our      16:13:24
     4   suspicious order monitoring program --          16:11:23         4   area. I just pull the data from Cognos.       16:13:26
     5       A. Yes.                       16:11:24                       5   It's nothing complicated at all. I'd be      16:13:29
     6       Q. -- right?                   16:11:24                      6   happy to train someone in your group to do        16:13:31
     7       A. Yes.                       16:11:25                       7   this if that makes more sense."             16:13:33
     8       Q. Okay. Now, after you asked            16:11:25            8             Did I read that correctly?     16:13:35
     9   that question on November 19, 2009,             16:11:29         9        A. Yes.                        16:13:35
    10   Tiffany -- by the way, who is Tiffany Rowley 16:11:33           10        Q. So as of February 22, 2010, is 16:13:35
    11   Kilper?                           16:11:37                      11   it accurate to say that Mallinckrodt         16:13:43
    12       A. She -- she was with the            16:11:37              12   certainly has the ability to run chargeback 16:13:44
    13   contract group, contract administration, but 16:11:41           13   information and chargeback data to determine 16:13:51
    14   I'm not certain of what her role entailed.    16:11:45          14   where Mallinckrodt pills are going?            16:13:53
    15       Q. Okay. But she was someone who 16:11:48                   15             MR. O'CONNOR: Object to form. 16:13:54
    16   you consulted with to pull chargeback          16:11:50         16             THE WITNESS: Yes.                 16:13:55
    17   information, correct?                   16:11:52                17   QUESTIONS BY MR. KO:                            16:13:55
    18       A. Yes.                       16:11:53                      18        Q. Okay. And this request             16:13:55
    19       Q. Okay. And she responds, "Sure, 16:11:57                  19   actually originated on November 19, 2009, as 16:13:56
    20   Karen, I can always provide that data."        16:12:02         20   indicated by your original e-mail, correct? 16:14:04
    21           Do you see that?               16:12:05                 21        A. Yes.                        16:14:06
    22       A. Yes.                       16:12:05                      22        Q. And she's -- it's accurate to     16:14:08
    23       Q. And unfortunately, for this         16:12:08             23   say that at least based on               16:14:11
    24   e-mail exchange there's no date that's       16:12:10           24   Ms. Rowley-Kilper's characterization, it's      16:14:16
    25   indicated for that particular e-mail, but we 16:12:17           25   nothing complicated at all to pull this data, 16:14:17

                                                              Page 363                                                       Page 365
     1 can move up to your Monday, February 22, 2010 16:12:19             1   correct?                          16:14:20
     2 e-mail.                             16:12:22                       2            MR. O'CONNOR: Object to form. 16:14:20
     3            Do you see that?             16:12:23                   3            THE WITNESS: Correct.              16:14:21
     4      A.     I do.                   16:12:23                       4   QUESTIONS BY MR. KO:                           16:14:22
     5      Q.     And you say, "Tiffany, we          16:12:24            5        Q. And she would be happy to train 16:14:22
     6 exchanged e-mails several months ago about             16:12:27    6   someone in your group to do it yourself?       16:14:24
     7 running chargeback reports as a benefit to         16:12:28        7        A. Correct.                   16:14:25
     8 the business based upon information we             16:12:30        8        Q. Did you take her up on her        16:14:26
     9 receive regarding DEA actions against             16:12:33         9   offer?                           16:14:27
    10 registrants and industry news."               16:12:35            10        A. No.                       16:14:28
    11            Did I read that correctly?       16:12:39              11        Q. Okay. Ms. Kilper always ran         16:14:28
    12      A.     Yes.                    16:12:39                      12   the chargeback reports, correct?           16:14:31
    13      Q.     So for whatever reason, three      16:12:41           13            MR. O'CONNOR: Object to form. 16:14:32
    14 months pass between when you first ask             16:12:45       14            THE WITNESS: Not always.             16:14:34
    15 Ms. Kilper to identify and run certain          16:12:49          15   QUESTIONS BY MR. KO:                           16:14:34
    16 requests with respect to chargeback             16:12:51          16        Q. Did you ever run a chargeback        16:14:35
    17 information and when you follow up again with 16:12:53            17   report?                          16:14:36
    18 her about this request; is that accurate?       16:12:59          18        A. No.                       16:14:36
    19      A.     Yes.                    16:13:01                      19        Q. You had some other people do         16:14:37
    20      Q.     Okay. And then she responds         16:13:01          20   it, correct?                      16:14:38
    21 that same day that -- with some questions,         16:13:03       21        A. Yes.                      16:14:38
    22 but ultimately she -- well, let me read it      16:13:10          22        Q. And was there ever a time in       16:14:38
    23 for you.                            16:13:13                      23   which it was indicated to you that it would 16:14:41
    24            She says, "Karen, if you could      16:13:14           24   be difficult to pull this data?         16:14:44
    25 give me an estimate of how frequent the            16:13:17       25        A. No.                       16:14:47

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                                                          Page 366                                                           Page 368
     1       Q. Okay. In fact, it was quite          16:14:49            1            MR. KO: Why don't we take a         16:16:47
     2   easy and they could -- whomever you directed 16:14:52           2       break.                        16:16:52
     3   would always comply with your request for           16:14:55    3            MR. O'CONNOR: Sure.                16:16:53
     4   this information, correct?                16:14:57              4            VIDEOGRAPHER: We are going off 16:16:54
     5            MR. O'CONNOR: Object to form. 16:14:58                 5       the record at 4:16 p.m.             16:16:55
     6            THE WITNESS: Yes. Yes.                16:14:59         6        (Off the record at 4:16 p.m.)        16:16:56
     7   QUESTIONS BY MR. KO:                             16:14:59       7            VIDEOGRAPHER: We are back on              16:35:05
     8       Q. Now, turning to the first page 16:15:00                  8       the record at 4:35 p.m.             16:35:06
     9   of this e-mail, you indicate -- sorry, not     16:15:03         9   QUESTIONS BY MR. KO:                            16:35:07
    10   you, but Ms. Johnson, who appears to be a          16:15:09    10       Q. Welcome back, Ms. Harper.              16:35:08
    11   compliance assistant, she asks you whether or 16:15:12         11   Thank you for your patience today. I          16:35:11
    12   not anything has been figured out on the         16:15:16      12   appreciate your -- the time that you have      16:35:13
    13   chargeback requests yet.                   16:15:18            13   spent, and we have, I think, a few more hours 16:35:14
    14            Do you see that?               16:15:19               14   to go.                            16:35:19
    15       A. Yes.                        16:15:19                    15            So before we broke, we were        16:35:19
    16       Q. And that's dated March 8, 2010? 16:15:24                16   talking about utilization of chargeback data. 16:35:22
    17       A. Yes.                        16:15:27                    17            Do you recall that?           16:35:26
    18       Q. And it appears that there was          16:15:28         18       A. Yes.                        16:35:26
    19   no response by you until Tiffany asks whether 16:15:31         19       Q. And --                       16:35:27
    20   or not something was in her court on this,       16:15:37      20            MR. O'CONNOR: Can we go off             16:35:28
    21   because she never heard back in response to 16:15:40           21       the record for just a second to put    16:35:30
    22   your questions.                        16:15:42                22       the mic on?                      16:35:31
    23            Do you see that?               16:15:43               23            THE WITNESS: Oh, I'm sorry.           16:35:36
    24       A. Yes.                        16:15:44                    24   QUESTIONS BY MR. KO:                            16:35:38
    25       Q. Okay. And finally at the top          16:15:45          25       Q. So a moment ago we were talking 16:35:57

                                                          Page 367                                                           Page 369
     1 of this e-mail, you indicate to Carrie that     16:15:48          1 about chargebacks, correct?                  16:35:58
     2   "I have the next steps on this. I'll discuss 16:15:51           2       A. Yes.                        16:36:00
     3   with you later this week. I am booked solid 16:15:53            3       Q. And was -- in the late 2009         16:36:00
     4   with meetings today. Thanks for following up 16:15:56           4   time period you had asked about whether or        16:36:05
     5   to get your project going."               16:15:59              5   not someone could run certain chargeback data 16:36:09
     6            Did I read that correctly?       16:16:02              6   for you so that you could understand the       16:36:11
     7       A. Yes.                         16:16:02                    7   details of a transaction in which          16:36:15
     8       Q. Okay. So is it fair to say         16:16:02              8   Mallinckrodt was sending its pills to a       16:36:18
     9   that there is a approximately four-month time 16:16:03          9   particular distributor, correct?         16:36:22
    10   period in which -- between when you first        16:16:05      10            MR. O'CONNOR: Object to form. 16:36:23
    11   asked for this information and when action is 16:16:07         11            THE WITNESS: Yes.                 16:36:23
    12   actually taken on obtaining this chargeback 16:16:12           12   QUESTIONS BY MR. KO:                           16:36:23
    13   information?                          16:16:16                 13       Q. And specifically, was it your        16:36:24
    14       A. Yes.                         16:16:17                   14   idea to take the information you learned -- 16:36:28
    15       Q. Okay. And of course it's clear 16:16:23                 15   well, strike that.                  16:36:29
    16   from this e-mail exchange that the ball was 16:16:25           16            One of the reasons for         16:36:34
    17   in your court to respond to Carrie.          16:16:29          17   identifying -- or utilizing chargeback       16:36:38
    18            And unfortunately I don't have 16:16:31               18   information was to take the information you 16:36:40
    19   any subsequent documentation of when, in           16:16:33    19   received regarding certain DEA actions          16:36:46
    20   fact, you responded, but at least four months 16:16:35         20   against registrants and industry news that     16:36:50
    21   go by between when you first ask and when you 16:16:37         21   you had acquired, correct?                16:36:52
    22   again follow up with Tiffany and Carrie on       16:16:40      22            MR. O'CONNOR: Object to form. 16:36:53
    23   the chargeback data requests, correct?         16:16:43        23            THE WITNESS: Yes.                 16:36:54
    24            MR. O'CONNOR: Object to form. 16:16:45                24   QUESTIONS BY MR. KO:                           16:36:54
    25            THE WITNESS: Yes.                  16:16:45           25       Q. So the idea was to take that        16:36:54

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                                                        Page 370                                                          Page 372
     1 information regarding specific pharmacies and 16:36:59          1 document ends in Bates 421850.                    16:39:03
     2 doctors and go into your data to determine       16:37:04       2            And this is an e-mail chain        16:39:21
     3   whether or not Mallinckrodt was selling to      16:37:07      3   from the July 21, 2000 time period regarding 16:39:23
     4   these pharmacies or physicians, correct?      16:37:10        4   Mallinckrodt suspicious order monitoring and 16:39:29
     5            MR. O'CONNOR: Object to form. 16:37:13               5   the Harvard Drug license suspension.             16:39:30
     6            THE WITNESS: Whether or not           16:37:13       6            Do you see that?                16:39:32
     7       they were our -- they were downstream 16:37:15            7       A. I'm reading the e-mail,             16:39:33
     8       customers of the distributors of our    16:37:18          8   please --                            16:39:41
     9       product, yes.                   16:37:20                  9       Q. Sure.                         16:39:41
    10   QUESTIONS BY MR. KO:                           16:37:21      10       A. -- so that I can understand the 16:39:41
    11       Q. Right.                      16:37:21                  11   whole context.                          16:39:41
    12            So the idea --             16:37:21                 12       Q. Absolutely.                      16:39:41
    13       A. Yes.                       16:37:22                   13            And my questions will relate to 16:40:02
    14       Q. -- of -- one of the reasons for 16:37:22              14   just the first page of this e-mail.         16:40:04
    15   why you utilize chargeback information is to 16:37:26        15       A. All right. I'm ready. Thank           16:40:06
    16   determine whether or not Mallinckrodt was        16:37:29    16   you.                                16:40:07
    17   selling to pharmacies or physicians that were 16:37:36       17       Q. Okay. On July 21, 2010,               16:40:07
    18   customers of distributors that you sold to, 16:37:38         18   Mr. Ratliff asks you whether or not, quote, 16:40:14
    19   correct?                          16:37:40                   19   "As an aside, are we capable of knowing our 16:40:19
    20            MR. O'CONNOR: Object to form. 16:37:41              20   customers' customers with any specificity?" 16:40:22
    21            THE WITNESS: Yes.                 16:37:42          21   end quote.                            16:40:27
    22   QUESTIONS BY MR. KO:                           16:37:43      22            Did I read that correctly?        16:40:28
    23       Q. Okay. And the idea of using          16:37:48         23       A. Yes.                          16:40:28
    24   this chargeback information was also to make 16:37:49        24       Q. And you respond that same day             16:40:29
    25   sure your customers/wholesale distributors      16:37:52     25   that -- well, why don't you read the first     16:40:30

                                                        Page 371                                                            Page 373
     1 were not also selling Mallinckrodt drugs to     16:37:56        1   sentence of that e-mail response.            16:40:35
     2 these pharmacies or physicians, correct?       16:38:00         2       A. "Using chargeback data, it is         16:40:39
     3       A. Yes.                         16:38:02                  3   indeed possible to know our customer's           16:40:41
     4       Q. Okay. And again, you had this 16:38:03                 4   customer with great specificity."            16:40:46
     5   idea, or at least you discussed the          16:38:07         5       Q. Okay. And do you have any              16:40:49
     6   possibility of obtaining this data, as of     16:38:11        6   reason to doubt that you in fact sent that     16:40:50
     7   November 2009, correct?                     16:38:14          7   e-mail to Mr. Ratliff on July 21, 2010?        16:40:51
     8       A. Yes.                         16:38:15                  8       A. No.                          16:40:54
     9       Q. And also turning back to some           16:38:17       9       Q. And so it's accurate to state 16:40:55
    10   of the e-mails that we had discussed           16:38:20      10   that as of July 2010, you understood that you 16:40:58
    11   previously in 2007, you were -- it's accurate 16:38:23       11   could utilize chargeback data to understand 16:41:03
    12   to say that Mallinckrodt employees knew as of 16:38:28       12   with great specificity knowledge of your         16:41:07
    13   2007 how to utilize chargeback data to          16:38:31     13   customer's customer; is that accurate?         16:41:11
    14   understand where pills were going after they 16:38:34        14       A. Knowledge of who our customer             16:41:14
    15   were shipped to Mallinckrodt customers,           16:38:37   15   was shipping to, yes.                    16:41:20
    16   correct?                           16:38:39                  16       Q. Okay. So just so the record is 16:41:21
    17            MR. O'CONNOR: Object to form. 16:38:39              17   clear, yes or no: Is it accurate to state 16:41:25
    18            THE WITNESS: Yes.                   16:38:39        18   that as of July 2010, you understood that you 16:41:26
    19            (Mallinckrodt-Harper Exhibit 23 16:38:51            19   could utilize chargeback data to understand 16:41:32
    20       marked for identification.)            16:38:51          20   with great specificity where -- where your       16:41:34
    21   QUESTIONS BY MR. KO:                             16:38:51    21   pills were going after you shipped to the       16:41:38
    22       Q. Okay. I'm going to hand you a 16:38:52                22   distributor?                         16:41:42
    23   copy of what will be marked as Harper            16:38:53    23            MR. O'CONNOR: Object to form. 16:41:42
    24   Exhibit 23.                          16:38:55                24            THE WITNESS: Yes.                  16:41:43
    25            And for the record, this         16:39:02           25


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                                                         Page 374                                                           Page 376
     1 QUESTIONS BY MR. KO:                             16:41:43       1 review of chargeback data."                  16:44:39
     2       Q. You can set that aside.           16:41:46             2            Did I read that correctly?      16:44:41
     3            (Mallinckrodt-Harper Exhibit 24 16:41:48             3       A. Yes.                        16:44:41
     4       marked for identification.)          16:41:49             4       Q. Okay. And understanding that 16:44:41
     5   QUESTIONS BY MR. KO:                           16:41:49       5   you don't recall the use of the word         16:44:45
     6       Q. This is a copy of what will be 16:41:59                6   "indirect match report," you at least in this 16:44:47
     7   marked as Harper Exhibit 24.                16:42:00          7   correspondence refer to retail pharmacies as 16:44:53
     8            And this ends, for the record, 16:42:09              8   indirect end user customers, correct?         16:44:55
     9   ends in Bates 280607.                    16:42:09             9       A. Yes.                        16:44:58
    10            And this appears to be a        16:42:31            10       Q. Okay. Do you recall a time in 16:45:00
    11   November 1, 2010 letter that you send to Paul 16:42:32       11   which -- and you state to Mr. Kleissle that 16:45:03
    12   Kleissle, correct?                    16:42:38               12   you can do this and accomplish this by         16:45:07
    13       A. Yes.                        16:42:39                  13   reviewing chargeback data, correct?           16:45:11
    14       Q. And you'll see later on there's 16:42:40              14       A. Yes.                        16:45:12
    15   the signature block of you on the second       16:42:43      15       Q. Okay. And so do you recall a 16:45:12
    16   page.                             16:42:46                   16   time in which you had asked for reports to be 16:45:15
    17       A. Yes.                        16:42:47                  17   run on indirect end user customers?           16:45:20
    18       Q. And is it accurate to say that 16:42:47               18       A. Yes.                        16:45:24
    19   you're sending him this correspondence on        16:42:49    19       Q. Okay. And these -- you can set 16:45:25
    20   November 1, 2010, to describe to him what you 16:42:52       20   that aside.                         16:45:28
    21   can utilize based on the chargeback          16:42:56        21            And in these reports -- you ran 16:45:28
    22   information that you are -- that you have      16:42:59      22   certain reports or had asked certain reports 16:45:37
    23   been reviewing in that 2010 time period?        16:43:00     23   to be run in connection with certain         16:45:39
    24       A. Yes.                        16:43:03                  24   customers that you were shipping drugs to, 16:45:44
    25       Q. Okay. That's all I have on         16:43:04           25   including Harvard, for example, correct?        16:45:49

                                                         Page 375                                                         Page 377
     1 that document.                          16:43:14                1            MR. O'CONNOR: Object to form. 16:45:51
     2            Now, in connection with running 16:43:15             2            THE WITNESS: Yes.                  16:45:51
     3   chargeback reports, is it also accurate to    16:43:28        3   QUESTIONS BY MR. KO:                             16:45:53
     4   say that indirect match reports were reports 16:43:33         4       Q. By the way, when asking others 16:46:04
     5   that you asked to be run to understand the      16:43:40      5   to run reports about indirect end users, did 16:46:06
     6   downstream details of a transaction?          16:43:44        6   you have a name for these reports, or did you 16:46:13
     7            MR. O'CONNOR: Object to form. 16:43:46               7   call them by a specific moniker?              16:46:15
     8            THE WITNESS: I don't               16:43:47          8       A. I believe chargeback reports.         16:46:19
     9       understand the term "indirect match       16:43:49        9       Q. Okay.                         16:46:21
    10       report."                       16:43:50                  10       A. Yes.                         16:46:21
    11   QUESTIONS BY MR. KO:                            16:43:52     11       Q. So that's helpful.               16:46:22
    12       Q. Okay. How about -- let's --         16:43:52          12            So you -- is it accurate to say 16:46:23
    13   I'm sorry, let's go back to that document      16:43:55      13   that identification of pills that end up -- 16:46:28
    14   then that we just set aside.             16:43:58            14   end up at retail pharmacies was accomplished 16:46:35
    15       A. All right.                   16:43:59                 15   through running chargeback reports?             16:46:38
    16       Q. And in the first sentence of        16:44:00          16       A. Yes.                         16:46:41
    17   this correspondence to Mr. Kleissle, you        16:44:09     17       Q. Okay. And you performed                 16:46:41
    18   ask -- or you indicate, "In an ongoing effort 16:44:12       18   chargeback reports in connection with various 16:46:46
    19   to enhance our existing suspicious order        16:44:15     19   distributors that had their license suspended 16:46:50
    20   monitoring program and in accordance with 21 16:44:18        20   by the DEA, including Harvard, for example, 16:46:52
    21   CFR 1301.74, Mallinckrodt has begun the           16:44:22   21   correct?                            16:46:54
    22   process of reviewing sales to indirect end      16:44:26     22            MR. O'CONNOR: Object to form. 16:46:55
    23   user customers, open parens, retail          16:44:30        23            THE WITNESS: Yes.                  16:46:56
    24   pharmacies, close parens, but geographic         16:44:34    24   QUESTIONS BY MR. KO:                             16:46:56
    25   region. This analysis is accomplished by a 16:44:36          25       Q. Okay. And also Masters and              16:46:57

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     1 Sunrise and Cedardale?                     16:46:59          1       Q. And do you recall who you had 16:48:59
     2            MR. O'CONNOR: Same objection. 16:47:05            2   perform that analysis?                   16:49:07
     3            THE WITNESS: Yes.                 16:47:06        3       A. No.                         16:49:08
     4   QUESTIONS BY MR. KO:                           16:47:06    4       Q. Either Ms. Spaulding or             16:49:08
     5       Q. Okay. Did you also run             16:47:06         5   Ms. Rowley-Kilper?                        16:49:10
     6   chargeback reports for customers of          16:47:08      6       A. It may have been Ms. Neely.            16:49:11
     7   KeySource?                           16:47:09              7       Q. Ms. Neely, okay.                  16:49:13
     8       A. Yes.                       16:47:11                 8            Now, I'll represent for the     16:49:16
     9       Q. Okay. So is it fair to say       16:47:14           9   record that this is a summary of the          16:49:19
    10   that you had chargeback reports run for       16:47:18    10   chargeback information that appears on that 16:49:20
    11   customers of KeySource, Cedardale, Masters, 16:47:24      11   report. And if you look at the bottom row 16:49:28
    12   Sunrise and Harvard?                    16:47:29          12   total, there appears to be 12,487 total      16:49:33
    13       A. Yes.                       16:47:30                13   orders recorded in which Harvard Drug sold 16:49:43
    14       Q. And this was all in the 2009 to 16:47:30           14   controlled substances.                   16:49:48
    15   2010 time period?                      16:47:32           15            Do you see that?              16:49:49
    16       A. I'm terrible with my years,        16:47:33        16       A. Yes.                        16:49:49
    17   but -- I don't know the year.            16:47:36         17       Q. So I'll represent to you for       16:49:50
    18       Q. Okay.                       16:47:40               18   the record that the chargeback data that you 16:49:52
    19       A. The years.                   16:47:40              19   had run for Harvard Drug reported that there 16:49:58
    20       Q. Generally speaking, was it --       16:47:40       20   were 12,000 -- a total of 12,487            16:49:59
    21   do you recall these reports being run in the 16:47:42     21   transactions.                        16:50:02
    22   2009 through 2011 time period?               16:47:45     22            MR. O'CONNOR: Counsel, I'm              16:50:03
    23       A. Yes.                       16:47:47                23       going to object.                  16:50:03
    24       Q. Okay. Now, the chargeback            16:47:52      24            Just to be clear, are you      16:50:04
    25   reports you could distinguish by Mallinckrodt 16:47:58    25       saying that this is a document that      16:50:06

                                                         Page 379                                                       Page 381
     1 drug, correct?                         16:48:02             1        you've prepared based on produced         16:50:08
     2            MR. O'CONNOR: Objection.             16:48:04    2        data?                        16:50:11
     3            THE WITNESS: Yes.                 16:48:04       3             MR. KO: Based on produced           16:50:11
     4   QUESTIONS BY MR. KO:                           16:48:05   4        data, the Bates number which appears 16:50:13
     5       Q. In other words, you could           16:48:05       5        at the top of this.             16:50:14
     6   determine -- you could sort by all oxy 15s or 16:48:06    6             MR. O'CONNOR: Okay. So the            16:50:15
     7   30s that Mallinckrodt was sending to a        16:48:13    7        fact that the Bates number is at the 16:50:15
     8   particular customer, correct?             16:48:14        8        top here does not mean that this is a 16:50:17
     9       A. Yes.                        16:48:16               9        copy of the document we produced?          16:50:18
    10            (Mallinckrodt-Harper Exhibit 25 16:48:19        10             MR. KO: That's -- that's        16:50:20
    11       marked for identification.)          16:48:20        11        right.                       16:50:22
    12   QUESTIONS BY MR. KO:                           16:48:20  12             MR. O'CONNOR: Okay. Thank              16:50:22
    13       Q. Okay. I'm going to hand you a 16:48:20            13        you.                         16:50:24
    14   copy of what's going to be marked as          16:48:22   14             MR. KO: This itself is not a 16:50:24
    15   Exhibit 25.                         16:48:25             15        copy of a document that you produced 16:50:27
    16            And I will represent to counsel 16:48:30        16        but is instead based on the          16:50:29
    17   and for the record that this is a        16:48:32        17        information that is -- appears on this 16:50:30
    18   demonstrative chart that we have prepared       16:48:33 18        Bates number.                     16:50:32
    19   based on chargeback data that you had pulled 16:48:36 19                MR. O'CONNOR: Thank you.              16:50:32
    20   for Harvard.                         16:48:39            20    QUESTIONS BY MR. KO:                           16:50:33
    21            And we can refer to it in a     16:48:48        21        Q. Now, I'll represent to you that 16:50:36
    22   moment, but again, to be clear, you had run 16:48:51 22        this Bates number -- or this document         16:50:38
    23   chargeback reports in connection with         16:48:55   23    reflects that Harvard Drug was doing business 16:50:44
    24   customers of Harvard Drug, correct?           16:48:57   24    as First Veterinary Supply.               16:50:48
    25       A. Yes.                        16:48:59              25             Do you recall ever being made 16:50:51

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     1 aware of certain transactions or pills that       16:50:56        1 enough information to answer that question.         16:53:37
     2   were being sent to a First Veterinary Supply? 16:50:58          2       Q. Okay. But if you look at            16:53:39
     3       A. No.                           16:51:00                   3   Florida percent POs -- do you see that?        16:53:40
     4       Q. Okay. Would you agree with me 16:51:02                   4       A. I do.                       16:53:43
     5   that sending pills to a -- prescription       16:51:03          5       Q. Okay. And is that -- in the         16:53:44
     6   opioids to a veterinarian clinic would be        16:51:07       6   chargeback data, you had been able to           16:53:47
     7   suspicious or potentially suspicious?          16:51:14         7   determine what percentage of purchase orders 16:53:51
     8             MR. O'CONNOR: Object to form. 16:51:15                8   went to Florida, correct?                 16:53:55
     9             THE WITNESS: That depends on 16:51:16                 9       A. No.                          16:53:56
    10       the product and the quantities.         16:51:18           10       Q. You did not?                    16:54:01
    11   QUESTIONS BY MR. KO:                              16:51:19     11       A. No.                          16:54:02
    12       Q. Okay. Do you recall shipping 16:51:19                   12       Q. Okay. Wasn't it the case that 16:54:02
    13   prescription opioids to vet clinics?          16:51:23         13   through the chargeback data you knew you           16:54:08
    14       A. I cannot say if we did or did 16:51:25                  14   could understand, as we discussed earlier, 16:54:11
    15   not.                               16:51:26                    15   where the pills that you sold to the         16:54:13
    16       Q. Okay. Harvard Drug -- do you 16:51:27                   16   distributors were going?                  16:54:16
    17   recall when Harvard Drug had its license          16:51:41     17       A. Yes, but in this context, I        16:54:17
    18   suspended by the DEA?                        16:51:44          18   believe the purchase order to be the purchase 16:54:20
    19       A. 2010 or before, around that           16:51:45          19   order from Harvard to Mallinckrodt as the        16:54:22
    20   time.                               16:51:51                   20   supplier, not forward through the supply        16:54:25
    21       Q. Okay. And they had their              16:51:52          21   chain.                             16:54:27
    22   license suspended because of diversion of          16:51:54    22       Q. Okay. So it's your                16:54:27
    23   pills -- diversion of pills by certain       16:51:58          23   understanding that this is just -- well,     16:54:28
    24   customers that they sold to, correct?          16:52:05        24   Harvard Drug, do you know where they were           16:54:32
    25             MR. O'CONNOR: Object to form. 16:52:07               25   located?                            16:54:35

                                                          Page 383                                                             Page 385
     1            THE WITNESS: Yes.                  16:52:08            1       A. I believe Wisconsin.                16:54:35
     2   QUESTIONS BY MR. KO:                            16:52:10        2       Q. Okay. I think they were in            16:54:37
     3       Q. Okay. And would you agree with 16:52:10                  3   Michigan, but somewhere in the Midwest.            16:54:40
     4   me that First Vet Supply is not a physician 16:52:25            4       A. All right.                     16:54:42
     5   or a pain clinic?                     16:52:30                  5       Q. So you're saying that this is 16:54:42
     6       A. I don't know their business         16:52:32             6   the percentage of initial pills that go to 16:54:43
     7   model. I don't -- is their DEA registration 16:52:34            7   the distributor?                       16:54:47
     8   number the same as Harvard Drug Group?              16:52:38    8       A. Again, these are purchase             16:54:48
     9       Q. I believe that to be the case, 16:52:42                  9   orders. They could have been for 100 pills 16:54:51
    10   actually.                           16:52:44                   10   or a million pills. I don't have enough        16:54:55
    11       A. So, many of our distributors          16:52:44          11   information to answer the question.            16:54:57
    12   had d/b/a second lines, and that's a -- my     16:52:54        12       Q. Okay. Turn to the second page 16:54:58
    13   understanding is a legal term implying the       16:52:57      13   of this document. And so these -- these         16:55:06
    14   organization of a corporation. So I only       16:52:59        14   columns, by the way, are taken straight from 16:55:14
    15   knew this customer as Harvard Drug.             16:53:01       15   the -- I'll represent to you that they're    16:55:16
    16       Q. Okay. Setting aside the name, 16:53:03                  16   taken straight from the chargeback reports 16:55:18
    17   did you understand that a large percentage of 16:53:10         17   that are reflected by this Bates number.        16:55:22
    18   drugs sold by Harvard Drug were going to           16:53:15    18             And if you see on the far        16:55:25
    19   Florida? And in particular, I direct you to 16:53:18           19   right-hand side above the oxy 15 and oxy 30 16:55:27
    20   the percentages that appear in the middle of 16:53:28          20   sections, do you see the reference to UOM? 16:55:30
    21   the screen that show Florida percentage.        16:53:24       21       A. I do.                        16:55:34
    22       A. So total POs doesn't tell me         16:53:28           22       Q. And what's your understanding 16:55:34
    23   number of drugs. They could have been             16:53:30     23   of UOM?                                16:55:35
    24   purchase orders for a hundred drugs or 10,000 16:53:33         24       A. Unit of measure.                   16:55:36
    25   dosage units, so I can't -- I don't have     16:53:35          25       Q. Okay. And would that actually 16:55:38

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     1 be synonymous with, for example, a pill?           16:55:40         1            THE WITNESS: So this report             16:57:44
     2       A. Yes.                          16:55:44                     2       that you extracted from our production 16:57:48
     3       Q. So that's the actual amount of 16:55:45                    3       information, it is -- it is data that 16:57:51
     4   pills that are being shipped for that         16:55:47            4       for certain came to me?                 16:57:54
     5   particular order, correct?                16:55:51                5   QUESTIONS BY MR. KO:                               16:57:57
     6       A. It -- this is a monthly total, 16:55:53                    6       Q. Uh-huh.                          16:57:59
     7   so, yes, if we're -- yes, I'm sorry, I didn't 16:55:59            7       A. It is?                        16:58:00
     8   have the correlation to -- that a PO equals 16:56:04              8       Q. No. Yes, this is -- this is         16:58:01
     9   one month in -- I'm just not familiar with       16:56:08         9   data based on chargeback reports that were 16:58:03
    10   the spreadsheet, so, yes.                 16:56:10               10   requested at the direction of you, correct. 16:58:07
    11       Q. Yeah, fair enough.                  16:56:12              11       A. I -- I don't know.                16:58:11
    12            And on the -- on this document 16:56:13                 12       Q. Okay. That wasn't my question. 16:58:15
    13   there's an indication also of Florida          16:56:18          13       A. Okay.                           16:58:17
    14   percentage sales, quantity government UOM.            16:56:21   14       Q. I'll represent to you that          16:58:17
    15            Do you see that?                16:56:24                15   these chargeback reports were run in             16:58:18
    16       A. Yes.                          16:56:24                    16   connection with your investigation of where 16:58:21
    17       Q. Do you recall that particular          16:56:25           17   your pills were going.                     16:58:24
    18   data field in the chargeback information?         16:56:28       18            So my question to you simply          16:58:25
    19       A. Yes.                          16:56:30                    19   is: Were you aware at the time -- or is it 16:58:28
    20       Q. Okay. And so does that reflect 16:56:31                   20   suspicious -- separate and apart from the         16:58:32
    21   the percentage of pills that went to           16:56:33          21   process of running this report --             16:58:34
    22   downstream customers of Mallinckrodt?               16:56:37     22       A. Uh-huh.                          16:58:36
    23            MR. O'CONNOR: Object to form. 16:56:40                  23       Q. -- is it suspicious to you that 16:58:36
    24   QUESTIONS BY MR. KO:                              16:56:45       24   90 percent of all pills that you shipped to 16:58:40
    25       Q. In other words -- let me ask it 16:56:46                  25   Harvard Drug end up going to Florida?              16:58:44

                                                           Page 387                                                               Page 389
     1 a different way.                         16:56:47                   1           MR. O'CONNOR: Object to form.           16:58:47
     2            Does this percentage reflect       16:56:47              2           THE WITNESS: Yes, it appears           16:58:48
     3   the total percentage of pills relative to the 16:56:49            3      to be a disproportionate percentage of     16:59:24
     4   total order that ended up in Florida?          16:56:52           4      this product going into Florida.        16:59:28
     5            MR. O'CONNOR: Object to form. 16:56:55                   5 QUESTIONS BY MR. KO:                             16:59:30
     6            THE WITNESS: Yes.                   16:56:55             6      Q.    Okay. Thank you for waiting.        16:59:30
     7   QUESTIONS BY MR. KO:                              16:56:56        7      A.    It's all right.          16:59:31
     8       Q. Okay. So you'll see that the          16:56:56             8      Q.    And based on this review of         16:59:32
     9   summary indicates below that from the fourth 16:57:00             9 Harvard chargeback information, did you also         16:59:41
    10   quarter 2008 through the second quarter of         16:57:04      10 conclude that Harvard's suspicious order         16:59:45
    11   2010, that at least with respect to oxy 15s, 16:57:06            11 monitoring system was inadequate?                16:59:47
    12   90.5 percent of Mallinckrodt pills that were 16:57:13            12      A.    Can you tell me when -- I don't     16:59:52
    13   sold to Harvard ended up in Florida.            16:57:17         13 know when Harvard was suspended. So was this 16:59:54
    14            Do you see that?               16:57:20                 14 after their suspension that I had the report    16:59:56
    15       A. Yes.                         16:57:21                     15 pulled?                            16:59:59
    16       Q. Okay. And likewise with                16:57:22           16      Q.    Well, I would say separate and      16:59:59
    17   respect to oxy 30s during that same time          16:57:23       17 apart from these numbers --                  17:00:01
    18   period, 88 percent ended up in Florida,          16:57:27        18      A.    Okay.                    17:00:04
    19   correct?                            16:57:31                     19      Q.    -- did you review chargeback        17:00:04
    20       A. Yes.                         16:57:31                     20 data to make the determination of whether or       17:00:07
    21       Q. Okay. Was it suspicious to you 16:57:31                   21 not Harvard's suspicious order monitoring         17:00:10
    22   at the time that such a disproportionate        16:57:37         22 system was effective?                     17:00:12
    23   percentage of pills were ending up in           16:57:41         23           MR. O'CONNOR: Object to form.           17:00:14
    24   Florida?                            16:57:43                     24           THE WITNESS: I don't know. I           17:00:14
    25            MR. O'CONNOR: Object to form. 16:57:43                  25      don't know how to answer the question.       17:00:20

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      1 QUESTIONS BY MR. KO:                             17:00:23       1 going after you shipped them to the             17:01:57
      2        Q. Okay. Do you recall a period        17:00:23          2   distributor, correct?                  17:01:59
      3   of time, or do you recall ever reviewing the 17:00:24         3            MR. O'CONNOR: Object to form. 17:02:00
      4   suspicious order monitoring systems of your 17:00:26          4            THE WITNESS: That's one of the 17:02:00
      5   distributors?                       17:00:29                  5       reasons that pointed us to a certain     17:02:04
      6        A. Of our distributors?            17:00:29              6       distributor, to go and visit them,     17:02:06
      7        Q. Yes.                       17:00:32                   7       yes.                          17:02:08
      8        A. To their downstream customers? 17:00:33               8   QUESTIONS BY MR. KO:                            17:02:08
      9        Q. Correct.                    17:00:35                  9       Q. Okay. And some of this               17:02:09
     10        A. Yes.                       17:00:35                  10   chargeback data, by the way, some of the         17:02:10
     11        Q. In other words, Mallinckrodt        17:00:36         11   chargeback information was provided to you by 17:02:13
     12   was the registrant in the CSA that had duties 17:00:38       12   certain distributors, correct?            17:02:15
     13   to maintain effective controls against       17:00:42        13            MR. O'CONNOR: Object to form. 17:02:17
     14   diversion, but so too were distributors as    17:00:44       14            THE WITNESS: No, this is our 17:02:17
     15   well, correct?                      17:00:46                 15       information.                      17:02:20
     16            MR. O'CONNOR: Object to form. 17:00:47              16   QUESTIONS BY MR. KO:                            17:02:20
     17            THE WITNESS: Correct.              17:00:47         17       Q. Okay. In 2010 you performed -- 17:02:21
     18        Correct.                      17:00:47                  18   at some point in 2010 you performed some          17:02:36
     19   QUESTIONS BY MR. KO:                           17:00:48      19   audits of your distributors, correct?        17:02:39
     20        Q. So distributors like both        17:00:48            20       A. Yes.                         17:02:41
     21   Harvard or Sunrise, including the major        17:00:53      21       Q. And you recall that these           17:02:43
     22   distributors like ABC, McKesson and Cardinal, 17:00:56       22   audit -- in these audits you actually went to 17:02:46
     23   all had duties to maintain effective controls 17:00:59       23   the -- your customer and visited some of        17:02:51
     24   against diversion, correct?              17:01:02            24   their facilities?                    17:02:53
     25            MS. KVESELIS: Object to form. 17:01:04              25       A. Yes.                         17:02:55

                                                          Page 391                                                         Page 393
      1            THE WITNESS: Correct.               17:01:05         1       Q. And you went to -- I believe         17:02:55
      2   QUESTIONS BY MR. KO:                            17:01:06      2   you performed on-site audits of at least       17:02:58
      3       Q. And all these registrants had        17:01:06          3   Masters and KeySource; is that correct?         17:03:02
      4   duties to implement and design an effective 17:01:08          4       A. Correct.                      17:03:04
      5   suspicious order monitoring program, correct? 17:01:11        5       Q. Okay. And these -- what was            17:03:04
      6            MR. O'CONNOR: Object to form. 17:01:12               6   the purpose of performing these on-site         17:03:06
      7            THE WITNESS: That guards              17:01:13       7   audits?                            17:03:10
      8       against -- yes, guards against        17:01:16            8       A. So we had reviewed -- the            17:03:11
      9       diversion, yes.                   17:01:18                9   purpose was to review their suspicious order 17:03:14
     10   QUESTIONS BY MR. KO:                            17:01:20     10   monitoring and understand which -- what due 17:03:19
     11       Q. And was there a period of time 17:01:20               11   diligence they perform when reviewing their 17:03:21
     12   in which Mallinckrodt decided to perform an 17:01:21         12   customers.                           17:03:24
     13   audit or a review of your distributors' SOM 17:01:25         13            (Mallinckrodt-Harper Exhibit 26 17:03:26
     14   programs?                            17:01:32                14       marked for identification.)           17:03:27
     15       A. Yes.                        17:01:32                  15   QUESTIONS BY MR. KO:                            17:03:27
     16       Q. And during that review and            17:01:32        16       Q. Okay. I'm going to hand you a 17:03:27
     17   based on that review, did you make             17:01:33      17   copy of what's going to be marked as Harper 17:03:28
     18   determinations as to whether or not you would 17:01:36       18   Exhibit 26.                          17:03:30
     19   continue to ship to certain distributors?     17:01:38       19            And for the record, this is -- 17:03:33
     20       A. Yes.                        17:01:40                  20   ends in Bates 48430.                     17:03:34
     21       Q. And one of the reasons for           17:01:40         21            I just have some general         17:03:47
     22   which you decided to stop shipping to certain 17:01:46       22   questions about this, so feel free to consult 17:03:49
     23   distributors was as a result of pulling      17:01:49        23   the document if you need to. But I just want 17:03:51
     24   chargeback information in which you could         17:01:52   24   to know whether or not this reflects the       17:03:54
     25   identify details of where your pills were      17:01:54      25   written report of your on-site audit to      17:03:56

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      1 Masters as of December 7, 2010?                 17:04:00         1       Q. Okay.                        17:05:43
      2       A. Yes.                       17:04:02                     2       A. It's my understanding that they 17:05:44
      3       Q. And so as you described, one of 17:04:03                3   have recently been reissued a DEA              17:05:47
      4   the purposes of performing this audit was to 17:04:04          4   registration, so I don't know the current     17:05:49
      5   review Masters' suspicious order monitoring 17:04:08           5   status, but from 2010 forward, no.           17:05:50
      6   system; is that correct?               17:04:11                6       Q. Fair enough.                    17:05:53
      7       A. Yes.                       17:04:11                     7            And in addition to the on-site 17:05:54
      8       Q. Okay. And do you recall            17:04:12             8   audit of Masters, you had done an on-site       17:06:00
      9   actually going out to Masters Pharmaceutical 17:04:17          9   audit of KeySource as well, correct?          17:06:03
     10   located in Cincinnati, Ohio?             17:04:19             10       A. Yes.                        17:06:06
     11       A. Yes.                       17:04:20                    11       Q. Do you recall any other on-site 17:06:06
     12       Q. And you went there with            17:04:20            12   audits that you were -- you participated in? 17:06:09
     13   Mr. Ratliff, correct?                 17:04:21                13       A. Sunrise, previously, and then        17:06:10
     14       A. Yes.                       17:04:22                    14   there were others subsequently. But at this 17:06:12
     15       Q. And at the time you -- there       17:04:23            15   time I did not go to Cedardale; several of my 17:06:15
     16   was some certain with respect to Masters       17:04:27       16   colleagues did.                       17:06:19
     17   Pharmaceutical activities, and so that      17:04:30          17       Q. Got it.                     17:06:20
     18   prompted the need for you and Mr. Ratliff to 17:04:32         18            So other than on-site audits     17:06:20
     19   go visit; is that accurate?            17:04:35               19   performed of Cedardale, KeySource, Sunrise         17:06:23
     20       A. Yes.                       17:04:40                    20   and Masters, are you aware of any other         17:06:28
     21       Q. Okay. And by the way, Masters 17:04:40                 21   on-site audits that the SOM team conducted? 17:06:30
     22   Pharmaceutical also had its license suspended 17:04:42        22       A. Ever?                        17:06:33
     23   by the DEA at some point, correct?           17:04:43         23       Q. From in the 2009 through 2012          17:06:35
     24       A. Yes.                       17:04:44                    24   time period.                         17:06:38
     25       Q. Okay. I believe that was 2014, 17:04:44                25       A. Yes.                        17:06:39

                                                          Page 395                                                            Page 397
      1 but it related -- is it consistent with your   17:04:49          1       Q. Okay. Which additional on-site 17:06:40
      2   understanding that it related to activities 17:04:51           2   audits did you perform?                  17:06:44
      3   regarding their distribution of prescription 17:04:53          3       A. We went to AmerisourceBergen, 17:06:45
      4   opioids in the 2008 through 2014 time period? 17:04:56         4   McKesson, Cardinal, and I believe HD Smith, 17:06:49
      5            MR. O'CONNOR: Object to form. 17:04:59                5   although -- yes, HD Smith, yes.             17:06:56
      6            THE WITNESS: I don't know the 17:04:59                6       Q. And again, the purpose of these 17:06:59
      7       date of the covered conduct.           17:05:01            7   on-site audits was to, among other things, 17:07:01
      8   QUESTIONS BY MR. KO:                            17:05:04       8   examine and understand their SOM program?           17:07:04
      9       Q. Okay. Was there ever a time           17:05:04          9       A. Yes.                        17:07:05
     10   when you ceased or put a temporary hold on         17:05:10   10            (Mallinckrodt-Harper Exhibit 27 17:07:19
     11   shipping orders to Masters?                17:05:13           11       marked for identification.)          17:07:19
     12       A. Yes.                        17:05:14                   12   QUESTIONS BY MR. KO:                            17:07:05
     13       Q. And that occurred at some point 17:05:14               13       Q. Okay. Now, turning to -- you          17:07:05
     14   in the late 2010 time period, right?         17:05:16         14   can set that aside, and I'm going to hand you 17:07:15
     15       A. Yes.                        17:05:18                   15   a copy of what will be marked as Exhibit 27. 17:07:17
     16       Q. And after this review, it was        17:05:18          16            And for the record, this ends    17:07:23
     17   determined that they were -- it was           17:05:24        17   in Bates 970734.                       17:07:25
     18   sufficient to resume shipments to Masters; is 17:05:28        18            And this appears to be a letter 17:07:38
     19   that fair to say?                    17:05:34                 19   you drafted to Masters on September 21, 2011, 17:07:40
     20       A. No.                         17:05:34                   20   correct?                           17:07:46
     21       Q. Or did you -- at the time you        17:05:34          21       A. Yes.                        17:07:46
     22   ceased sending shipments to Masters in late 17:05:36          22       Q. Okay. And now, you had               17:07:46
     23   2010, did you ever resume shipments to           17:05:39     23   testified that you ceased shipments to        17:07:48
     24   Masters?                            17:05:41                  24   Masters at the end of 2010; is that correct? 17:07:52
     25       A. No.                         17:05:42                   25       A. Approximate time. I'm not            17:07:55

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      1 certain.                            17:07:57                    1       A. Yes.                         17:09:37
      2       Q. But despite -- well, you           17:07:57            2       Q. Okay. So you've done an              17:09:38
      3   stopped shipping to them, but you are still 17:08:02          3   analysis of their SOM program, and you           17:09:39
      4   undergoing a review of their SOM program; is 17:08:05         4   conclude that Mallinckrodt is not comfortable 17:09:43
      5   that correct?                       17:08:08                  5   making any sales to them?                  17:09:46
      6       A. At their request, yes.           17:08:08              6       A. Yes.                         17:09:47
      7       Q. At their request. Okay.            17:08:09            7       Q. You can set that aside.            17:09:47
      8            And on -- this culminates in a 17:08:11              8            (Mallinckrodt-Harper Exhibit 28 17:10:00
      9   letter on September 21, 2011, from you to        17:08:15     9       marked for identification.)           17:10:01
     10   Mr. Corona, who I believe is the president of 17:08:20       10   QUESTIONS BY MR. KO:                            17:10:01
     11   Masters Pharmaceutical.                   17:08:24           11       Q. And I'm going to hand you a           17:10:01
     12            Is that consistent with your     17:08:24           12   copy of what'll be marked as Harper            17:10:02
     13   understanding?                        17:08:25               13   Exhibit 28.                          17:10:05
     14       A. I don't know his title. He was 17:08:25               14            And for the record, this ends 17:10:07
     15   an executive, yes.                    17:08:28               15   in Bates 289368.                       17:10:08
     16       Q. Okay. And you indicate that,          17:08:28        16            Does this letter look familiar 17:10:15
     17   among other things, "We are not comfortable 17:08:30         17   to you, Ms. Harper?                      17:10:18
     18   that your suspicious order monitoring program 17:08:33       18       A. Yes. Yes.                      17:10:19
     19   is robust enough to identify suspicious       17:08:34       19       Q. And this is -- in your ongoing 17:10:19
     20   orders of controlled substances to ensure      17:08:37      20   review of chargeback data, you are able to 17:10:21
     21   that the products are being used for         17:08:39        21   identify through this letter that you send to 17:10:24
     22   legitimate medicinal purposes."             17:08:42         22   your customers a series of pharmacies that 17:10:30
     23            Did I read that correctly?      17:08:46            23   your customers ship to that you will not be 17:10:36
     24       A. Yes.                        17:08:46                  24   processing chargeback requests for; is that 17:10:39
     25       Q. And you continue that "As            17:08:46         25   accurate?                           17:10:42

                                                         Page 399                                                            Page 401
      1 parted of our SOM and through evaluation of         17:08:48    1       A. Yes, and it was also after         17:10:42
      2   customer buying patterns and chargeback data, 17:08:50        2   meeting with the distributors to understand 17:10:46
      3   we have identified unusual purchasing          17:08:53       3   their due diligence at the pharmacy level, 17:10:48
      4   patterns by some of your customers for         17:08:54       4   yes.                              17:10:50
      5   oxycodone 15-milligram and 30-milligram           17:08:56    5       Q. Okay. And just so I understand 17:10:50
      6   tablets."                         17:09:01                    6   this document and just so the record is       17:10:51
      7            Did I read that correctly?     17:09:02              7   clear, I understand you sent this same letter 17:10:53
      8       A. Yes.                        17:09:02                   8   to all 43 wholesale distributors of         17:10:57
      9       Q. So this is an example of how         17:09:03          9   Mallinckrodt as of October 17, 2011, correct? 17:11:04
     10   you have utilized chargeback data that        17:09:05       10       A. Yes.                         17:11:06
     11   Mallinckrodt can acquire to identify certain 17:09:09        11       Q. And so these were all your           17:11:06
     12   customer buying patterns, among other things, 17:09:15       12   customers that you shipped Mallinckrodt          17:11:07
     13   correct?                           17:09:17                  13   opioids to, correct, during this time period? 17:11:12
     14       A. Correct.                     17:09:18                 14       A. Well, specifically oxycodone 15 17:11:14
     15       Q. And also to identify unusual         17:09:18         15   and 30, yes.                         17:11:16
     16   purchasing patterns by some of Masters'         17:09:22     16       Q. Okay. So 40 -- there were 43 17:11:17
     17   customers, correct?                    17:09:24              17   wholesale distributors as of October 17,       17:11:20
     18            MR. O'CONNOR: Object to form. 17:09:25              18   2011, that you had previously done business 17:11:24
     19            THE WITNESS: Correct.              17:09:25         19   with that was -- that you had shipped oxy 15s 17:11:27
     20   QUESTIONS BY MR. KO:                           17:09:26      20   and oxy 30s to, correct?                 17:11:29
     21       Q. Okay. And based on that             17:09:26          21            MR. O'CONNOR: Object to form. 17:11:31
     22   review, you indicate that you are not        17:09:29        22            THE WITNESS: You know, I'd             17:11:32
     23   prepared, Mallinckrodt is not prepared, to     17:09:33      23       like to clarify my previous -- so      17:11:35
     24   resume sales of controlled substances,        17:09:35       24       these were all wholesalers and          17:11:37
     25   correct?                           17:09:37                  25       distributors of records as purchasing 17:11:39

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      1       opioids, but they may not have          17:11:42          1 Mallinckrodt doing audits of your customers'         17:13:28
      2       purchased oxy 15 and 30. They may           17:11:43      2 SOM programs. I want to understand to what             17:13:33
      3       have purchased other opioids.          17:11:46           3   extent you actually utilize IMS data to make 17:13:36
      4            So that's the correct answer. 17:11:48               4   certain determinations as well.             17:13:39
      5   QUESTIONS BY MR. KO:                           17:11:50       5        A. Okay. We used IMS data to look 17:13:41
      6       Q. Okay. Thank you for the             17:11:50           6   at the prescribers of oxycodone 15s and 30s. 17:13:47
      7   clarification.                      17:11:51                  7   When we spoke to the distributors about these 17:13:53
      8       A. You're welcome.                  17:11:52              8   potentially -- about these pharmacies that       17:13:57
      9       Q. So then is it fair to say that 17:11:53                9   displayed red flags, we asked the             17:14:00
     10   these 43 wholesalers and distributors         17:11:54       10   distributors if they had a list of the top    17:14:04
     11   constituted all the wholesaler distributors 17:11:59         11   prescribers that were writing RXs at these       17:14:06
     12   that Mallinckrodt did business with in terms 17:12:02        12   pharmacies, and then that was a method of          17:14:09
     13   of shipping prescription opioids to?         17:12:05        13   comparison that we had to this IMS data list 17:14:12
     14       A. To the best of my                17:12:07             14   of the top prescribers in the country.        17:14:14
     15   understanding, yes.                    17:12:08              15        Q. Okay. And when do you recall            17:14:16
     16       Q. Okay. And as we just discussed 17:12:09               16   first utilizing the IMS data in connection      17:14:22
     17   a moment ago, "effective immediately,           17:12:17     17   with this review of prescriber-level          17:14:26
     18   Mallinckrodt will no longer process           17:12:21       18   information?                           17:14:28
     19   chargebacks from distributor sales of         17:12:22       19        A. I don't know when it started.        17:14:28
     20   Mallinckrodt products to the pharmacies         17:12:25     20        Q. Okay. Are you currently             17:14:30
     21   identified on attachment 1 hereto."          17:12:27        21   utilizing IMS data in connection with your        17:14:34
     22            And those pharmacies are of       17:12:29          22   suspicious order monitoring system?             17:14:36
     23   course the ones listed in the second page of 17:12:31        23        A. No.                          17:14:37
     24   this document, correct?                  17:12:33            24        Q. Okay. Other than for purposes 17:14:38
     25       A. Yes.                        17:12:33                  25   of sending out this letter to make           17:14:39

                                                          Page 403                                                            Page 405
      1        Q. Okay. And so you're not            17:12:34           1 distributors aware that chargeback requests       17:14:46
      2   necessarily saying here that these pharmacies 17:12:37        2   will not be honored, do you recall ever       17:14:48
      3   need to be placed on any kind of do not ship 17:12:40         3   utilizing IMS data in connection with SOM         17:14:51
      4   list. You're simply telling these          17:12:43           4   activities?                        17:14:55
      5   distributors that you're not going to process 17:12:44        5        A. Not that I recall.            17:14:55
      6   any chargeback requests related to these        17:12:46      6        Q. You can -- I'd actually ask        17:14:56
      7   particular pharmacies, correct?             17:12:49          7   that you keep that document in front of you, 17:15:08
      8            MR. O'CONNOR: Object to form. 17:12:50               8   but just probably you can refer to the back 17:15:09
      9            THE WITNESS: Yes.                  17:12:50          9   because I want to ask you some questions         17:15:11
     10   QUESTIONS BY MR. KO:                            17:12:51     10   about these pharmacies.                   17:15:12
     11        Q. Okay. And by the way, going           17:12:51       11        A. All right.                  17:15:13
     12   back to the first paragraph of this         17:12:53         12            (Mallinckrodt-Harper Exhibit 29 17:15:15
     13   correspondence, you indicate to your           17:12:57      13        marked for identification.)          17:15:16
     14   customers at the end of the first paragraph 17:13:01         14   QUESTIONS BY MR. KO:                           17:15:16
     15   that, quote, "As a DEA registrant,           17:13:04        15        Q. So I'm going to hand you a copy 17:15:16
     16   Mallinckrodt, LLC, a Covidien company,            17:13:06   16   of what will be marked as Harper Exhibit 29. 17:15:17
     17   Mallinckrodt, has developed and maintains a 17:13:10         17        A. Oh, my gosh.                   17:15:30
     18   comprehensive program that includes review of 17:13:12       18        Q. And for the record, this          17:15:32
     19   customer orders, IMS data and chargeback          17:13:14   19   document ends in Bates 32384 and is an e-mail 17:15:35
     20   information and, where appropriate,           17:13:17       20   from Wayne Corona at Masters to you, dated         17:15:40
     21   subsequent audits of distributors' suspicious 17:13:20       21   October 10 -- 20, 2011.                  17:15:46
     22   order monitoring programs," end quote.           17:13:22    22            Do you recall this e-mail?       17:15:49
     23            Did I read that correctly?      17:13:26            23        A. Yes.                       17:15:50
     24        A. Yes.                        17:13:27                 24        Q. Okay. This is Masters'            17:15:51
     25        Q. So we discussed the concept of 17:13:27              25   response to the letter that you had sent to 17:15:55

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      1 them that we just previously discussed that         17:15:59    1       Q. Okay. So is it accurate to say 17:18:09
      2   reflects Exhibit 28; is that correct?        17:16:03         2   that what he's trying to tell you is that for 17:18:12
      3        A. I don't see -- we had a            17:16:04           3   each one of these pharmacies that you have 17:18:15
      4   separate letter addressed -- is this in your 17:16:11         4   identified as being problematic, he has         17:18:16
      5   pile? I'm so confused.                    17:16:16            5   indicated that Masters has already placed        17:18:21
      6            Okay. We had a separate letter 17:16:18              6   them on Masters' termination list; is that 17:18:24
      7   addressed to Masters.                     17:16:23            7   accurate?                            17:18:28
      8        Q. Okay. And in that separate            17:16:23        8       A. Yes.                         17:18:28
      9   letter, you were identifying -- I believe      17:16:24       9       Q. Okay. And for several of these 17:18:29
     10   I've seen that, but in that separate letter 17:16:29         10   pharmacies, Masters had placed these             17:18:32
     11   you identify these same pharmacies; is that 17:16:31         11   pharmacies on the termination list            17:18:36
     12   correct?                            17:16:32                 12   approximately one year prior to you notifying 17:18:39
     13        A. Yes. Yes.                      17:16:32              13   Masters of these problematic pharmacies; is 17:18:42
     14        Q. So at some point before this          17:16:34       14   that accurate?                        17:18:47
     15   e-mail, you had obviously indicated to           17:16:38    15       A. Yes.                         17:18:47
     16   Masters that there were certain pharmacies 17:16:40          16       Q. Okay. Now, he goes on to               17:18:48
     17   that you weren't going to honor chargebacks 17:16:48         17   say -- and I recall earlier when we discussed 17:18:57
     18   to, correct?                         17:16:52                18   how you had indicated to Masters that they 17:19:01
     19        A. Yes.                        17:16:52                 19   had an inadequate SOM program.                   17:19:04
     20        Q. And I assume that there was a 17:16:52               20       A. Yes.                         17:19:06
     21   separate e-mail sent to Masters, because at 17:16:54         21       Q. Okay. And he responds, quote, 17:19:07
     22   the time you weren't doing business with          17:16:57   22   "In your last two letters to Masters, you      17:19:11
     23   them?                               17:16:59                 23   have judged our SOMs to be inadequately            17:19:16
     24        A. I believe this is the time we 17:17:00               24   robust, yet somehow we identified these           17:19:18
     25   notified Masters that we were going to           17:17:04    25   accounts well before you, exclamation point." 17:19:20

                                                         Page 407                                                            Page 409
      1 discontinue sales of Mallinckrodt product to     17:17:07       1             Did I read that correctly?      17:19:23
      2 Masters.                              17:17:09                  2        A. Yes.                        17:19:23
      3       Q. Okay.                        17:17:10                  3        Q. So, again, is it accurate to       17:19:24
      4       A. So it would have been a letter. 17:17:10               4   state that Masters had identified one -- at 17:19:27
      5            But we sent several letters to 17:17:11              5   least one year prior, in some instances, some 17:19:30
      6   Masters, and so I -- the content of each one 17:17:13         6   pharmacies that were deemed to be               17:19:33
      7   I can't attest to.                  17:17:19                  7   problematic, sufficient to place them on        17:19:34
      8       Q. Sure. Fair enough.                17:17:19             8   their termination list before you were able 17:19:36
      9            In any event, Mr. Corona,        17:17:20            9   to make that same determination?               17:19:39
     10   who -- it does appear in the end of this      17:17:24       10             MR. O'CONNOR: Object to form. 17:19:40
     11   e-mail that he is the president of Masters 17:17:27          11             THE WITNESS: Yes.                  17:19:41
     12   Pharmaceutical.                        17:17:29              12   QUESTIONS BY MR. KO:                             17:19:41
     13            Do you see that? I've          17:17:29             13        Q. Okay. And earlier we had --           17:19:42
     14   highlighted it.                      17:17:38                14   you had testified that one of the reasons why 17:19:46
     15       A. Yes, I do. Yes. Yes.              17:17:38            15   you had audited Masters was to review their 17:19:48
     16       Q. So you had sent some                17:17:39          16   SOM program, correct?                       17:19:51
     17   correspondence to Jennifer Seiple at Masters, 17:17:42       17        A. Yes.                        17:19:52
     18   and you had identified these pharmacies that 17:17:46        18        Q. Okay. And yet through your             17:19:53
     19   appear in attachment 1, correct?            17:17:49         19   review, you were unable to determine which         17:19:55
     20       A. Yes.                        17:17:50                  20   pharmacies they placed on their termination 17:20:00
     21       Q. Okay. And he responds that "As 17:17:51               21   list, correct?                       17:20:02
     22   you can see, the dates of termination predate 17:18:03       22        A. Correct.                      17:20:03
     23   your notification."                    17:18:06              23        Q. Okay. Isn't that reflective of 17:20:04
     24            Do you see that?              17:18:08              24   an inadequate audit on the part of            17:20:10
     25       A. I do.                       17:18:08                  25   Mallinckrodt?                          17:20:12

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                                                          Page 410                                                        Page 412
      1             MR. O'CONNOR: Object to form. 17:20:12              1            MR. O'CONNOR: Object to form. 17:21:52
      2             THE WITNESS: No.                17:20:13            2            THE WITNESS: I'm sorry, there 17:21:53
      3   QUESTIONS BY MR. KO:                           17:20:13       3       were double negatives. Will you          17:21:55
      4       Q. Okay. Do you feel that had you 17:20:14                4       please restate? I'm sorry.           17:21:57
      5   asked Masters the simple question of which 17:20:16           5   QUESTIONS BY MR. KO:                            17:21:58
      6   pharmacies they had placed on their do not 17:20:21           6       Q. Sorry, I have a bad habit of        17:21:58
      7   ship list, you would have also understood      17:20:23       7   that.                             17:22:02
      8   that these pharmacies were problematic?         17:20:26      8            So not asking Masters whether       17:22:03
      9       A. I do not know.                 17:20:31                9   or not they had pharmacies on their           17:22:04
     10       Q. Okay. Do you agree with me            17:20:32        10   termination list is indicative of an       17:22:05
     11   that had you asked that question in your      17:20:34       11   inadequate audit, correct?                17:22:09
     12   audit, you would have learned that these      17:20:36       12            MR. O'CONNOR: Object to form. 17:22:10
     13   pharmacies were problematic?                17:20:38         13            THE WITNESS: I do not agree.          17:22:11
     14       A. If they would have provided         17:20:40          14   QUESTIONS BY MR. KO:                            17:22:12
     15   this listing, yes.                 17:20:42                  15       Q. You do not agree.                 17:22:12
     16       Q. Okay. Regardless of whether or 17:20:43               16            Had you simply asked Masters         17:22:13
     17   not they provided the listing --         17:20:45            17   whether or not certain pharmacies appeared on 17:22:19
     18       A. Uh-huh.                      17:20:47                 18   their do not ship list, you would have        17:22:21
     19       Q. -- the purpose of your audit in 17:20:47              19   learned that certain pharmacies did in fact 17:22:23
     20   late 2010 was to understand Masters' SOM         17:20:50    20   appear on that list, correct?            17:22:25
     21   program, was it not?                   17:20:56              21            MR. O'CONNOR: Objection.              17:22:27
     22       A. Yes.                       17:20:57                   22       Asked and answered.                   17:22:28
     23       Q. And you were doing an              17:20:57           23            THE WITNESS: I don't know if          17:22:28
     24   independent review?                     17:20:58             24       they would have given us this list.     17:22:30
     25       A. Yes, a Mallinckrodt review of 17:21:01                25

                                                            Page 411                                                      Page 413
      1 their program, yes.                       17:21:02              1 QUESTIONS BY MR. KO:                              17:22:33
      2        Q. Right.                      17:21:03                  2        Q. Okay. But you don't recall         17:22:34
      3             And in connection with that       17:21:04          3   ever asking that question?                17:22:35
      4   review, did you ever ask them whether or not 17:21:05         4        A. I do not.                   17:22:36
      5   they had placed certain pharmacies on their 17:21:08          5        Q. Okay. Certainly if you had          17:22:37
      6   do not ship list?                     17:21:11                6   asked that question, you would have been able 17:22:39
      7        A. I don't -- I don't know. I        17:21:11            7   to determine whether or not certain           17:22:41
      8   don't recall.                       17:21:14                  8   pharmacies appeared on their do not ship        17:22:43
      9        Q. Okay. Had you asked that             17:21:14         9   list, correct?                     17:22:45
     10   question, you would have certainly learned 17:21:15          10             MR. O'CONNOR: Objection.             17:22:45
     11   this information, correct?                17:21:18           11        Asked and answered.                 17:22:46
     12             MR. O'CONNOR: Object to form. 17:21:18             12             THE WITNESS: So, sir, I'll        17:22:46
     13             THE WITNESS: Perhaps.               17:21:19       13        answer again. This whole Masters'        17:22:47
     14   QUESTIONS BY MR. KO:                             17:21:20    14        event became quite adversarial. And I 17:22:51
     15        Q. Okay. Sitting here today, is 17:21:20                15        don't mean to be irreverent, because     17:22:55
     16   it reflective of an adequate audit if you     17:21:28       16        I'm under testimony, but this Wayne       17:22:57
     17   didn't ask Masters whether or not they had 17:21:31          17        Corona, I expected to find a dead       17:22:58
     18   any pharmacies on their termination list?       17:21:34     18        chicken on my porch.                17:23:00
     19             MR. O'CONNOR: Object to form. 17:21:37             19             He called me, he hounded me, he 17:23:02
     20             THE WITNESS: No.                  17:21:37         20        was angry, angry about our decision,      17:23:04
     21   QUESTIONS BY MR. KO:                             17:21:38    21        and so he was defending, I'm going to 17:23:06
     22        Q. So to be clear, not asking them 17:21:41             22        say, to Mallinckrodt Masters' SOM         17:23:10
     23   whether or not they had pharmacies on their 17:21:45         23        program with these series of          17:23:14
     24   termination list is indicative of an        17:21:47         24        communications.                   17:23:15
     25   inadequate audit, correct?                 17:21:51          25


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                                                           Page 414                                                            Page 416
      1 QUESTIONS BY MR. KO:                              17:23:15        1 So -- I thank you for that clarification.      17:25:10
      2       Q. Okay. Is it fair to say that 17:23:16                    2            So to be clear, if you obtain 17:25:11
      3   Masters identified problematic pharmacies        17:23:17       3   knowledge from a customer that they have          17:25:13
      4   before you had identified them in your         17:23:24         4   placed a particularly pharmacy -- particular 17:25:16
      5   October 17, 2011 correspondence to them?          17:23:27      5   pharmacy on their do not ship list, you also 17:25:18
      6       A. Yes.                         17:23:30                    6   would no longer honor chargeback requests         17:25:22
      7            MR. O'CONNOR: Object to form. 17:23:30                 7   from that particular distributor as it      17:25:26
      8            THE WITNESS: According to this 17:23:31                8   relates to pills shipped to that pharmacy, 17:25:29
      9       e-mail, yes.                     17:23:32                   9   correct?                           17:25:31
     10   QUESTIONS BY MR. KO:                            17:23:33       10       A. Correct.                      17:25:32
     11       Q. Okay. Do you -- had you had            17:23:33         11       Q. And it would have also been           17:25:33
     12   the information -- let's take Gulf Coast, for 17:23:39         12   problematic to do so, right, because that      17:25:36
     13   example.                             17:23:42                  13   particular pharmacy for a variety of reasons 17:25:38
     14            Do you see that -- by the way, 17:23:42               14   would have certain red flags, correct?        17:25:43
     15   do you recall Gulf Coast medical pharmacy?         17:23:46    15            MR. O'CONNOR: Object to form. 17:25:45
     16       A. The names all run together. I 17:23:48                  16            THE Witness: Yes.               17:25:45
     17   do not. I'm sorry.                    17:23:51                 17   QUESTIONS BY MR. KO:                            17:25:47
     18       Q. They were -- I believe that         17:23:51            18       Q. And potentially that pharmacy 17:25:48
     19   they were the subject of a DEA indictment,       17:23:53      19   would be engaged in diversion of prescription 17:25:49
     20   and they were a particularly problematic        17:23:55       20   opioids, correct?                      17:25:52
     21   customer.                            17:23:58                  21            MR. O'CONNOR: Object to form. 17:25:53
     22            But regardless, in -- as of     17:23:59              22            THE WITNESS: Potentially.            17:25:53
     23   October 28, 2010, Masters had placed Gulf         17:24:03     23   QUESTIONS BY MR. KO:                            17:25:54
     24   Coast on their termination list, correct?     17:24:07         24       Q. Okay. And so for each one of 17:25:55
     25            MR. O'CONNOR: Object to form. 17:24:09                25   these pharmacies that are listed here that 17:25:58

                                                           Page 415                                                            Page 417
      1              THE WITNESS: Yes.                 17:24:10           1 predate your correspondence on October 17th,         17:26:02
      2   QUESTIONS BY MR. KO:                             17:24:14       2 you would agree with me that had you known            17:26:11
      3        Q. And sitting here today, would         17:24:14          3   from Masters that they were placed on their 17:26:13
      4   you agree with me that if you had shipped         17:24:17      4   termination list, you would have also agreed 17:26:18
      5   pills to distributors that sold eventually to 17:24:20          5   that these pharmacies were problematic?          17:26:20
      6   Gulf Coast after October 20, 2010, that would 17:24:25          6            MR. O'CONNOR: Object to form. 17:26:22
      7   have been a problem, correct?                17:24:31           7            THE WITNESS: Yes.                  17:26:23
      8              MR. O'CONNOR: Object to form. 17:24:32               8   QUESTIONS BY MR. KO:                            17:26:23
      9              THE WITNESS: Not a problem we 17:24:33               9        Q. Okay. And shipping orders --         17:26:24
     10        were aware of.                    17:24:37                10   and I understand you don't believe you knew 17:26:27
     11   QUESTIONS BY MR. KO:                             17:24:37      11   at the time, but shipping orders to these     17:26:30
     12        Q. Certainly I understand that you 17:24:39               12   pharmacies after they were placed on a         17:26:33
     13   may not have been aware of it, but is it -- 17:24:41           13   termination list would not be indicative of 17:26:36
     14   is it reflective of an effective SOM program 17:24:46          14   an effective SOM program, correct?             17:26:38
     15   if you ship orders to a pharmacy that you        17:24:50      15            MR. O'CONNOR: Object to form. 17:26:40
     16   know appear on your customer's termination          17:24:53   16            THE WITNESS: Correct.               17:26:40
     17   list?                             17:24:56                     17            (Mallinckrodt-Harper Exhibit 30 17:27:03
     18              MR. O'CONNOR: Object to form. 17:24:56              18        marked for identification.)          17:27:03
     19              THE WITNESS: If we know a             17:24:57      19   QUESTIONS BY MR. KO:                            17:27:03
     20        customer -- if we know a pharmacy          17:24:58       20        Q. Okay. I'm going to hand you a 17:27:04
     21        appears on our customer's termination 17:25:01            21   copy of what's being marked as Harper           17:27:04
     22        list, we also discontinue honoring of 17:25:03            22   Exhibit 30.                          17:27:07
     23        chargebacks to that pharmacy.            17:25:07         23            And for the record, this is a   17:27:10
     24   QUESTIONS BY MR. KO:                             17:25:07      24   demonstrative based on chargeback information 17:27:12
     25        Q. Okay. So that's helpful.           17:25:08            25   produced to us. And to be clear, it's not     17:27:15

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      1 any copy provided by your counsel or by         17:27:19        1 that Masters put Brooks Pharmacy on their do     17:29:20
      2 Mallinckrodt but something that we have         17:27:24        2 not ship list as of October 4, 2010, correct? 17:29:25
      3 prepared.                            17:27:25                   3             MR. O'CONNOR: Object to form. 17:29:27
      4            So Brooks Pharmacy was a           17:27:44          4             MS. FIX MEYER: Object to form. 17:29:28
      5   pharmacy that appeared on your letter to all 17:27:47         5             THE WITNESS: If they would           17:29:29
      6   distributors, correct?                 17:27:50               6        have given it to us. We had some        17:29:30
      7       A. Yes.                        17:27:51                   7        customers that declined to provide      17:29:31
      8       Q. Including to Masters, correct? 17:27:51                8        that information, unfortunately.      17:29:32
      9       A. Yes.                        17:27:53                   9   QUESTIONS BY MR. KO:                            17:29:35
     10       Q. And Masters had indicated to          17:27:53        10        Q. Now -- but we had spoken about 17:29:35
     11   you that they had already placed Brooks on       17:27:58    11   an audit before, but you performed an on-site 17:29:36
     12   their termination list as of October 4, 2010, 17:27:59       12   audit of Masters, correct?               17:29:41
     13   correct?                          17:28:02                   13        A. Yes.                       17:29:42
     14       A. Yes.                        17:28:02                  14        Q. And that on-site audit was all 17:29:42
     15       Q. Okay. Based on this chart, it 17:28:03                15   day, I believe?                      17:29:44
     16   appears that several hundred thousand pills 17:28:09         16        A. Yes.                       17:29:44
     17   nevertheless shipped to Brooks Pharmacy from 17:28:11        17        Q. Okay. And again, sitting here 17:29:46
     18   the period between October 4, 2010, and         17:28:13     18   today, do you believe that shipments made to 17:29:52
     19   October 17, 2011, based on chargeback data        17:28:16   19   a -- an end user after one of your customers 17:29:53
     20   that has been provided to us.             17:28:20           20   puts them on the termination list is        17:30:00
     21            Do you see that?              17:28:21              21   indicative of an effective suspicious order 17:30:02
     22       A. So, yes, but may I ask what the 17:28:22              22   monitoring program?                      17:30:04
     23   unit of measure is here, please?           17:28:26          23             MR. O'CONNOR: Object to form. 17:30:05
     24       Q. Those are total pills.           17:28:28             24             MS. FIX MEYER: Object to            17:30:06
     25       A. Dosage units.                  17:28:30               25        foundation.                    17:30:07

                                                         Page 419                                                          Page 421
      1       Q. Dosage units.                  17:28:31                1            THE WITNESS: If we are aware 17:30:07
      2       A. All right. All right. Thank       17:28:32             2       of it?                      17:30:08
      3   you.                             17:28:32                     3   QUESTIONS BY MR. KO:                          17:30:09
      4       Q. So hundreds of thousands of          17:28:32          4       Q. Yes.                       17:30:09
      5   dosage units/pills are delivered to Brooks    17:28:35        5       A. So, yes, but not if we're not 17:30:10
      6   Pharmacy through Cardinal between October 4, 17:28:39         6   aware of it.                       17:30:12
      7   2010, and October 17, 2011, correct?          17:28:42        7       Q. Okay. But you had the ability, 17:30:13
      8           MR. O'CONNOR: Object to form. 17:28:45                8   and as reflected by this chargeback data that 17:30:15
      9           MS. FIX MEYER: Object to form. 17:28:46               9   you had acquired, you had the ability to     17:30:19
     10           THE WITNESS: The graph               17:28:47        10   understand where your -- the details of where 17:30:22
     11       indicates that Cardinal sold this     17:28:49           11   your pills were going after you shipped them 17:30:24
     12       product to that downstream customer.       17:28:52      12   to the distributor, correct?           17:30:26
     13           MS. FIX MEYER: Object to the          17:28:55       13            MR. O'CONNOR: Object to form. 17:30:27
     14       form. Foundation.                  17:28:57              14            THE WITNESS: Yes.                17:30:29
     15   QUESTIONS BY MR. KO:                           17:28:58      15   QUESTIONS BY MR. KO:                          17:30:29
     16       Q. You can answer the question.         17:28:59         16       Q. Okay. And by the way, as we          17:30:29
     17   She's just lodging her objection for the     17:29:00        17   discussed before, you did an audit of       17:30:35
     18   record.                           17:29:02                   18   Cardinal's SOM program as well, correct?        17:30:38
     19       A. Okay. So if I'm to believe the 17:29:02               19       A. Yes.                       17:30:40
     20   graph is gospel, yes. It appears that      17:29:04          20       Q. And so would you agree that          17:30:40
     21   Cardinal told that number of dosage units to 17:29:06        21   Cardinal could have asked the same question 17:30:41
     22   Brooks Pharmacy.                        17:29:10             22   as well?                          17:30:43
     23       Q. And again, had you asked            17:29:10          23            MR. O'CONNOR: Object to form. 17:30:44
     24   Masters which pharmacies appeared on their        17:29:11   24            MS. FIX MEYER: Objection to          17:30:44
     25   termination list, you would have understood 17:29:19         25       foundation. Object to form.          17:30:45

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                                                         Page 422                                                          Page 424
      1            THE WITNESS: I don't know the 17:30:46             1             And it appears that based on     17:32:50
      2       specifics of Cardinal's interaction     17:30:47        2    the chargeback data that you had access to, 17:32:53
      3       with the pharmacies or with their        17:30:49       3    Mallinckrodt had shipped to distributors that 17:32:57
      4       customers, so I don't know that -- I     17:30:51       4    shipped to Island Drug in the June 3, 2010, 17:32:59
      5       cannot answer.                    17:30:52              5    through October 17, 2011 time period,          17:33:03
      6   QUESTIONS BY MR. KO:                            17:30:53    6    correct?                          17:33:05
      7       Q. Sure. Fair enough.               17:30:53            7        A. Yes.                       17:33:06
      8            Regardless, is it accurate to 17:30:54             8        Q. Okay. And similar to Brooks          17:33:06
      9   state, assuming that these numbers are true, 17:30:59       9    Pharmacy, would you agree with me that           17:33:10
     10   that Mallinckrodt shipped hundreds of           17:31:00   10    shipping drugs to customers who shipped to 17:33:13
     11   thousands of pills to customers, including      17:31:05   11    Island Drug after they appeared on a         17:33:19
     12   Cardinal, that eventually shipped to Brooks 17:31:10       12    termination list would be indicative of an 17:33:22
     13   Pharmacy after they were placed on the          17:31:13   13    inadequate SOM program?                     17:33:26
     14   termination list by Masters?               17:31:16        14             MR. O'CONNOR: Object to form. 17:33:28
     15            MR. O'CONNOR: Object to form. 17:31:18            15             THE WITNESS: No.                 17:33:29
     16            MS. FIX MEYER: Object to form. 17:31:19           16    QUESTIONS BY MR. KO:                           17:33:29
     17       Object to foundation.               17:31:22           17        Q. You would not.                  17:33:30
     18            THE WITNESS: Yes.                  17:31:23       18        A. I would not.                  17:33:31
     19   QUESTIONS BY MR. KO:                            17:31:23   19        Q. Okay. You had -- as we             17:33:33
     20       Q. Okay. Set that aside.             17:31:24          20    discussed before, you had access to this      17:33:38
     21            (Mallinckrodt-Harper Exhibit 31 17:31:48          21    chargeback data, correct?                17:33:40
     22       marked for identification.)           17:31:49         22        A. Yes.                       17:33:41
     23   QUESTIONS BY MR. KO:                            17:31:49   23        Q. Okay. And you also performed 17:33:42
     24       Q. I'm going to hand you just           17:31:50       24    an on-site audit of Masters, correct?       17:33:45
     25   another quick copy of some data we were able 17:31:52      25        A. Yes.                       17:33:48

                                                             Page 423                                                      Page 425
      1 to pull from the chargeback information             17:31:54   1        Q. And so assuming you had asked           17:33:48
      2   produced by your counsel, and that is -- I'm 17:31:55        2   them the question of whether or not Masters 17:33:50
      3   sorry. I'm handing you a copy of what will 17:32:00          3   had placed Island Drug on their do not ship 17:33:53
      4   be marked as Harper Exhibit 31.                17:32:02      4   list, would you agree with me that it would 17:33:57
      5            MR. O'CONNOR: So, again,               17:32:04     5   be indicative of an inadequate SOM program if 17:34:00
      6       Counsel, this is a document you            17:32:06      6   you continued to ship drugs to customers who 17:34:05
      7       created?                         17:32:07                7   shipped to Island Drug?                    17:34:08
      8            MR. KO: This is a                17:32:07           8             MR. O'CONNOR: Object to form. 17:34:09
      9       demonstrative exhibit created by us, 17:32:08            9             THE WITNESS: So the premise is 17:34:09
     10       correct, based on the Excel files        17:32:10       10        that we would have asked Masters for       17:34:13
     11       produced to us.                     17:32:13            11        their do not ship list, and there's no 17:34:15
     12            THE WITNESS: Yes, I know. I'm 17:32:13 12                    assurance whether they would or would 17:34:20
     13       just verifying it against that list, 17:32:13           13        not have provided it. But if we would 17:34:21
     14       yes. Okay.                        17:32:16              14        have known which customers Masters had 17:34:24
     15   QUESTIONS BY MR. KO:                              17:32:18  15        terminated, we would have put them on 17:34:26
     16       Q. So here, I'll -- this is         17:32:18            16        our chargeback restriction list.       17:34:28
     17   similar to Exhibit 30. This is a chart that 17:32:19        17   QUESTIONS BY MR. KO:                             17:34:29
     18   shows pills that were shipped to Island Drug 17:32:23 18              Q. And you would have also -- you 17:34:30
     19   by your customers from the January 2010 to 17:32:28 19           would have also determined that you should         17:34:34
     20   September 2011 time period.                   17:32:33      20   stop shipping orders to customers that sell 17:34:36
     21            And in particular, there is       17:32:35         21   to that particular pharmacy as well, correct? 17:34:38
     22   again -- on the left-hand side the numbers 17:32:44         22             MR. O'CONNOR: Object to form. 17:34:40
     23   are reflective of dosage units --           17:32:45        23             THE WITNESS: Stop -- there's a 17:34:40
     24       A. Thank you.                       17:32:47            24        distinction there. Stop -- stop the    17:34:43
     25       Q. -- slash pills.                 17:32:47             25        payment of chargebacks. We cannot           17:34:45

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      1       totally stop the shipment of           17:34:48           1        the time of their suspension.         17:47:06
      2       Mallinckrodt product to a pharmacy.         17:34:49      2   QUESTIONS BY MR. KO:                             17:47:07
      3   QUESTIONS BY MR. KO:                             17:34:51     3        Q. All right. And you weren't          17:47:07
      4       Q. Okay. You would recommend                 17:34:51     4   aware of the total amount of oxy 15 and          17:47:09
      5   to -- one of the reasons why you would not        17:34:57    5   oxy 30 pills they sent to end users,         17:47:11
      6   honor the chargeback request is to notify the 17:34:58        6   including pain clinics and pharmacies,          17:47:17
      7   distributor that you would not be paying them 17:35:01        7   correct?                            17:47:20
      8   the difference between the amount that they 17:35:03          8        A. So I realize I'm under oath,        17:47:20
      9   agreed upon with you and the subsequent price 17:35:07        9   and I saw that data that I -- you said I     17:47:23
     10   that they're receiving for the drug in the    17:35:10       10   extracted, and I don't know the timing of       17:47:25
     11   downstream transaction, correct?              17:35:12       11   that in correlation to when their license was 17:47:27
     12       A. Yes.                         17:35:13                 12   suspend, if it was before or after.         17:47:30
     13       Q. Okay. So it would -- in other 17:35:13                13        Q. And I'll represent to you it       17:47:31
     14   words, it would alert the distributor -- it 17:35:14         14   was before their license was suspended.          17:47:32
     15   would alert the distributor to the          17:35:23         15             And I am just simply asking -- 17:47:34
     16   possibility that that particular pharmacy was 17:35:25       16        A. Okay.                        17:47:36
     17   problematic, correct?                    17:35:26            17        Q. -- whether or not at any point 17:47:36
     18            MR. O'CONNOR: Object to form. 17:35:27              18   in time you became aware of how many orders 17:47:38
     19            THE WITNESS: Yes.                  17:35:27         19   of oxy 15 or oxy 30s they had sent to pain 17:47:41
     20            MR. KO: Okay. You can set            17:35:29       20   clinics, pharmacies or medical doctors.         17:47:45
     21       this aside.                     17:35:36                 21        A. In Florida?                   17:47:47
     22            Why don't we take a quick break 17:35:41            22        Q. At any time.                   17:47:50
     23       and...                        17:35:43                   23        A. Anywhere?                       17:47:50
     24            VIDEOGRAPHER: We are going off 17:35:45             24        Q. Anywhere.                      17:47:51
     25       the record at 5:35 p.m.              17:35:46            25        A. Clearly, I must have because -- 17:47:52

                                                         Page 427                                                             Page 429
      1        (Off the record at 5:35 p.m.)        17:35:48          1     but -- was that chargeback report unique to 17:47:55
      2            VIDEOGRAPHER: We are back on             17:46:10 2      Florida?                            17:47:58
      3       the record at 5:46 p.m.             17:46:12            3              I'm sorry.                 17:48:00
      4   QUESTIONS BY MR. KO:                           17:46:14     4         Q. No, that's okay.                 17:48:00
      5       Q. Okay. Thank you again,              17:46:14         5         A. I'm so sorry. I'm getting          17:48:01
      6   Ms. Harper. As the court reporter indicated, 17:46:17       6     mixed up here.                         17:48:03
      7   we have about approximately 25 minutes, and I 17:46:18 7              Q. No, it's okay.                  17:48:03
      8   appreciate your patience thus far today.      17:46:20      8              Sitting here today, would you 17:48:05
      9            Going back to our discussion      17:46:22         9     agree with me that it would be suspicious for 17:48:20
     10   about Harvard, putting aside the details of 17:46:26       10     Harvard Drug to sell oxy 15s and oxy 30s to 17:48:21
     11   how that chart was created or the information 17:46:32 11         pain clinics, pharmacies and medical doctors 17:48:25
     12   that you had requested through chargeback        17:46:37 12      through a veterinary supply company?              17:48:28
     13   reports, sitting here today, you weren't     17:46:39      13              MR. O'CONNOR: Object to form. 17:48:32
     14   aware that Harvard Drug had sent, on 12,486 17:46:43 14                    THE WITNESS: I don't know              17:48:33
     15   occasions, oxy 15 and 30 to pain clinics,     17:46:49     15         their corporate structure, so that      17:48:34
     16   pharmacies and medical doctors; is that        17:46:53    16         would have been something, if it had 17:48:36
     17   accurate?                           17:46:55               17         come to our attention, we would have 17:48:38
     18            MR. O'CONNOR: Object to form. 17:46:55            18         asked Harvard more questions about           17:48:41
     19            THE WITNESS: I'm not aware or 17:46:55            19         their -- their business model.         17:48:43
     20       I wasn't aware? I'm sorry.           17:46:58          20     QUESTIONS BY MR. KO:                             17:48:44
     21   QUESTIONS BY MR. KO:                           17:47:00    21         Q. Sure.                        17:48:44
     22       Q. Let's take you weren't aware at 17:47:00            22              As a general matter, do you        17:48:45
     23   the time.                          17:47:03                23     recall any instances in which you sold         17:48:46
     24            MR. O'CONNOR: Same objection. 17:47:03 24                prescription opioids to vet companies?          17:48:48
     25            THE WITNESS: I wasn't aware at 17:47:04           25              MR. O'CONNOR: Object to form. 17:48:51

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                                                         Page 430                                                           Page 432
      1            THE WITNESS: There may have           17:48:51       1        Q. Sorry, a DPM?                   17:50:47
      2       been one.                      17:48:55                   2        A. Yes.                       17:50:47
      3   QUESTIONS BY MR. KO:                          17:48:55        3        Q. Do I understand correctly?         17:50:50
      4       Q. Okay. And what -- which             17:48:55           4        A. Yes.                       17:50:50
      5   instance was that, and when did that occur? 17:48:57          5        Q. And what does DPM stand for?           17:50:51
      6       A. It was -- I don't know the        17:48:59             6        A. Diversion program manager.           17:50:53
      7   date. I remember a customer -- no, strike 17:49:01            7        Q. Okay. And he had spent some           17:50:53
      8   that, please.                      17:49:06                   8   amount of years at the DEA as a DPM, correct? 17:50:55
      9            I'm not aware of any sales to 17:49:06               9   And I believe in Atlanta?                17:50:56
     10   veterinary companies.                   17:49:09             10        A. He was in Atlanta when he           17:50:57
     11       Q. Are you aware of any legitimate 17:49:10              11   retired. Prior to that, he was our group     17:51:01
     12   medical reason for Mallinckrodt to ship pills 17:49:13       12   supervisor in St. Louis, so I don't know the 17:51:03
     13   to veterinary clinics? And by "pills" I mean 17:49:19        13   date of his promotion.                  17:51:06
     14   particularly prescription opioids.        17:49:25           14        Q. Okay. So before -- are you         17:51:07
     15            MR. O'CONNOR: Object to form. 17:49:26              15   saying before he went to DEA, he was an          17:51:08
     16            THE WITNESS: So through some 17:49:27               16   employee of Mallinckrodt?                  17:51:12
     17       event, I don't remember why, we         17:49:31         17        A. No, I'm sorry. I beg your         17:51:13
     18       checked with a couple vets, and indeed 17:49:33          18   pardon.                            17:51:15
     19       there are times when doctors prescribe 17:49:36          19            For St. Louis DEA he was          17:51:16
     20       opioids for pain in animals.         17:49:38            20   diversion group supervisor, and then he was 17:51:18
     21   QUESTIONS BY MR. KO:                          17:49:41       21   promoted to diversion program manager and          17:51:20
     22       Q. Would you agree with me that          17:49:42        22   went to Atlanta, but I'm not certain of      17:51:23
     23   that would be a rare occurrence?           17:49:42          23   the -- the timing of his move to Atlanta.     17:51:25
     24            MR. O'CONNOR: Object to form. 17:49:44              24        Q. I see.                    17:51:28
     25            THE WITNESS: I don't know the 17:49:45              25            So this is in connection       17:51:30

                                                         Page 431                                                           Page 433
      1       frequency.                      17:49:45                  1 with -- this is when he was at DEA, correct?      17:51:31
      2           (Mallinckrodt-Harper Exhibit 32 17:49:57              2       A. Yes, sir.                    17:51:33
      3       marked for identification.)          17:49:46             3       Q. Okay. And at some point in the 17:51:34
      4   QUESTIONS BY MR. KO:                           17:49:46       4   2010 time period, Mallinckrodt retained         17:51:36
      5       Q. Okay. I'm going to hand you a 17:49:46                 5   Mr. Davis, correct?                     17:51:39
      6   copy of what's going to be marked as          17:49:52        6       A. Yes.                        17:51:40
      7   Exhibit 32.                         17:49:56                  7       Q. And they retained him               17:51:41
      8           And for the record, this is -- 17:49:59               8   specifically to examine the then existing      17:51:43
      9   ends in Bates 269399.                    17:50:02             9   suspicious order monitoring program?            17:51:47
     10           Ms. Harper, do you recognize        17:50:17         10       A. Yes.                        17:51:47
     11   this memo from Howard Davis to you dated          17:50:18   11       Q. Okay. And so I know he was             17:51:48
     12   November 2, 2010?                        17:50:24            12   retained for a brief period of time, but do 17:51:53
     13       A. I do.                      17:50:24                   13   you recall how long his engagement lasted?        17:51:58
     14       Q. Okay. And Howard Davis, as we 17:50:27                14       A. A couple of months, at most.          17:52:02
     15   had discussed before, was a consultant you      17:50:29     15       Q. Okay. Now, this memo, is it           17:52:07
     16   had retained in connection with your SOM         17:50:31    16   accurate to describe it is his overview of    17:52:08
     17   program; is that correct?               17:50:35             17   the suspicious order monitoring program based 17:52:17
     18       A. Yes.                       17:50:36                   18   on his review? Is that fair to say?         17:52:19
     19       Q. Okay. And Howard Davis was              17:50:37      19       A. Yes, he was reviewing one             17:52:22
     20   ex-DEA?                              17:50:40                20   particular procedure.                   17:52:24
     21       A. Yes.                       17:50:41                   21       Q. Okay.                        17:52:25
     22       Q. And I believe he was, in           17:50:41           22       A. Yes.                        17:52:25
     23   particular, a DRM.                     17:50:43              23       Q. And the procedure is consistent 17:52:25
     24           Do I understand --             17:50:45              24   with the formal documents we were referring 17:52:28
     25       A. DPM.                         17:50:46                 25   to earlier that you were in charge of        17:52:29

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      1 drafting that outlined the policies and         17:52:32        1 which he says, quote, "Federal Register           17:54:56
      2   procedures Mallinckrodt would follow to           17:52:37    2   Notices published as early as 2007, 72         17:54:59
      3   identify potentially suspicious orders,       17:52:38        3   Federal Register 36487, state specifically      17:55:02
      4   correct?                            17:52:40                  4   that using formulas that rely on percentages 17:55:05
      5            MR. O'CONNOR: Object to form. 17:52:40               5   or averages over time has been determined, by 17:55:07
      6            THE WITNESS: Yes.                  17:52:41          6   the DEA, to be insufficient."              17:55:10
      7   QUESTIONS BY MR. KO:                            17:52:41      7            Did I read that correctly?       17:55:12
      8        Q. Okay. And in his review of           17:52:41         8        A. Yes.                        17:55:14
      9   this particular draft of the suspicious order 17:52:45        9        Q. Okay. And the Federal Register 17:55:18
     10   monitoring program -- actually, let's take a 17:52:50        10   that he's referring to that's been published 17:55:21
     11   step back.                           17:52:57                11   as early as 2007, I believe that's also      17:55:24
     12            During the time that you were       17:52:57        12   reference to the Southwood notice; is that      17:55:26
     13   drafting and revising these policies, you had 17:53:01       13   correct?                            17:55:27
     14   previously testified that you were still      17:53:04       14        A. I don't know for certain, but       17:55:27
     15   utilizing a suspicious order monitoring        17:53:08      15   if --                             17:55:29
     16   program, correct?                       17:53:10             16        Q. Okay.                        17:55:30
     17        A. Yes.                        17:53:11                 17        A. Yes, if you say so, yes.          17:55:31
     18        Q. And with the suspicious order         17:53:12       18        Q. Setting aside which particular 17:55:32
     19   monitoring program being utilized during a        17:53:16   19   Federal Register that refers to, he reports 17:55:35
     20   particular time period between 2008 and 2012, 17:53:19       20   to you as of November 2, 2010, that it is in 17:55:37
     21   would it be reflective of a draft policy that 17:53:23       21   fact his belief that a suspicious order      17:55:42
     22   you are writing or would it be reflective of 17:53:27        22   monitoring program that uses formulas to rely 17:55:48
     23   some other policy?                       17:53:32            23   on percentages or averages over time would be 17:55:49
     24            MR. O'CONNOR: Object to form. 17:53:34              24   insufficient, correct?                  17:55:52
     25            THE WITNESS: We have a                17:53:34      25            MR. O'CONNOR: Object to form. 17:55:53

                                                           Page 435                                                           Page 437
      1       document management system, and              17:53:37     1             THE WITNESS: Those are the            17:55:54
      2       then -- so after all the approvals,    17:53:43           2        statements he made, yes.              17:55:55
      3       it's housed there and it's considered 17:53:45            3   QUESTIONS BY MR. KO:                             17:56:15
      4       a formal policy. However, DEA             17:53:47        4        Q. Okay. He goes on to state that 17:56:15
      5       compliance did not use that system.       17:53:50        5   "an order must not be processed and filled if 17:56:17
      6             So indeed this controlled       17:53:52            6   it is either suspicious or excessive."       17:56:21
      7       substance compliance 3.0 was in draft 17:53:55            7             Do you see that?              17:56:22
      8       form for a while, and I do not know if 17:53:57           8        A. Yes.                        17:56:23
      9       it was finalized, but we were          17:54:00           9        Q. "The existing SOP excels to          17:56:23
     10       operating by it.                  17:54:02               10   meet this requirement through a specific        17:56:25
     11   QUESTIONS BY MR. KO:                            17:54:02     11   evaluation process; however, the numeric          17:56:28
     12       Q. Right. Okay. And that's             17:54:03          12   formula is problematic. For example, should 17:56:32
     13   helpful.                           17:54:05                  13   an occasion arise where an order is three       17:56:32
     14             So as you prepared drafts,      17:54:05           14   times over the historical average for that 17:56:35
     15   whatever operative draft that you were         17:54:07      15   customer in item, or in a situation where the 17:56:36
     16   working on at the time was also the policy 17:54:10          16   order meets but does not exceed the              17:56:38
     17   that you would follow with respect to          17:54:15      17   criteria, it would theoretically be filled 17:56:42
     18   Mallinckrodt's suspicious order monitoring 17:54:16          18   through normal processing without further         17:56:44
     19   obligations, correct?                   17:54:18             19   question. In doing so, in certain cases and 17:56:46
     20       A. Correct.                      17:54:19                20   as noted in recent immediate suspensions of 17:56:50
     21       Q. Okay. Now, he -- Mr. Davis            17:54:20        21   other large-scale DEA registrants, which are 17:56:53
     22   reports to you, as we had discussed before, 17:54:33         22   all a matter of public record, Mallinckrodt 17:56:56
     23   his evaluation of Mallinckrodt's suspicious 17:54:39         23   would be unnecessarily exposing itself to        17:56:58
     24   order monitoring program at the time. And in 17:54:44        24   potential liability."                  17:57:00
     25   particular, I want to focus on the portion in 17:54:45       25             Did I read that correctly?      17:57:02

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                                                         Page 438                                                             Page 440
      1       A. Yes.                         17:57:02                  1 QUESTIONS BY MR. KO:                               17:58:58
      2       Q. Okay. And the           criteria that 17:57:03         2       Q. I'm just simply asking whether 17:58:59
      3   he's referring to here is the    metric that 17:57:05         3   or not you determined that there were           17:59:00
      4   we had discussed before, correct?             17:57:09        4   instances, prior to 2000 -- November 2, 2010, 17:59:01
      5       A. Yes.                         17:57:10                  5   in which you discovered that you were            17:59:07
      6       Q. Okay. And is it accurate to          17:57:11          6   shipping suspicious orders based on a           17:59:09
      7   say that as of November 2, 2010, he is          17:57:14      7   peculiar order algorithm that was in place at 17:59:14
      8   expressing the view that reliance on a         17:57:17       8   that time.                          17:59:17
      9   numeric formula such as a        criteria could 17:57:20      9            MR. O'CONNOR: Same objection. 17:59:18
     10   potentially expose Mallinckrodt to a           17:57:24      10            THE WITNESS: The algorithm              17:59:18
     11   liability? Correct?                    17:57:27              11       points to orders that need to be        17:59:20
     12       A. Yes.                         17:57:27                 12       investigated further and does not         17:59:23
     13       Q. And in fact, in an example we          17:57:28       13       necessarily conclude in and of itself 17:59:26
     14   went over -- or an e-mail we went over           17:57:29    14       that the order is suspicious.         17:59:28
     15   earlier today, we discussed the fact that      17:57:31      15   QUESTIONS BY MR. KO:                             17:59:30
     16   Mallinckrodt's      or      formula with respect 17:57:36    16       Q. Right.                        17:59:31
     17   to Harvard or Sunrise did not necessarily        17:57:40    17            And I -- I see where the         17:59:31
     18   trigger a suspicious order, correct?         17:57:44        18   confusion is, because I'm putting a label on 17:59:32
     19            Because those orders did not -- 17:57:48            19   a particular order, so let me try it this    17:59:34
     20   were not triggered as a result of the        17:57:50        20   way.                               17:59:36
     21   peculiar order system in place, correct?       17:57:53      21       A. All right.                     17:59:36
     22            MR. O'CONNOR: Object to form. 17:57:54              22       Q. In the e-mail that you had           17:59:37
     23            THE WITNESS: Correct.                17:57:54       23   drafted to Eileen Spaulding that we went over 17:59:42
     24   QUESTIONS BY MR. KO:                             17:57:55    24   earlier today in which you said that no         17:59:45
     25       Q. Okay. And so it's safe to say 17:57:55                25   orders -- no peculiar orders had risen to the 17:59:50

                                                            Page 439                                                       Page 441
      1 that prior to the date of this memorandum          17:57:59     1 level of suspicious, you also -- do you         17:59:53
      2   there were, in fact, instances in which you 17:58:03          2   recall also referencing Harvard and Sunrise? 17:59:56
      3   later discovered that you may have been          17:58:05     3            MR. O'CONNOR: Object to form. 17:59:58
      4   shipping certain suspicious orders to         17:58:09        4            THE WITNESS: Yes. Yes.               17:59:59
      5   distributors because you were utilizing this 17:58:12         5   QUESTIONS BY MR. KO:                             17:59:59
      6   peculiar order algorithm?                  17:58:16           6       Q. And you specifically reference 18:00:00
      7              MR. O'CONNOR: Object to form. 17:58:18             7   Harvard and Sunrise because you are saying 18:00:02
      8              THE WITNESS: Can you restate 17:58:18              8   that those were instances in which the         18:00:05
      9        that question, please?              17:58:24             9   peculiar order algorithm did not flag orders 18:00:09
     10   QUESTIONS BY MR. KO:                             17:58:25    10   to them that were potentially suspicious.       18:00:13
     11        Q. Sure. Let me try --              17:58:25            11            Is that accurate to say?        18:00:18
     12        A. Okay.                        17:58:27                12       A. Correct.                      18:00:19
     13        Q. -- again.                    17:58:27                13       Q. Okay. And so applied to this          18:00:20
     14              Prior to November 2, 2010 --      17:58:29        14   memorandum, I am asking you to confirm that 18:00:26
     15        A. All right.                   17:58:33                15   prior to November 2, 2010, there were in fact 18:00:29
     16        Q. -- it's safe to say that there 17:58:34              16   instances in which you shipped potentially 18:00:36
     17   were instances in which you later discovered 17:58:37        17   suspicious orders because you were utilizing 18:00:38
     18   that you have -- you were shipping suspicious 17:58:41       18   a peculiar order algorithm that relied on the 18:00:41
     19   orders to distributors because you were         17:58:45     19   numeric formula.                        18:00:45
     20   utilizing a       or    peculiar order        17:58:47       20            MR. O'CONNOR: Object to form. 18:00:47
     21   algorithm?                            17:58:51               21            THE WITNESS: We shipped orders 18:00:48
     22              MR. O'CONNOR: Object to form. 17:58:52            22       that would have been further            18:00:53
     23              THE WITNESS: So the question 17:58:52             23       investigated if the algorithm was        18:00:56
     24        is, is that problematic?            17:58:55            24       different, but I can't conclude that    18:00:58
     25                                                                25       we shipped suspicious orders because 18:01:00

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      1       it's my belief that we have never     18:01:01            1 subsequently shipped.                       18:02:41
      2       shipped a suspicious order.         18:01:05              2       Q. Got it. Understood.                18:02:41
      3   QUESTIONS BY MR. KO:                          18:01:05        3            So from -- is it your testimony 18:02:43
      4       Q. For what time period?            18:01:06              4   today that from 2008 to present, Mallinckrodt 18:02:48
      5       A. Ever.                      18:01:07                    5   has not shipped a single suspicious order? 18:02:50
      6       Q. Okay. So your testimony here 18:01:11                  6       A. Yes. When we talk about                18:02:54
      7   today is that you believe Mallinckrodt has 18:01:13           7   suspicious orders, direct orders to our        18:02:56
      8   never shipped a suspicious order?          18:01:15           8   customers.                           18:03:00
      9       A. Yes.                       18:01:16                    9       Q. Okay. Let's take -- you can           18:03:00
     10       Q. Okay. And that's               18:01:18               10   set that aside.                      18:03:15
     11   notwithstanding the settlement that         18:01:19         11            I hand you a copy of what will 18:03:19
     12   Mallinckrodt had entered into with the DOJ 18:01:22          12   be marked as Harper Exhibit 33.                18:03:20
     13   regarding its suspicious order monitoring     18:01:24       13            MR. KO: And for the record,          18:03:23
     14   activities?                       18:01:25                   14       this is Bates -- ends in Bates 485740. 18:03:24
     15       A. Correct.                    18:01:26                  15            (Mallinckrodt-Harper Exhibit 33 18:03:28
     16       Q. Okay. And that's               18:01:31               16       marked for identification.)            18:03:29
     17   notwithstanding the fact that the DOJ has     18:01:31       17   QUESTIONS BY MR. KO:                             18:03:29
     18   alleged, and Mallinckrodt has in fact       18:01:38         18       Q. Do you recognize that e-mail, 18:03:41
     19   admitted in the DOJ agreement, that at       18:01:40        19   Ms. Harper?                            18:03:44
     20   certain points in time in 2008 through 2012 18:01:43         20       A. No, I don't, so I'm going to         18:03:45
     21   Mallinckrodt did not have an adequate         18:01:46       21   read it, please --                    18:03:52
     22   suspicious order monitoring system?          18:01:49        22       Q. Sure.                        18:03:52
     23            MR. O'CONNOR: Object to form. 18:01:49              23       A. -- because -- yeah. Okay.            18:03:53
     24            THE WITNESS: I -- I don't -- I 18:01:50             24       Q. In terms of the September 9,           18:04:40
     25       don't recall the MOA language.         18:01:56          25   2010 e-mail that you drafted to James Parker, 18:04:47

                                                          Page 443                                                         Page 445
      1 QUESTIONS BY MR. KO:                                18:01:57    1 do you have any reason to doubt that you sent 18:04:51
      2        Q. I guess what I'm trying to ask 18:01:57               2 that?                                18:04:53
      3   you is, I understand that -- well, let's take 18:01:59        3        A. No.                          18:04:53
      4   a step back.                          18:02:03                4        Q. And who is James Parker?              18:04:53
      5             I believe you testified earlier 18:02:04            5        A. He was a -- I don't know his         18:04:55
      6   today that at least prior to 2008 there were 18:02:05         6   title, unless it's on here. He was in our     18:05:01
      7   at least ten instances, somewhere between one 18:02:09        7   operational excellence program.               18:05:03
      8   and ten instances, in which suspicious orders 18:02:14        8        Q. Okay. Was he in senior              18:05:07
      9   were reported to the DEA.                    18:02:17         9   management?                              18:05:09
     10             Was that correct?              18:02:18            10        A. No.                          18:05:10
     11             MR. O'CONNOR: Object to form. 18:02:19             11        Q. Okay. And there's a reference 18:05:13
     12             THE WITNESS: Yes.                   18:02:19       12   to Tom Berry as well, and that was at one         18:05:14
     13   QUESTIONS BY MR. KO:                              18:02:21   13   point your direct report, as you indicated      18:05:20
     14        Q. So at least there were             18:02:22          14   previously, correct?                     18:05:21
     15   somewhere north of one but south of ten           18:02:23   15        A. Yes, I reported to Tom.             18:05:22
     16   suspicious orders reported to the DEA?            18:02:25   16        Q. Okay. And you indicate in this 18:05:24
     17        A. Yes.                         18:02:26                17   e-mail -- the title of the e-mail is "DEA      18:05:30
     18        Q. So that's more than the "none" 18:02:27              18   mandated a suspicious order monitoring            18:05:34
     19   you just indicated to me; is that not         18:02:30       19   program"; is that correct?                 18:05:35
     20   accurate?                            18:02:32                20        A. Yes.                         18:05:35
     21        A. You asked if we had shipped a           18:02:32     21        Q. Okay. And you indicate, among 18:05:36
     22   suspicious order.                       18:02:34             22   other -- well, you say, "Jim, I am working on 18:05:41
     23        Q. I see.                      18:02:35                 23   obtaining the number relating to potential       18:05:45
     24        A. But the orders that we had           18:02:36        24   lost business and have assembled some             18:05:50
     25   reported between one and ten to DEA were not 18:02:38        25   documentation around actual fines imposed for 18:05:51

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      1 regulatory noncompliance. I will work on the 18:05:54            1            So we approached Jim Parker to 18:07:41
      2 chart and will have all of the above ready by 18:05:56           2   ask him if he would lend his operational        18:07:44
      3 this weekend."                            18:05:58               3   expertise to the suspicious order monitoring 18:07:47
      4            Did I read that correctly?        18:05:59            4   program. And in order to do that, these        18:07:48
      5        A. Yes.                         18:05:59                  5   folks had to be chartered. So part of the 18:07:52
      6        Q. And then there's a portion           18:06:00          6   charter statement was, what's the potential 18:07:54
      7   that's redacted, and then you go on to state, 18:06:02         7   financial impact if we do not do -- perform 18:07:59
      8   "I don't ever want to be perceived as a         18:06:04       8   this project.                      18:08:02
      9   person who cried wolf by asking for a            18:06:07      9            So that's why I'm referring to 18:08:03
     10   presentation to the larger group and welcome 18:06:09         10   this potential lost business and actual fines 18:08:05
     11   your feedback."                         18:06:11              11   which may be composed -- imposed for               18:08:09
     12        A. Okay.                         18:06:13                12   regulatory noncompliance.                   18:08:12
     13        Q. Did I read that correctly?          18:06:14          13       Q. And regulatory noncompliance             18:08:13
     14        A. Yes.                         18:06:14                 14   with the CSA, correct?                    18:08:15
     15        Q. Okay. And again, the subject 18:06:15                 15       A. Yes.                        18:08:17
     16   of this e-mail is the SOM program.              18:06:16      16       Q. Okay. And potential lost            18:08:17
     17            Is it accurate to say that you 18:06:19              17   business, are you referring to the potential 18:08:19
     18   are at this point asking Jim, or James, for a 18:06:24        18   lost business from continuing to do business 18:08:21
     19   presentation to a larger group about           18:06:29       19   with your distributors to distribute         18:08:24
     20   Mallinckrodt's SOM program?                     18:06:31      20   prescription opioids?                   18:08:26
     21        A. It appears that way. I            18:06:32            21            MR. O'CONNOR: Objection to              18:08:27
     22   don't -- I do not remember these comments at 18:06:34         22       form.                         18:08:29
     23   all about the presentation --              18:06:36           23            THE WITNESS: Yes.                  18:08:29
     24        Q. Sure.                        18:06:37                 24   QUESTIONS BY MR. KO:                             18:08:33
     25        A. -- but I've refamiliarized         18:06:37           25       Q. Okay. And so in effect, you're 18:08:33

                                                          Page 447                                                            Page 449
      1 myself with the rest of the e-mail.            18:06:39          1 doing -- you're asking -- or you are being        18:08:36
      2        Q. Okay. And I'll ask you a few          18:06:41         2   asked to do some sort of burden/benefit          18:08:39
      3   questions about the previous e-mails.           18:06:44       3   analysis with respect to a more enhanced SOM 18:08:42
      4        A. Certainly.                    18:06:48                 4   program relative to the value of the business 18:08:46
      5        Q. But do you recall what you are 18:06:48                5   that Mallinckrodt has in distributing         18:08:51
      6   referring to by the "presentation to the       18:06:53        6   prescription opioids to its distributors.     18:08:53
      7   larger group"?                         18:06:55                7            Is that accurate to say?        18:08:55
      8        A. I don't.                    18:06:55                   8            MR. O'CONNOR: Objection to              18:08:56
      9        Q. Okay.                        18:06:57                  9       form.                          18:08:57
     10        A. I don't.                    18:06:57                  10            THE WITNESS: In order to              18:08:57
     11        Q. And when you are suggesting -- 18:06:58               11       complete this charter document and get 18:08:58
     12   at the beginning of this e-mail when you are 18:07:01         12       the resources from the operational        18:08:59
     13   saying you are working on the number relating 18:07:03        13       excellence group.                   18:09:00
     14   to potential lost business, are you referring 18:07:05        14   QUESTIONS BY MR. KO:                             18:09:01
     15   to the potential lost business of          18:07:08           15       Q. Okay. That's all the questions 18:09:01
     16   Mallinckrodt -- well, strike that.          18:07:14          16   I have on that.                       18:09:04
     17            What are you referring to when 18:07:16              17            Unfortunately, I just only have 18:09:06
     18   you're referring to the potential lost       18:07:19         18   one copy of this, so you will be the lucky 18:09:10
     19   business?                            18:07:21                 19   one to get it. But this is a copy of the     18:09:12
     20        A. We approached Jim Parker               18:07:21       20   settlement agreement, the memorandum of             18:09:18
     21   because he was operational excellence. So          18:07:23   21   understanding between Mallinckrodt and the 18:09:23
     22   there is initiative in business Six Sigma.      18:07:26      22   DOJ, and it's previously been marked as           18:09:24
     23   It's a whole process of reviewing a program, 18:07:29         23   Ratliff Exhibit 41.                    18:09:26
     24   fishbone charts, a lot of data gathering       18:07:34       24            Does this document look           18:09:28
     25   designed to improve a program.                 18:07:38       25   familiar to you?                       18:09:29

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      1     A.      Yes.                    18:09:29                  1 talking about a covered time period,             18:11:42
      2     Q.      And I'd ask that you turn to    18:09:29          2   January 1, 2012, until -- oh, prior to       18:11:44
      3 the --                             18:09:34                   3   January 1, 2012, yes.                    18:11:55
      4            MR. KO: Sorry, Andrew, but I 18:09:35              4       Q. Okay. So the covered time             18:11:56
      5       know that you are probably very          18:09:37       5   period -- and I believe there's --          18:12:00
      6       familiar with this, so --          18:09:39             6       A. I'm sorry.                     18:12:02
      7            MR. O'CONNOR: I'll look over 18:09:40              7       Q. No, it's okay. It's not your        18:12:03
      8       her shoulder.                   18:09:42                8   fault. I should have more -- more copies.       18:12:05
      9            THE WITNESS: Do you want to            18:09:42    9            So there is a definition of the 18:12:10
     10       know the page number?                 18:09:42         10   covered time period in this agreement.          18:12:13
     11   QUESTIONS BY MR. KO:                           18:09:42    11       A. All right.                    18:12:15
     12       Q. I just want to ask you to turn 18:09:43             12       Q. And you can take a look at the 18:12:16
     13   to Section 4 --                     18:09:44               13   document, but I believe if my memory serves 18:12:19
     14       A. All right.                  18:09:44                14   me correct, that the covered time period        18:12:23
     15       Q. -- of the agreement entitled       18:09:45         15   begins from January 1, 2008, through the date 18:12:25
     16   "Admission of Responsibility."              18:09:47       16   of the signing of that agreement.            18:12:29
     17       A. Is that acceptance of            18:09:49           17       A. So that's part of the            18:12:34
     18   responsibility?                      18:09:51              18   background.                            18:12:35
     19       Q. Sorry, acceptance of             18:09:52           19       Q. Right.                       18:12:36
     20   responsibility. Thank you.               18:09:53          20       A. Right. It's part of the           18:12:39
     21       A. All right.                  18:09:55                21   background.                            18:12:40
     22       Q. Do you see that section?           18:09:55         22       Q. And so I just want to make sure 18:12:41
     23       A. Yes.                       18:09:57                 23   the record is clear.                   18:12:42
     24       Q. And I know that earlier we had 18:09:57             24            So for purposes of the           18:12:43
     25   been discussing some specific language, and 18:10:20       25   Section 4 that we were looking at -- we were 18:12:45

                                                         Page 451                                                       Page 453
      1 certainly didn't expect you to remember         18:10:24      1 just looking at the admission of              18:12:46
      2   specifically what was included. But in that 18:10:25        2   responsibility?                      18:12:48
      3   section, there is reference made that during 18:10:29       3       A. Yes.                        18:12:48
      4   the covered time period certain aspects of 18:10:33         4       Q. -- there is reference made to       18:12:48
      5   Mallinckrodt's systems to monitor and detect 18:10:36       5   the covered -- from the covered time period 18:12:50
      6   suspicious orders did not meet the standards 18:10:39       6   to January 1, 2012, correct?              18:12:53
      7   outlined in the DEA letters provided to you 18:10:41        7       A. Yes.                        18:12:56
      8   in 2006 and 2007. Is that accurate?         18:10:43        8       Q. And so the covered time period 18:12:58
      9       A. Yes.                        18:10:47                 9   begins on January 1, 2008, correct?           18:12:59
     10       Q. Okay. And do you -- sitting         18:10:52        10       A. Yes.                        18:13:02
     11   here today, do you agree with that admission? 18:10:55     11       Q. Okay. So --                    18:13:04
     12       A. We admitted no wrongdoing, but, 18:10:57            12       A. Sorry.                       18:13:07
     13   yes, I agree with the MOA -- the statement in 18:11:02     13       Q. A lot of flipping back and          18:13:08
     14   the MOA.                             18:11:06              14   forth.                            18:13:11
     15       Q. Okay. And the covered time           18:11:07       15            But just so the record is      18:13:11
     16   period, by the way, just so the record is    18:11:09      16   clear, the admission of responsibility is     18:13:13
     17   clear -- and you can take a look at the     18:11:10       17   that Mallinckrodt agrees that at certain      18:13:15
     18   document if you'd like. But the covered time 18:11:12      18   times from between January 1, 2008, through 18:13:18
     19   period for the settlement agreement is from 18:11:15       19   January 1, 2012, certain aspects of          18:13:22
     20   January 1, 2008, through January 1, 2012,      18:11:16    20   Mallinckrodt's system to monitor and detect 18:13:25
     21   correct?                          18:11:19                 21   suspicious orders did not meet the standards 18:13:28
     22       A. So that's covered conduct, but 18:11:20             22   set forth in the DEA guidance letters,        18:13:30
     23   this paragraph relating to the admission of 18:11:33       23   correct?                           18:13:32
     24   guilt -- or acceptance of responsibility -- 18:11:36       24            MR. O'CONNOR: Object to form. 18:13:32
     25   very poor choice of words on my part -- is 18:11:40        25            THE WITNESS: Correct.               18:13:34

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                                                                 Page 454                                                        Page 456
      1 QUESTIONS BY MR. KO:                                 18:13:35         1 times?                             18:27:43
      2      Q.    Okay. And you would agree with            18:13:35         2       A. I don't recall the dates.       18:27:43
      3 that statement, correct?                    18:13:36                  3       Q. Do you recall roughly what          18:27:44
      4           MR. O'CONNOR: Object -- same                18:13:37        4   years?                           18:27:46
      5      objection.                      18:13:40                         5       A. So I was at FedEx, but I don't 18:27:48
      6           THE WITNESS: Yes.                    18:13:40               6   know -- I truly don't know the date.       18:27:50
      7           MR. O'CONNOR: Counsel, I think              18:13:41        7       Q. Okay.                       18:27:54
      8      we're at time.                      18:13:42                     8       A. And I was at a small             18:27:54
      9           MR. KO: Well, perfect, because         18:13:43             9   distributor, and I cannot remember the name 18:27:56
     10      I think that was my last question.        18:13:45              10   or the date.                      18:27:59
     11           VIDEOGRAPHER: Go off the                    18:13:50       11       Q. Okay. And when you were at            18:28:00
     12      record?                         18:13:52                        12   FedEx, what was the purpose of that?          18:28:03
     13           MR. KO: Yes.                     18:13:52                  13       A. To watch their nighttime in and 18:28:04
     14           VIDEOGRAPHER: We're going off                 18:13:53     14   out shift operation.                 18:28:08
     15      the record at 6:13 p.m.                18:13:53                 15       Q. Okay. And did you find             18:28:08
     16      (Off the record at 6:13 p.m.)            18:13:56               16   anything deficient in observing that?       18:28:11
     17           VIDEOGRAPHER: We are back on                  18:26:44     17       A. No.                       18:28:14
     18      the record at 6:26 p.m.                18:26:52                 18       Q. And the small distributor that 18:28:14
     19           DIRECT EXAMINATION                          18:26:54       19   you observed, that was during your time at 18:28:16
     20 QUESTIONS BY MS. HERZFELD:                                18:26:54   20   Mallinckrodt?                        18:28:17
     21      Q.    Okay. Ms. Harper, we're back             18:26:55         21       A. Yes.                       18:28:18
     22 after a break. My name is Tricia Herzfeld,            18:26:57       22       Q. Okay. And do you recall who          18:28:18
     23 and I'm an attorney representing the             18:27:00            23   else was at that meeting?               18:28:19
     24 Tennessee plaintiffs.                      18:27:02                  24       A. Bill Ratliff.               18:28:20
     25           Do you know anything about the            18:27:02         25       Q. Okay. And it was a               18:28:21

                                                                 Page 455                                                          Page 457
      1 Tennessee litigation?                       18:27:05                  1 distributor, not a pharmacy?                 18:28:25
      2      A.    Not specifically, no.            18:27:06                  2        A. Yes.                       18:28:26
      3      Q.    Okay.                     18:27:07                         3        Q. Okay. And do you recall             18:28:27
      4           MS. HERZFELD: Before we get                 18:27:08        4   finding anything deficient with the          18:28:28
      5      started, I just want to lodge the        18:27:08                5   operations of that distributor?            18:28:30
      6      standard objections we've lodged in            18:27:10          6        A. No.                        18:28:31
      7      all of our Mallinckrodt depositions        18:27:12              7        Q. Okay. And would there be             18:28:32
      8      about the lack of timely document              18:27:14          8   documentation someplace of that trip that you 18:28:35
      9      production and the unnecessary             18:27:17              9   took with Mr. Ratliff?                   18:28:36
     10      narrowing of the time limitation for       18:27:19             10        A. Yes, at least a meeting notice. 18:28:37
     11      questioning the witness.               18:27:22                 11   I'm not certain, yes.                  18:28:43
     12           MR. O'CONNOR: And I'll lodge               18:27:23        12        Q. Okay. And do you know perhaps 18:28:45
     13      our usual objection to the objection.      18:27:25             13   if it was after the year 2005?            18:28:47
     14           MS. HERZFELD: Wonderful.                   18:27:27        14        A. Yes.                       18:28:50
     15      Okay. Moving on.                       18:27:30                 15        Q. Okay. Do you think maybe it           18:28:52
     16 QUESTIONS BY MS. HERZFELD:                                18:27:33   16   was more recently than 2010?                 18:28:53
     17      Q.    Okay. Ms. Harper, have you            18:27:33            17        A. Yes.                       18:28:55
     18 ever been to Tennessee?                      18:27:36                18        Q. Okay. So sometime between 2010 18:28:59
     19      A.    Yes.                      18:27:37                        19   and -- do you think it was in the last three 18:29:01
     20      Q.    Okay. And have you been for              18:27:37         20   or four years?                       18:29:03
     21 business?                            18:27:41                        21        A. No.                        18:29:04
     22      A.    Yes.                      18:27:41                        22        Q. Okay. So maybe sometime               18:29:05
     23      Q.    Okay. And how many times?                 18:27:42        23   between 2010 and 2015?                      18:29:06
     24      A.    Twice.                     18:27:42                       24        A. Yes.                       18:29:09
     25      Q.    Okay. And when were those two             18:27:42        25        Q. Okay. Great. Okay.                18:29:11

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      1           And those are the only two           18:29:14               1 understand Tennessee to be one of those               18:30:45
      2 times you've been to Tennessee for business;         18:29:16         2 states where pills were going from Florida to 18:30:46
      3 is that correct?                      18:29:18                        3 Tennessee?                                18:30:49
      4      A.      Yes.                   18:29:18                          4      A.    Yes.                      18:30:50
      5      Q.      Okay. Have you been for            18:29:18              5      Q.    Okay. And did you understand              18:30:50
      6 pleasure?                            18:29:19                         6 that when those pills were going from Florida 18:30:54
      7      A.      No.                    18:29:20                          7 to Tennessee, that they were ending up in the 18:30:56
      8      Q.      Okay. Do you have any family         18:29:21            8 illegal drug market in Tennessee?                18:30:58
      9 or relatives in Tennessee?                    18:29:23                9           MR. O'CONNOR: Object to form.                18:31:01
     10      A.      No.                    18:29:25                         10           THE WITNESS: Yes.                    18:31:01
     11      Q.      Okay.                   18:29:25                        11 QUESTIONS BY MS. HERZFELD:                                18:31:03
     12      A.      I stopped over in Tennessee --     18:29:25             12      Q.    Okay. And you said before that        18:31:03
     13      Q.      Okay.                   18:29:27                        13 you'd heard of the Oxy Express.                 18:31:06
     14      A.      -- once, so, sorry.        18:29:28                     14           Do you know if that could have        18:31:09
     15      Q.      That's okay.               18:29:30                     15 been highway I-75 that goes from Florida to            18:31:11
     16           Were you driving somewhere?            18:29:30            16 Ohio?                               18:31:13
     17      A.      I was coming back from Gulf         18:29:31            17      A.    I'm sorry, I don't remember the      18:31:14
     18 Shores, and I stopped in Memphis to take a           18:29:33        18 highway number.                             18:31:16
     19 rest, yes.                          18:29:36                         19      Q.    Okay. That's okay.                18:31:16
     20      Q.      Okay. And when you say you           18:29:37           20           The highway that is the Oxy          18:31:17
     21 were coming from Gulf Shores, you meant from              18:29:38   21 Express, do you know if it goes through               18:31:21
     22 Gulf Shores back here to St. Louis?              18:29:41            22 Tennessee?                                18:31:23
     23      A.      Yes.                   18:29:42                         23      A.    Yes, it does.                  18:31:24
     24      Q.      Okay. Did you get to see          18:29:42              24      Q.    Okay. Okay. And have you ever             18:31:26
     25 anything when you were in Memphis?                   18:29:44        25 had any communication with any law                    18:31:35

                                                                 Page 459                                                                Page 461
      1      A.      No.                    18:29:45                          1 enforcement in Tennessee?                      18:31:36
      2      Q.      Okay. And do you have any           18:29:47             2      A.    Yes.                      18:31:37
      3 friends that live in Tennessee?                18:29:48               3      Q.    Okay. And can you tell me            18:31:38
      4      A.      No.                    18:29:49                          4 roughly how many times?                        18:31:40
      5      Q.      Okay. And you said earlier         18:29:51              5      A.    Me, once.                      18:31:41
      6 that you were aware of the opioid epidemic in 18:29:53                6      Q.    Okay. And what was the time?              18:31:46
      7 this country.                         18:29:56                        7      A.    I'm not -- I don't want -- I      18:31:49
      8           Do you recall that testimony?        18:29:56               8 don't want to swear to the year or attest to         18:31:55
      9      A.      Yes.                   18:29:57                          9 the year. I believe it was 2008.              18:31:58
     10      Q.      Okay. And are you aware of any        18:29:58          10      Q.    Okay. And do you recall who it        18:32:00
     11 particular regions of the country where the        18:30:00          11 is you were speaking with?                     18:32:05
     12 opioid epidemic seems to have hit harder than 18:30:02               12      A.    No.                      18:32:06
     13 others?                             18:30:06                         13      Q.    Okay. I'm going to show you           18:32:10
     14           MR. O'CONNOR: Objection.                 18:30:07          14 what we're going to have marked here as               18:32:11
     15      Form.                          18:30:08                         15 Exhibit 34, which we're going to late file           18:32:14
     16           THE WITNESS: I read the press,           18:30:09          16 with an e-mail.                           18:32:16
     17      so Florida, Kentucky, Tennessee, yes,         18:30:11          17           MS. HERZFELD: No objection                  18:32:18
     18      I'm familiar with that -- that press.     18:30:18              18      from defendants, yes?                   18:32:18
     19 QUESTIONS BY MS. HERZFELD:                                18:30:20   19           MR. O'CONNOR: Provided it's                18:32:19
     20      Q.      Okay. Okay. And I think you         18:30:20            20      the copy we see.                      18:32:20
     21 had already testified that you knew that          18:30:36           21           MS. HERZFELD: Yes, sir.               18:32:22
     22 pills were going from Florida to other           18:30:38            22           (Mallinckrodt-Harper Exhibit 34        18:32:23
     23 states; is that correct, ma'am?               18:30:41               23      marked for identification.)             18:32:23
     24      A.      Yes.                   18:30:41                         24 QUESTIONS BY MS. HERZFELD:                                18:32:23
     25      Q.      Okay. And was -- did you           18:30:42             25      Q.    Okay. And I am going to turn          18:32:24

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      1 this around so you can just read it            18:32:24       1 in Morristown?                           18:35:13
      2   yourself --                         18:32:26                2       A. Only to the extent that the         18:35:14
      3        A. Oh, great, because I just --       18:32:26         3   situation in Morristown led us to review -- 18:35:18
      4        Q. It's just --                18:32:28                4   to go to Sunrise distributors.            18:35:24
      5        A. I just had lens implants, so        18:32:28        5       Q. Okay. And then I think you've 18:35:26
      6   thank you.                            18:32:31              6   already testified about your involvement with 18:35:27
      7        Q. Oh, very good.                   18:32:31           7   Sunrise today.                       18:35:29
      8            And if you want to read down,        18:32:33      8       A. Yes.                       18:35:30
      9   you can just use your finger, just, you know. 18:32:34      9       Q. Okay. But other than that,          18:35:31
     10        A. Okay.                        18:32:38              10   specifically with the Tennessee portion, you 18:35:32
     11            All right. I've reread, yes.    18:32:39          11   didn't have any other involvement in that? 18:35:34
     12        Q. Okay. Great.                    18:33:14           12       A. There were some chargeback             18:35:37
     13            And you received this e-mail        18:33:15      13   reports --                        18:35:39
     14   from Bill Ratliff on Wednesday, July 8, 2009; 18:33:17     14       Q. Okay.                       18:35:39
     15   is that correct?                      18:33:21             15       A. -- also, but those were           18:35:39
     16        A. July 7, 2009.                  18:33:21            16   gathered to provide to Mr. Ratliff --        18:35:42
     17        Q. July 7th. Okay.                 18:33:38           17       Q. Okay.                       18:35:44
     18        A. Yes, ma'am.                     18:33:39           18       A. -- again within the initial       18:35:45
     19        Q. And does this e-mail describe a 18:33:43           19   course of his investigation.             18:35:47
     20   communication that Mr. Ratliff had received 18:33:45       20       Q. Okay.                       18:35:48
     21   from an Officer Dwayne Collins in Morristown 18:33:47      21       A. But, no, nothing else.            18:35:48
     22   talking about pills going from -- being found 18:33:50     22       Q. And do you know -- oh, go             18:35:52
     23   in an illegal drug transaction in Tennessee 18:33:54       23   ahead.                           18:35:54
     24   that were traced to Florida?               18:33:56        24       A. I apologize.                  18:35:54
     25        A. Yes.                        18:33:58               25       Q. That's okay.                   18:35:55

                                                         Page 463                                                       Page 465
      1       Q. Okay. And just for the record, 18:34:00              1      A.     I apologize.               18:35:56
      2   this is a three-page document that is labeled 18:34:03      2            So we made the decision to go      18:35:56
      3   MNK_TNSTA05123927.                            18:34:09      3   to Sunrise and conduct an audit. Mr. Ratliff 18:35:59
      4             Okay. Great. Now we're done 18:34:15              4   contacted Pete Kleissle, who was our          18:36:04
      5   with that complicated moment.                18:34:17       5   diversion group supervisor of DEA St. Louis. 18:36:06
      6             Okay. And did you personally 18:34:26             6            Pete came to Mallinckrodt, and 18:36:10
      7   speak to Officer Dwayne Collins; do you         18:34:27    7   we had an informal conversation about --         18:36:11
      8   recall?                          18:34:32                   8   where Mr. Ratliff conveyed the circumstances 18:36:15
      9       A. I believe the initial contact 18:34:32               9   around the law enforcement investigation.        18:36:18
     10   to Mallinckrodt was to me.                18:34:38         10   And Mr. Ratliff told Pete Kleissle that we      18:36:20
     11       Q. Okay.                       18:34:39                11   intended to go and conduct an audit of        18:36:23
     12       A. And I immediately turn it over 18:34:39             12   Sunrise. So I was present for that meeting. 18:36:26
     13   to Bill Ratliff.                   18:34:40                13       Q. Okay. And so Tennessee was             18:36:29
     14       Q. Okay. And once you turned it 18:34:41               14   brought up in the context of we received this 18:36:30
     15   over to Mr. Ratliff, did you have any further 18:34:43     15   information from this individual in         18:36:33
     16   involvement with that situation?            18:34:47       16   Morristown?                           18:36:34
     17       A. Yes.                       18:34:48                 17       A. Yes.                        18:36:35
     18       Q. Okay. And what was your               18:34:48      18       Q. Okay. And the chargeback             18:36:35
     19   involvement?                         18:34:49              19   reports that you provided to Mr. Ratliff in 18:36:37
     20       A. I helped Mr. Ratliff obtain the 18:34:49            20   furtherance of his investigation in response 18:36:41
     21   reports he was requesting in terms of the      18:34:56    21   to this Morristown e-mail, do you recall       18:36:43
     22   shipments of the particular drug product that 18:35:03     22   specifically what information was pulled in 18:36:46
     23   was the object of the investigation.        18:35:05       23   those chargeback reports?                 18:36:47
     24       Q. Okay. And is there any other 18:35:07               24       A. I don't know specifically what 18:36:48
     25   involvement that you had with the situation 18:35:10       25   the reports -- how they were tailored or      18:36:57

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      1 customized.                            18:36:59                      1   Diversion Investigators, the title of their 18:38:55
      2       Q. Okay. Do you know where I              18:37:00             2   newsletter is RX News.                     18:38:56
      3   could locate those reports?               18:37:01                 3       Q. Okay.                         18:38:57
      4       A. I don't know.                  18:37:03                     4       A. And a lot of them came               18:38:58
      5       Q. Okay. Would you have e-mailed 18:37:10                      5   through -- it was called Mudri, or Mudri,        18:38:59
      6   them to Mr. Ratliff?                   18:37:11                    6   agency.                             18:39:02
      7       A. They would have likely been           18:37:12              7       Q. Okay.                         18:39:03
      8   e-mailed from Eileen Spaulding.              18:37:14              8       A. So it was all connected to           18:39:03
      9       Q. Okay.                        18:37:19                       9   these NADDI reports.                      18:39:05
     10       A. And potentially on the             18:37:19                10       Q. Okay. So those are all             18:39:06
     11   chargebacks from Kate Muhlenkamp.                18:37:21         11   generally the same thing, even if they have 18:39:07
     12       Q. Okay. And it would have been 18:37:25                      12   different names?                       18:39:09
     13   to you and/or Mr. Ratliff?                18:37:29                13       A. Yes.                         18:39:10
     14       A. Yes.                        18:37:31                       14       Q. Okay. Great.                    18:39:11
     15       Q. Okay. And would it have been 18:37:32                      15            And you received those reports 18:39:11
     16   around that time in 2009?                 18:37:34                16   as part of your job; is that correct?        18:39:13
     17       A. Yes.                        18:37:36                       17       A. Yes.                         18:39:15
     18       Q. Okay. And the -- that's all        18:37:39                18       Q. Okay. And then did                 18:39:16
     19   you remember about the chargeback data?           18:37:43        19   Mallinckrodt take that information and then 18:39:17
     20            Is there anything else you      18:37:45                 20   turn that into a controlled substances        18:39:20
     21   remember?                            18:37:46                     21   compliance monthly newsletter?                 18:39:23
     22       A. It was 2009 -- I'm sorry.          18:37:46                22       A. Yes.                         18:39:26
     23       Q. That's okay.                   18:37:48                    23       Q. Okay. And who was responsible 18:39:27
     24       A. That's the drug task force         18:37:49                24   for doing that?                       18:39:28
     25   officer call to Mallinckrodt.             18:37:51                25       A. One of my colleagues. Her name 18:39:29

                                                                Page 467                                                         Page 469
      1       Q.    Yes, ma'am.                   18:37:52                   1 is Carrie Johnson, and she's at our Hobart,      18:39:32
      2       A.    I'm sorry.                  18:37:53                     2   New York, facility.                    18:39:36
      3            So can you repeat the last       18:37:53                 3        Q. Okay. And basically in those 18:39:37
      4 question?                               18:37:56                     4   controlled substances compliance monthly         18:39:39
      5       Q.    Sure.                   18:37:56                         5   newsletters, it would summarize news articles 18:39:41
      6            So when the chargeback data was         18:37:57          6   about controlled substances?               18:39:43
      7 pulled, do you believe that would have been          18:37:58        7        A. Yes. Well, the reports we had 18:39:44
      8 in 2009?                            18:38:01                         8   obtained through RX News, yes.                18:39:47
      9       A.    Yes.                    18:38:01                         9        Q. Okay. And does Mallinckrodt           18:39:49
     10       Q.    Okay. Okay. Okay. And I            18:38:03             10   still receive some kind of document that       18:39:53
     11 think you testified earlier that as part of    18:38:25             11   aggregates news articles in that way?         18:39:56
     12 your job, you were included on certain             18:38:26         12        A. I don't know. We have Google 18:39:58
     13 LISTSERVs where you received news articles?              18:38:29   13   Alerts set, but I don't know that we receive 18:40:03
     14       A.    Yes.                    18:38:30                        14   RX News or if they still provide that        18:40:05
     15       Q.    Okay. And those were the           18:38:31             15   service.                          18:40:07
     16 NADDI; is that right?                       18:38:34                16        Q. Google Alerts is definitely       18:40:08
     17       A.    Yes.                    18:38:35                        17   pretty easy to do, right?              18:40:11
     18       Q.    Okay. Which is the National        18:38:35             18        A. Yes.                       18:40:12
     19 Association of Drug Diversion Investigators?           18:38:39     19        Q. Okay. Do you know what words 18:40:12
     20       A.    Yes.                    18:38:39                        20   are keyed in for Google Alerts?             18:40:13
     21       Q.    Okay. And also RX News?                18:38:39         21        A. Yes.                       18:40:16
     22       A.    Yes.                    18:38:42                        22        Q. Could you tell me, please?         18:40:16
     23       Q.    Okay. And then what is Mudri           18:38:43         23        A. "Oxycodone." "Prescription           18:40:18
     24 and Associates?                           18:38:46                  24   drug." "Diversion." "Pharmacy theft."          18:40:23
     25       A.    So National Association of Drug        18:38:50         25   Those are some, but I don't know that that's 18:40:28

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      1 an all-inclusive list.                     18:40:30            1           number MNK-T1_0007185722.                         18:43:43
      2       Q. Okay. Thank you, ma'am.                 18:40:32      2                    Okay. What I've handed you           18:43:53
      3            Do you know if "pill mill" is 18:40:33              3           here is an e-mail that you received from         18:43:57
      4   in there?                            18:40:34                4           Eileen Spaulding dated August 11, 2016; is         18:43:59
      5       A. I believe so.                    18:40:35             5           that correct?                         18:44:03
      6       Q. Okay. And one of the things             18:40:37      6               A. Yes, that's part of the chain. 18:44:03
      7   that you're monitoring is news about pill         18:40:39   7               Q. Okay. And then the subject is 18:44:05
      8   mills?                              18:40:42                 8           re: Google Alert oxycodone; is that correct? 18:44:07
      9       A. Yes.                          18:40:42                9               A. Yes.                          18:44:09
     10       Q. Okay. And specifically pill            18:40:44      10               Q. Okay. And so looking down                18:44:10
     11   mills that are dealing in oxycodone?             18:40:45   11           here, I'm mostly interested in -- who is        18:44:14
     12       A. Yes.                          18:40:48               12           Heather McKenzie?                          18:44:17
     13       Q. Okay. And are you aware of               18:40:51    13               A. She was part of our group --           18:44:19
     14   that there are pill mills in the state of     18:40:54      14           well, she's still part of the controlled     18:44:21
     15   Tennessee?                              18:40:56            15           substances compliance group, but she for a         18:44:25
     16       A. I may have received articles to 18:40:56             16           period of time worked more closely with           18:44:26
     17   that effect, but not -- no, I'm not -- it's 18:41:00        17           suspicious order monitoring.                 18:44:29
     18   not in my sphere of awareness right now.           18:41:02 18               Q. Okay. And was she working more 18:44:29
     19       Q. Okay. I can show you some of 18:41:06                19           with suspicious order monitoring or             18:44:32
     20   the articles if you'd like.               18:41:07          20           controlled substances compliance in August          18:44:34
     21       A. No, I'll believe you.               18:41:08         21           of 2016?                              18:44:37
     22       Q. Oh, well, I don't want to             18:41:10       22               A. Suspicious order monitoring.            18:44:37
     23   testify to it. I just need to know if you 18:41:11          23               Q. Okay. And so it looks to me            18:44:39
     24   were aware from your time at Mallinckrodt -- 18:41:15 24                 like Heather McKenzie set up her Google Alert 18:44:41
     25       A. Oh, yes.                        18:41:16             25           to her work e-mail address and is excited        18:44:44

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      1      Q.    -- that there are pill mills in    18:41:17                 1 that it showed up.                      18:44:47
      2 Tennessee.                              18:41:19                       2           Does that look correct?          18:44:48
      3      A.    Yes. Yes.                    18:41:19                       3      A.    Yes. Yes.                   18:44:49
      4      Q.    Okay. Great, ma'am. Thank              18:41:20             4      Q.    Okay. And she's e-mailing that        18:44:50
      5 you.                                18:41:22                           5 to you.                             18:44:51
      6           And had you ever heard that           18:41:22               6           Was that a direction from you        18:44:54
      7 those pill mills, some of them had popped up            18:41:23       7 to her to set up the Google Alert?              18:44:55
      8 more after pill mills had closed in Florida?        18:41:26           8      A.    Yes.                      18:44:57
      9      A.    Yes.                        18:41:28                        9      Q.    Okay. And why was that?              18:44:58
     10           MR. O'CONNOR: Object to form.              18:41:29         10      A.    She was taking over the            18:44:58
     11 QUESTIONS BY MS. HERZFELD:                                 18:41:30   11 responsibility being passed on from Carrie         18:45:00
     12      Q.    So if pill mills closed in        18:41:30                 12 Johnson.                             18:45:03
     13 Florida, you heard that more had popped up in 18:41:32                13      Q.    Okay. Great.                 18:45:04
     14 Tennessee?                              18:41:34                      14           And then Eileen says, "It seems       18:45:04
     15      A.    Yes, and surrounding states,         18:41:35              15 like there's an awful lot of hits here. Is     18:45:08
     16 yes.                               18:41:37                           16 this what Jen used to receive? Just make          18:45:11
     17      Q.    Okay. Thank you, ma'am.                18:41:37            17 sure we set up her Google Alerts correctly         18:45:13
     18           (Mallinckrodt-Harper Exhibit 35         18:42:59            18 for the right terms. Eileen."                18:45:16
     19      marked for identification.)              18:43:00                19           Do you see where it says that?       18:45:18
     20 QUESTIONS BY MS. HERZFELD:                                 18:43:00   20      A.    Yes, and I'd like to clarify my     18:45:21
     21      Q.    Okay. We'll mark this next           18:43:00              21 last answer.                         18:45:23
     22 exhibit as number 35.                        18:43:01                 22      Q.    Sure.                     18:45:23
     23           Okay. I've handed you what            18:43:17              23      A.    So Carrie Johnson did the          18:45:24
     24 we've marked as Exhibit 35.                    18:43:40               24 Google Alerts, and then this prompted my            18:45:27
     25           For the record, it's Bates         18:43:42                 25 memory. There was a woman named Jen Buist                  18:45:31

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      1 who did for them a while.                  18:45:34               1 usual?                              18:47:12
      2        Q. Okay.                      18:45:34                     2        A. So I'm looking to see, please, 18:47:12
      3        A. Jen left the company, and then 18:45:36                 3   if these are Google Alerts all from the same 18:47:14
      4   they went to this Heather McKenzie.           18:45:37          4   day or if it's an accumulation of days. I     18:47:17
      5        Q. Okay. Great.                 18:45:40                   5   cannot tell that by this document.          18:47:21
      6             And do you know if Heather does 18:45:40              6        Q. Okay. And do you know if you           18:47:22
      7   them now?                           18:45:41                    7   normally had your team running them, the          18:47:25
      8        A. She does not.                18:45:42                   8   Google Alerts for oxycodone and the other key 18:47:27
      9        Q. Do you know who does?              18:45:42             9   words we had talked about, once a day or once 18:47:30
     10        A. Yes.                      18:45:44                     10   a week?                            18:47:33
     11        Q. Who is it?                  18:45:44                   11        A. So it's a passive process. We 18:47:34
     12        A. There's a controlled substances 18:45:45               12   set up the Google Alerts, and then the Google 18:47:37
     13   compliance auditor analyst at our Hobart, New 18:45:48         13   Alerts come to us automatically based upon        18:47:40
     14   York, facility who takes care of them.       18:45:52          14   Google's search for these key terms.          18:47:43
     15        Q. And do you know his or her         18:45:53            15        Q. Okay. So you don't set the         18:47:45
     16   name?                             18:45:55                     16   frequency; Google does?                    18:47:47
     17        A. She's very new. Rochelle --       18:45:55             17        A. Correct.                    18:47:48
     18   it's like MoQuay or Mokay. I'm not certain. 18:46:00           18        Q. Okay. Okay. And so looking at 18:47:49
     19   She's within the past couple of weeks joined 18:46:03          19   this basically nine and a half pages of hits, 18:47:53
     20   our group.                         18:46:05                    20   that didn't seem unusual to you according to 18:47:55
     21        Q. Oh, very new.                 18:46:05                 21   this e-mail?                        18:47:56
     22        A. Yes.                      18:46:06                     22        A. Correct.                    18:47:57
     23        Q. Okay. Great.                 18:46:07                  23        Q. Okay. And then when you said, 18:47:57
     24             And in between Rochelle, has     18:46:07            24   "Not all articles require any kind of        18:47:59
     25   Heather had the responsibility from that      18:46:10         25   chargeback lookup whatsoever," typically did 18:48:02

                                                              Page 475                                                       Page 477
      1 point?                                18:46:12                    1 some article require chargeback lookup?            18:48:06
      2        A. Yes.                         18:46:13                   2        A. Yes, if a pharmacy was named.          18:48:08
      3        Q. Okay. So then Eileen says, as 18:46:16                  3        Q. If a pharmacy was named. Okay. 18:48:09
      4   we just said, going back to this, it looks 18:46:20             4            What about if a physician was      18:48:11
      5   like basically there's a lot of hits there. 18:46:22            5   named?                              18:48:12
      6   Is that usual.                        18:46:25                  6        A. In -- at some point in our        18:48:13
      7            Did you respond to her?             18:46:26           7   program, yes, but not -- not at the current 18:48:21
      8        A. Yes.                         18:46:27                   8   time.                             18:48:25
      9        Q. Okay. And that's the next             18:46:28          9        Q. Okay. And what was the period 18:48:26
     10   e-mail chain here, Thursday, August 11th, at 18:46:29          10   of time that you would do a chargeback lookup 18:48:27
     11   8:56 a.m.; is that right?                 18:46:34             11   if a physician was named?                  18:48:30
     12        A. Yes.                         18:46:36                  12        A. I don't know -- I don't know        18:48:31
     13        Q. Okay. And so in this e-mail            18:46:36        13   the span of time.                     18:48:33
     14   you say, "The amount of hits is correct;         18:46:38      14        Q. Okay. Do you know for how long 18:48:34
     15   however, important note: Not all articles 18:46:40             15   it was? Months? Years? Weeks?                  18:48:36
     16   require any kind of chargeback lookup             18:46:42     16        A. Months. I can't say years.        18:48:39
     17   whatsoever."                            18:46:46               17   Months up to -- up to a year or so.          18:48:46
     18            So let's back up a little bit    18:46:47             18        Q. Okay. But you don't remember           18:48:49
     19   before we get there.                      18:46:48             19   the time period when that happened?             18:48:50
     20            So you say, "The amount is           18:46:49         20        A. No.                        18:48:53
     21   correct." Let's start with that.            18:46:51           21        Q. And do you know why that              18:48:53
     22            There are, gosh, one, two --        18:46:54          22   practice was discontinued?                 18:48:56
     23   nine and a half, roughly, pages of Google          18:47:05    23        A. The answer may require              18:48:58
     24   hits here.                           18:47:07                  24   privileged information.                  18:49:07
     25            Is that -- that's what was        18:47:08            25            MR. O'CONNOR: And of course             18:49:08

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      1      I'll instruct the witness not to        18:49:10                   1       A. It's -- it was active in the     18:50:57
      2      answer to the extent it requires         18:49:11                  2   early part of 2012 --                  18:51:02
      3      revealing communications with a                18:49:13            3       Q. Okay.                        18:51:03
      4      lawyer.                            18:49:14                        4       A. -- but I just don't know          18:51:04
      5 QUESTIONS BY MS. HERZFELD:                                  18:49:15    5   specifically when it started before that or 18:51:06
      6      Q.    Can you answer the question             18:49:16             6   ended after that.                    18:51:08
      7 without telling me what your lawyers told             18:49:17          7       Q. Okay. Great.                   18:51:10
      8 you?                                  18:49:20                          8            Okay. So going back to what we 18:51:13
      9      A.    I cannot.                     18:49:20                       9   have here. So you said pharmacy would           18:51:15
     10      Q.    Okay. So I'll take it --         18:49:28                   10   require a chargeback look. If there was a      18:51:18
     11      A.    I'm sorry.                    18:49:29                      11   pharmacy name in Google Alert, that would         18:51:21
     12      Q.    That's okay.                   18:49:29                     12   require a chargeback look from your team; is 18:51:24
     13           So when I ask, at some point           18:49:29              13   that right?                        18:51:27
     14 did it change looking at chargeback                 18:49:32           14       A. Yes.                       18:51:27
     15 information when the mention of doctors were             18:49:34      15       Q. Okay. And if physician named, 18:51:27
     16 in these Google hits or the Google news               18:49:37         16   for a short period of time you did a search 18:51:29
     17 alerts, you're asserting attorney-client           18:49:40            17   for physician information, if they were       18:51:33
     18 privilege to answer that question?                 18:49:43            18   named?                              18:51:36
     19      A.    Yes, I am.                    18:49:44                      19       A. Yes.                       18:51:36
     20      Q.    Okay. And your attorney has              18:49:45           20       Q. Okay. And what type of search 18:51:37
     21 advised you to assert attorney-client              18:49:46            21   would you do for physicians?                18:51:39
     22 privilege to this question, and you're taking 18:49:49                 22       A. So we were -- that was when we 18:51:41
     23 his advice?                              18:49:53                      23   were looking at IMS data.                 18:51:43
     24      A.    Correct.                      18:49:53                      24       Q. Okay.                        18:51:45
     25      Q.    Okay. Okay. So there's no             18:49:54              25       A. And an internal group provided 18:51:46

                                                                 Page 479                                                               Page 481
      1 other way you could answer that without                  18:49:55       1 us a list of physicians that were the highest 18:51:54
      2 telling me what your attorney said?                   18:49:56          2 prescribers of oxycodone within the country.        18:51:56
      3       A. No.                         18:49:58                           3      Q.    Okay. And you said an internal       18:51:58
      4       Q. Okay. Do you know if the              18:50:00                 4 group provided you that list of physicians.      18:52:01
      5   decision to stop monitoring physicians for 18:50:04                   5           What was the name of the          18:52:03
      6   chargeback data when you've gotten an alert 18:50:09                  6 internal group?                       18:52:05
      7   from Google, if that happened within the past 18:50:13                7      A.    Oh, gosh, I can't remember.      18:52:07
      8   two years?                           18:50:15                         8      Q.    Okay. Do you remember who was            18:52:09
      9       A. It did not.                   18:50:16                         9 on it?                           18:52:11
     10       Q. Okay. Do you know if it              18:50:17                 10      A.    Yes.                   18:52:12
     11   happened in the last five years?            18:50:18                 11      Q.    Okay. Could you tell me the        18:52:13
     12       A. I'm aware that I'm under oath, 18:50:21                       12 name?                             18:52:14
     13   and I apologize, I'm just terrible with my 18:50:23                  13      A.    Certainly. There was a lady      18:52:14
     14   dates and years, as we've heard all day long. 18:50:25               14 named Tammy Fraley and a gentleman named               18:52:15
     15   So I can't -- you continue -- and I         18:50:28                 15 Jeremy Stammer.                          18:52:20
     16   appreciate you're trying to help me with a 18:50:32                  16      Q.    Okay. And they would provide         18:52:23
     17   frame of reference in time, but I can't      18:50:34                17 you a list of the top prescribing oxycodone       18:52:26
     18   answer the question.                     18:50:36                    18 physicians within the country?              18:52:30
     19       Q. If you can't answer it, you         18:50:36                  19      A.    Yes.                   18:52:32
     20   can't answer it. I'm just trying to figure 18:50:39                  20      Q.    Okay. And what would you do           18:52:33
     21   out if it was very -- you know, at the       18:50:40                21 with that list?                      18:52:34
     22   beginning, in like 2007, or if we're talking 18:50:42                22      A.    If we learned the name of a      18:52:35
     23   in 2018.                            18:50:45                         23 physician for that period of time we were        18:52:39
     24       A. It's not 2010; it's not 2018. 18:50:48                        24 conducting that activity through Google Alert 18:52:41
     25       Q. Okay.                         18:50:57                        25 or when we were talking to our wholesaler and 18:52:44


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      1 distributor customers about their due           18:52:49               1 in, you said you thought, a matter of months, 18:54:26
      2   diligence with the downstream registrants,       18:52:53            2 maybe a year. It wasn't something that went        18:54:29
      3   the pharmacies, sometimes they had gathered 18:52:55                 3 on for years and years?                   18:54:30
      4   information on who the top prescribers were 18:52:59                 4      A.      Yes, that's my approximation,     18:54:31
      5   at a pharmacy.                        18:53:02                       5 yes.                              18:54:33
      6       Q. Okay.                        18:53:03                         6      Q.      Okay. Great.              18:54:33
      7       A. So then we'd compare that name 18:53:03                       7            Okay? And you'd also said in       18:54:33
      8   to our list of top prescribers.          18:53:06                    8 earlier testimony that someone from your team 18:54:39
      9       Q. Okay. And then if you found            18:53:08               9 or you would review the Federal Register          18:54:41
     10   that person on the list of top prescribers, 18:53:10                10 every day; is that correct?               18:54:46
     11   what, if anything, would you do?             18:53:13               11            MR. O'CONNOR: Objection to             18:54:46
     12       A. It was a -- pardon me.             18:53:14                  12      form.                         18:54:47
     13       Q. It's okay.                   18:53:16                        13            THE WITNESS: Yes.                  18:54:47
     14       A. It was a contributing factor to 18:53:16                     14 QUESTIONS BY MS. HERZFELD:                               18:54:47
     15   whether we -- it was another factor in        18:53:20              15      Q.      Okay. And in those Federal        18:54:49
     16   evaluating whether we would restrict the        18:53:23            16 Register updates, there are updates to the       18:54:53
     17   payment of chargebacks to that pharmacy.          18:53:27          17 Federal Codes of Regulations; is that right?      18:54:54
     18       Q. Okay. So I just want to make          18:53:30               18      A.      Yes.                   18:54:56
     19   sure that I'm understanding this correctly. 18:53:31                19      Q.      Okay. And there are also, from    18:54:57
     20            So for a relatively short      18:53:33                    20 time to time, updates of, for example,          18:54:58
     21   period of time, somewhere maybe around            18:53:35          21 physicians who have been indicted; is that        18:55:00
     22   2012 --                            18:53:37                         22 correct?                           18:55:02
     23       A. Yes.                        18:53:39                         23      A.      Yes.                   18:55:02
     24       Q. Okay. When you'd receive a             18:53:40              24      Q.      Okay. And so would you review        18:55:03
     25   Google Alert or other information from a         18:53:42           25 those Federal Register documents for             18:55:05

                                                                  Page 483                                                            Page 485
      1 distributor's pharmacy or from their             18:53:48              1 physicians that had been indicted or arrested 18:55:10
      2 information about a physician, you also had a 18:53:49                 2 for anything involving prescription opioids?         18:55:13
      3 list from an internal group that was the          18:53:52             3        A. Yes.                         18:55:17
      4 highest prescribers of oxycodone, and you              18:53:55        4        Q. Okay. And what would you do              18:55:18
      5 would compare the two and use those as a               18:53:57        5   with that information if you saw it?           18:55:20
      6 factor in making a determination of whether             18:54:01       6        A. So that would have been during 18:55:21
      7 you were giving chargebacks?                     18:54:02              7   the same amount of time.                    18:55:26
      8           MR. O'CONNOR: Objection to               18:54:04            8        Q. Okay.                         18:55:28
      9      form.                          18:54:05                           9        A. If we're reviewing information 18:55:28
     10           THE WITNESS: Paying                    18:54:05             10   gathered by any source that named a              18:55:30
     11      chargebacks, yes.                      18:54:06                  11   prescriber, we were -- we were comparing that 18:55:31
     12 QUESTIONS BY MS. HERZFELD:                                 18:54:07   12   to the top prescriber listing of -- that had 18:55:34
     13      Q.      Okay. Paying chargebacks --         18:54:07             13   been supplied to us.                     18:55:38
     14      A.      Yes, ma'am.                  18:54:08                    14        Q. Okay. But once that -- that          18:55:39
     15      Q.      -- not giving chargebacks.        18:54:09               15   short-term practice ended, did you continue 18:55:41
     16      A.      Yes.                    18:54:10                         16   to do that?                           18:55:44
     17      Q.      Okay. I just wanted to make         18:54:10             17        A. No.                          18:55:45
     18 sure I understood that.                     18:54:12                  18        Q. Okay. Okay. And when you                18:55:46
     19           But then that practice was          18:54:13                19   would receive these Google Alerts and it          18:56:01
     20 discontinued after a relatively short period       18:54:14           20   would talk about pharmacies, would you look 18:56:02
     21 of time?                             18:54:17                         21   at the area that the pharmacy was in?           18:56:06
     22      A.      Again, I don't know the stop       18:54:17              22        A. Yes.                         18:56:09
     23 and the start date or how long we used that            18:54:19       23        Q. Okay. And what information              18:56:11
     24 as a component of our program. I don't know. 18:54:22                 24   would you gather about the area that the         18:56:12
     25      Q.      But it was -- it was stopped      18:54:24               25   pharmacy was in?                          18:56:14

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                                                          Page 486                                                                 Page 488
      1       A. So I'd like to clarify. It was 18:56:14                1 back and says, "Okay, thank you. I didn't do 18:58:04
      2   more so the pharmacy name --                 18:56:22         2 much with them, as Carrie started the project 18:58:06
      3       Q. Okay.                       18:56:23                   3 and then Jen took it over and just wanted to       18:58:08
      4       A. -- and that would prompt us to 18:56:23                4 double-check."                           18:58:11
      5   look through our chargebacks. And if there 18:56:25           5             That seems correct with your      18:58:11
      6   was a nexus of the city and states -- in the 18:56:30         6   memory?                               18:58:13
      7   case of Joe's Pharmacy, if the Google Alert 18:56:32          7        A. Yes.                        18:58:13
      8   said the same city and state as was         18:56:34          8        Q. Okay. And so going back to the 18:58:14
      9   referenced in our chargeback information, we 18:56:37         9   section of the e-mail where you're talking 18:58:15
     10   knew that there was a correlation.          18:56:40         10   about the amount of hits is correct?         18:58:17
     11       Q. Okay. But if it said, for         18:56:41            11        A. Yes.                        18:58:21
     12   example, Joe's Pharmacy in Rocky Top,            18:56:45    12        Q. Yes. Okay.                     18:58:22
     13   Tennessee, did you go and do any research on 18:56:50        13             So when you respond to her        18:58:23
     14   Rocky Top, Tennessee, other than to verify       18:56:52    14   about we're looking at pharmacy name and           18:58:25
     15   that Joe's Pharmacy was in Rocky Top,           18:56:55     15   address, you don't mention physician or         18:58:26
     16   Tennessee?                           18:56:57                16   location, those things we just talked about. 18:58:30
     17       A. At times, yes.                 18:56:58               17             That's because that short-lived 18:58:32
     18       Q. Okay. And what would prompt             18:56:58      18   initiative had already been terminated by       18:58:34
     19   you to do that?                      18:57:01                19   that point; is that right?              18:58:37
     20       A. Some of the media alerts            18:57:01          20             MR. O'CONNOR: Objection to            18:58:37
     21   contained things like statements that in a    18:57:04       21        form.                         18:58:38
     22   certain region there was an issue, and so     18:57:09       22             THE WITNESS: So the physician 18:58:38
     23   then that would prompt us to look at the       18:57:13      23        piece was not part of the program       18:58:42
     24   chargebacks by -- in a specific geographic      18:57:15     24        then. It was an error of omission in 18:58:45
     25   area.                            18:57:18                    25        the e-mail. We would indeed do           18:58:48

                                                          Page 487                                                                 Page 489
      1        Q. Okay. So let's finish up with 18:57:19                1      further review if a geographic area           18:58:52
      2   your e-mail here before we move on to the         18:57:24    2      was mentioned without the benefit of a          18:58:54
      3   next one.                            18:57:25                 3      pharmacy name.                        18:58:56
      4        A. Okay.                        18:57:25                 4 QUESTIONS BY MS. HERZFELD:                                18:58:57
      5        Q. So it says, "Google Alerts are 18:57:26               5      Q.    Okay. So if a geographic area           18:58:57
      6   scanned quickly for any mention of a pharmacy 18:57:27        6 was mentioned, you would --                     18:58:59
      7   name or address. If none are contained in        18:57:29     7      A.    Yes.                      18:59:01
      8   the article, an article is about perhaps new 18:57:33         8      Q.    -- but a physician at that       18:59:03
      9   legislation or drug takeback initiatives,     18:57:35        9 point was not in the program?                  18:59:07
     10   then no further action is taken."           18:57:39         10      A.    Correct.                     18:59:08
     11            Did I read that correctly?       18:57:41           11      Q.    Okay. I just wanted to make          18:59:09
     12        A. Yes.                        18:57:41                 12 sure I understood that. Thank you.                 18:59:11
     13        Q. Okay. And is that true, if it 18:57:42               13      A.    You're welcome.                  18:59:11
     14   was about legislation or drug takeback          18:57:43     14      Q.    You can put that aside.           18:59:11
     15   initiatives, you just skipped over it?       18:57:45        15           Have you ever heard the term          18:59:12
     16        A. Yes.                        18:57:48                 16 "pillbillies"?                          18:59:29
     17        Q. Okay. Is there anything else         18:57:48        17      A.    No.                       18:59:31
     18   you looked for in those Google Alerts --        18:57:50     18      Q.    Have you ever heard of the term          18:59:32
     19        A. No.                         18:57:52                 19 "blues," referencing Mallinckrodt oxycodone?            18:59:40
     20        Q. -- than what we've talked           18:57:53         20      A.    Yes.                      18:59:43
     21   about?                              18:57:54                 21      Q.    Okay. What do you understand             18:59:44
     22        A. No.                         18:57:55                 22 it to be a term for?                     18:59:45
     23        Q. Okay.                        18:57:55                23      A.    A street name for Mallinckrodt          18:59:46
     24        A. No.                         18:57:56                 24 oxycodone.                               18:59:51
     25        Q. Okay. And then Eileen writes          18:57:58       25      Q.    Okay. And do you know if                18:59:53

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      1 that's 15 or 30s?                       18:59:55                  1 as we would have all the notes that were          19:01:50
      2       A. I testified earlier, I'm         18:59:57                2   pertinent, and discussed it relative to      19:01:52
      3   certain that the 30s are blue, but I don't    18:59:58          3   suspicious order monitoring.                19:01:55
      4   know for certain the color of the 15s.         19:00:00         4       Q. Okay. Do you recall when that 19:01:56
      5       Q. Okay. Was there ever any              19:00:03           5   DEA conference was?                        19:01:57
      6   discussion amongst you and your colleagues          19:00:11    6       A. I do not.                    19:01:59
      7   about pill mills popping up in Tennessee?         19:00:13      7       Q. Okay. But you think there            19:01:59
      8       A. Yes.                         19:00:16                    8   would have been notes on it?                19:02:01
      9       Q. Okay. And who did you have               19:00:19        9       A. I do not know.                   19:02:02
     10   that discussion with?                    19:00:20              10       Q. Okay. And do you recall what           19:02:05
     11       A. It would have been the team.           19:00:21         11   they said about Tennessee at that DEA           19:02:08
     12   We have a suspicious order monitoring team          19:00:23   12   conference?                           19:02:11
     13   meeting approximately once a month.               19:00:26     13       A. Yes.                        19:02:11
     14       Q. Okay. And when did you discuss 19:00:29                 14       Q. What did they say?                 19:02:12
     15   Tennessee?                            19:00:31                 15       A. The DEA showed an interactive            19:02:13
     16       A. I don't have a date.             19:00:31               16   map of the migration of the abuse or misuse 19:02:23
     17       Q. Okay. Do you know how many                 19:00:34     17   of oxycodone pills emanating from Florida and 19:02:28
     18   times you discussed Tennessee?                 19:00:34        18   moving throughout different states.           19:02:32
     19       A. I do not.                     19:00:35                  19       Q. Okay. Do you recall anything           19:02:33
     20       Q. Okay. Do you know if you                19:00:37        20   else they said about Tennessee?              19:02:41
     21   discussed Tennessee recently?                 19:00:38         21       A. No.                         19:02:42
     22       A. I don't recall discussing it        19:00:40            22       Q. Okay. And other than what             19:02:43
     23   recently.                           19:00:43                   23   we've discussed, do you recall any other        19:02:45
     24       Q. Okay. Do you know what the               19:00:44       24   conversations substantively about pill mills 19:02:47
     25   substance was of the conversations about          19:00:45     25   in Tennessee?                          19:02:50

                                                           Page 491                                                             Page 493
      1 Tennessee?                              19:00:47                  1        A. No.                          19:02:50
      2       A. So we looked at chargebacks in 19:00:48                  2        Q. Okay. Okay. And I think I              19:02:51
      3   a number of ways, Google Alerts                19:00:56         3   might have asked you this question before, so 19:03:12
      4   notwithstanding.                        19:00:59                4   if I did, just tell me that I did, and I     19:03:16
      5       Q. Okay.                         19:01:00                   5   apologize for asking it before.              19:03:20
      6       A. And so the chargeback reports 19:01:00                   6             Other than the discussion we        19:03:20
      7   were sorted by state, so that would prompt a 19:01:05           7   had talked about, the communication with the 19:03:23
      8   review of the distributions by our customers 19:01:11           8   officer from Morristown and you and                19:03:23
      9   to end -- end downstream registrants within 19:01:16            9   Mr. Ratliff, have you ever communicated with 19:03:25
     10   certain states if the numbers met a certain 19:01:20           10   any other law enforcement from Tennessee?             19:03:27
     11   criteria.                         19:01:24                     11        A. Not to my knowledge.                  19:03:28
     12       Q. Okay. Okay. I'll get back to 19:01:25                   12        Q. Okay. And do you know if                19:03:29
     13   that in just one second, the state sorting of 19:01:28         13   anyone on your team ever did?                   19:03:31
     14   the chargeback data.                     19:01:31              14        A. So I'd like to clarify the         19:03:33
     15       A. Okay.                         19:01:32                  15   previous answer.                          19:03:34
     16       Q. Other than sorting the             19:01:32             16        Q. Sure.                         19:03:34
     17   chargeback data by state, do you recall any 19:01:34           17        A. So law enforcement officers             19:03:35
     18   other substantive conversations about pill 19:01:36            18   from various jurisdictions were members of           19:03:38
     19   mills in Tennessee?                      19:01:38              19   this National Association of Drug Diversion 19:03:41
     20       A. It was mentioned at DEA               19:01:39          20   Investigators.                          19:03:44
     21   conferences. I don't specifically know which 19:01:42          21        Q. Okay.                          19:03:44
     22   one.                              19:01:44                     22        A. And so they came to conferences 19:03:44
     23       Q. Okay.                         19:01:44                  23   with us.                             19:03:47
     24       A. But we would have brought that 19:01:44                 24        Q. Okay.                          19:03:47
     25   back to the suspicious order monitoring team, 19:01:46         25        A. So I may have had a discussion 19:03:47

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      1 with them as a member of law enforcement,           19:03:50    1 Mallinckrodt, with any Tennessee pharmacies             19:05:40
      2   particularly if we were speaking at the       19:03:52        2 being reported to the DEA?                    19:05:43
      3   conference and talking about our placebo        19:03:59      3      A.    Again, if I researched the        19:05:44
      4   program for law enforcement.                19:04:01          4 chargeback-restricted pharmacies, perhaps,           19:05:50
      5       Q. Okay. But do you recall any          19:04:02          5 but I would not have had any other               19:05:53
      6   specific conversations with anyone from         19:04:04      6 conversation than that.                    19:05:55
      7   Tennessee?                           19:04:05                 7      Q.    Okay. Do you know how many               19:05:55
      8       A. No.                        19:04:05                    8 Tennessee pharmacies have been put on                19:06:05
      9       Q. Okay. And other than that           19:04:06           9 chargeback restriction?                    19:06:06
     10   conversation with the law enforcement officer 19:04:08       10      A.    I do not.                  19:06:07
     11   from Morristown about a specific             19:04:09        11      Q.    Okay.                      19:06:07
     12   investigation, you don't recall any         19:04:12         12      A.    I'm saying no, I do not, again.    19:06:16
     13   communications about any other specific         19:04:14     13           (Mallinckrodt-Harper Exhibit 36        19:06:24
     14   investigations within Tennessee that you were 19:04:16       14      marked for identification.)             19:06:25
     15   involved in?                         19:04:18                15 QUESTIONS BY MS. HERZFELD:                               19:06:25
     16       A. No.                        19:04:19                   16      Q.    Okay. I'm going to mark this        19:06:25
     17       Q. Okay. Or anybody from your             19:04:19       17 as Plaintiff's Exhibit 36. It's Bates number 19:06:26
     18   team for that matter?                  19:04:21              18 MNK_TNSTA00609639.                                 19:06:28
     19       A. So I cannot speak -- I did         19:04:22           19           That front page is just a        19:06:34
     20   not -- I wasn't always privy.            19:04:25            20 placeholder.                            19:06:45
     21       Q. Okay.                        19:04:26                 21           If you look at the second one,      19:06:46
     22       A. If our security director, Bill 19:04:27               22 I will represent to you that we have searched 19:06:48
     23   Ratliff, our current vice president of      19:04:31         23 the chargeback restriction database and            19:06:51
     24   security, John Gillies, was involved in an     19:04:33      24 sorted it by Tennessee. The title of the         19:06:53
     25   investigation, but not to my knowledge.        19:04:36      25 document was "Mallinckrodt chargeback                 19:07:01

                                                          Page 495                                                            Page 497
      1       Q. Okay. Okay. And have you ever 19:04:37                 1   restriction, underscore, reinstatement list." 19:07:03
      2   reported any Tennessee pharmacies to           19:04:41       2             Are you familiar with a list      19:07:04
      3   Tennessee law enforcement?                  19:04:45          3   that's called that?                     19:07:05
      4       A. Not to my knowledge.               19:04:47            4       A. Yes.                           19:07:06
      5       Q. Okay. Or to federal law            19:04:51            5       Q. Okay. And are you responsible 19:07:06
      6   enforcement with jurisdiction over Tennessee? 19:04:54        6   for creating it?                       19:07:07
      7       A. Well, when we restrict the sale 19:04:57               7       A. No.                            19:07:09
      8   of the processing of chargebacks to          19:05:01         8       Q. Are you responsible for               19:07:10
      9   pharmacies, that's reported to all         19:05:04           9   maintaining it?                         19:07:11
     10   distributors and to DEA.                 19:05:07            10       A. No.                            19:07:11
     11       Q. Okay. But other than the DEA, 19:05:09                11       Q. Do you have input into its            19:07:12
     12   you didn't reach out to anybody at the        19:05:10       12   creation?                             19:07:14
     13   US Attorney's Office for the Eastern District 19:05:12       13       A. I have input into the               19:07:15
     14   of Tennessee or anything like that?          19:05:14        14   chargeback restriction or recisions.           19:07:20
     15       A. No.                         19:05:16                  15       Q. Okay.                           19:07:22
     16       Q. Okay. Okay. And what about             19:05:16       16       A. And then someone else on our              19:07:22
     17   any prescribers? Did you ever report any        19:05:20     17   team creates -- maintains the list.           19:07:23
     18   Tennessee prescribers to any Tennessee law        19:05:22   18       Q. Okay. And you have access to             19:07:25
     19   enforcement?                          19:05:24               19   the list?                            19:07:26
     20       A. Not to my knowledge.               19:05:25           20       A. Yes.                           19:07:26
     21       Q. Okay. What about any Tennessee 19:05:26               21       Q. Okay. Okay. So looking at               19:07:27
     22   prescribers to federal law enforcement?        19:05:29      22   this list, does it look like that is what it 19:07:28
     23       A. Not to my knowledge.               19:05:31           23   is, Mallinckrodt chargeback restriction and 19:07:29
     24       Q. Okay. Do you know if                19:05:32          24   reinstatement list?                      19:07:34
     25   Mallinckrodt, you were involved at            19:05:39       25       A. Yes.                           19:07:35

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      1        Q. And it shows one, two, three, 19:07:35                     1 Google Alerts and other information, you were 19:10:52
      2   four, five, six, seven, eight, it looks like, 19:07:42             2 aware that doctors were being arrested in              19:10:54
      3   eight pharmacies that are on that list.       19:07:50             3 Tennessee for improperly prescribing                   19:10:57
      4              Does that look correct to you? 19:07:52                 4 oxycodone; is that correct?                     19:11:01
      5        A. Yes.                         19:07:53                      5        A.      Yes.                      19:11:02
      6        Q. Okay. And of that chargeback 19:07:55                      6        Q.      Okay. And based on those             19:11:07
      7   list, it looks like five were reinstated; is 19:08:11              7 Google Alerts and other information, you also 19:11:10
      8   that correct?                         19:08:14                     8 knew that some pharmacies were filling                  19:11:11
      9        A. Yes.                         19:08:14                      9 improper prescriptions in Tennessee for                19:11:14
     10        Q. Okay. And if there were              19:08:15             10 oxycodone; is that correct?                     19:11:16
     11   pharmacies that were put on chargeback            19:08:18        11             MR. O'CONNOR: Objection to                 19:11:17
     12   restriction in Tennessee, they would appear 19:08:19              12        form.                             19:11:18
     13   on this list; is that right?             19:08:21                 13             THE WITNESS: Yes.                       19:11:18
     14        A. I'm assuming that the sort is 19:08:22                    14 QUESTIONS BY MS. HERZFELD:                                     19:11:19
     15   correct, but given that, yes, they would be 19:08:25              15        Q.      Okay. Okay. And when you               19:11:19
     16   on this list.                        19:08:27                     16 talked earlier about chargeback data, I just           19:11:22
     17        Q. Okay. And each one of these            19:08:28           17 want to make sure I understand that a little           19:11:24
     18   pharmacies that were put on chargeback            19:08:31        18 bit.                                 19:11:27
     19   restriction would have been reported to the 19:08:32              19             You can sort chargeback data in          19:11:27
     20   DEA?                                  19:08:34                    20 all sorts of different ways, right?              19:11:29
     21        A. Yes.                         19:08:34                     21        A.      Yes.                      19:11:30
     22        Q. Okay. You can set that one            19:08:35            22        Q.      Okay. So you can sort it, I       19:11:30
     23   aside, please, ma'am.                     19:08:38                23 think we talked about, by state; is that             19:11:32
     24              Ma'am, was someone on your team 19:09:12               24 correct?                                 19:11:35
     25   responsible for checking with the Tennessee 19:09:14              25        A.      Yes.                      19:11:35

                                                             Page 499                                                                      Page 501
      1 boards of medical examiners or the Tennessee         19:09:16        1        Q.      Okay. And can you sort it by         19:11:36
      2 Board of Pharmacy about specific pharmacies?         19:09:19        2 time -- various time periods?                    19:11:39
      3      A.   John Gillies, our vice          19:09:23                   3        A.      Yes.                      19:11:41
      4 president of security, may have done that,        19:09:30           4        Q.      Okay. And can you sort it by         19:11:42
      5 but I don't know -- he's retired from the       19:09:33             5 ZIP code?                                 19:11:44
      6 FBI, so he had different resources than the       19:09:39           6        A.      Yes.                      19:11:45
      7 rest of the team. And some of his              19:09:42              7        Q.      Okay. And you can sort it by         19:11:46
      8 contributions to the team we didn't under --      19:09:45           8 per capita?                               19:11:49
      9 know his methodology or have that pathway.           19:09:51        9             MR. O'CONNOR: Objection to                 19:11:51
     10      Q.   Okay. But to your knowledge,          19:09:55            10        form.                             19:11:53
     11 he didn't routinely -- nobody routinely         19:09:56            11             THE WITNESS: We did that for a             19:11:53
     12 checked with the various state boards of         19:10:00           12        period of time.                     19:11:55
     13 licensing for pharmacies to find out what's       19:10:03          13 QUESTIONS BY MS. HERZFELD:                                     19:11:57
     14 going on with pharmacies in a particular         19:10:05           14        Q.      Okay.                      19:11:57
     15 state?                             19:10:08                         15        A.      We know -- I don't believe that       19:11:58
     16           MR. O'CONNOR: Object to form.           19:10:09          16 we currently use the per capita information.            19:11:59
     17           THE WITNESS: Correct.                19:10:09             17        Q.      Okay. Do you know when you              19:12:01
     18 QUESTIONS BY MS. HERZFELD:                               19:10:10   18 stopped using the per capita information?              19:12:03
     19      Q.   And what about the doctor            19:10:10             19        A.      I'm so sorry, I do not.        19:12:05
     20 licensing boards for each state? Was there        19:10:12          20        Q.      Okay. Do you know why you               19:12:08
     21 routine audit of the doctor licensing boards      19:10:14          21 stopped using the per capita information?              19:12:08
     22 of each state within your team, to your         19:10:17            22        A.      I do not.                  19:12:10
     23 knowledge?                            19:10:20                      23        Q.      Okay. And you can sort it by         19:12:15
     24      A.   Not to my knowledge.                19:10:20              24 pharmacies; is that correct?                    19:12:16
     25      Q.   Okay. And based on those             19:10:21             25        A.      Yes.                      19:12:17

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      1      Q.    Okay. And I think you said            19:12:17            1           Do you know why Tennessee was             19:16:00
      2 before if you wanted to, and for a period of        19:12:19         2 one of those states?                     19:16:01
      3 time you did, monitor physicians via IMS             19:12:23        3      A.    So our program monitors all        19:16:02
      4 data?                              19:12:27                          4 states, all 50 states.               19:16:08
      5           MR. O'CONNOR: Objection.                  19:12:27         5      Q.    Okay. But at some point were        19:16:10
      6           THE WITNESS: Yes.                   19:12:28               6 Kentucky, Tennessee, Ohio, Florida and Texas           19:16:12
      7           (Mallinckrodt-Harper Exhibit 37         19:13:25           7 singled out for specific review?             19:16:20
      8      marked for identification.)            19:13:26                 8      A.    I don't recall.           19:16:22
      9 QUESTIONS BY MS. HERZFELD:                               19:13:26    9           (Mallinckrodt-Harper Exhibit 38      19:16:22
     10      Q.    Okay. Ms. Harper, I am going           19:13:27          10      marked for identification.)           19:16:59
     11 to mark you -- hand you what we will mark as           19:13:31     11 QUESTIONS BY MS. HERZFELD:                              19:16:59
     12 plaintiff's next exhibit, which is number 37. 19:13:33              12      Q.    Okay. I'm going to hand you        19:16:22
     13           For the record, it's           19:13:37                   13 what we will mark as Plaintiff's Exhibit 38.     19:16:57
     14 MNK_TNSTA05340154. It is a two-page                      19:13:43   14 It's MNK_TNSTA05337163.                         19:17:00
     15 document.                              19:13:50                     15           Okay. And is this an e-mail       19:17:07
     16           You want to start from the back        19:14:01           16 that you sent on May 13, 2011?                19:17:36
     17 forward. Oh, you've got it. Good. Very              19:14:02        17      A.    Yes.                    19:17:40
     18 good.                              19:14:04                         18      Q.    Okay. And with it, it looks      19:17:43
     19      A.    Yes, ma'am.                   19:14:04                   19 like the attachments are oxy percentage of          19:17:45
     20      Q.    Great. Thank you.               19:14:05                 20 sales by dist state master spreadsheet and      19:17:48
     21           And take your time. Read            19:14:07              21 hydro percentage of sales by state master       19:17:52
     22 through it.                           19:14:11                      22 spreadsheet.                         19:17:55
     23           MR. O'CONNOR: Counsel, can we               19:14:39      23           Do you see where I'm at?          19:17:55
     24      go off the record for a minute?          19:14:41              24      A.    Yes.                    19:17:56
     25           MS. HERZFELD: Sure.                    19:14:42           25      Q.    Okay. And it says, "Georgia        19:17:57

                                                                Page 503                                                              Page 505
      1           VIDEOGRAPHER: We are going off               19:14:43      1 has been added to the statistics per Pat's          19:18:00
      2      the record at 7:14 p.m.               19:14:44                  2 request."                            19:18:03
      3       (Off the record at 7:14 p.m.)          19:14:46                3            Did I read that correctly?      19:18:03
      4           VIDEOGRAPHER: We are back on                 19:15:26      4       A. Yes.                        19:18:04
      5      the record at 7:15 p.m.               19:15:27                  5       Q. Who's Pat?                     19:18:04
      6           MR. O'CONNOR: And, Counsel, as              19:15:29       6       A. She's one of our attorneys.         19:18:04
      7      we discussed, I'm going to object to         19:15:30           7       Q. Okay. And you know                   19:18:07
      8      the use of this document. It appears        19:15:33            8   Tennessee -- if you'll look with me to the 19:18:11
      9      to be protected by the attorney-client      19:15:34            9   second page, you'll see a chart that talks 19:18:13
     10      privilege and was inadvertently           19:15:37             10   about the personnel of hydrocodone sales in 19:18:24
     11      produced, and we'll be making a             19:15:37           11   Tennessee from 10/2007 till 2/1/2011.           19:18:25
     12      clawback request to retrieve the         19:15:39              12            Do you see where I'm at?         19:18:31
     13      document.                         19:15:40                     13       A. Yes.                        19:18:32
     14           MS. HERZFELD: Okay. And we'll               19:15:41      14       Q. Okay. Do you know why the               19:18:33
     15      discuss it at a later time.          19:15:43                  15   percentage of hydrocodone sales were being 19:18:34
     16           I just have one question for      19:15:44                16   monitored in Tennessee?                   19:18:36
     17      you, ma'am.                       19:15:46                     17       A. So I'd like to note, please,      19:18:37
     18 QUESTIONS BY MS. HERZFELD:                               19:15:46   18   from where this graph came. Was it part of 19:18:42
     19      Q.    Do you know if Tennessee was a           19:15:47        19   this packet?                        19:18:45
     20 state that was specifically being monitored         19:15:47        20       Q. I believe so, yes, ma'am. I        19:18:47
     21 as one of a number of states by Mallinckrodt          19:15:51      21   didn't create it.                   19:18:49
     22 for high volume oxycodone sales?                  19:15:54          22       A. Okay. All right.                19:18:50
     23      A.    Yes.                       19:15:57                      23            So will you please repeat the 19:18:52
     24      Q.    Okay. Thank you very much.             19:15:57          24   question? Sorry.                      19:18:54
     25 You can move that aside.                     19:15:59               25       Q. Sure. That's okay.               19:18:55

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      1            Do you know why the percentage 19:18:56            1    through March of 2011; is that right?           19:20:29
      2   of hydrocodone sales were being monitored in 19:18:57       2         A. Yes.                        19:20:31
      3   Tennessee by Mallinckrodt?                   19:18:59       3         Q. Okay. And then on page 11, the 19:20:33
      4        A. I do not know.                  19:19:00            4    state is?                          19:20:41
      5        Q. Okay. But they were?               19:19:01         5         A. Georgia.                      19:20:42
      6        A. Yes.                        19:19:03                6         Q. Okay. And those are the only           19:20:44
      7        Q. Okay. And it was not               19:19:04         7    states that were included in this handout.      19:20:45
      8   necessarily all 50 states that were pulled     19:19:07     8              So do you know if there was         19:20:48
      9   out for these specific looks?              19:19:09         9    a -- do you know why those states were            19:20:50
     10        A. I do not know that.              19:19:11          10    particularly singled out to have these         19:20:52
     11        Q. Okay. Let's go through and           19:19:12      11    reports run?                         19:20:55
     12   look.                              19:19:13                12         A. I do not.                    19:20:55
     13            So after this chart that you're 19:19:14          13         Q. Okay. Was there anything about 19:20:56
     14   on, if you'll flip with me to the next page, 19:19:16      14    opioid sales to these states that was of       19:20:59
     15   it says page 1 at the bottom?              19:19:18        15    note?                              19:21:01
     16        A. Yes.                        19:19:20               16         A. No. And unfortunately I              19:21:02
     17        Q. Okay. So looking at hydro            19:19:20      17    don't -- I don't understand -- I don't recall 19:21:05
     18   sales here, it looks like we're looking at    19:19:22     18    this report --                      19:21:08
     19   the state of?                        19:19:25              19         Q. Okay.                        19:21:08
     20        A. Florida.                     19:19:26              20         A. -- and I don't understand this 19:21:08
     21        Q. Okay. And two pages later, the 19:19:27            21    unit of measure, this percentage.             19:21:11
     22   one that says page 3, it looks like we're     19:19:32     22         Q. Okay.                        19:21:13
     23   looking at the state of?                 19:19:35          23         A. I just don't understand what         19:21:14
     24        A. Oh, I'm sorry. Texas.             19:19:36         24    this page is telling --                 19:21:15
     25        Q. Okay.                        19:19:36              25         Q. Okay.                        19:21:16

                                                            Page 507                                                        Page 509
      1       A. Yes.                         19:19:39                 1       A. -- me.                       19:21:17
      2       Q. Okay. And flip two more pages 19:19:40                2       Q. But you don't doubt that you          19:21:17
      3   with me to page 5.                       19:19:42            3   sent the e-mail with the attachments?          19:21:18
      4            Okay. And that is the state       19:19:44          4       A. No, I don't doubt it.            19:21:21
      5   of?                              19:19:45                    5       Q. Okay. Okay. So flipping              19:21:25
      6       A. Ohio.                        19:19:46                 6   through to the next one, kind of leaving        19:21:26
      7       Q. Okay. Keep flipping.                19:19:46          7   where we -- stopping where we left off and        19:21:28
      8            Page 7. That's the state of? 19:19:49               8   going back to where we were, if you'll just 19:21:31
      9       A. Kentucky.                       19:19:52              9   keep going.                          19:21:33
     10       Q. Okay. And this is -- looks           19:19:54        10       A. What page? Keep going?                19:21:33
     11   like the percentage of hydro sales by          19:19:55     11       Q. Uh-huh. I can help you out if 19:21:35
     12   distributor; is that right?              19:19:57           12   you want.                            19:21:37
     13       A. Yes.                         19:19:58                13       A. Okay, certainly.                 19:21:38
     14       Q. Okay. Keep flipping.                19:19:59         14       Q. Yeah. Yeah. Make it a little 19:21:38
     15            Page 9, and the state there is? 19:20:01           15   easier for you. Keep you from paper cuts.        19:21:39
     16       A. Tennessee.                      19:20:05             16   There we go.                          19:21:45
     17       Q. Tennessee. There we go.               19:20:06       17            Okay. And then so -- then on       19:21:46
     18            And that is the percentage of 19:20:08             18   this chart, it looks like the second        19:21:47
     19   sales by distributor on that chart; is that 19:20:09        19   attachment there is the percentage of          19:21:50
     20   correct?                           19:20:15                 20   oxycodone sales for Tennessee.                19:21:52
     21       A. Yes, the chart states that.         19:20:15         21            Do you see that?              19:21:53
     22       Q. Okay. And the chart appears to 19:20:20              22       A. Yes.                         19:21:53
     23   monitor this information from October 2007 19:20:21 23               Q. And that's broken down by             19:21:54
     24   through March of 2010 on this page going           19:20:24 24   distributor from 10/1/2007 till 10/1/2011; is 19:21:56
     25   through to the second page, all the way         19:20:27    25   that right?                         19:22:02

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      1      A.     Yes.                       19:22:02                       1       Q. Do you know if they're located 19:24:13
      2      Q.     Okay. And I will posit to you,        19:22:02            2   in Miami?                            19:24:14
      3 and if we flip through, it's the same charts        19:22:06          3       A. I don't know.                   19:24:15
      4 breaking down the percentage of oxycodone to             19:22:09     4       Q. Okay. Flipping to the third          19:24:17
      5 various states by distributor for Florida,         19:22:13           5   page that says MNK-T1_0007026595. State             19:24:19
      6 Texas, Ohio, Kentucky, Tennessee and Georgia, 19:22:18                6   ranking for hydrocodone, total dosage units 19:24:26
      7 those same states.                        19:22:33                    7   sold to retail, January 1, 2010, through      19:24:30
      8            Does that look to be correct?      19:22:35                8   December 31, 2011.                       19:24:34
      9            MR. O'CONNOR: You can answer                19:22:39       9            Do you see where I'm at?          19:24:35
     10      the question.                      19:22:39                     10       A. Yes.                        19:24:36
     11            THE WITNESS: Yes.                   19:22:40              11       Q. Could you tell me what number 19:24:37
     12 QUESTIONS BY MS. HERZFELD:                                19:22:40   12   Tennessee is, ma'am?                      19:24:38
     13      Q.     Okay. Yes?                    19:22:41                   13       A. Tennessee is the third ranking. 19:24:39
     14            MR. O'CONNOR: Counsel, since               19:22:42       14       Q. Okay. Great. Thank you very            19:24:46
     15      we just finished that page, I notice         19:22:43           15   much.                              19:24:47
     16      there appears to be an unrelated          19:22:45              16            And the next page, state         19:24:47
     17      document attached to the back.               19:22:47           17   ranking for oxycodone. This one ends with 19:24:49
     18            MS. HERZFELD: I do see that.             19:22:48         18   6596. Total dosage units sold to retail on 19:24:56
     19      I do. That's interesting.             19:22:50                  19   January 1, 2010, through December 31, 2011. 19:25:03
     20            Okay. Let's pull off this       19:22:51                  20            And do you see that what number 19:25:07
     21      unrelated document, because I think            19:22:55         21   Tennessee is on this list, ma'am?            19:25:08
     22      that's supposed to be separate.           19:22:55              22       A. It is -- I have a question        19:25:10
     23            My apologies for having some            19:22:59          23   about the document, please.                19:25:11
     24      exhibit problems today. You can tell          19:23:01          24       Q. Sure.                        19:25:12
     25      I'm having exhibit problems today.            19:23:04          25       A. This says Drug Enforcement             19:25:12

                                                                  Page 511                                                          Page 513
      1            There we go. Just make this         19:23:07               1 Administration.                           19:25:14
      2      next one Exhibit 39.                  19:23:08                   2       Q. Yes, ma'am.                      19:25:14
      3            (Mallinckrodt-Harper Exhibit 39         19:23:12           3       A. So it's something DEA                19:25:14
      4      marked for identification.)              19:23:12                4   published.                           19:25:16
      5            MS. HERZFELD: And for those in             19:23:17        5       Q. Okay.                         19:25:16
      6      the cheap seats, it's               19:23:18                     6       A. So that would include, am I           19:25:17
      7      MNK-T1_0007026593.                           19:23:22            7   correct, all manufacturers of all products? 19:25:19
      8            Thank you for pointing that         19:23:27               8       Q. Ma'am, you're the one who              19:25:22
      9      out, Andrew.                        19:23:29                     9   forwarded this, so I wouldn't know.            19:25:24
     10            MR. O'CONNOR: You're welcome.               19:23:31      10       A. Oh, we did?                      19:25:25
     11 QUESTIONS BY MS. HERZFELD:                                19:23:32   11       Q. Yeah, I'm going to back up.           19:25:27
     12      Q.     Okay. So looking at this next         19:23:36           12   Okay. Let me ask this question first, and 19:25:29
     13 document, this is an e-mail that you sent to         19:23:38        13   then we'll back up so you clarify that.        19:25:30
     14 Anthony Rattini on 10/14/2013; is that              19:23:40         14       A. Okay.                         19:25:32
     15 correct?                               19:23:45                      15       Q. So what number is Tennessee on 19:25:32
     16      A.     Yes.                       19:23:45                      16   this state ranking for oxycodone in 2011?        19:25:34
     17      Q.     Okay. And who is Anthony               19:23:47          17       A. Number 9.                        19:25:38
     18 Rattini?                               19:23:58                      18       Q. Okay. And in 2000 -- okay.             19:25:39
     19      A.     He is, or was, a representative       19:23:58           19   Great. Thank you.                        19:25:49
     20 we spoke to at Miami-Luken.                       19:24:03           20       A. Okay.                         19:25:49
     21      Q.     And Miami-Luken is what?               19:24:06          21       Q. Okay. Now going back to what I 19:25:49
     22      A.     It's a distributor.          19:24:09                    22   think what was your concern. If you back to 19:25:50
     23      Q.     Okay. And do you know where              19:24:10        23   the very first page, which was the e-mail. 19:25:53
     24 they're located?                         19:24:12                    24            If you read the e-mail, it's an 19:25:55
     25      A.     I do not.                  19:24:12                      25   e-mail from you, right?                   19:25:56

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                                                                               Review
                                                                   Page 514                                                                  Page 516
      1       A.      Yes.                     19:25:57                         1            MR. O'CONNOR: Objection to                 19:28:07
      2       Q.      Okay. It says, "Hi, Tony. It      19:25:58                2      form.                           19:28:08
      3 was very good to speak with you today, and               19:26:02       3            THE WITNESS: So we reviewed                   19:28:08
      4 I'm looking forward to finally meeting you in 19:26:03                  4      all the data for all the states, so it    19:28:09
      5 person next week at the DEA conference. The               19:26:05      5      was among those that were of concern.            19:28:13
      6 first PDF attached was pulled from the DEA               19:26:06       6 QUESTIONS BY MS. HERZFELD:                                  19:28:16
      7 web page USDOJ.gov, a recent presentation                 19:26:10      7      Q.      Okay. And why was that of             19:28:16
      8 made to HDMA as indicated below. The second                 19:26:13    8 concern?                                19:28:18
      9 PDF was extracted from DEA web page also,                  19:26:17     9      A.      So which charts are we talking         19:28:18
     10 registrant population information pharmacy               19:26:19      10 about, these last ones from DEA?                    19:28:21
     11 registrations."                            19:26:22                    11      Q.      Yes.                       19:28:23
     12            Did I read that correctly?         19:26:22                 12      A.      So I'd like to add that since      19:28:24
     13       A.      Yes.                     19:26:23                        13 these were from DEA, all manufacturers -- and 19:28:29
     14       Q.      Okay. So it looks like you        19:26:23               14 there were certain areas of the country that         19:28:33
     15 attached both of these as attachments to the           19:26:25        15 Mallinckrodt may have had zero of the market. 19:28:35
     16 e-mail you sent to Mr. Rattini; is that           19:26:28             16 There are other hydrocodone manufacturers and 19:28:39
     17 correct?                               19:26:31                        17 oxycodone manufacturers. So, yes, we studied 19:28:42
     18       A.      Yes.                     19:26:31                        18 these graphs as a tool within our program,            19:28:45
     19       Q.      Okay. And what is HDMA?                 19:26:32         19 yes.                                19:28:48
     20       A.      It's Healthcare Distribution      19:26:40               20      Q.      Okay. But if we go back to,         19:28:48
     21 Management Association.                          19:26:44              21 let's see, this one, I think. Yeah,            19:28:51
     22       Q.      Okay. Okay. Moving on. You              19:26:44         22 Exhibit 35.                              19:28:59
     23 can get rid of that one.                     19:26:55                  23            You agreed with me before that          19:28:59
     24            Okay. Was Mallinckrodt               19:26:57               24 one of the states that Mallinckrodt was              19:29:01
     25 concerned about the number of opioids that it 19:27:14                 25 monitoring was Tennessee; is that right?              19:29:02

                                                                   Page 515                                                                  Page 517
      1 was shipping to Tennessee?                       19:27:16               1      A.     Yes. Yes.                    19:29:03
      2            MR. O'CONNOR: Objection to                 19:27:18          2      Q.     Okay. And so based on               19:29:03
      3       form.                           19:27:19                          3 Mallinckrodt's own documentation here in              19:29:05
      4            THE WITNESS: It's a broad              19:27:20              4 Exhibit 35, you were monitoring Tennessee                19:29:08
      5       question, so can you -- I'm sorry, I       19:27:26               5 specifically for opioid sales; is that          19:29:12
      6       can't answer.                        19:27:30                     6 correct?                             19:29:15
      7 QUESTIONS BY MS. HERZFELD:                                  19:27:30    7      A.     Yes.                      19:29:15
      8       Q.      Sure. Okay. I'll try to --      19:27:31                  8      Q.     Okay. Okay. You can set that           19:29:19
      9 I'll try to narrow it a little bit.          19:27:34                   9 aside.                              19:29:22
     10            It looks like Tennessee,           19:27:35                 10            (Mallinckrodt-Harper Exhibit 40 19:29:29
     11 according to some of the charts we've seen,             19:27:37       11      marked for identification.)              19:29:30
     12 has been at the higher level of numbers of            19:27:38         12 QUESTIONS BY MS. HERZFELD:                                 19:29:30
     13 opioids being shipped to it; is that correct? 19:27:43                 13      Q.     Okay. I'm going to hand you          19:29:30
     14            MR. O'CONNOR: Objection to                 19:27:45         14 what we'll mark as Exhibit 40. And this is           19:29:33
     15       form.                           19:27:46                         15 MNK_TNSTA05126722 through 6735. It's front                    19:29:39
     16            THE WITNESS: Yes.                     19:27:46              16 and back document.                            19:29:53
     17 QUESTIONS BY MS. HERZFELD:                                  19:27:47   17            That type is very, very small,      19:29:55
     18       Q.      Okay. And was that concerning           19:27:48         18 so we'll read through it together if you           19:30:24
     19 to Mallinckrodt, that Tennessee was -- or             19:27:49         19 don't mind.                             19:30:28
     20 concerning to you? Was that concerning --               19:27:52       20            So the one that says page 1,        19:30:29
     21 strike that.                           19:27:54                        21 let's start there. Okay.                  19:30:30
     22            Was it concerning to you in          19:27:54               22            At the very top line under         19:30:33
     23 your position at Mallinckrodt that Tennessee             19:27:58      23 where it says A, B and C, what is the title         19:30:34
     24 was amongst the higher numbers for opioid                19:28:00      24 there? Do you see it, line 1?                 19:30:37
     25 sales by Mallinckrodt?                        19:28:05                 25      A.     Yes.                      19:30:39

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                                                           Page 518                                                         Page 520
      1        Q. What is it?                   19:30:39               1 me, please?                            19:32:54
      2        A. 30-milligram oxy, sum of sales, 19:30:40             2       A. Yes. 42 percent.                 19:32:56
      3   dosage units by state.                  19:30:45             3       Q. Okay. And then 2011 increase? 19:32:57
      4        Q. Okay. So looking at that, it 19:30:46                4       A. 11 percent.                    19:33:00
      5   looks like Mallinckrodt was tracking the        19:30:49     5       Q. Okay. And then going over             19:33:03
      6   oxy 30 sales by state in 2009, 2010 and 2011; 19:30:51       6   exactly -- stay on that exact line and go     19:33:05
      7   is that correct?                     19:30:58                7   over one, and then we're at 15-milligram oxy, 19:33:07
      8        A. I see 2010 and I see 2000 --        19:30:58         8   sum of sales dosage units by state. And        19:33:11
      9   2011. I don't see 2009 on the chart.         19:31:14        9   we're still at number 7 here, Tennessee.       19:33:13
     10        Q. Okay. I'll show you right          19:31:16         10            Do you see that?              19:33:16
     11   here.                             19:31:17                  11       A. I'd like to use a piece of        19:33:17
     12        A. Okay.                       19:31:17                12   paper --                           19:33:18
     13        Q. Right under B?                  19:31:18            13       Q. Yeah, sure. It will certainly 19:33:18
     14        A. Okay. I see it now, thank you, 19:31:25             14   make it easier.                       19:33:20
     15   yes.                              19:31:26                  15       A. I'm sorry. I just had eye          19:33:21
     16        Q. 2009, 2010, 2011.                19:31:26           16   surgery. I'm sorry.                    19:33:26
     17        A. Yeah.                       19:31:26                17       Q. For sure. And I'm not trying 19:33:28
     18        Q. Okay. And what number is             19:31:29       18   to make this difficult on you.             19:33:30
     19   Tennessee on this list?                  19:31:30           19       A. Okay. I'm on line 7.              19:33:31
     20        A. This list indicates --          19:31:31            20       Q. Okay. And so it shows the 15 19:33:33
     21   Tennessee is seventh listed, but this is by 19:31:46        21   on line 7. Then it says percentage of grand 19:33:35
     22   sales dollars, am I correct, not dosage       19:31:51      22   total there under Q4, .49 percent; is that 19:33:37
     23   units?                             19:31:54                 23   right?                            19:33:41
     24        Q. It says -- it says sum of sales 19:31:54            24       A. Yes.                         19:33:41
     25   dosage units by state, so...             19:31:56           25       Q. Okay. And then it says units 19:33:42

                                                           Page 519                                                      Page 521
      1            Okay. So it says Tennessee is 19:32:08              1 per capita, 1.87; is that correct?           19:33:44
      2   number 7; is that right?                  19:32:11           2       A. Yes.                         19:33:47
      3       A. Yes, it does say that.             19:32:12           3       Q. Units per capita rank,             19:33:48
      4       Q. Okay. And then if you go over 19:32:16                4   number 5; is that correct?                19:33:52
      5   a couple blocks here, it has the various        19:32:17     5       A. Yes.                         19:33:53
      6   numbers. Then it says grand percent total, 19:32:22          6       Q. Population rank, 17.               19:33:54
      7   3.64 percent.                         19:32:24               7            And then it goes through the       19:33:58
      8            Do you see where that's at?        19:32:26         8   census population through 2010, 2000, 1990. 19:34:02
      9       A. I'm having a hard time tracking 19:32:28              9            Do you see that?              19:34:06
     10   you.                               19:32:31                 10       A. Yes.                         19:34:07
     11       Q. I know, it's so small.             19:32:32          11       Q. I want to make sure I am             19:34:07
     12       A. On the chart.                   19:32:33             12   staying on the right line.              19:34:09
     13       Q. Do you want to use a piece of 19:32:34               13            And then it says percentage of 19:34:10
     14   paper?                              19:32:35                14   US total, 2.03 percent.                 19:34:12
     15       A. Can you give me a column header 19:32:35             15            Do you see that?              19:34:15
     16   name?                               19:32:37                16       A. Yes.                         19:34:15
     17       Q. Uh-huh, sure. Okay. So let's 19:32:39                17       Q. Okay. Then if you go -- follow 19:34:15
     18   look at -- we're at number 7, and G. So 7 G. 19:32:40       18   that line all the way to the very end. It    19:34:20
     19       A. Okay. Yes, I see it.              19:32:43           19   ranks by density and population, and then it 19:34:22
     20       Q. Okay. And so it says grand             19:32:47      20   says units adjusted for density, 8.85.       19:34:26
     21   total percent is 3.64 percent; is that right? 19:32:48      21            Do you see that?              19:34:30
     22       A. Yes.                         19:32:51                22       A. Yes.                         19:34:31
     23       Q. Okay. And then it says 2010             19:32:51     23       Q. Okay. And did you create this 19:34:33
     24   increase.                           19:32:53                24   chart?                             19:34:35
     25            Can you read that next one for 19:32:53            25       A. I did not. I don't understand 19:34:35

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                                                          Page 522                                                              Page 524
      1   it. I did not.                    19:34:38                   1      A.    Well, I do not.               19:36:06
      2        Q. Okay.                      19:34:39                  2      Q.    Okay. Okay. You can set it            19:36:14
      3        A. No.                       19:34:39                   3 aside. Thank you.                         19:36:15
      4        Q. Does it appear to be on          19:34:39            4           MR. O'CONNOR: Counsel, as                19:36:19
      5   monitoring chargeback data by state and         19:34:42     5      we're getting close to the end here,        19:36:19
      6   population?                         19:34:45                 6      maybe it's time to take a break. I       19:36:21
      7        A. I don't know. It's monitoring 19:34:45               7      think we've been going at it for quite      19:36:25
      8   by state and by population, but, again, is it 19:34:54       8      a while.                         19:36:27
      9   dosage units or dollars. I don't know the 19:34:58           9           MS. HERZFELD: How long have I               19:36:28
     10   units of measure for certain.             19:35:02          10      been going?
     11        Q. Okay. But other than that, not 19:35:04             11           VIDEOGRAPHER: A little over an
     12   knowing what the unit of measure is, you         19:35:06   12      hour. Hour and ten minutes.
     13   recognize this as chargeback data by state 19:35:09         13           MS. HERZFELD: Oh, we can take
     14   and population?                      19:35:11               14      a break, yeah, but -- yeah, sure,
     15        A. I don't recognize where the         19:35:13        15      okay. Yeah, we can take a break.
     16   data came from, I'm sorry.                19:35:17          16           VIDEOGRAPHER: We are going off               19:36:33
     17        Q. Okay.                      19:35:18                 17      the record at 7:36 p.m.              19:36:34
     18        A. I just don't.              19:35:18                 18       (Off the record at 7:36 p.m.)         19:36:35
     19        Q. So have you seen this chart         19:35:19        19           VIDEOGRAPHER: We are back on                 19:45:27
     20   before?                           19:35:21                  20      the record at 7:45 p.m.              19:45:28
     21        A. No.                       19:35:21                  21 QUESTIONS BY MS. HERZFELD:                               19:45:30
     22        Q. Have you -- did you have            19:35:22        22      Q.    Okay. Great.                  19:45:30
     23   reports run like this before?            19:35:24           23           Ms. Harper, we're back on the          19:45:31
     24        A. No.                       19:35:26                  24 record after a quick break. I have a couple         19:45:34
     25        Q. Do you know if anybody on your 19:35:26             25 more questions for you. Hopefully we'll get          19:45:37

                                                             Page 523                                                       Page 525
      1 team did?                                19:35:27              1   you out of here relatively quickly.           19:45:39
      2       A. I do not know.                     19:35:28           2            I'm done with that exhibit, so 19:45:41
      3       Q. Okay. When you save things on 19:35:31                3   you can set it aside.                   19:45:43
      4   a computer in your team back in 2010, 2011, 19:35:34 4                    I have a question about the       19:45:45
      5   would you have a share drive?                  19:35:38      5   branded side of Mallinckrodt.                19:45:51
      6       A. Yes.                          19:35:40                6            Did you deal at all with them? 19:45:52
      7       Q. Okay. Would it have certain             19:35:40      7       A. On a fairly limited basis.          19:45:54
      8   folders in it?                        19:35:43               8       Q. Okay. And what was your                 19:45:56
      9       A. Yes.                          19:35:43                9   involvement with the branded side?              19:45:58
     10       Q. You put stuff in a folder?            19:35:44       10       A. Only to the extent that they          19:46:00
     11             Was there a folder for           19:35:45         11   sold branded products that were narcotics.        19:46:06
     12   suspicious order monitoring?                  19:35:47      12       Q. Okay. So like Exalgo or              19:46:10
     13       A. Yes, and I do see the title.         19:35:47        13   Xartemis?                             19:46:13
     14       Q. Yes, ma'am.                       19:35:49           14       A. Yes.                          19:46:15
     15       A. I see that.                    19:35:50              15       Q. Okay. And so I'm going to ask 19:46:15
     16       Q. Uh-huh.                          19:35:51            16   you some questions about that just to figure 19:46:18
     17       A. And certainly I can read it,          19:35:52       17   out if there's -- what your role is.        19:46:19
     18   but I -- I don't recall seeing or utilizing 19:35:54        18            Okay?                       19:46:20
     19   this spreadsheet or requesting this            19:35:58     19       A. Okay.                          19:46:21
     20   spreadsheet, although I do see that the file 19:36:00       20       Q. So the branded side had target 19:46:22
     21   name indicates that.                      19:36:02          21   pharmacy lists; is that correct?            19:46:26
     22       Q. Okay.                          19:36:03              22       A. I don't know.                    19:46:27
     23       A. Yes.                          19:36:03               23       Q. Okay. Were you ever involved             19:46:28
     24       Q. Do you have any reason to think 19:36:04             24   in reviewing target pharmacy lists from the 19:46:30
     25   that it's not accurate?                  19:36:05           25   branded sided?                          19:46:33

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                                                        Page 526                                                           Page 528
      1         A. So I'm going to -- I'm going to 19:46:34          1        Q. Okay. And top prescribers for 19:48:27
      2   clarify my previous answer.                19:46:36        2    Mallinckrodt products, those prescriptions       19:48:31
      3         Q. Sure.                     19:46:37                3    could have been legitimate; is that right?      19:48:32
      4         A. Because, yes, I believe they      19:46:39        4        A. Yes.                        19:48:34
      5   had -- I don't know what they were called -- 19:46:42      5        Q. Okay. And those prescriptions 19:48:35
      6         Q. Okay.                      19:46:42               6    also could have been illegitimate?            19:48:37
      7         A. -- but they -- did you say       19:46:44         7        A. And I'd like to qualify that. 19:48:40
      8   pharmacies?                          19:46:45              8        Q. Yes, ma'am.                     19:48:41
      9         Q. Yes, ma'am.                   19:46:45            9        A. So our top prescriber list -- 19:48:42
     10         A. I'm not certain about that.      19:46:46        10        Q. Yes, ma'am.                     19:48:44
     11         Q. Okay. What about physicians?         19:46:48    11        A. -- I don't know if that was         19:48:45
     12         A. Yes.                      19:46:49               12    exclusive to Mallinckrodt product, but it was 19:48:46
     13         Q. Okay.                      19:46:50              13    for oxy 15 and oxy 30.                    19:48:47
     14         A. Yes. Yes.                   19:46:50             14        Q. Okay. So for the folks that          19:48:50
     15         Q. And do you -- what was your         19:46:51     15    were the top prescribers of oxy 15 and          19:48:53
     16   involvement in reviewing those target         19:46:54    16    oxy 30, those could be legitimate doctors.       19:48:56
     17   physician lists?                     19:46:56             17    They could be at the top of the list; is that 19:48:58
     18         A. When we had -- when we were           19:46:57   18    right?                           19:49:01
     19   using the top prescriber list from the IMS     19:47:02   19        A. Correct.                     19:49:01
     20   data, we would vet that against the speakers 19:47:06     20        Q. Or those could be people who            19:49:01
     21   list.                            19:47:13                 21    were operating pill mills. They could also 19:49:03
     22         Q. Okay. And what's the speakers 19:47:13           22    be at the top of the list?              19:49:05
     23   list?                            19:47:18                 23        A. Potentially, yes.               19:49:06
     24         A. Those were speakers that -- and 19:47:18         24        Q. Okay. And did Mallinckrodt              19:49:07
     25   I don't know very much about the program, but 19:47:21    25    have a way of figuring that out?             19:49:11

                                                        Page 527                                                        Page 529
      1 that Mallinckrodt employed to speak on our -- 19:47:23       1          A. When we used that list and the 19:49:12
      2 I don't know -- I don't know the arrangement, 19:47:28       2    review with our distributors of their        19:49:18
      3 but they spoke on behalf of Mallinckrodt for    19:47:30     3    downstream registrants, again, if they        19:49:20
      4 Mallinckrodt products. But I don't want to     19:47:33      4    provided us the names of the top prescribers 19:49:22
      5 reach too far into the brands because --     19:47:34        5    at the pharmacy, and if that coincided with 19:49:26
      6 okay.                                19:47:37                 6   the top prescriber list we had within the     19:49:29
      7       Q. Okay. As long as I understand 19:47:37               7   country, we would have a detailed             19:49:32
      8   your answer.                          19:47:40              8   conversation with the distributor about the 19:49:34
      9       A. Yeah.                         19:47:41               9   fact that that prescriber appeared on the     19:49:37
     10       Q. Okay. And so on -- do you know 19:47:41             10   list.                           19:49:40
     11   on -- if -- when you looked at those top       19:47:44    11         Q. So that they were a top          19:49:40
     12   prescriber lists, did you review those at all 19:47:47     12   prescriber?                         19:49:43
     13   from a suspicious order monitoring             19:47:51    13         A. Yes.                      19:49:43
     14   perspective?                          19:47:53             14         Q. Okay. Okay. And so do you            19:49:44
     15       A. Yes.                         19:47:54               15   know if anyone from Mallinckrodt sales team 19:49:47
     16       Q. Okay. And what did you do for 19:47:56              16   was supposed to report signs of diversion to 19:49:52
     17   that?                             19:47:58                 17   you?                              19:49:58
     18       A. So that is when, in the            19:47:58         18         A. We spoke before about the NAMs, 19:49:58
     19   circumstance we spoke about before, if we         19:48:01 19   the narcotic -- national account managers.      19:50:00
     20   were reviewing a downstream registrant and 19:48:04 20                Q. Yes, ma'am.                  19:50:02
     21   their due diligence with a particular        19:48:10      21         A. We asked them to be our            19:50:03
     22   pharmacy, if the distributor's file contained 19:48:12     22   observers, and if they saw anything at any of 19:50:05
     23   information about the top prescribers at       19:48:18    23   our customers that may appear to be a red       19:50:10
     24   those pharmacies, we would vet that against 19:48:19 24         flag, that they would report to the company. 19:50:11
     25   the list of the top prescribers per IMS.      19:48:22     25         Q. Okay. And was that process the 19:50:13

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      1 same for the sales team on the branded side?           19:50:15        1            Have you seen this list before? 19:53:54
      2       A.      Not to my knowledge.              19:50:18               2       A. No.                          19:53:55
      3       Q.      Okay. Do you know if there was         19:50:21          3       Q. Okay. Do you know of any list 19:53:56
      4 any sort of suspicious order monitoring              19:50:23          4   that was kept of pill mill physicians?        19:53:59
      5 training for the sales team on the branded           19:50:25          5       A. No.                          19:54:04
      6 side?                                19:50:27                          6       Q. Okay. Do you know what DIRJ               19:54:05
      7       A.      I'm not certain.            19:50:27                     7   stands for?                          19:54:08
      8       Q.      Okay. Do you know if you had a         19:50:28          8       A. No.                          19:54:08
      9 counterpart, a suspicious order person, on           19:50:30          9       Q. Okay. Do you have any idea who 19:54:08
     10 the branded side?                           19:50:35                  10   I might ask about this document?              19:54:28
     11       A.      Did not.                  19:50:36                      11       A. Perhaps someone on the branded 19:54:30
     12       Q.      Okay.                     19:50:37                      12   side.                              19:54:32
     13            THE WITNESS: I have a -- I'm             19:50:40          13       Q. Okay. You suspect this has            19:54:33
     14       looking at the questioner's mouth a          19:50:42           14   something to do with branded, perhaps?           19:54:34
     15       lot, and this thing's in my way. Can         19:50:46           15       A. I suspect that, yes.             19:54:36
     16       we scoot it or something? I'm sorry.         19:50:49           16       Q. Okay. Very good then.                19:54:37
     17       It's just helping me understand the          19:50:51           17       A. Okay.                         19:54:39
     18       question.                         19:50:53                      18       Q. Set it aside.                  19:54:39
     19            MS. HERZFELD: That was very                 19:50:54       19            Oh, you know what? Actually if 19:54:48
     20       thoughtful. Thank you.                  19:50:58                20   you'll take it back for one second, it looks 19:54:49
     21            THE WITNESS: Okay.                      19:50:59           21   like they stapled it all together again. I 19:54:51
     22 QUESTIONS BY MS. HERZFELD:                                 19:50:59   22   don't think we have to put it as a separate 19:54:53
     23       Q.      Did Mallinckrodt have a program        19:51:16         23   exhibit.                            19:54:54
     24 or procedure in place to connect problem               19:51:18       24       A. So are we still on 41? Is that 19:54:54
     25 prescribers and problem pharmacies?                  19:51:20         25   correct?                            19:54:56

                                                                  Page 531                                                                Page 533
      1            MR. O'CONNOR: Objection to                19:51:22          1      Q.    We are.                      19:54:57
      2       form.                          19:51:23                          2           If you'll look at the very last    19:54:58
      3            THE WITNESS: Only to the                 19:51:23           3 page for me, if you flip it over one, I'll      19:54:59
      4       extent I previously described. If we         19:51:28            4 represent to you that this list here is the     19:55:03
      5       were talking to a distributor about       19:51:30               5 same list but sorted by Tennessee. It's got        19:55:04
      6       their downstream sales, sales to a        19:51:33               6 the same Bates number.                        19:55:07
      7       downstream registrant, and if their          19:51:34            7           Do any -- looking at that, do       19:55:09
      8       due diligence, the distributor's due      19:51:36               8 any of those names ring a bell to you for any 19:55:13
      9       diligence, files contained a list of     19:51:38                9 suspected pill mill operations in Tennessee?        19:55:18
     10       top prescribers, we would reference           19:51:39          10      A.    No.                       19:55:20
     11       that against our listing of top         19:51:40                11      Q.    Okay. That was my last              19:55:22
     12       prescribers within the country.           19:51:43              12 question. Thank you, ma'am.                     19:55:22
     13            (Mallinckrodt-Harper Exhibit 41         19:52:32           13           (Mallinckrodt-Harper Exhibit 42        19:55:28
     14       marked for identification.)             19:52:34                14      marked for identification.)              19:55:30
     15 QUESTIONS BY MS. HERZFELD:                                 19:52:34   15 QUESTIONS BY MS. HERZFELD:                                19:55:30
     16       Q.      Okay. I'm going to mark this         19:52:34           16      Q.    Okay. Mark this next one as          19:55:30
     17 next one as Exhibit 41. And this is                19:52:35           17 Exhibit 42. It is MNK-T1_00005947296.                   19:55:41
     18 MNK-T1_0007704503. I'm sorry, it's stapled               19:52:39     18           Okay. The file name is "IMS           19:56:02
     19 on the bottom.                            19:52:47                    19 high oxy 30 prescribers in January 2013." I         19:56:06
     20            Take a minute to take a look at      19:53:27              20 will represent to you that we have modified         19:56:11
     21 this list. I'll represent to you that the      19:53:31               21 this list to sort it just by Tennessee. We       19:56:12
     22 path it says is -- the file name is DIRJ and        19:53:33          22 haven't changed the contents of it at all.       19:56:17
     23 pill mill physicians list, 2012, something.         19:53:36          23           Do you recognize this list,         19:56:20
     24 It looks like the date it was last modified         19:53:49          24 ma'am?                                19:56:21
     25 was 1/16/2012.                            19:53:52                    25      A.    No.                       19:56:21

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      1      Q.      Is this the IMS data you were        19:56:24              1 "Prescriber list." The date last modified is 19:59:23
      2 talking about earlier, perhaps, looking for         19:56:26            2 2/1/2016 on the network share.                  19:59:27
      3 physicians?                             19:56:29                        3           Have you seen this list before? 19:59:31
      4           MR. O'CONNOR: Objection to                  19:56:33          4       A. No.                          19:59:32
      5      form.                          19:56:33                            5       Q. Do you have any idea what it            19:59:33
      6           THE WITNESS: It states IMS               19:56:33             6   is?                               19:59:34
      7      data, yes, so, yes.                 19:56:34                       7       A. No.                          19:59:34
      8 QUESTIONS BY MS. HERZFELD:                                 19:56:37     8       Q. Okay. Do you know if it has to 19:59:35
      9      Q.      Okay. Have you seen a chart          19:56:37              9   do with suspicious order monitoring?             19:59:39
     10 like this that you've consulted before?            19:56:39            10       A. No.                          19:59:43
     11      A.      Perhaps.                   19:56:41                       11       Q. Okay. I'm going to note here 19:59:43
     12      Q.      Okay. Do you know if you did,         19:56:47            12   on the page -- let's start with page 3, all 20:00:01
     13 if it would have been on the branded side or          19:56:49         13   the way at the back.                     20:00:05
     14 the generic side?                          19:56:51                    14           The very top it says, "Alan         20:00:07
     15           MR. O'CONNOR: Objection to                  19:56:52         15   Pecorella," and the comments are "arrested on 20:00:11
     16      form.                          19:56:53                           16   8/23/13 on charge of possession of a            20:00:13
     17           THE WITNESS: This would have                 19:56:53        17   Schedule II with intent to distribute.        20:00:16
     18      been the list of -- potentially the       19:56:56                18   State, Tennessee. On target list, Q2013.        20:00:21
     19      list of high prescribers that we were        19:57:01             19   Specialty physician assistant."              20:00:25
     20      cross-referencing. However, I don't           19:57:04            20           Do you see where that's at?         20:00:27
     21      recall that the list was this large or     19:57:07               21       A. Yes.                         20:00:28
     22      this long.                        19:57:09                        22       Q. Okay. And if you keep going             20:00:31
     23 QUESTIONS BY MS. HERZFELD:                                 19:57:09    23   through a bunch of these, it has various        20:00:33
     24      Q.      Okay. So -- okay. Very good.         19:57:10             24   criminal descriptions here.                20:00:37
     25 Moving along.                              19:57:17                    25           You didn't create this?           20:00:42

                                                                   Page 535                                                               Page 537
      1           (Mallinckrodt-Harper Exhibit 43          19:57:18             1      A.    No.                      20:00:42
      2      marked for identification.)               19:57:19                 2      Q.    Did you have someone on your            20:00:43
      3 QUESTIONS BY MS. HERZFELD:                                 19:57:19     3 team create it?                         20:00:44
      4      Q.      Next one is Exhibit 43,           19:57:22                 4      A.    No.                      20:00:45
      5 MNK-T1_0007704471. And the title on this is                19:57:29     5      Q.    Okay. You can set that aside.       20:00:47
      6 "IMS prescribers through January 2013," and               19:57:47      6           (Mallinckrodt-Harper Exhibit 45 20:01:11
      7 we have modified it just to show Tennessee.              19:57:51       7      marked for identification.)           20:01:12
      8           Have you seen a chart like this       19:57:55                8 QUESTIONS BY MS. HERZFELD:                              20:01:12
      9 before, ma'am?                             19:58:20                     9      Q.    Okay. Just a couple more.         20:01:13
     10      A.      A similar chart with the high       19:58:21              10 Okay. I'm going to hand you what we've              20:01:22
     11 prescribers throughout the country is all I         19:58:27           11 marked as Plaintiff's Exhibit 45,            20:01:24
     12 recall seeing.                          19:58:31                       12 MNK_TNSTA02527616. And take a look at that                20:01:35
     13      Q.      Okay. Okay. And if                19:58:32                13 for me, please.                         20:01:38
     14 something's in the network share drive, does           19:58:39        14           I will submit to you that we      20:01:44
     15 that mean it's open to everybody within the           19:58:42         15 took the information provided to us and            20:01:45
     16 suspicious order monitoring team to view?              19:58:44        16 sorted by state, so it's Tennessee only.       20:01:47
     17      A.      Yes.                      19:58:46                        17           Okay. And the title of this      20:02:02
     18      Q.      Okay. So you would have had           19:58:48            18 document is "oxy 15," and then we'll do 30,          20:02:04
     19 access to anything on the share drive?             19:58:49            19 "sold via by month January through                 20:02:08
     20      A.      Yes.                      19:58:52                        20 December 2011." Run -- the run, I am               20:02:11
     21           (Mallinckrodt-Harper Exhibit 44          19:58:57            21 guessing, is report run, 2/15/2012.            20:02:13
     22      marked for identification.)               19:58:57                22           Do you see that?               20:02:16
     23 QUESTIONS BY MS. HERZFELD:                                 19:58:57    23      A.    Yes.                     20:02:17
     24      Q.      Okay. Exhibit 44,                19:58:57                 24      Q.    Okay. So going through this,        20:02:19
     25 MNK-T1_0005947297. The file name on this is                 19:59:07   25 I'm not going to ask you 800 million            20:02:21

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      1   questions, but we've sorted it by Tennessee. 20:02:25          1      Q.     Okay. Thank you. Okay.               20:04:19
      2   So if you will go with me to the very last 20:02:29            2 Moving along.                              20:04:22
      3   page.                             20:02:42                     3            (Mallinckrodt-Harper Exhibit 46 20:04:23
      4       A. Page 17?                      20:02:42                  4      marked for identification.)              20:04:23
      5       Q. Page 17, yes, ma'am.               20:02:43             5 QUESTIONS BY MS. HERZFELD:                                20:04:23
      6       A. All right.                   20:02:43                   6      Q.     Okay. It's a different tab of     20:04:28
      7       Q. All the way down to the very          20:02:45          7 the same Bates number, MNK_TNSTA02527616.                     20:04:29
      8   bottom line that's open, sorting it by state 20:02:46          8 Okay. Same chart but for -- the tab for           20:04:43
      9   and then totaling the totals for 12 months, 20:02:49           9 oxy 30. We've modified this just to              20:04:48
     10   can you please read that number in the         20:02:52       10 Tennessee.                             20:04:50
     11   corner?                            20:02:54                   11            And if you'll flip with me to      20:04:51
     12       A. 4,071,300.                     20:02:54                12 the very last page, if you could read the         20:04:55
     13       Q. Okay. And do you know if those 20:03:00                13 total for me there, ma'am.                   20:05:00
     14   are sales of pills or bottles?           20:03:05             14      A.     12,482,100.                    20:05:02
     15       A. These appear to be chargeback 20:03:12                 15      Q.     Okay. So same question on --          20:05:16
     16   reports --                         20:03:19                   16 for this chargeback sheet for -- I want to        20:05:20
     17       Q. Yes, ma'am.                     20:03:19               17 make sure I understand it.                    20:05:28
     18       A. -- and it would have been            20:03:19          18            So that's 12,482,100 pills of      20:05:29
     19   dosage units.                        20:03:20                 19 oxy 30 that were sent to Tennessee, January            20:05:34
     20       Q. Dosage units?                   20:03:21               20 through December 2011, according to the                20:05:38
     21       A. Yes.                        20:03:22                   21 chargeback data; is that correct, ma'am?           20:05:41
     22       Q. Okay. And what is a dosage             20:03:23        22      A.     Yes.                      20:05:42
     23   units?                            20:03:24                    23      Q.     Okay. Thank you very much.            20:05:43
     24       A. A pill.                     20:03:24                   24 You can set that aside.                     20:05:45
     25       Q. Okay.                        20:03:24                  25            Okay. So if you add those two         20:05:52

                                                             Page 539                                                                  Page 541
      1        A. Or a tablet or a capsule, yes. 20:03:26                1 numbers -- I'll submit that the total, so you 20:05:54
      2        Q. Okay. So when we take the              20:03:29        2 don't have to do the math, is 16,553,400               20:05:56
      3   total number here, 4,071,300, that would be 20:03:30           3 Mallinckrodt oxy 15 and 30-milligram pills               20:06:00
      4   pills of oxy 15 shipped to Tennessee, January 20:03:36         4 that ended up in Tennessee in one year.                20:06:02
      5   through December 2011; is that right?            20:03:41      5            Does that sound correct?            20:06:08
      6        A. So the front of the chart says 20:03:43                6            MR. O'CONNOR: Objection to                  20:06:09
      7   "oxy 15s and 30s."                        20:03:51             7       form.                           20:06:09
      8        Q. Yes, ma'am.                     20:03:53               8            THE WITNESS: Yes, based upon                  20:06:09
      9        A. And I just don't see -- it says 20:03:53               9       these reports you've shown me, yes.             20:06:10
     10   it's on separate tabs, and I don't see --     20:03:54        10 QUESTIONS BY MS. HERZFELD:                                   20:06:12
     11        Q. Yeah. So this one is the sheet 20:03:54               11       Q.      Okay. And oxy 15 and oxy 30             20:06:12
     12   for oxy 15, and I'm going to show you the          20:03:56   12 are not the only oxycodone products that               20:06:16
     13   next one for oxy 30.                      20:03:58            13 Mallinckrodt manufactures; is that right?              20:06:18
     14        A. All right.                   20:03:59                 14       A.      Yes.                     20:06:20
     15        Q. Okay?                         20:03:59                15       Q.      Okay. What other products are           20:06:21
     16        A. Got it.                     20:04:00                  16 there?                                20:06:22
     17        Q. Okay. So I'm going to go back 20:04:00                17       A.      There's oxycodone                20:06:23
     18   and ask my question, just to make sure I         20:04:02     18 acetaminophen --                             20:06:25
     19   round that out.                        20:04:04               19       Q.      Okay.                     20:06:26
     20             So the total here, 4,071,300, 20:04:04              20       A.      -- tablets in various          20:06:26
     21   that would be the number of pills of oxy 15 20:04:08          21 strengths, but I don't know the list of           20:06:30
     22   shipped to Tennessee, January through             20:04:12    22 strengths.                             20:06:31
     23   December of 2011, according to this              20:04:16     23       Q.      Okay. And other than the            20:06:32
     24   chargeback data; is that correct?             20:04:17        24 oxycodone acetaminophen and the two branded                  20:06:35
     25        A. Yes.                        20:04:18                  25 we've discussed, Exalgo and Xartemis, do you                20:06:37

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      1 know any other opioid products that are           20:06:41           1 that in various strengths.                20:08:36
      2   manufactured by Mallinckrodt?                 20:06:42             2       Q. Uh-huh.                       20:08:38
      3        A. I can't be certain. Some of        20:06:44                3       A. Some of the products in our          20:08:40
      4   the drug substances we distribute in an oral 20:06:47              4   line have 5 milligrams of hydrocodone, some 20:08:42
      5   formulation --                        20:06:51                     5   have 7 and a half milligrams of hydrocodone, 20:08:46
      6        Q. Okay.                       20:06:52                       6   and in this case it's referencing         20:08:49
      7        A. -- but I don't know if           20:06:52                  7   10 milligrams of hydrocodone --              20:08:52
      8   oxycodone is one of them.                  20:06:52                8       Q. Okay.                        20:08:53
      9        Q. Okay. But so far as you know, 20:06:54                     9       A. -- per pill mixed -- or with       20:08:53
     10   for oxycodone we've talked about what we          20:06:57        10   acetaminophen contained in the pill as well. 20:08:58
     11   have?                             20:06:59                        11       Q. Okay. And when it says, "W            20:09:00
     12        A. Yes.                       20:06:59                       12   DEA," is that with DEA?                    20:09:03
     13        Q. Okay. So for the oxycodone           20:06:59             13            Do you know what that means?         20:09:06
     14   with acetaminophen, do you know if              20:07:01          14       A. Yes, that's correct.            20:09:06
     15   spreadsheets like that, like we just looked 20:07:02              15       Q. What does that mean?                20:09:07
     16   at, if those exist for the oxycodone with      20:07:04           16       A. With DEA registration.              20:09:07
     17   acetaminophen?                          20:07:07                  17       Q. Oh, with DEA registration.           20:09:08
     18        A. So the chargeback data exists        20:07:08             18   Okay.                             20:09:10
     19   for all products, but the ones we focus on      20:07:10          19            And is the reason that the      20:09:11
     20   are the oxy 15s, the oxy 30s and the hydro       20:07:15         20   hydro APAP 10 S was monitored with reports 20:09:13
     21   10s.                             20:07:20                         21   like this via chargeback data because it was 20:09:20
     22        Q. Okay. So there wouldn't have          20:07:21            22   susceptible to diversion?                20:09:23
     23   been a chargeback report necessarily           20:07:23           23            MR. O'CONNOR: Objection.              20:09:25
     24   regularly run for oxycodone acetaminophen?         20:07:25       24       Form.                         20:09:26
     25        A. Correct.                    20:07:27                      25            THE WITNESS: We were told that 20:09:26

                                                                Page 543                                                                  Page 545
      1      Q.    Okay. And you mentioned the          20:07:27             1       it was a drug of concern based upon         20:09:27
      2 hydrocodone -- I say hydrocodone; you say             20:07:32       2       DEA information, yes.                   20:09:29
      3 hydrocodone.                             20:07:34                    3 QUESTIONS BY MS. HERZFELD:                                 20:09:30
      4      A.    That's all right.             20:07:35                    4       Q.    Okay. Thank you.                  20:09:31
      5      Q.    I apologize for that.          20:07:35                   5            Okay. So looking at this           20:09:33
      6           You mentioned the hydrocodone             20:07:37         6 report, I want to make sure that I understand 20:09:35
      7 10-milligram, you ran chargeback datas for            20:07:39       7 this correctly. And you've already answered             20:09:39
      8 those two; is that correct?                20:07:41                  8 a lot of my questions, so that's great.         20:09:41
      9      A.    Yes.                    20:07:45                          9            Okay. If you'll go with the        20:09:43
     10           (Mallinckrodt-Harper Exhibit 47      20:07:46             10 total to this one on the very last page, that 20:09:45
     11      marked for identification.)            20:07:47                11 total there reads -- is that -- could you       20:09:50
     12 QUESTIONS BY MS. HERZFELD:                               20:07:47   12 read it for me, please?                      20:09:53
     13      Q.    Okay. I marked this one as         20:07:53              13       A.    78,184,600.                  20:09:54
     14 Exhibit 47. Okay. And this is                20:07:54               14       Q.    Okay. And so that would be           20:10:00
     15 MNK_TNSTA02527625.                              20:08:06            15 10-milligram hydrocodone -- hydrocodone APAP                20:10:03
     16           If you look at the file name      20:08:13                16 pills sold in Tennessee from January 2012 to            20:10:06
     17 here, it says "Hydro APAP 10 shipped to and            20:08:15     17 December 2012; is that correct? That's what             20:10:11
     18 sold via W DEA by month, January 2012 through 20:08:20 18 this shows?                                         20:10:15
     19 December 2012, all APAP."                      20:08:27             19       A.    The date at the top says '13.      20:10:16
     20           Do you know what any of that         20:08:28             20 Year 2013.                             20:10:21
     21 means?                              20:08:30                        21       Q.    Well, I think that's the date,     20:10:21
     22      A.    Yes.                    20:08:30                         22 not -- oh, where do you see?                   20:10:22
     23      Q.    Could you explain it to me,        20:08:31              23       A.    Here.                     20:10:24
     24 please?                            20:08:32                         24       Q.    Oh, it sure does. Maybe it's       20:10:27
     25      A.    So hydrocodone APAP, we sell             20:08:32        25 mislabeled.                            20:10:29

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      1            Okay. So 2013. Make sure I've 20:10:30              1             A.       VA and other government              20:12:41
      2   got the right chart.                   20:10:33              2         entities.                             20:12:44
      3            Well, it sure does say 2013.       20:10:46         3             Q.       Okay. And do you know what               20:12:45
      4   Okay. So I'm going to modify my question.          20:10:49  4         year she left?                            20:12:50
      5            So that total there -- okay.     20:10:50           5             A.       Within the past two years.         20:12:51
      6   So that total there, 78,184,600, that is      20:10:59       6             Q.       Okay. Do you know if someone              20:12:53
      7   hydro APAP pills sold in Tennessee during the 20:11:06 7               has replaced her?                           20:12:54
      8   calendar year 2013. Is that correct,          20:11:10       8             A.       Yes.                     20:12:55
      9   according to this chart?                  20:11:11           9             Q.       Do you know who it is?              20:12:56
     10       A. Those with 10 milligrams of             20:11:12     10             A.       I -- there are several new       20:12:57
     11   hydrocodone, yes.                        20:11:14           11         national account managers. I barely know                20:13:00
     12       Q. Okay. Thank you.                    20:11:15         12         their names, and I don't know their               20:13:05
     13            Do you know why that number is 20:11:21            13         territories.                          20:13:06
     14   so large?                           20:11:25                14             Q.       Okay. Do you know what 867               20:13:07
     15       A. I don't have enough information 20:11:26             15         data is?                              20:13:11
     16   to determine whether this is a large number. 20:11:33       16             A.       I've heard the term, yes.        20:13:11
     17       Q. Okay. Do you know how -- what 20:11:37               17             Q.       Okay. Do you know what it is?           20:13:13
     18   the average was of 10-milligram hydrocodone 20:11:40 18                    A.       It has to do with chargebacks,      20:13:14
     19   pills being shipped to a state?             20:11:42        19         but other than that, it's -- I don't know.       20:13:19
     20       A. No.                          20:11:44                20                     (Mallinckrodt-Harper Exhibit 48          20:14:15
     21       Q. Okay. Do you know anything               20:11:47    21             marked for identification.)               20:14:16
     22   about a Veterans Administration hospital in 20:11:48        22         QUESTIONS BY MS. HERZFELD:                                  20:14:16
     23   Tennessee getting shipments of hydrocodone? 20:11:52 23                    Q.       Okay. I'll show you what we'll       20:14:10
     24            MR. O'CONNOR: Objection to              20:11:54   24         mark as Plaintiff's Exhibit 48.                20:14:14
     25       form.                          20:11:55                 25         Mallinckrodt -- sorry, it's                  20:14:20

                                                               Page 547                                                                    Page 549
      1            THE WITNESS: Not specifically,        20:11:55            1 MNK-T1_0007717730.                                  20:14:23
      2      no.                          20:11:56                           2               Take a look at this. My           20:14:31
      3 QUESTIONS BY MS. HERZFELD:                               20:11:56    3 question here is actually pretty simple if             20:14:41
      4      Q.     Okay. Do you know if the VA         20:11:57             4 you'll just take a look at it.                 20:14:44
      5 has a warehouse in Tennessee for medication?           20:12:05      5       A.       All right.                  20:14:45
      6      A.     I do not know.                20:12:07                   6       Q.       Does this also appear to be a       20:14:47
      7      Q.     Okay. Have you dealt with the      20:12:08              7 chart of hydro APAP 10s sold for the calendar 20:14:48
      8 VA, Veterans Administration, at all in          20:12:12             8 year 2015 to the state of Tennessee?                   20:14:51
      9 supplying their medication?                  20:12:15                9       A.       Yes.                     20:14:53
     10      A.     I know we supply the VA, but        20:12:16            10       Q.       Okay. That's my only question.          20:14:54
     11 I've not had any conversations with the VA.          20:12:18       11               Okay. And you could place any            20:14:55
     12      Q.     Okay. Was there a specific        20:12:21              12 pharmacy on the chargeback data restrictions              20:15:27
     13 person at Mallinckrodt whose job it would            20:12:23       13 list; is that right?                        20:15:29
     14 have been to deal with the VA?                 20:12:24             14               MR. O'CONNOR: Objection to                20:15:33
     15      A.     Yes.                   20:12:26                         15       form.                             20:15:34
     16      Q.     Who would that have been?          20:12:27             16               THE WITNESS: Provided it was a             20:15:34
     17      A.     So she's no longer with the      20:12:28               17       pharmacy that purchased through a                20:15:37
     18 company.                             20:12:30                       18       distributor who applied for a              20:15:39
     19      Q.     Okay.                   20:12:31                        19       chargeback reimbursement, yes. Yes.               20:15:41
     20      A.     Her name is Trudy Nicholson.        20:12:32            20 QUESTIONS BY MS. HERZFELD:                                    20:15:43
     21      Q.     Okay. And what was Trudy            20:12:34            21       Q.       Okay. And you didn't -- you          20:15:44
     22 Nicholson's position?                      20:12:36                 22 weren't required to fill any orders that            20:15:45
     23      A.     National account manager.         20:12:37              23 seemed suspicious?                             20:15:49
     24      Q.     Okay. And do you know what her           20:12:38       24       A.       Correct.                     20:15:49
     25 area was?                           20:12:40                        25       Q.       Okay. And were you involved at           20:15:50

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      1 all in the review of the distributors top 40          20:15:56           1       Q. Okay. And you recognize it as 20:18:26
      2 pharmacies that began somewhere around                    20:15:58       2   your handwriting?                        20:18:27
      3 October of 2011?                             20:16:00                    3       A. Yes.                         20:18:27
      4           MR. O'CONNOR: Objection to                   20:16:02          4       Q. Okay. Great.                    20:18:28
      5      form.                             20:16:02                          5             And it looks like yet again we 20:18:29
      6           THE WITNESS: Yes.                       20:16:02               6   have added another document to the back of 20:18:34
      7 QUESTIONS BY MS. HERZFELD:                                   20:16:03    7   this, if you'll bear with me for just one     20:18:36
      8      Q.      Okay. And that was --              20:16:03                 8   second.                             20:18:39
      9 Mallinckrodt reviewed the top 20 pharmacies               20:16:05       9       A. Oh -- oh.                      20:18:39
     10 in Florida and the top 20 pharmacies outside             20:16:07       10       Q. Yeah, it looks like it got         20:18:44
     11 of Florida; is that correct?                  20:16:11                  11   copied on the second back, so we're going to 20:18:45
     12      A.      Yes.                      20:16:12                         12   ignore those pharmacy information sheets for 20:18:48
     13      Q.      Okay. And some of those              20:16:13              13   a minute, okay? My apologies.                 20:18:50
     14 pharmacies that were on the 20 list outside             20:16:16        14       A. All right.                    20:18:53
     15 of Florida were in Tennessee; is that right?           20:16:18         15       Q. Okay. So let's just look at         20:18:53
     16      A.      I don't -- I don't have the       20:16:20                 16   this document as it is.                 20:18:55
     17 list in front of me, but I don't dispute          20:16:24              17       A. Which page, please?                 20:18:56
     18 that.                                20:16:26                           18       Q. The first page.                 20:18:57
     19      Q.      Okay. And which distributors             20:16:27          19       A. This first page? Okay. Yes. 20:18:57
     20 did you review?                              20:16:35                   20   Got it.                            20:18:59
     21           You were involved with the              20:16:36              21       Q. Yes, the one that ends 2727.          20:18:59
     22 Cardinal review?                             20:16:37                   22       A. Got it.                      20:19:02
     23      A.      Yes.                      20:16:37                         23       Q. Is this the Cardinal top 40         20:19:02
     24      Q.      Okay. And if I understand            20:16:40              24   oxy 30 pharmacies as of March 2012?              20:19:04
     25 things correctly, one of the things that was           20:16:43         25             MS. FIX MEYER: Objection.            20:19:09

                                                                   Page 551                                                               Page 553
      1 asked of the distributors was to have them              20:16:50         1      Form. Foundation.                   20:19:10
      2 fill out a pharmacy information sheet; is              20:16:52          2           MS. HERZFELD: I'm going to            20:19:12
      3 that correct?                              20:16:55                      3      object to your objection because         20:19:12
      4      A.      Yes. Yes.                     20:16:55                      4      you're not a party in our case.        20:19:13
      5      Q.      Okay. And were you involved in            20:16:56          5           MS. FIX MEYER: Okay.                20:19:15
      6 helping to develop those pharmacy information 20:16:58                   6           THE WITNESS: Yes.                  20:19:16
      7 sheets?                                20:17:01                          7 QUESTIONS BY MS. HERZFELD:                              20:19:19
      8      A.      Yes.                      20:17:01                          8      Q.   Okay? And do you see Tennessee           20:19:20
      9      Q.      Okay. And who else was               20:17:03               9 pharmacies on this list?                 20:19:21
     10 involved in that?                           20:17:05                    10      A.   Yes.                     20:19:22
     11      A.      It was a team effort by           20:17:05                 11      Q.   Okay. And which pharmacies do            20:19:23
     12 suspicious order monitoring team members at               20:17:10      12 you see that are located in Tennessee on this 20:19:26
     13 that time.                             20:17:12                         13 list?                            20:19:28
     14      Q.      Okay. Okay. I think we'll go         20:17:12              14      A.   I see Riggs Drug.              20:19:28
     15 back in our questioning just a little bit         20:17:44              15      Q.   Yes, ma'am.                   20:19:31
     16 here.                                20:17:48                           16      A.   And, oh, Riggs Drug again.          20:19:32
     17           (Mallinckrodt-Harper Exhibit 49             20:17:55          17      Q.   Yes, ma'am.                   20:19:38
     18      marked for identification.)               20:17:56                 18      A.   And Kinser drugstore.             20:19:39
     19 QUESTIONS BY MS. HERZFELD:                                   20:17:56   19      Q.   Okay. And do you know what            20:19:41
     20      Q.      Mark this one as Plaintiff's       20:17:56                20 that shaded area, pharmacy 90-day review from 20:19:42
     21 Exhibit 49. This one is labeled                  20:18:00               21 previous meeting, means?                    20:19:46
     22 MNK-T1_0004592727.                                20:18:15              22      A.   Yes.                     20:19:47
     23           Is this your handwriting,            20:18:17                 23      Q.   What does it mean?              20:19:48
     24 ma'am?                                  20:18:23                        24      A.   It means we had previously          20:19:49
     25      A.      Yes.                      20:18:23                         25 spoken to the distributor about these         20:19:54

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      1 pharmacies, and they were doing additional            20:19:57       1 this. This is the one that ends 59731.           20:21:40
      2 review or performing due diligence or -- to        20:20:02          2              Do you see that list?         20:21:47
      3 some extent, and that we were going to             20:20:06          3        A. 592731?                        20:21:48
      4 revisit these pharmacies on our next             20:20:08            4        Q. Yes, ma'am.                     20:21:55
      5 quarterly review.                       20:20:10                     5        A. Yes.                         20:21:55
      6           MS. FIX MEYER: Objection.               20:20:11           6        Q. Okay. And so this is Cardinal 20:21:56
      7      Form. Foundation.                     20:20:12                  7   oxycodone 30 multi-distributor pharmacies as 20:21:58
      8           MS. HERZFELD: Same objection.             20:20:13         8   of March 2012.                          20:22:02
      9 QUESTIONS BY MS. HERZFELD:                               20:20:14    9              Did I read that correctly?      20:22:04
     10      Q.    Pharmacies to be reviewed in          20:20:14           10        A. Yes.                         20:22:06
     11 quarter 3 CY '12 is that bottom group.            20:20:16          11        Q. Okay. And is that your              20:22:08
     12           What does that mean?              20:20:21                12   handwriting to the right?                  20:22:09
     13           MS. FIX MEYER: Objection.               20:20:24          13        A. Yes.                         20:22:10
     14      Form. Foundation.                     20:20:25                 14        Q. And what does that say?              20:22:11
     15           MS. HERZFELD: Same objection.             20:20:25        15        A. It says, "Rock 3 CAH," which is 20:22:12
     16           I'm just going to have a         20:20:26                 16   the abbreviation for Cardinal Health,           20:22:20
     17      standing objection to any objections        20:20:27           17   "terminated December 2, 2011."                  20:22:23
     18      from Cardinal's counsel. Cardinal has        20:20:29          18        Q. Okay. And then underneath              20:22:25
     19      not cross-noticed us in this           20:20:31                19   that?                               20:22:27
     20      deposition, nor is Cardinal part of        20:20:34            20        A. "Bellco picked them up."             20:22:27
     21      our case. So our objection is          20:20:36                21        Q. Okay. Do you know what any of 20:22:30
     22      Cardinal doesn't have standing to          20:20:39            22   that means?                            20:22:31
     23      object.                         20:20:40                       23        A. No.                          20:22:32
     24 QUESTIONS BY MS. HERZFELD:                               20:20:41   24        Q. Okay. And then looking at this 20:22:33
     25      Q.    You can go ahead.               20:20:41                 25   list, it looks like there are one, two on     20:22:35

                                                          Page 555                                                                    Page 557
      1       A. So it means what it says.          20:20:42                 1 this list that are in Tennessee.            20:22:40
      2   These were the pharmacies that we would          20:20:45          2           Do you see that?               20:22:41
      3   discuss with Cardinal at that particular next 20:20:48             3      A.    Just a moment, please.           20:22:42
      4   meeting.                           20:20:52                        4      Q.    Yeah, sure.                  20:22:44
      5       Q. Okay. And what does your              20:20:53              5      A.    Yes.                     20:22:45
      6   handwriting here say?                    20:20:56                  6      Q.    Okay. And those are Riggs in        20:22:47
      7       A. It says, "Riggs not related." 20:20:57                      7 La Follette, Tennessee, and Riggs Drug in           20:22:50
      8       Q. Okay. And what does that mean? 20:20:59                     8 Powell, Tennessee; is that right?             20:22:53
      9       A. I do not know.                  20:21:01                    9      A.    Yes.                     20:22:54
     10       Q. Okay. And then what does your 20:21:04                     10      Q.    And so they've been identified      20:22:54
     11   handwriting down below say?                  20:21:05             11 as getting oxycodone 30 from multi --              20:22:56
     12       A. "Cardinal owns SPS, Specialty 20:21:07                     12 multiple distributors; is that right?        20:22:59
     13   Pharmacy Services."                      20:21:12                 13      A.    Yes.                     20:23:02
     14       Q. Okay. And what does that mean? 20:21:12                    14      Q.    Okay. And so looking at the         20:23:02
     15       A. I don't know.                  20:21:14                    15 Riggs Drug, the first one in La Follette,       20:23:04
     16       Q. Okay. Do you know what                20:21:14             16 according to this chart it says they were       20:23:07
     17   Specialty Pharmacy Services is?              20:21:17             17 receiving oxycodone 30 from Cardinal and             20:23:09
     18       A. No.                        20:21:18                        18 Masters.                            20:23:11
     19       Q. Okay. And flip with me to the 20:21:19                     19           MS. FIX MEYER: Objection.             20:23:13
     20   next page.                          20:21:27                      20      Form.                          20:23:13
     21            Is that your handwriting on      20:21:28                21 QUESTIONS BY MS. HERZFELD:                               20:23:13
     22   this document as well?                   20:21:29                 22      Q.    Do you see that?               20:23:14
     23       A. Yes.                        20:21:30                       23           MS. HERZFELD: Standing                20:23:14
     24       Q. Okay. Then we'll keep flipping 20:21:36                    24      objection.                     20:23:15
     25   to the next one, the one that looks like     20:21:38             25           THE WITNESS: Yes.                  20:23:16

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      1 QUESTIONS BY MS. HERZFELD:                             20:23:16    1 QUESTIONS BY MS. HERZFELD:                               20:25:13
      2      Q.    And then Riggs Drug in Powell,        20:23:17          2      Q.    Can you take a look at it for     20:25:13
      3 Tennessee, it says they were receiving           20:23:21          3 me, please?                           20:25:14
      4 oxycodone 30 from Cardinal, Masters and              20:23:23      4           My first question on these is      20:25:20
      5 HD Smith Wholesale.                         20:23:26               5 pretty simple. Is this your handwriting?         20:25:21
      6           MS. FIX MEYER: Same objection.           20:23:28        6      A.    Yes.                      20:25:23
      7           MS. HERZFELD: Same objection.            20:23:29        7      Q.    Okay. And when -- do you             20:25:23
      8 QUESTIONS BY MS. HERZFELD:                             20:23:31    8 recognize these to be pharmacy information            20:25:28
      9      Q.    Am I reading that correctly?       20:23:31             9 sheets?                              20:25:30
     10      A.    Yes.                     20:23:32                      10      A.    Yes.                      20:25:30
     11      Q.    Okay. And was this report run        20:23:32          11      Q.    And these are all pharmacy           20:25:30
     12 every year?                          20:23:40                     12 information sheets for Riggs pharmacy?               20:25:32
     13      A.    I'm not certain of the         20:23:41                13      A.    Yes.                      20:25:34
     14 frequency.                           20:23:42                     14      Q.    Okay. Riggs --                 20:25:37
     15      Q.    Okay. Okay. Then the next           20:23:43           15      A.    Except the back --              20:25:37
     16 one, unfortunately, is really supposed to be      20:23:48        16      Q.    Okay.                      20:25:38
     17 another exhibit.                      20:23:49                    17      A.    -- is some other chart.         20:25:39
     18           MS. HERZFELD: Should we just            20:23:52        18      Q.    Yeah, ignore that.              20:25:40
     19      mark it separate? Let's just mark it     20:23:53            19      A.    Okay.                      20:25:41
     20      separate.                      20:23:56                      20      Q.    Okay. So that would be Riggs          20:25:42
     21           (Mallinckrodt-Harper Exhibit 50       20:23:56          21 pharmacy in La Follette, Riggs pharmacy in            20:25:44
     22      marked for identification.)            20:23:56              22 Jacksboro and Riggs pharmacy in Powell,               20:25:48
     23           MS. HERZFELD: Keep that.              20:23:56          23 Tennessee; is that right?                  20:25:51
     24      Okay, you can put that one to the         20:23:56           24      A.    Yes.                      20:25:52
     25      side. Then what we'll do is make this      20:24:20          25      Q.    Okay. And looking at this,         20:25:53

                                                           Page 559                                                              Page 561
      1      the next exhibit. Okay?                20:24:22               1 you've got your handwritten notes. It goes         20:25:55
      2           Okay. So the next exhibit is 20:24:23                    2   through, it looks like, portions of the      20:25:57
      3      50. Mark this one as Exhibit 50.          20:24:25            3   pharmacy information sheet.                  20:25:59
      4           MR. O'CONNOR: Just to be               20:24:32          4            Where did you get this          20:26:00
      5      clear, what's the Bates number on the 20:24:33                5   information?                          20:26:02
      6      exhibit you're marking right now?          20:24:35           6        A. In a conversation with a           20:26:06
      7           MS. HERZFELD: I'm going to              20:24:36         7   wholesaler. It's not identified here.       20:26:09
      8      tell you. It's MNK-T1_0004592758 and 20:24:37                 8        Q. Okay. And you would agree with 20:26:12
      9      2756 and 2754 of this collective          20:24:49            9   me in those three pages of your handwritten 20:26:14
     10      exhibit.                        20:24:53                     10   notes about the various Riggs that not every 20:26:16
     11           MR. O'CONNOR: Just observe              20:24:53        11   section of your pharmacy information sheet is 20:26:21
     12      that it appears to skip Bates numbers, 20:24:55              12   filled out; is that correct?            20:26:24
     13      which suggests there might be pages          20:24:59        13        A. Correct.                     20:26:24
     14      missing from this document.              20:24:59            14        Q. Okay. And did Mallinckrodt, to 20:26:26
     15           MS. HERZFELD: It does, and I 20:25:00                   15   your knowledge, ever do any site visits at 20:26:29
     16      don't know why that is, but we'll just 20:25:02              16   any of these three Riggs pharmacies?            20:26:32
     17      move along.                        20:25:03                  17        A. Not to my knowledge.                20:26:34
     18           MR. O'CONNOR: Well, I would              20:25:04       18        Q. Okay. And do you have any             20:26:34
     19      just object to the extent this isn't a 20:25:04              19   recollection of any conversations about the 20:26:35
     20      document that's --                   20:25:06                20   Riggs pharmacies at all?                  20:26:37
     21           MS. HERZFELD: Yeah, objection 20:25:07                  21        A. This pharmacy information sheet 20:26:40
     22      noted.                          20:25:08                     22   would have been the product of a discussion. 20:26:42
     23           MR. O'CONNOR: As it's                20:25:08           23        Q. Okay. Other than what's             20:26:45
     24      maintained.                       20:25:11                   24   written down in your handwritten notes on         20:26:47
     25                                                                   25   these pharmacy information sheets, do you          20:26:50

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      1 recall anything about those Riggs pharmacies? 20:26:52                1      A.      Yes.                        20:28:57
      2       A.    No.                      20:26:54                         2      Q.      Okay. Riggs Medical Center.             20:28:58
      3       Q.    Okay.                     20:26:55                        3 Do you know if a Riggs Medical Center exists? 20:29:03
      4            (Mallinckrodt-Harper Exhibit 51       20:27:22             4      A.      I do not.                   20:29:05
      5       marked for identification.)           20:27:23                  5      Q.      Okay. Did you do anything to            20:29:06
      6 QUESTIONS BY MS. HERZFELD:                                20:27:23    6 verify whether a Riggs Medical Center exists? 20:29:08
      7       Q.    Okay. I'm going to hand you         20:27:23              7      A.      No.                     20:29:11
      8 what we'll mark as Exhibit 51,                 20:27:26               8      Q.      Okay. What about St. Mary's             20:29:12
      9 MNK_TNSTA05350336.                                20:27:36            9 Hospital? It says, "near Riggs Medical                20:29:15
     10            Okay. Do you recognize this         20:27:43              10 Center and St. Mary's Hospital."                    20:29:18
     11 document?                              20:27:46                      11           Do you know how near this             20:29:19
     12       A.    Yes.                     20:27:46                        12 pharmacy was to St. Mary's Hospital?                  20:29:21
     13       Q.    Okay. What does it appear to        20:27:47             13           MR. O'CONNOR: Objection to                  20:29:24
     14 be?                                 20:27:49                         14      form.                           20:29:24
     15       A.    Pharmacy information sheet on         20:27:49           15           THE WITNESS: No.                      20:29:24
     16 Riggs Drug again.                         20:27:54                   16 QUESTIONS BY MS. HERZFELD:                                 20:29:29
     17       Q.    Okay. And this is the Riggs         20:27:54             17      Q.      Okay. Do you know where La               20:29:29
     18 Drug in La Follette, Tennessee; is that          20:27:56            18 Follette, Tennessee, is?                     20:29:32
     19 right?                              20:27:59                         19      A.      No.                     20:29:32
     20       A.    Yes.                     20:27:59                        20      Q.      Do you know where St. Mary's             20:29:33
     21       Q.    Okay. And that's date           20:27:59                 21 Hospital is?                              20:29:34
     22 10/12/11?                             20:28:02                       22      A.      No.                     20:29:34
     23       A.    Yes.                     20:28:02                        23      Q.      If St. Mary's Hospital is        20:29:35
     24       Q.    Okay. And if you'll look down        20:28:03            24 45 miles away in Knoxville from La Follette,             20:29:43
     25 here at the notes, it says, "Other notes:       20:28:04             25 is that information you would have wanted to             20:29:47

                                                               Page 563                                                                   Page 565
      1 Explanation of 800 RX total per day. PIC              20:28:06        1 have known?                                20:29:49
      2 said increases due to physicians switching           20:28:11         2           MR. O'CONNOR: Objection to                  20:29:49
      3 from hydrocodone APAP mix due to liver                 20:28:13       3      form.                           20:29:49
      4 concerns."                           20:28:17              4                      THE WITNESS: It's a piece of               20:29:54
      5            Do you know where that          20:28:18        5                 information, but I don't know how many             20:29:55
      6   information was obtained?                20:28:19        6                 other medical centers, how many other             20:29:57
      7       A. I do not know.                20:28:20            7                 pharmacies, were within that 45 miles.           20:29:59
      8            Well, the information would      20:28:25       8                 So it would have been an additional             20:30:03
      9   have been provided by Cardinal Health.         20:28:28  9                 piece of information, but not             20:30:05
     10       Q. Okay. And did you do anything 20:28:30           10                 conclusive.                          20:30:07
     11   to verify the information provided to you by 20:28:32   11              QUESTIONS BY MS. HERZFELD:                               20:30:07
     12   Cardinal Health?                     20:28:34           12                 Q.      Okay. But that's information           20:30:08
     13       A. No.                       20:28:35               13              you would have liked to have had in                 20:30:09
     14       Q. Okay. And did anyone in             20:28:37     14              evaluating this pharmacy?                    20:30:11
     15   Mallinckrodt, to your knowledge, do anything 20:28:39 15                        MR. O'CONNOR: Objection to                  20:30:12
     16   to verify the information provided by        20:28:40   16                 form.                           20:30:13
     17   Cardinal Health?                     20:28:42           17                      THE WITNESS: We -- it wasn't                20:30:13
     18       A. No.                       20:28:42               18                 always provided to us, the proximity            20:30:17
     19       Q. Okay. Okay. So then the next 20:28:44            19                 of the pharmacy to a hospital, so we            20:30:19
     20   sentence says, "Near Riggs Medical Center and 20:28:46 20                  took this information as Cardinal              20:30:22
     21   St. Mary's Hospital."                 20:28:49          21                 represented it to us.                 20:30:25
     22            Do you see where it says that? 20:28:52        22              QUESTIONS BY MS. HERZFELD:                               20:30:27
     23       A. Yes.                      20:28:54               23                 Q.      When you hear "near Riggs              20:30:28
     24       Q. Okay. You obtained that            20:28:54      24              Medical Center and St. Mary's Hospital,"             20:30:33
     25   information from Cardinal Health?            20:28:55   25              would you consider near to be 45 miles away?            20:30:35

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                                                                 Page 566                                                          Page 568
      1            MR. O'CONNOR: Objection to                 20:30:37         1 list," what does that mean?                20:32:13
      2      form.                           20:30:38                          2       A. Well, I'd like to clarify the 20:32:15
      3            THE WITNESS: I don't know La               20:30:38         3   previous information.                   20:32:17
      4      Follette, Tennessee, to know if -- in       20:30:41              4       Q. Yes, ma'am.                    20:32:18
      5      Missouri, some of the health care           20:30:44              5       A. I don't know who filled this        20:32:19
      6      centers are hundreds of miles away           20:30:45             6   out.                            20:32:19
      7      from where a patient may live and the         20:30:48            7       Q. Okay.                       20:32:19
      8      pharmacy from which they may obtain               20:30:52        8       A. I don't know if it was us or       20:32:20
      9      their prescriptions, so I don't have       20:30:54               9   Cardinal --                        20:32:20
     10      enough information to answer.               20:30:57             10       Q. Okay.                       20:32:20
     11 QUESTIONS BY MS. HERZFELD:                                 20:30:58   11       A. -- because Cardinal was a great 20:32:21
     12      Q.      Okay. But you didn't do          20:30:58                12   collaborative partner. And so as time went 20:32:23
     13 anything to check that out, did you?              20:30:59            13   on, as opposed to us writing these things in 20:32:26
     14      A.      No.                      20:31:00                        14   hand, Cardinal would come prepared to           20:32:28
     15      Q.      Okay. And then it says,          20:31:02                15   conversations or meetings or tell -- or      20:32:30
     16 "Another Riggs drugstore is located in             20:31:03           16   transmit these pharmacy information sheets to 20:32:32
     17 Powell, Tennessee, with oxy 30 milligram               20:31:06       17   us.                            20:32:35
     18 year-to-date of approximately 170,000."               20:31:09        18       Q. Okay.                       20:32:35
     19            Do you see that?                20:31:13                   19       A. So I don't know who typed this 20:32:36
     20      A.      Yes.                     20:31:13                        20   disposition.                       20:32:42
     21      Q.      Okay. Did that concern you at       20:31:16             21       Q. Okay. Do you know if Riggs was 20:32:43
     22 all, that there was another Riggs pharmacy so 20:31:18                22   ever put on a chargeback list?            20:32:44
     23 close with that number?                      20:31:21                 23       A. I -- yes.                  20:32:46
     24            MR. O'CONNOR: Objection to                 20:31:24        24       Q. Why don't we look at the list. 20:32:49
     25      form.                           20:31:25                         25       A. All right.                  20:32:51

                                                                 Page 567                                                                 Page 569
      1            THE WITNESS: I don't see on            20:31:25             1      Q.      I'll find it.             20:32:51
      2      this pharmacy information sheet a            20:31:28             2            Would Cardinal have had the             20:32:53
      3      disposition in terms of whether we           20:31:30             3 ability to tell Mallinckrodt what to put on         20:32:55
      4      restricted chargebacks to the sale         20:31:35               4 or take off of a chargeback list?              20:32:57
      5      of -- of pharmaceuticals to any of          20:31:39              5            MS. FIX MEYER: Objection.                20:32:59
      6      these Riggs Drug's facilities.           20:31:40                 6      Form.                             20:33:00
      7            I can tell you it was a topic     20:31:43                  7            MR. O'CONNOR: Objection to                20:33:00
      8      of conversation with Cardinal, but I        20:31:45              8      form.                             20:33:01
      9      don't know the disposition.              20:31:46                 9            MS. HERZFELD: Same objection.               20:33:01
     10 QUESTIONS BY MS. HERZFELD:                                 20:31:47   10 QUESTIONS BY MS. HERZFELD:                                   20:33:06
     11      Q.      Okay. If you look down at the       20:31:48             11      Q.      Did Cardinal have that ability?       20:33:06
     12 bottom there, it says, "Result, take off list 20:31:49                12      A.      They had -- no, not the         20:33:08
     13 and honor chargebacks. Requested site visit            20:31:51       13 ability.                            20:33:13
     14 with 90 days. Low CS percentage is                 20:31:54           14      Q.      Okay. Would they make                 20:33:13
     15 mitigating factor."                        20:31:57                   15 recommendations?                             20:33:15
     16            Do you see that?                20:31:58                   16      A.      Yes.                      20:33:15
     17      A.      Yes.                     20:31:59                        17      Q.      Okay. And would you follow the          20:33:17
     18      Q.      Okay. And so that would be the       20:31:59            18 recommendations?                             20:33:19
     19 result from the Mallinckrodt side; is that        20:32:02            19      A.      Yes.                      20:33:19
     20 correct?                              20:32:04                        20      Q.      Would you do any independent            20:33:20
     21            MR. O'CONNOR: Objection to                 20:32:04        21 research to verify their recommendations?             20:33:25
     22      form.                           20:32:05                         22      A.      I don't -- it would have been        20:33:27
     23            THE WITNESS: Yes.                    20:32:05              23 situational.                            20:33:33
     24 QUESTIONS BY MS. HERZFELD:                                 20:32:09   24      Q.      Okay. I'm going to show you           20:33:35
     25      Q.      Okay. When it says "take off        20:32:09             25 Exhibit 36, which is the chargeback list, and 20:33:38


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      1 please let me know if you see Riggs on there, 20:33:42               1 that's Max Pharmacy; is that right?               20:36:44
      2 please.                            20:33:44                          2      A.    Yes.                     20:36:47
      3      A.      I do not.              20:33:44                         3      Q.    Do you know where that's               20:36:47
      4      Q.      Okay. So if Riggs was ever        20:33:47              4 located?                               20:36:48
      5 placed on a chargeback list on                20:33:49               5      A.    No.                      20:36:48
      6 Mallinckrodt -- by Mallinckrodt, it should        20:33:51           6      Q.    Okay. And then Kinser drug             20:36:49
      7 appear on the chargeback list; is that         20:33:52              7 store.                             20:36:54
      8 correct?                            20:33:54                         8           Do you see that?                20:36:54
      9            MR. O'CONNOR: Objection to            20:33:54            9      A.    Yes.                     20:36:55
     10      form.                         20:33:55                         10      Q.    Okay. And is Kinser drug store          20:36:55
     11            THE WITNESS: Yes.                  20:33:55              11 listed in Tennessee?                      20:36:57
     12 QUESTIONS BY MS. HERZFELD:                               20:33:58   12      A.    I know the name came up within           20:36:59
     13      Q.      Okay. Okay. You can set that      20:33:58             13 the course of this deposition. I'm getting         20:37:00
     14 aside.                             20:34:07                         14 so muddled, I don't know. I'm sorry.               20:37:02
     15            (Mallinckrodt-Harper Exhibit 52      20:34:57            15      Q.    That's fine. Okay. And I          20:37:04
     16      marked for identification.)            20:34:57                16 think those are my only questions on that           20:37:06
     17 QUESTIONS BY MS. HERZFELD:                               20:34:57   17 document.                               20:37:07
     18      Q.      I'm going to show what we'll      20:34:58             18      A.    Okay.                       20:37:08
     19 mark as Exhibit 51? 2?                      20:35:00                19      Q.    Let's put it aside.           20:37:08
     20            MR. O'CONNOR: It's 52.              20:35:03             20           Okay. We'll just go through         20:38:39
     21            MS. HERZFELD: 52? Thank you.            20:35:06         21 these next three pretty quickly.              20:38:42
     22 QUESTIONS BY MS. HERZFELD:                               20:35:06   22           (Mallinckrodt-Harper Exhibit 53         20:38:44
     23      Q.      This is MNK_TNSTA05353270.             20:35:14        23      marked for identification.)            20:38:44
     24 Take a look at that for me, please, ma'am.       20:35:26           24 QUESTIONS BY MS. HERZFELD:                               20:38:44
     25            Do you recognize this as the      20:35:45               25      Q.    Number 53, MNK_TNSTA00612651.                     20:38:44

                                                               Page 571                                                                Page 573
      1 summary report for the Cardinal Health           20:35:46            1           Do you recognize this document           20:39:05
      2   suspicious order monitoring audit conducted 20:35:49               2 as a pharmacy information sheet?                   20:39:15
      3   March 5th through 6th in 2012 in Ohio?         20:35:51            3      A.    Yes.                     20:39:17
      4       A. Yes.                        20:35:53                        4      Q.    Do you know if it was filled       20:39:17
      5       Q. Okay. Did you create this          20:35:54                 5 out by Mallinckrodt or by Cardinal?                20:39:18
      6   document?                            20:35:55                      6      A.    I do not know.                 20:39:21
      7       A. I don't recall.              20:35:55                       7           MS. FIX MEYER: Objection.                20:39:22
      8       Q. Okay. Looking through it, it        20:35:58                8           MS. HERZFELD: Okay. Same                   20:39:23
      9   says on March 5th, a total of 19 pharmacies 20:36:02               9      standing objection.                  20:39:25
     10   located in Florida were reviewed.           20:36:04              10 QUESTIONS BY MS. HERZFELD:                               20:39:25
     11           If you look at the second page, 20:36:06                  11      Q.    Okay. And it talks about the       20:39:26
     12   page ending in 53271, a total of 20         20:36:16              12 volume of oxycodone sales to this location;          20:39:28
     13   pharmacies located in non-Florida states were 20:36:22            13 is that correct?                        20:39:30
     14   reviewed. Of the 20, 11 pharmacies have had 20:36:26              14      A.    Yes.                     20:39:30
     15   controlled substance sales restricted by     20:36:28             15      Q.    Okay. And then at the bottom           20:39:33
     16   Cardinal.                          20:36:28                       16 it says, "Describe physical location and           20:39:34
     17           Do you see where that is?        20:36:29                 17 description of pharmacy. Standalone building 20:39:37
     18       A. Yes.                        20:36:30                       18 on main two-lane road. Services rural              20:39:40
     19       Q. Okay. And do you see the list 20:36:30                     19 community. In residential town in Campbell             20:39:44
     20   that says non-Florida, non-restricted?       20:36:36             20 County."                               20:39:46
     21       A. Yes.                        20:36:41                       21           Did I read that correctly?       20:39:46
     22       Q. And what is the one at the         20:36:41                22      A.    Yes.                     20:39:47
     23   bottom there?                        20:36:42                     23      Q.    Okay. And did Mallinckrodt do            20:39:47
     24       A. Riggs Drug.                    20:36:42                    24 anything to verify that information?              20:39:50
     25       Q. Okay. And if you go up two,          20:36:43              25      A.    No.                      20:39:51

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      1           (Mallinckrodt-Harper Exhibit 54       20:39:53              1 QUESTIONS BY MS. HERZFELD:                                    20:42:03
      2      marked for identification.)             20:39:53                 2       Q.      Okay. And then when it says,          20:42:04
      3 QUESTIONS BY MS. HERZFELD:                                20:39:53    3 "notes, all Riggs have been capped," talking             20:42:06
      4      Q.      Okay. Okay. I'm handing you         20:39:54             4 about per Cardinal Health, they believe the              20:42:08
      5 Exhibit 54, MNK_TNSTA00607869.                          20:40:14      5 Jacksboro store has made progress, Cardinal               20:42:10
      6           Do you recognize this as a         20:40:21                 6 is being referred to as "they."                 20:42:13
      7 pharmacy information sheet dated 11/30/2012             20:40:23      7            So do you believe that note was         20:42:14
      8 for the Riggs Drug in La Follette, Tennessee? 20:40:29                8 made by somebody at Mallinckrodt?                        20:42:16
      9      A.      Yes.                    20:40:33                         9            MR. O'CONNOR: Objection to                   20:42:18
     10      Q.      Okay. And do you know if           20:40:33             10       form.                             20:42:19
     11 someone from Mallinckrodt filled this out or        20:40:35         11            THE WITNESS: Yes.                       20:42:19
     12 somebody from Cardinal filled it out?             20:40:39           12 QUESTIONS BY MS. HERZFELD:                                    20:42:19
     13           MR. O'CONNOR: Objection to              20:40:41           13       Q.      Okay. And so do you know               20:42:20
     14      form.                          20:40:41                         14 anything about Riggs 15 and 30s being capped? 20:42:23
     15           MS. FIX MEYER: Objection.               20:40:43           15       A.      It says it here, but I don't     20:42:27
     16           THE WITNESS: No.                     20:40:43              16 recall.                                20:42:29
     17 QUESTIONS BY MS. HERZFELD:                                20:40:43   17       Q.      Okay. And what does it mean to            20:42:29
     18      Q.      Okay. And could you please         20:40:43             18 cap someone at 15 and 30s?                         20:42:30
     19 read to me what it says and describe the          20:40:44           19       A.      It means a limit was placed on        20:42:35
     20 physical description and location of the          20:40:45           20 the amount of oxycodone 15s and 30s that a                20:42:38
     21 pharmacy?                              20:40:46                      21 particular pharmacy could receive from a                 20:42:41
     22      A.      "La Follette, Tennessee, is a     20:40:48              22 distributor.                             20:42:45
     23 small town of 7,926 located northwest of           20:40:50          23       Q.      Okay. And why would -- why                20:42:45
     24 Knoxville. The pharmacy is located in a            20:40:55          24 would that happen? Why would a cap be put                   20:42:47
     25 spacious standalone building with a large          20:40:58          25 on?                                    20:42:49

                                                                Page 575                                                                    Page 577
      1 parking area. It shares a small amount of        20:41:01             1       A.      So this is part of Cardinal's      20:42:49
      2   space with a medical clinic, which is in the 20:41:03               2 program, and I can't answer the question.               20:42:53
      3   process of moving to a larger building. The 20:41:06                3       Q.      Okay. When it says, "They             20:42:55
      4   pharmacy is located on the primary business 20:41:10                4 believe the Jacksboro store has made                    20:42:57
      5   street and the state highway through town." 20:41:13                5 progress. One store fills 12,000 scripts per 20:43:00
      6        Q. Okay. And down at the bottom, 20:41:16                      6 month, another fills 5,000," does that mean              20:43:03
      7   the notes, could you read that for me,        20:41:18              7 that the numbers went down?                         20:43:06
      8   please?                             20:41:21                        8            MR. O'CONNOR: Objection to                   20:43:07
      9        A. Yes.                        20:41:21                        9       form.                             20:43:07
     10            "All Riggs 15/30s capped. Have 20:41:22                   10            THE WITNESS: I don't know.                   20:43:07
     11   stopped prescribing for certain docs. Per      20:41:28            11 QUESTIONS BY MS. HERZFELD:                                    20:43:08
     12   Cardinal Health" -- that's the abbreviation 20:41:37               12       Q.      Okay. Do you know if you had a            20:43:08
     13   for Cardinal Health -- "they believe         20:41:38              13 concern about diversion from these Riggs                  20:43:11
     14   Jacksboro store has made progress. One store 20:41:42              14 pharmacies in Campbell County?                          20:43:15
     15   fills 12,000 scripts per month, another fills 20:41:44             15            MR. O'CONNOR: Objection to                   20:43:17
     16   5,000."                             20:41:48                       16       form.                             20:43:18
     17        Q. Okay. So the information            20:41:50               17            THE WITNESS: So by virtue of                 20:43:18
     18   that's included in the physical location     20:41:51              18       the fact we had a pharmacy information             20:43:20
     19   about the size of La Follette, Tennessee, and 20:41:53             19       sheet, it means we discussed these            20:43:22
     20   description of the building, that's        20:41:58                20       pharmacies with Cardinal and any other             20:43:25
     21   information that was known to Mallinckrodt; 20:41:59               21       distributor that was selling to them.        20:43:27
     22   is that correct?                     20:42:02                      22       So it was a point of discussion for          20:43:29
     23            MR. O'CONNOR: Objection to             20:42:02           23       further review.                        20:43:34
     24        form.                        20:42:03                         24 QUESTIONS BY MS. HERZFELD:                                    20:43:34
     25            THE WITNESS: Yes.                  20:42:03               25       Q.      Okay. So there was discussion         20:43:35

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      1 about whether there was potential diversion             20:43:37       1 pharmacies, but I don't see that there's --     20:46:53
      2 at these Riggs pharmacies?                     20:43:39                2   oh, yes, I do see an identifier on the       20:46:56
      3      A.      Yes.                        20:43:42                      3   spreadsheet itself. Yes, Riggs pharmacies. 20:46:59
      4      Q.      Okay. And at no time did           20:43:43               4       Q. Okay. Great.                    20:47:00
      5 Mallinckrodt do chargeback restrictions for            20:43:48        5            In looking here, it's kind of   20:47:01
      6 Riggs pharmacies, according to that chart we            20:43:51       6   hard to review it all. One, two -- if you     20:47:09
      7 saw; is that correct?                       20:43:54                   7   look on page 3, down at the bottom, the          20:47:12
      8           MR. O'CONNOR: Objection to                  20:43:54         8   orange line, it says, "Oxycodone 30-milligram 20:47:35
      9      form.                           20:43:55                          9   tablets."                          20:47:38
     10           THE WITNESS: So, yes, and I                20:43:55         10            Do you see where I'm at?          20:47:39
     11      misspoke when I said that we had.               20:43:57         11       A. Yes.                         20:47:40
     12      According to the chart, Riggs              20:44:00              12       Q. Okay. And it indicates that          20:47:41
     13      pharmacies were not restricted --              20:44:02          13   Cardinal Health shipped 292,600 oxycodone            20:47:44
     14 QUESTIONS BY MS. HERZFELD:                                 20:44:03   14   30-milligram tablets to Riggs Drug in La          20:47:52
     15      Q.      Okay.                       20:44:03                     15   Follette, Tennessee, in the calendar year       20:47:56
     16      A.      -- from chargeback processing.          20:44:04         16   2012; is that correct?                  20:48:00
     17      Q.      Okay. And so that means, to            20:44:05          17       A. So the data began November              20:48:01
     18 your knowledge, Riggs pharmacies could                  20:44:07      18   of 2011.                            20:48:08
     19 continue to receive oxycodone 15 and 30s?               20:44:09      19       Q. Oh, you are correct.              20:48:08
     20      A.      Yes.                        20:44:13                     20            So from November 2011 to            20:48:10
     21      Q.      Okay. Thank you.                 20:44:15                21   November 2012?                           20:48:14
     22           (Mallinckrodt-Harper Exhibit 55            20:44:18         22       A. Yes.                         20:48:15
     23      marked for identification.)              20:44:18                23       Q. Okay. And then it says              20:48:17
     24 QUESTIONS BY MS. HERZFELD:                                 20:44:18   24   HD Smith shipped 30 milligrams of oxycodone 20:48:18
     25      Q.      Okay. 55, marking Plaintiff's      20:44:42              25   to that same Riggs location, 1,200 tablets. 20:48:24

                                                                  Page 579                                                               Page 581
      1 Exhibit 55 here. It's MNK_TNSTA00612647.                   20:45:06    1           Am I reading that correctly?       20:48:29
      2 Take a look at this for me, please.             20:45:15               2      A.      Yes.                     20:48:32
      3           The file name for this document           20:45:44           3      Q.      Okay. Okay. Staying on page 3         20:48:32
      4 is "Riggs pharmacies all sales run                  20:45:45           4 with me there, the last blue line, it says        20:49:02
      5 11/30/2012"; is that correct?                  20:45:49                5 oxycodone 15-milligram tablets here for the           20:49:07
      6      A.      Yes.                        20:45:50                      6 same Riggs store in La Follette, Tennessee.          20:49:08
      7      Q.      Did you create this document?           20:45:51          7           Do you see where I am now?              20:49:10
      8      A.      No.                     20:45:52                          8      A.      Yes.                     20:49:12
      9      Q.      Did you direct that it be        20:45:53                 9      Q.      Okay. And it says that          20:49:12
     10 created?                                 20:45:56                     10 Cardinal Health shipped 84,000 tablets during 20:49:13
     11      A.      I'm not certain.              20:45:58                   11 that same time period; is that correct?           20:49:15
     12      Q.      Okay. Okay. If you'll look         20:46:00              12      A.      Yes.                     20:49:17
     13 with me on page 3.                           20:46:19                 13      Q.      Okay. So if you add those two        20:49:20
     14      A.      I'm sorry. Oh, yes.             20:46:24                 14 together, I submit to you that would be            20:49:27
     15      Q.      Do you see that?                20:46:25                 15 377,600 Mallinckrodt-made oxycodone                   20:49:31
     16      A.      Yes. Yes.                    20:46:26                    16 15-milligram and 30-milligram tablets going           20:49:37
     17      Q.      Okay. Does this appear to be a         20:46:27          17 to that one pharmacy in that period of             20:49:39
     18 report based on chargeback data to you,               20:46:28        18 November 2011 to November 2012.                      20:49:43
     19 ma'am?                                   20:46:30                     19           Does that sound correct?           20:49:46
     20      A.      Yes.                        20:46:30                     20           MR. O'CONNOR: Objection to                20:49:47
     21      Q.      Okay. And it appears to be a           20:46:31          21      form.                            20:49:48
     22 report about the Riggs Drug stores in -- the           20:46:32       22           THE WITNESS: Yes.                      20:49:48
     23 Riggs Drug stores we were discussing; is that 20:46:39                23 QUESTIONS BY MS. HERZFELD:                                  20:49:48
     24 correct? Jacksboro, La Follette and Powell?             20:46:43      24      Q.      Okay. And that's just to one        20:49:49
     25      A.      So the cover says Riggs           20:46:48               25 pharmacy, not to what was sent to that             20:49:56

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      1 county; is that right?                      20:49:58                   1      form.                          20:51:35
      2           MR. O'CONNOR: Object to form.                20:49:59        2           THE WITNESS: So the factors               20:51:35
      3           THE WITNESS: Yes.                     20:50:01               3      listed on the pharmacy information           20:51:38
      4 QUESTIONS BY MS. HERZFELD:                                 20:50:01    4      sheet, oxycodone compared to other             20:51:40
      5      Q.    Okay. Does that number seem               20:50:02          5      opioids being dispensed, percent          20:51:46
      6 too high to you?                           20:50:05                    6      oxycodone 15, 30, relative to other          20:51:50
      7           MR. O'CONNOR: Object to form.                20:50:06        7      oxy products, and the other factors,      20:51:52
      8           THE WITNESS: A number is one                 20:50:07        8      including a physical and -- in a         20:51:56
      9      of the indicators we use. High? I           20:50:10              9      physical location and a description of       20:52:02
     10      don't have enough information to             20:50:16            10      the pharmacy.                       20:52:04
     11      compare other states to this             20:50:19                11 QUESTIONS BY MS. HERZFELD:                               20:52:04
     12      particular statistics or other          20:50:23                 12      Q.      Okay. And what types of           20:52:04
     13      pharmacies, so I can't answer.            20:50:25               13 physical locations would cause you concern?            20:52:05
     14 QUESTIONS BY MS. HERZFELD:                                 20:50:26   14           MR. O'CONNOR: Objection to                 20:52:09
     15      Q.    Okay. So you'd have to have           20:50:27             15      form.                          20:52:11
     16 that information in order to be able to make           20:50:28       16           THE WITNESS: I don't -- I            20:52:11
     17 a determination as to whether the number was             20:50:30     17      don't know offhand.                   20:52:15
     18 too high relatively?                        20:50:32                  18 QUESTIONS BY MS. HERZFELD:                               20:52:15
     19      A.    Well, "too high" is a relative      20:50:33               19      Q.      Okay. Okay. So the things on         20:52:16
     20 term, again, so it would be a number that             20:50:37        20 the list is what you would consider, on the          20:52:21
     21 merited further review.                      20:50:41                 21 pharmacy information sheet checklist?                20:52:22
     22      Q.    Okay.                      20:50:43                        22      A.      Yes.                   20:52:24
     23      A.    Potentially, yes.               20:50:43                   23      Q.      Okay. Is there anything         20:52:25
     24      Q.    And so the types of things that       20:50:44             24 outside of the information, the questions           20:52:26
     25 you would want to know in order to make that             20:50:45     25 you've got contained in the pharmacy                20:52:29

                                                                  Page 583                                                               Page 585
      1 determination would be population?                    20:50:47         1 information sheet checklist, that you would          20:52:30
      2      A.    That could be --                 20:50:51                   2 consider when determining whether a pharmacy             20:52:32
      3           MR. O'CONNOR: Form.                     20:50:52             3 may be engaging in diversion?                  20:52:35
      4           THE WITNESS: -- one piece of               20:50:53          4      A.      So a Google report would prompt         20:52:38
      5      information.                         20:50:55                     5 further review. Those are the factors that          20:52:44
      6 QUESTIONS BY MS. HERZFELD:                                 20:50:55    6 come to mind.                             20:52:46
      7      Q.    Okay. And what about the              20:50:55              7      Q.      Okay. But a Google report, if     20:52:47
      8 percent of an aging population of the area?            20:50:58        8 it comes up, right, it's generally going to       20:52:49
      9      A.    No.                        20:51:02                         9 be when there's been a drug bust at a             20:52:52
     10      Q.    That's not something you'd want           20:51:04         10 pharmacy after the fact; is that right?        20:52:54
     11 to consider?                              20:51:05                    11           MR. O'CONNOR: Objection to                 20:52:55
     12      A.    Oh, I -- it wasn't a part of      20:51:05                 12      form.                          20:52:56
     13 our program.                              20:51:09                    13           THE WITNESS: Yes. Yes.                  20:52:56
     14      Q.    Okay. What about nearness to              20:51:10         14 QUESTIONS BY MS. HERZFELD:                               20:53:00
     15 hospitals or other medical facilities; would          20:51:14        15      Q.      Okay. Okay. If you'll take       20:53:01
     16 you want to know that information?                   20:51:16         16 the same sheet with me, we're going to just          20:53:07
     17      A.    Not routinely.                  20:51:18                   17 spend another minute with it. And if you'll          20:53:10
     18      Q.    Okay.                      20:51:22                        18 flip with me to the one that's page 4.         20:53:15
     19      A.    No.                        20:51:22                        19           If you'll go down to the part      20:53:22
     20      Q.    Okay. So what types of other          20:51:23             20 that's highlighted in orange. I guess that's 20:53:24
     21 information would you need besides just pure             20:51:25     21 orange.                             20:53:27
     22 number in order to be able to make a                 20:51:27         22      A.      Oh, I'm sorry. I'm on the       20:53:28
     23 determination if a pharmacy was -- was                 20:51:30       23 wrong page.                              20:53:30
     24 processing suspicious orders?                   20:51:33              24      Q.      That's okay. Page 4.           20:53:30
     25           MR. O'CONNOR: Objection to                  20:51:34        25      A.      All right.                20:53:36

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      1       Q. At the top it should say Riggs 20:53:37                   1       A. -- and added all these?          20:55:26
      2   Drug in Jacksboro, Tennessee.                20:53:39            2       Q. Yes, ma'am.                   20:55:27
      3             Do you see where I'm at?         20:53:42              3       A. Okay. All right.               20:55:27
      4       A. Yes.                         20:53:43                     4       Q. I'm not going to make you vouch 20:55:27
      5       Q. Okay. And then the orange all 20:53:44                    5   for my math.                        20:55:29
      6   the way down at the bottom.                 20:53:46             6       A. Okay.                       20:55:30
      7       A. Yes.                         20:53:47                     7       Q. But if I tell you that that     20:55:30
      8       Q. Okay. So it says oxycodone            20:53:47            8   totals to 279,570 --                 20:55:30
      9   30-milligram tablets, and then it would be      20:53:49         9       A. Yes.                       20:55:30
     10   139,400 tablets were supplied to this         20:53:51          10       Q. -- does that seem like a lot of 20:55:36
     11   pharmacy, Riggs, in Jacksboro, Tennessee, by 20:53:56           11   Mallinckrodt opioids to go to one pharmacy to 20:55:38
     12   Cardinal Health in the time period of         20:53:59          12   you?                             20:55:39
     13   November 2011 through November of 2012.              20:54:01   13       A. No, not necessarily.            20:55:39
     14             Did I read that correctly?     20:54:04               14       Q. You would want to look at the        20:55:40
     15       A. Yes.                         20:54:05                    15   factors that are on the pharmacy information 20:55:42
     16       Q. Okay. And if you go one line          20:54:06           16   sheet; is that right?               20:55:44
     17   up, it talks about oxycodone 15-milligram        20:54:09       17       A. Yes.                       20:55:44
     18   tablets shipped to that Jacksboro Riggs.       20:54:12         18       Q. And the Google Alerts; is that 20:55:44
     19             That's 38,700; is that correct? 20:54:16              19   right?                          20:55:47
     20       A. Yes.                         20:54:19                    20       A. Yes, and have a conversation         20:55:47
     21       Q. Okay. And so if you total           20:54:20             21   with the distributor, yes.             20:55:49
     22   that, that would be 178,100 Mallinckrodt        20:54:21        22       Q. Okay. Do you know anything            20:55:50
     23   oxycodone pills going to that one pharmacy in 20:54:26          23   about Jacksboro, Tennessee?                20:55:51
     24   that time period; is that correct?         20:54:30             24       A. No.                        20:55:53
     25       A. Yes.                         20:54:31                    25       Q. Okay. Do you know if Jacksboro 20:55:54

                                                          Page 587                                                           Page 589
      1        Q. Okay. And the rest of these        20:54:33              1 and La Follette are in the same county?        20:56:01
      2   numbers on there, those are the other        20:54:40            2       A. No.                        20:56:02
      3   controlled substance Mallinckrodt products; 20:54:44             3       Q. What if I told you they are?        20:56:03
      4   is that correct?                    20:54:47                     4   They're in Campbell County, Tennessee.           20:56:04
      5        A. Yes.                       20:54:47                      5            Have you ever heard of Campbell 20:56:06
      6        Q. Okay. And many of those are          20:54:48            6   County, Tennessee?                       20:56:09
      7   opioids as well; is that right?          20:54:51                7       A. No.                        20:56:09
      8        A. Yes.                       20:54:52                      8       Q. Okay. Do you know anything             20:56:10
      9        Q. Is methylphenidate an opioid? 20:54:53                   9   about Campbell County, Tennessee?               20:56:10
     10        A. Yes.                       20:54:59                     10       A. No.                        20:56:12
     11        Q. Okay. So is everything on this 20:54:59                 11       Q. Has Campbell County, Tennessee, 20:56:12
     12   list an opioid?                     20:55:01                    12   ever been a topic of discussion during your 20:56:14
     13        A. Yes.                       20:55:02                     13   professional time at Mallinckrodt?           20:56:16
     14        Q. Okay. So if you total all of 20:55:02                   14       A. Not that I recall.             20:56:17
     15   the opioids then, the Mallinckrodt opioids, 20:55:03            15       Q. Okay.                        20:56:19
     16   sent to Riggs Drug in Jacksboro, Tennessee, 20:55:05            16            MR. O'CONNOR: We're on the            20:56:38
     17   during this time period, that would be        20:55:07          17       12-hour mark. Are you almost done?         20:56:39
     18   279,570 Mallinckrodt opioids shipped to this 20:55:10           18            MS. HERZFELD: I am so almost 20:56:43
     19   pharmacy during that period of time, I submit 20:55:14          19       done.                         20:56:44
     20   to you.                           20:55:17                      20            MR. O'CONNOR: Okay.                 20:56:44
     21            Does that seem like a lot of    20:55:18               21            MS. HERZFELD: I have, I             20:56:44
     22   opioids to one pharmacy to you?              20:55:20           22       think -- I have two very quick charts 20:56:45
     23        A. So I'm sorry. You're saying        20:55:23             23       and then like three tiny things to ask 20:56:47
     24   that you did the math --                20:55:25                24       her about. Like I'm probably ten        20:56:49
     25        Q. Yes, ma'am.                   20:55:25                  25       minutes.                       20:56:51

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      1            Do you want to take a break?         20:56:52               1 for the oxy 15s. Do you see that?                 20:59:15
      2            MR. O'CONNOR: Not if it's             20:56:54              2            I'll show you the oxy 30s next.       20:59:19
      3       going to be ten minutes.               20:56:55                  3       A.    Yes.                      20:59:22
      4            MS. HERZFELD: I think it's            20:56:56              4       Q.    Okay. And if you look at this         20:59:22
      5       going to be ten minutes.               20:56:57                  5 spreadsheet, you've got Jellico one, two,            20:59:24
      6            MR. O'CONNOR: Okay.                   20:56:57              6 three, four times.                        20:59:27
      7            MS. HERZFELD: I think it's            20:56:57              7            Let's look at the first one.       20:59:27
      8       going to be ten minutes. I will try       20:56:58               8 Jellico Drugs.                            20:59:30
      9       very hard not to lie to you. Okay.        20:56:59               9            Do you see that?                  20:59:31
     10            MR. O'CONNOR: It's always              20:57:02            10       A.    Yes.                      20:59:31
     11       appreciated.                     20:57:04                       11       Q.    And it looks like Jellico Drugs       20:59:31
     12            (Mallinckrodt-Harper Exhibit 56       20:57:05             12 was getting stuff from AmerisourceBergen --               20:59:33
     13       marked for identification.)            20:57:06                 13 getting oxycodone 15 from AmerisourceBergen                 20:59:35
     14 QUESTIONS BY MS. HERZFELD:                                 20:57:06   14 and Masters; is that correct?                  20:59:39
     15       Q.    I will hand you what I'm           20:57:07               15       A.    Yes.                      20:59:40
     16 marking as Plaintiff's Exhibit 56. This is        20:57:08            16       Q.    Okay. So during that time            20:59:46
     17 MNK_TNSTA25 -- I'm sorry, 02527616.                       20:57:14    17 period, it looks like Jellico Drugs received         20:59:48
     18            This is -- the title is "Oxy 15   20:57:23                 18 14,400 oxycodone 15 tablets from Masters; is              20:59:51
     19 and 30 shipped to and sold to via month,           20:57:28           19 that right?                           20:59:57
     20 January through December 2011." And it looks 20:57:31                 20       A.    Yes.                      20:59:57
     21 like the report was run 2/15/2012.               20:57:34             21       Q.    And then 12,200 from                20:59:58
     22            I will submit to you that we        20:57:37               22 AmerisourceBergen?                             21:00:00
     23 have condensed this just to Campbell County.            20:57:40      23       A.    Yes.                      21:00:01
     24            Okay. So if you take a look at      20:58:01               24       Q.    Okay. And if you go down to            21:00:02
     25 this list, I think you'll notice La Follette    20:58:03              25 the others, you have the Rite Aid,                21:00:04

                                                                  Page 591                                                                  Page 593
      1 that we've been talking about and also          20:58:05               1 number 1935 in Jellico. They received 2500               21:00:08
      2   Jacksboro, which we've already discussed; is 20:58:06                2 oxycodone 15; is that correct?                   21:00:13
      3   that right?                       20:58:09                           3       A.    Yes.                      21:00:15
      4        A. Yes.                      20:58:09                           4       Q.    Okay. And then the last one is        21:00:19
      5        Q. Okay. And this chart appears        20:58:10                 5 the family drug center in Jellico by Cardinal 21:00:20
      6   to show you chargeback data to the various       20:58:11            6 Health, and it looks like they received 300           21:00:23
      7   pharmacies during the period of January 2011 20:58:13                7 oxy 15s; is that right?                      21:00:28
      8   through December 2011; is that correct?        20:58:19              8       A.    Yes.                      21:00:29
      9        A. Yes.                      20:58:23                           9       Q.    Okay. So if you add all that         21:00:29
     10        Q. Okay. And we haven't talked at 20:58:26                     10 together, I'll submit to you that that's         21:00:31
     11   all about a place called Jellico.        20:58:29                   11 about 29,400 oxycodone 15s for the town of                21:00:33
     12            Have you ever heard of Jellico, 20:58:31                   12 Jellico.                             21:00:40
     13   Tennessee?                           20:58:32                       13            Does that sound right?             21:00:40
     14        A. No.                       20:58:33                          14       A.    I have not done the math, but        21:00:41
     15        Q. Okay. Okay. On this list I        20:58:33                  15 if you say it's true, we'll go with it.         21:00:45
     16   think you'll recognize we've got the three    20:58:39              16            (Mallinckrodt-Harper Exhibit 57        21:00:49
     17   Riggs Drugs right at the top, right?        20:58:41                17       marked for identification.)              21:00:51
     18        A. Yes.                      20:58:42                          18 QUESTIONS BY MS. HERZFELD:                                  21:00:51
     19        Q. Okay. Riggs Drug in La             20:58:43                 19       Q.    Okay. I'm going to hand you           21:00:51
     20   Follette and Riggs Drug in Jacksboro.         20:58:46              20 what's marked as Plaintiff's Exhibit 56? 6?             21:00:53
     21        A. Yes.                      20:58:53                          21       A.    This was 56.                   21:00:55
     22        Q. Okay. Do you know how many              20:58:54            22       Q.    Oh, 57. I left my -- I'll just    21:00:56
     23   people live in Jellico, Tennessee?          20:59:07                23 do another one. 57.                          21:01:03
     24        A. No.                       20:59:10                          24            Okay. This is the tab -- hold       21:01:04
     25        Q. Okay. And this spreadsheet is 20:59:11                      25 on. It looks like I'm missing one, so you            21:01:13

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      1 might have lucked out. Okay. It appears           21:01:27          1      A.      No.                   21:04:19
      2 that I'm missing the one for the oxy 30.         21:01:45           2      Q.      Is that a list that        21:04:19
      3 Okay.                                  21:01:51                  3      Mallinckrodt would look at?                 21:04:21
      4            Did you ever run the numbers         21:01:52         4              MR. O'CONNOR: Objection to               21:04:22
      5   for the total number of Mallinckrodt           21:01:58        5         form.                         21:04:24
      6   oxycodone products going to Campbell County, 21:02:00 6                       THE WITNESS: Not within the              21:04:24
      7   Tennessee?                             21:02:04                7         scope of suspicious order monitoring.         21:04:25
      8       A. I do not know.                    21:02:04              8      QUESTIONS BY MS. HERZFELD:                             21:04:28
      9       Q. Okay. I'm going to...              21:02:07             9         Q.      Okay. So if the CDC lists        21:04:28
     10            Okay. I'm going to mark you -- 21:02:45              10      counties with the highest prescribing of         21:04:31
     11   I'm going to hand you what we've marked as         21:02:46   11      opioids per capita, is that something you        21:04:34
     12   Plaintiff's Exhibit 57.                  21:02:48             12      would consult in your job in suspicious order 21:04:36
     13            Okay. Could you read the file 21:02:50               13      monitoring?                           21:04:38
     14   name of this document for me, please, ma'am? 21:02:58 14                 A.      No.                   21:04:38
     15       A. "Hydro APAP 10s shipped to and 21:03:00                15         Q.      Okay. Think it would be          21:04:40
     16   sold via by month, January 2015 through           21:03:04    16      helpful?                          21:04:44
     17   December 2015, 325 milligrams APAP."                21:03:08  17              MR. O'CONNOR: Objection to               21:04:44
     18       Q. Okay. Great.                     21:03:15              18         form.                         21:04:45
     19            Okay. I'm going to back up for 21:03:15              19              THE WITNESS: We use various               21:04:45
     20   a second, if you'll set this aside, and we'll 21:03:21        20         pieces of information at various         21:04:46
     21   talk about it in just a second. I skipped     21:03:23        21         times, so I can't compare and contrast     21:04:49
     22   some questions.                         21:03:25              22         one thing is more helpful than the        21:04:53
     23            Going back to our discussion        21:03:26         23         other.                        21:04:56
     24   about Campbell County, do you know what              21:03:27 24      QUESTIONS BY MS. HERZFELD:                             21:04:56
     25   Campbell County's population was in 2010?           21:03:33 25          Q.      Okay. I think you looked         21:04:57

                                                               Page 595                                                              Page 597
      1      A.    No.                      21:03:35                        1 before at the chargeback data list, the        21:05:03
      2      Q.    Do you know if Mallinckrodt has       21:03:35           2   chargeback restriction list, Exhibit 36.     21:05:05
      3 ever looked specifically at the number of        21:03:37           3   It's Mallinckrodt's chargeback restriction     21:05:09
      4 pills it sends to the various counties in      21:03:40             4   list. If you would take a look at that for 21:05:10
      5 Tennessee?                            21:03:42                      5   me for one more second.                   21:05:14
      6           MR. O'CONNOR: Objection.               21:03:42           6             Are you aware of the number of 21:05:16
      7      Form.                          21:03:43                        7   pharmacies that were on that list, how many 21:05:19
      8 QUESTIONS BY MS. HERZFELD:                              21:03:43    8   have been subject of law enforcement action? 21:05:21
      9      Q.    Have you looked by county?           21:03:44            9        A. No.                        21:05:23
     10      A.    I do not know.              21:03:45                    10        Q. Okay. Are you aware if any of 21:05:24
     11      Q.    Okay. Did you run any             21:03:45              11   the reinstated pharmacies on that list have 21:05:26
     12 chargeback reports by county on a routine         21:03:49         12   been subject of law enforcement action?          21:05:31
     13 basis with Tennessee?                       21:03:50               13        A. No.                        21:05:32
     14      A.    No.                      21:03:51                       14        Q. Okay. And do you know if the          21:05:33
     15      Q.    Okay. What about towns?             21:03:51            15   pharmacies on that list, that were placed on 21:05:35
     16      A.    The reports can be sorted by        21:03:54            16   that list, were placed on before or because 21:05:37
     17 towns --                            21:03:57                       17   of -- I'm sorry, I'm going to back up. I'm 21:05:40
     18      Q.    Okay.                     21:03:58                      18   going to strike that question. We're going 21:05:43
     19      A.    -- but not specific to         21:03:58                 19   to start over.                      21:05:44
     20 Tennessee towns.                        21:04:02                   20             Do you know of the pharmacies       21:05:45
     21      Q.    Okay. Okay. Had you -- were          21:04:03           21   that were placed on that Mallinckrodt         21:05:48
     22 you aware that in 2015 Campbell County               21:04:09      22   chargeback restriction list, how many of        21:05:50
     23 prescribed the third highest morphine            21:04:13          23   those restricted pharmacies were placed on        21:05:55
     24 equivalent milligrams per capita annually in       21:04:17        24   after law enforcement action?              21:05:58
     25 the country?                         21:04:19                      25        A. No.                        21:06:00

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      1     Q. Okay. You can set it aside,           21:06:00                  1 going to a town with 1,379 people?                 21:08:01
      2 please.                             21:06:02                           2           MR. O'CONNOR: Objection to                21:08:04
      3          Have you ever heard of Clay          21:06:03                 3      form.                           21:08:05
      4 County, Tennessee?                        21:06:08                     4           THE WITNESS: I don't have                21:08:05
      5     A. No.                           21:06:09                          5      enough information to answer.                21:08:06
      6     Q. Do you know what the population 21:06:09                        6 QUESTIONS BY MS. HERZFELD:                                  21:08:09
      7 is of Clay County, Tennessee?                 21:06:10                 7      Q.      Okay. And the information that        21:08:09
      8     A. No.                           21:06:12                          8 you would want would be the information                  21:08:11
      9     Q. Okay. Has there been any               21:06:12                 9 that's contained on that pharmacy information 21:08:12
     10 discussion in your professional capacity at 21:06:15                  10 sheet that we talked about earlier?               21:08:14
     11 Mallinckrodt having to do with Clay County, 21:06:16                  11      A.      Part of the information, yes.       21:08:16
     12 Tennessee?                             21:06:19                       12      Q.      Okay. And the other               21:08:20
     13     A. Not that I recall.               21:06:19                      13 information would be information that you get 21:08:21
     14     Q. Okay. If you'll take a look at 21:06:21                        14 from the Google Alerts; is that right?             21:08:23
     15 Exhibit 57 for me, please, ma'am.              21:06:23               15      A.      Potentially.               21:08:25
     16          Okay. You've already              21:06:25                   16      Q.      Okay. And is there any other         21:08:27
     17 identified this document. I will submit to 21:06:27                   17 information you can think of that you'd want            21:08:28
     18 you that we've modified it to show only the 21:06:29                  18 to know to make that decision?                    21:08:30
     19 town of Celina, Tennessee.                  21:06:33                  19      A.      So let's circle back, please.     21:08:31
     20          If you'll flip to the page, do 21:06:34                      20      Q.      Sure.                    21:08:33
     21 you recognize this as chargeback data, ma'am? 21:06:37                21      A.      We're talking about Celina,         21:08:33
     22     A. Yes.                          21:06:40                         22 Tennessee.                              21:08:35
     23     Q. Okay. Looking at this               21:06:40                   23      Q.      Yes, ma'am.                     21:08:35
     24 chargeback data, does it indicate to you that 21:06:41                24      A.      And what's -- what's the           21:08:36
     25 Rite Aid number 2494 in Celina, Tennessee,          21:06:43          25 question again, please?                       21:08:37

                                                                   Page 599                                                                 Page 601
      1 through McKesson, received 87,000                 21:06:55             1       Q. The question was if you thought 21:08:38
      2 Mallinckrodt hydro APAP 10s?                     21:06:59              2   that was an appropriate number of hydro APAP 21:08:40
      3       A.   Yes.                     21:07:05                           3   pills to be going to that town.          21:08:46
      4       Q.   Okay. And then Anderson              21:07:06               4       A. Okay. And I said I can't          21:08:48
      5 Hometown Pharmacy received 500 hydro APAP 10s 21:07:10                 5   answer. I don't have enough information.       21:08:50
      6 through McKesson; is that right?                21:07:14               6       Q. And so then I said you'd want        21:08:50
      7       A.   Yes.                     21:07:15                           7   the information on the pharmacy information 21:08:51
      8       Q.   Okay. And then Cumberland             21:07:15              8   sheet that we talked about before in order to 21:08:53
      9 River Hospital, also in Celina, Tennessee,        21:07:18             9   make that determination?                 21:08:54
     10 through Cardinal received 200 hydro APAP 10s; 21:07:21                10       A. Yes, as one of the factors,       21:08:55
     11 is that right?                       21:07:24                         11   yes.                            21:08:59
     12       A.   Yes.                     21:07:24                          12       Q. And one of the other factors        21:08:59
     13       Q.   Okay. And that shows, if you         21:07:25              13   would be the information that you gleaned       21:09:00
     14 total it -- and I think this math is a little 21:07:28                14   from Google Alerts?                     21:09:01
     15 easier -- that's 87,700 hydro APAP 10s sent        21:07:30           15       A. Yes.                       21:09:02
     16 to Celina, Tennessee, that were Mallinckrodt        21:07:38          16       Q. Okay. And is there any other         21:09:03
     17 between January 2015 and December of 2015; is 21:07:42                17   information that you would feel you need to 21:09:04
     18 that correct?                        21:07:45                         18   consult?                          21:09:08
     19       A.   Yes.                     21:07:45                          19       A. Any other information provided 21:09:08
     20       Q.   Okay. Did you know that the          21:07:47              20   to us by the distributors.             21:09:14
     21 town of Celina, Tennessee, is -- population       21:07:48            21       Q. Okay.                       21:09:16
     22 is 1,379 people?                       21:07:51                       22       A. But, no, nothing other than        21:09:16
     23       A.   No.                      21:07:54                          23   that.                           21:09:19
     24       Q.   Do you think that's an         21:07:55                    24       Q. Okay. You can set that aside, 21:09:20
     25 appropriate number of hydro APAP 10s to be           21:07:56         25   please, ma'am. Okay. Done with charts.         21:09:21

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      1           (Mallinckrodt-Harper Exhibit 58        21:09:26            1 QUESTIONS BY MS. HERZFELD:                               21:11:36
      2      marked for identification.)           21:09:27                  2      Q.    Okay. I'm going to hand you          21:11:36
      3 QUESTIONS BY MS. HERZFELD:                               21:09:27    3 what I'm going to mark as Exhibit 59,             21:11:48
      4      Q.    Okay. Number 58. If you'll          21:09:35              4 MNK-TN_000642 -- no, 6462195.                         21:11:52
      5 take a look at this for me, please.           21:09:49               5           These all got jammed together,       21:12:01
      6           Could you please read the           21:09:59               6 guys. Sorry.                           21:12:05
      7 title?                             21:09:59                          7           If you'll look with me all the     21:12:07
      8      A.    "DEA investigators seeking            21:10:00            8 way down to...                          21:12:09
      9 answers in small Tennessee town."                 21:10:05           9           You don't have to read the          21:12:26
     10      Q.    And what does it say after         21:10:08              10 whole thing, but if you look where Tom --             21:12:30
     11 that?                              21:10:10                         11 Thomas Duffel -- three-quarters of the way            21:12:34
     12      A.    There's a header.             21:10:10                   12 down the page?                             21:12:35
     13      Q.    Yes, ma'am.                   21:10:13                   13      A.    Yes.                     21:12:36
     14      A.    Drug Enforcement                21:10:14                 14      Q.    And he, it looks like, sends an     21:12:36
     15 Administration.                         21:10:15                    15 e-mail to you on September 11, 2017, and              21:12:37
     16      Q.    Okay. So this is a press        21:10:15                 16 Debbie Dingle {sic}.                        21:12:40
     17 release coming from the Drug Enforcement              21:10:16      17           Do you see that?                 21:12:42
     18 Administration?                          21:10:18                   18      A.    Yes.                     21:12:42
     19      A.    Yes.                       21:10:18                      19      Q.    And the subject is regarding        21:12:43
     20      Q.    Okay. And then under that it          21:10:19           20 need listing of all current and past narcotic 21:12:46
     21 says, "Rural Clay County pharmacies 2017              21:10:26      21 SKUs.                               21:12:48
     22 purchases from distributors totaled more than 21:10:28              22           Do you see that?                 21:12:49
     23 1 million pills."                      21:10:30                     23      A.    Yes.                     21:12:49
     24           Do you see that?               21:10:31                   24      Q.    Okay. And so his e-mail to you         21:12:50
     25      A.    Yes.                       21:10:31                      25 and Debbie is, "Karen/Debbie, just to make            21:12:53

                                                                 Page 603                                                               Page 605
      1       Q. Okay. And then the date line, 21:10:32                      1 sure, I'm sending a list of the items that we 21:12:57
      2   what is the city and state that it indicates? 21:10:35             2 used to pull the most recent Tennessee orders 21:13:00
      3       A. Celina, Tennessee.                 21:10:37                 3 report. I'm assuming that the list will         21:13:02
      4       Q. Okay. And then if you could            21:10:39             4 remain constant as we have requests like            21:13:04
      5   read the first sentence for me, please?       21:10:40             5   these. Please let me know if there are any 21:13:07
      6       A. "DEA investigators this week           21:10:41             6   issues. Thank you."                      21:13:09
      7   conducted inspections at several pharmacy         21:10:45         7             Did I read that correctly?       21:13:13
      8   locations in the Clay County, Tennessee,         21:10:47          8       A. Yes.                         21:13:13
      9   town" -- pardon me -- "of Celina following an 21:10:52             9       Q. Okay. Do you know what he's               21:13:14
     10   inquiry into irregular patterns of pill      21:10:56             10   talking about?                        21:13:16
     11   purchases from drug distribution companies." 21:10:58             11       A. Yes.                         21:13:16
     12       Q. Okay. You can stop there.             21:11:03             12       Q. Okay. What he's talking about? 21:13:16
     13            Were you aware of this DEA           21:11:05            13       A. He's determining that he has           21:13:17
     14   investigation?                         21:11:07                   14   the list of all opioid products to pull this 21:13:20
     15       A. No.                          21:11:07                      15   report and other reports.                 21:13:22
     16       Q. Okay. Thank you, ma'am. You              21:11:07          16       Q. For Tennessee orders?                 21:13:24
     17   can set that aside.                    21:11:09                   17       A. In this case, yes.               21:13:25
     18            Okay. In 2017, did you start       21:11:20              18       Q. Okay. And do you know why he 21:13:28
     19   working on pulling Tennessee order reports? 21:11:25              19   was pulling Tennessee orders?                  21:13:29
     20            MR. O'CONNOR: Objection.               21:11:27          20       A. No.                          21:13:30
     21       Form.                           21:11:28                      21       Q. You don't?                      21:13:31
     22            THE WITNESS: I don't know.             21:11:28          22       A. No.                          21:13:32
     23            (Mallinckrodt-Harper Exhibit 59 21:11:35                 23       Q. Okay. Was -- did anybody ever 21:13:32
     24       marked for identification.)            21:11:36               24   talk to you about pulling Tennessee orders? 21:13:36
     25                                                                     25       A. Clearly they did, but this           21:13:37

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      1 could have been a request by -- by counsel.        21:13:41           1      A.    Yes.                       21:16:07
      2      Q.    Okay. Can you think of any           21:13:51              2      Q.    Okay. "David, that will take          21:16:08
      3 other reason there would have been a request        21:13:53          3 an additional day or two to complete. You'll 21:16:13
      4 to pull Tennessee numbers?                     21:13:55               4 have it no later than Friday COB. I'm              21:16:14
      5      A.    A subpoena, request from            21:13:57               5 waiting on slide input from David Hunter.            21:16:15
      6 counsel, those type of things.                21:14:03                6 Don has slammed me last night and today with            21:16:18
      7      Q.    Okay.                     21:14:04                         7 work for the Tennessee matter and DEA meeting 21:16:19
      8      A.    Yes.                      21:14:04                         8 prep. Sorry."                           21:16:21
      9      Q.    Okay.                     21:14:08                         9           What is the Tennessee matter?          21:16:22
     10           (Mallinckrodt-Harper Exhibit 60       21:14:17             10      A.    So I don't know specifically          21:16:24
     11      marked for identification.)           21:14:21                  11 what the Tennessee matter is or was.               21:16:27
     12           MR. O'CONNOR: For the record,           21:14:21           12      Q.    Okay. What was the DEA meeting            21:16:31
     13      I think we're closing in on           21:14:22                  13 prep?                                 21:16:33
     14      20 minutes.                      21:14:24                       14      A.    I don't know. I don't recall.    21:16:34
     15           MS. HERZFELD: Oh, my gosh,               21:14:24          15      Q.    Okay. All right. And have you          21:16:36
     16      really? I thought I was doing so          21:14:25              16 read the complaint in the Tennessee matter?          21:16:48
     17      well. I'm so sorry. So close.         21:14:28                  17      A.    No.                        21:16:50
     18 QUESTIONS BY MS. HERZFELD:                                21:14:32   18      Q.    Okay. But it was sent to you;         21:16:51
     19      Q.    Okay. I'm going to hand you          21:14:34             19 is that right?                         21:16:54
     20 60, and I think there's only one after this     21:14:35             20      A.    I'm not certain of that.        21:16:54
     21 one.                               21:14:37                          21           (Mallinckrodt-Harper Exhibit 61         21:16:57
     22           Okay. I'm going to hand you          21:14:38              22      marked for identification.)            21:16:58
     23 what's been marked as Plaintiff's Exhibit 60, 21:14:40               23 QUESTIONS BY MS. HERZFELD:                                  21:16:58
     24 and that is MNK-T1_0007185456. Okay. It is               21:14:45    24      Q.    I'm going to give you our very         21:17:04
     25 a two-page document.                       21:15:03                  25 last exhibit, which is 61. I'm handing you          21:17:05

                                                                 Page 607                                                               Page 609
      1             Do you recognize this as an         21:15:04              1 what is marked as Plaintiff's Exhibit 61.         21:17:17
      2   e-mail chain between you and David Widder?             21:15:05     2            Okay. This appears to be an         21:17:19
      3        A. Yes.                          21:15:08                      3   e-mail from Don Lohman and John Gillies and 21:17:28
      4        Q. Dated over the course of June           21:15:10            4   you dated June 14, 2017; is that right?         21:17:33
      5   2017?                                 21:15:14                      5        A. Yes.                        21:17:35
      6        A. Yes.                          21:15:14                      6        Q. Okay. And it says, filed            21:17:39
      7        Q. Okay. Who is David Widder?                21:15:16          7   complaint 6/13/2017, and this was e-mailed to 21:17:42
      8        A. He -- he was another person to 21:15:18                     8   you 6/14/2017; is that right?               21:17:47
      9   whom my group reported.                        21:15:22             9        A. Yes, I see that.                21:17:48
     10        Q. Okay. What was his position?             21:15:24          10        Q. Okay. And I just copied the           21:17:49
     11        A. His title has changed over            21:15:25             11   first page of our complaint because it's       21:17:51
     12   time, but he's in -- supply chain is the name 21:15:28             12   really super long.                      21:17:52
     13   of his group.                           21:15:31                   13        A. Okay.                        21:17:53
     14        Q. Okay. And so if you'll go down 21:15:33                    14        Q. Did you ever read it?              21:17:54
     15   with me, it looks like David Widder is saying 21:15:35             15        A. No.                         21:17:55
     16   to you in the second e-mail down, Wednesday, 21:15:41              16        Q. Okay. You received it, but you 21:17:56
     17   June 14, 2017, "No worries. If we can             21:15:43         17   didn't read it?                      21:17:58
     18   complete by the end of the week, we'll be in 21:15:46              18        A. It's clear that I received it. 21:17:58
     19   a good spot. The DEA meeting prep and               21:15:47       19   I don't recall receiving it, and I don't     21:18:00
     20   Tennessee matter are both more pressing."           21:15:51       20   recall reading it.                    21:18:02
     21             Do you see that?                21:15:53                 21        Q. Okay. And so when we were               21:18:03
     22        A. Yes.                          21:15:54                     22   talking before about the Tennessee matter, 21:18:04
     23        Q. And he is responding to you -- 21:15:55                    23   could it have been the filing of our          21:18:06
     24   it's an e-mail, it looks like, earlier that 21:15:58               24   complaint that was the matter?                21:18:09
     25   day?                                 21:16:03                      25            MR. O'CONNOR: Objection to              21:18:10

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      1      form.                          21:18:10                          1 QUESTIONS BY MR. O'CONNOR:                                21:20:19
      2           THE WITNESS: I can't answer              21:18:10           2      Q.     Okay. For those companies that          21:20:20
      3      that question.                     21:18:11                      3 submit chargeback requests, are all orders           21:20:22
      4 QUESTIONS BY MS. HERZFELD:                                21:18:11    4 that those companies receive reflected in           21:20:26
      5      Q.      You can't answer because you          21:18:12           5 those requests?                          21:20:28
      6 don't know or because it's privileged?             21:18:13           6      A.     No.                        21:20:30
      7      A.      Oh, because I don't know.         21:18:14               7      Q.     Okay. Mallinckrodt               21:20:32
      8      Q.      Oh, okay. Very good.            21:18:16                 8 manufactures methylphenidate, correct?               21:20:39
      9      A.      Sorry.                   21:18:20                        9      A.     Yes.                       21:20:44
     10           MS. HERZFELD: Okay. I don't               21:18:27         10      Q.     Do you know what                  21:20:45
     11      think I have any other questions.         21:18:28              11 methylphenidate is used to treat?                 21:20:46
     12           MR. O'CONNOR: Excellent. Can               21:18:30        12      A.     Attention-deficit/hyperactivity       21:20:48
     13      we go off the record?                 21:18:32                  13 disorder.                              21:20:52
     14           VIDEOGRAPHER: We are going off               21:18:33      14      Q.     Okay. Is it used to treat        21:20:52
     15      the record at 9:18 p.m.               21:18:34                  15 pain, as far as you know?                    21:20:54
     16       (Off the record at 9:18 p.m.)         21:18:36                 16      A.     I do not know.                21:20:56
     17           VIDEOGRAPHER: We are back on                 21:19:09      17      Q.     Okay. Is methylphenidate an            21:20:56
     18      the record at 9:19 p.m.               21:19:15                  18 opioid?                                21:21:00
     19           CROSS-EXAMINATION                         21:19:19         19      A.     It's a, yes, a synthetic       21:21:01
     20 QUESTIONS BY MR. O'CONNOR:                                21:19:19   20 opioid, yes.                            21:21:03
     21      Q.      Ms. Harper, considering the       21:19:20              21      Q.     It's a synthetic opioid. Okay.    21:21:03
     22 hour, I'll keep this very brief. Just a few      21:19:20            22           And do you have any scientific          21:21:10
     23 questions.                            21:19:23                       23 background on which you're basing that               21:21:11
     24           Earlier today you testified      21:19:23                  24 statement?                              21:21:16
     25 about the scope of information provided             21:19:25         25      A.     No scientific background, no.         21:21:16

                                                            Page 611                                                                     Page 613
      1 through chargeback requests.                   21:19:27               1       Q. Just a few minutes ago you           21:21:17
      2            Do you generally recall          21:19:28                  2   discussed with Ms. Herzfeld a number of          21:21:21
      3   testifying on that issue?                21:19:30                   3   charts, including those labeled -- or marked 21:21:26
      4        A. Yes.                       21:19:31                         4   Exhibits 40 through 57, roughly.             21:21:30
      5        Q. I just want to ask a few          21:19:32                  5            Do you remember the charts I'm 21:21:33
      6   questions so the record is clear on this.     21:19:37              6   referring to?                       21:21:34
      7            Does chargeback data allow          21:19:39               7       A. Yes.                        21:21:35
      8   Mallinckrodt visibility into all the sales of 21:19:41              8       Q. Okay. And many of those charts 21:21:38
      9   its products made by distributor customers? 21:19:43                9   purported to reflect chargeback data; is that 21:21:44
     10        A. No.                        21:19:48                        10   your understanding?                     21:21:47
     11        Q. Do all distributor customers        21:19:48               11       A. Yes.                        21:21:48
     12   submit chargeback information?                 21:19:52            12       Q. Do you have any independent            21:21:49
     13        A. Yes.                       21:19:53                        13   recollection of the chargeback numbers that 21:21:53
     14        Q. Do all customers of               21:19:54                 14   you saw in any of those charts?             21:21:58
     15   Mallinckrodt product submit chargeback            21:19:56         15       A. No.                         21:22:00
     16   requests?                           21:19:59                       16       Q. So from time to time when you          21:22:02
     17        A. No.                        21:20:01                        17   indicated to Ms. Herzfeld that you thought      21:22:07
     18        Q. And of those Mallinckrodt            21:20:03              18   certain numbers were correct, did you have       21:22:09
     19   customers that do from time to time submit 21:20:05                19   any basis for saying that other than seeing 21:22:11
     20   chargeback requests, do they submit             21:20:08           20   those numbers on the page -- on the document 21:22:14
     21   chargeback requests for every order they         21:20:12          21   that she provided you?                  21:22:16
     22   receive?                           21:20:16                        22            MS. HERZFELD: Object to the           21:22:17
     23            MR. KO: Object to the form.         21:20:16              23       form.                         21:22:19
     24            THE WITNESS: I don't know the 21:20:17                    24            THE WITNESS: No.                  21:22:19
     25        answer.                       21:20:19                        25


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      1 QUESTIONS BY MR. O'CONNOR:                                 21:22:20    1            MS. HERZFELD: I'll read the          21:23:49
      2       Q.      With respect to any numbers        21:22:21              2        number in.                      21:23:50
      3 that you indicated to Ms. Herzfeld that were          21:22:24         3            MR. KO: Thank you.                21:23:50
      4 correct, do you have any basis to believe          21:22:27            4            MS. HERZFELD: It's                21:23:51
      5 that they were correct aside from -- aside         21:22:29            5        MNK-T1_0000387492.                      21:23:54
      6 from the numbers on the document?                  21:22:31            6   QUESTIONS BY MR. KO:                            21:23:58
      7            MS. HERZFELD: Object to the             21:22:33            7        Q. Ms. Harper, just a moment ago 21:24:03
      8       form.                         21:22:34                           8   Mr. O'Connor was asking you about whether or 21:24:05
      9            THE WITNESS: No.                     21:22:34               9   not -- well, was asking you about chargeback 21:24:10
     10            MR. O'CONNOR: What's the                21:22:35           10   information.                          21:24:12
     11       objection?                      21:22:37                        11            Do you recall that?            21:24:13
     12            MS. HERZFELD: It's convoluted.          21:22:38           12        A. Yes.                        21:24:13
     13 QUESTIONS BY MR. O'CONNOR:                                 21:22:42   13        Q. And the document you have in           21:24:13
     14       Q.      Okay. Do you recall responding      21:22:42            14   front of you is an e-mail that you sent to 21:24:17
     15 to Ms. Herzfeld that certain numbers she           21:22:43           15   someone at DEA regarding access and your           21:24:19
     16 presented to you were -- appeared to be            21:22:47           16   utilization of chargeback info; is that      21:24:24
     17 correct?                             21:22:48                         17   correct?                           21:24:26
     18       A.      Yes.                   21:22:49                         18        A. Yes.                        21:24:26
     19       Q.      With respect to those numbers,     21:22:49             19        Q. And at the very end of that         21:24:26
     20 do you have any independent basis to believe            21:22:52      20   e-mail, there's a portion that's underlined. 21:24:29
     21 they are correct?                       21:22:54                      21            Do you mind reading that into       21:24:31
     22       A.      No.                    21:22:55                         22   the record?                          21:24:33
     23            MR. O'CONNOR: Okay. That's              21:22:58           23        A. "That said, Mallinckrodt           21:24:33
     24       all I have.                    21:22:58                         24   assumes that most transactions would result 21:24:38
     25            MS. HERZFELD: I have one               21:22:58            25   in a chargeback request."                 21:24:40

                                                                 Page 615                                                          Page 617
      1       question on redirect.                21:22:59                    1       Q. Okay. And do you have any            21:24:42
      2            REDIRECT EXAMINATION                         21:22:59       2   reason to dispute that you wrote that      21:24:45
      3 QUESTIONS BY MS. HERZFELD:                                 21:22:59    3   language to the DEA on November 1, 2010?          21:24:47
      4       Q.      Based on those numbers we went        21:23:02           4       A. No.                        21:24:50
      5 over, do you have any reason to think that         21:23:03            5            MR. KO: Okay. That's all I      21:24:51
      6 they'd be incorrect?                       21:23:05                    6       have.                       21:24:52
      7       A.      I don't know the answer, no.      21:23:07               7            MR. O'CONNOR: All right. We 21:24:54
      8            MS. HERZFELD: Okay. Thank                  21:23:11         8       can go off the record.            21:24:55
      9       you.                          21:23:13                           9            VIDEOGRAPHER: We are going off 21:24:56
     10            MR. KO: I'm sorry, folks, but        21:23:13              10       the record at 9:24 p.m.            21:24:57
     11       I have one question, of course, in        21:23:14              11      (Deposition concluded at 9:24 p.m.)       21:24:58
     12       light of your redirect, and I have to     21:23:18              12             –––––––
     13       use a document for it.                 21:23:20                 13
     14            (Mallinckrodt-Harper Exhibit 62       21:23:26             14
     15       marked for identification.)             21:23:27                15
     16            REDIRECT EXAMINATION                         21:23:27      16
     17 QUESTIONS BY MR. KO:                               21:23:28           17
     18       Q.      So I'm going to hand you a copy     21:23:22            18
     19 of what will be marked as -- I don't know          21:23:23           19
     20 what exhibit we're on -- 63? Oh, 62. Okay,            21:23:25        20
     21 62.                                 21:23:38                          21
     22            And that's the --           21:23:38                       22
     23 unfortunately, that's the only copy of the        21:23:39            23
     24 exhibit I have.                        21:23:41                       24
     25            MR. KO: Tricia, do you mind --        21:23:45             25


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      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 157Confidentiality
                                                           of 158. PageID #: 127931
                                                                               Review
                                              Page 618                                                 Page 620
      1               CERTIFICATE                         1        ACKNOWLEDGMENT OF DEPONENT
      2                                                   2
      3           I, CARRIE A. CAMPBELL, Registered       3
          Diplomate Reporter, Certified Realtime
      4   Reporter and Certified Shorthand Reporter, do   4            I,______________________, do
          hereby certify that prior to the commencement       hereby certify that I have read the foregoing
      5   of the examination, Karen Harper was duly
          sworn by me to testify to the truth, the
                                                         5    pages and that the same is a correct
      6   whole truth and nothing but the truth.              transcription of the answers given by me to
      7           I DO FURTHER CERTIFY that the          6    the questions therein propounded, except for
          foregoing is a verbatim transcript of the           the corrections or changes in form or
      8   testimony as taken stenographically by and
          before me at the time, place and on the date   7    substance, if any, noted in the attached
      9   hereinbefore set forth, to the best of my           Errata Sheet.
          ability.                                       8
     10
                                                         9
                  I DO FURTHER CERTIFY that I am        10
     11   neither a relative nor employee nor attorney
          nor counsel of any of the parties to this     11
     12   action, and that I am neither a relative nor
          employee of such attorney or counsel, and
                                                        12    ________________________________________
     13   that I am not financially interested in the         Karen Harper     DATE
          action.                                       13
     14                                                  14
     15
     16                                                  15   Subscribed and sworn to before me this
             ____________________________                16   _______ day of _______________, 20 _____.
     17      CARRIE A. CAMPBELL,                         17   My commission expires: _______________
             NCRA Registered Diplomate Reporter          18
     18      Certified Realtime Reporter
             California Certified Shorthand              19   Notary Public
     19      Notary Public                               20
             Dated: January 21, 2019                     21
     20
     21                                                  22
     22                                                  23
     23                                                  24
     24
     25                                                  25

                                              Page 619                                                 Page 621
      1         INSTRUCTIONS TO WITNESS                   1          –––––––
      2                                                                ERRATA
      3           Please read your deposition over       2           –––––––
      4   carefully and make any necessary corrections. 3     PAGE LINE CHANGE/REASON
      5   You should state the reason in the             4    ____ ____ _____________________________
      6   appropriate space on the errata sheet for any  5    ____ ____ _____________________________
      7   corrections that are made.
                                                         6    ____ ____ _____________________________
      8           After doing so, please sign the
                                                         7    ____ ____ _____________________________
      9   errata sheet and date it. You are signing
                                                         8    ____ ____ _____________________________
     10
                                                         9
          same subject to the changes you have noted on 10    ____ ____ _____________________________
     11                                                       ____ ____ _____________________________
          the errata sheet, which will be attached to
     12
                                                        11    ____ ____ _____________________________
          your deposition.
     13
                                                        12    ____ ____ _____________________________
                  It is imperative that you return
     14
                                                        13    ____ ____ _____________________________
          the original errata sheet to the deposing     14    ____ ____ _____________________________
     15   attorney within thirty (30) days of receipt   15    ____ ____ _____________________________
     16   of the deposition transcript by you. If you   16    ____ ____ _____________________________
     17   fail to do so, the deposition transcript may  17    ____ ____ _____________________________
     18   be deemed to be accurate and may be used in 18      ____ ____ _____________________________
     19   court.                                        19    ____ ____ _____________________________
     20                                                  20   ____ ____ _____________________________
     21                                                  21   ____ ____ _____________________________
     22                                                  22   ____ ____ _____________________________
     23                                                  23   ____ ____ _____________________________
     24                                                  24   ____ ____ _____________________________
     25                                                  25


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Case: 1:17-md-02804-DAP Doc #: -1957-34
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 158Confidentiality
                                                           of 158. PageID #: 127932
                                                                               Review
                                          Page 622
      1          –––––––
                 LAWYER'S NOTES
      2          –––––––
      3   PAGE LINE
      4   ____ ____ _____________________________
      5   ____ ____ _____________________________
      6   ____ ____ _____________________________
      7   ____ ____ _____________________________
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     24   ____ ____ _____________________________
     25




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